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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO


    MICHAEL BRIGGS,

          Plaintiff,

    v.                                                         Case No.: 1:20-cv-00651 KWR-JMR

    THE UNIVERSITY OF NEW MEXICO, a
    public university, THE BOARD OF
    REGENTS OF THE UNIVERSITY OF NEW
    MEXICO, GARNETT STOKES, individually
    and in her official capacity, PAUL B. ROTH,
    individually and in his official capacity,
    DOROTHY ANDERSON, individually and
    in her official capacity, LAURA VELE
    BUCHS, individually and in her official
    capacity, and KEVIN GICK, individually and
    in his official capacity

          Defendants.

         PLAINTIFF’S APPENDIX OF EXHIBITS FOR CORRECTED RESPONSE
              TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

         Plaintiff hereby submits this appendix of Exhibits 1 through 46 in support of his

Plaintiff’s corrected Response to Defendants Motion for Summary Judgment (Doc. 148). 1

                                                       JACKSON LOMAN DOWNEY &
                                                       STEVENS-BLOCK, P.C.

                                                       By: /s/ Travis G. Jackson
                                                               Travis G. Jackson
                                                               Sarah K. Downey
                                                       201 Third St. N.W., Ste. 1500
                                                       Albuquerque, NM 87102
                                                       Telephone: (505) 767-0577
                                                       Email: travis@jacksonlomanlaw.com
                                                       Email: sarah@jacksonlomanlaw.com
                                                        Attorneys for Plaintiff Michael Briggs


1
 Plaintiff re-filed the corrected response pursuant to the Court’s Order striking Plaintiff’s initial response. (Doc.
142).

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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 21, 2025, I filed the foregoing appendix through
Court’s electronic filing system, which caused all counsel of records to be servied electronically,
including the following counsel of record:

       John S. Stiff
       STIFF, GARCIA & ASSOCIATES, LLC
       500 Marquette Ave., NW, Suite 1400
       Albuquerque, New Mexico 87102
       Telephone: (505) 243-5755
       Email: jstiff@stifflaw.com
       Counsel for Defendants

By: /s/ Travis G. Jackson
        Travis G. Jackson




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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

 MICHAEL BRIGGS,
                                                                                             1
        Plaintiff,

 v.                                                  Case No.: 1:20-cv-00651 KWR-JMR

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 individually and in his official capacity,
 DOROTHY ANDERSON, individually and
 in her official capacity, LAURA VELE
 BUCHS, individually and in her official
 capacity, and KEVIN GICK, individually and
 in his official capacity

        Defendants.

                        DECLARATION OF HUBERT A. ALLEN, JR.

       I, Hubert A. Allen, Jr., hereby provide this declaration in support of Plaintiff’s Response

in Opposition to Defendants’ Motion for Summary Judgment in the above-referenced civil action,

and state as follows:

       1.      I have a Bachelor of Science (BS) in Applied Math - Biology from Brown

University and a Master of Science (MS) Biostatistics from Johns Hopkins Bloomberg School of

Public Health. I have been a practicing applied biostatistician for forty-five (45) years.

       2.      This declaration is based on my personal knowledge following review of 371 files

produced by the University of New Mexico (“UNM”) arising from complaints of sexual

misconduct and sexual harassment considered by UNM’s Office of Equal Opportunity (“UNM

OEO”) during the period from January 1, 2017, to December 31, 2022. The UNM OEO files

produced by UNM and reviewed by me are hereinafter referred to as the “Files.”

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       3.     I personally reviewed each of the 371 Files. My review of the Files indicates that,

after receipt of a complaint of sexual misconduct or sexual harassment, UNM OEO conducts a

preliminary review to determine whether a case should be referred for investigation. Of the 371

Files produced, UNM marked 133 of the Files as “Investigated” and 238 as “Uninvestigated” in

the footer of each document.

       4.     My review of the Files indicates that, if investigated, the UNM OEO investigator

may make certain factual “Findings” first presented to both the complainant and respondent in a

“Preliminary Letter of Determination” (“PLOD”). Both the complainant and respondent are

allowed to respond to the PLOD, after which UNM OEO issues a “Final Letter of Determination”

(“FLOD”) adjudicating whether the respondent’s alleged conduct reflects a violation of the

specified UNM policy. If UNM OEO determines that the respondent’s alleged conduct violates

UNM policy, the respondent is then subject to a disciplinary process by UNM.

       5.     My review of the Files confirmed that there was sufficient information in all of the

Files to determine the sex of the respondent. The Files include 269 complaints against male

respondents and 102 complaints against female respondents.

       6.     I personally reviewed each File and observed that, of the 269 complaints made

against male respondents, 126 (or 46.8%) were investigated by UNM OEO. Of the 102 complaints

made against female respondents, 7 (or 6.9%) were investigated by UNM OEO. Using simple

arithmetic, I calculate that male respondents were investigated by UNM OEO at a rate 6.8 times

greater than female respondents.

                           Complaints          Investigations      Investigation Rate
             Males            269                   126                 46.84%
            Females           102                     7                  6.86%
             Total            371                   133



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 FIGURE 1:       Diagram of the University of New Mexico, Office of Equal Opportunity Sample Data
                 In the Matter of Michael Briggs v. UNM et al. – 1:20-cv-00651 KWR-JMR

                 Reported Incidents of Sexual Violence and Sexual Misconduct Broken Down by Investigated and Uninvestigated, Gender
                 of Respondents and Violations and No Violations.


                                                                TOTAL INCIDENTS
                                                                       371
                                                                                                                                        Case 1:20-cv-00651-KWR-JMR




                           Investigated Cases                                                       Uninvestigated Cases
                                   133                                                                      238



             Males                                  Females *                          Males                                  Females
              126                                      7                                143                                     95
                                                                                                                                        Document 149




Violations           No Violations         Violations      No Violations
   78                     48                   1                4
                                                                                                                                        Filed 02/21/25




 * Two females were referred to hearings. The outcomes of the hearings are unknown.
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                                                                                        PLAINTIFF'S
                                                                                          EXHIBIT



                        IN THE UNITED STATES DISTRICT COURT                                 2
                           FOR THE DISTRICT OF NEW MEXICO

 MICHAEL BRIGGS,

        Plaintiff,

 v.                                                Case No.: 1:20-cv-00651 KWR-JMR

 THE UNIVERSITY OF NEW MEXICO, a
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 REGENTS OF THE UNIVERSITY OF NEW
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 and in her official capacity, PAUL B. ROTH,
 individually and in his official capacity,
 DOROTHY ANDERSON, individually and
 in her official capacity, LAURA VELE
 BUCHS, individually and in her official
 capacity, and KEVIN GICK, individually and
 in his official capacity

        Defendants.

                      DECLARATION OF DR. RICHARD S. LARSON

       My name is Dr. Richard S. Larson and I am providing this declaration based on my personal

knowledge of the facts, events and communications described below:

       1.      I previously served as both Executive Vice Chancellor for the University of New

Mexico Health Sciences Center (“UNM HSC) – the second highest position at UNM HSC. I

simultaneously served as the Vice Chancellor for Research at UNM HSC. I retired from UNM

HSC on January 15, 2023.

       2.      I was employed by UNM HSC for approximately 26 years. My longest-standing

role was leading and building the research mission from 2005 until my retirement, first as Senior

Associate Dean and then Vice Chancellor/Vice President for Research at UNM HSC. I also served

as a tenured professor in the UNM School of Medicine’s Department of Pathology. Since 2005, I




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also served as principal investigator and director of the UNM Clinical & Translational Science

Center (CTSC).

       3.      In my role as Executive Vice Chancellor, I served a number of functions, including

supervising and coordinating the activities of the other UNM HSC Vice Chancellors. That

included supervising UNM HSC’s Chief Information Officer (CIO) and stepping in to serve as

interim CIO on multiple occasions when that position was vacant. UNM HSC’s CIO supervises

UNM HSC’s data and information systems, including UNMHSC’s email systems. As the Vice

Chancellor for Research for UNM HSC, I oversaw a broad range of research activities at New

Mexico’s flagship university for medical research.

       4.      Before he was terminated by UNM, I worked with Michael Briggs for

approximately twelve (12) years. I initially hired Mr. Briggs to work for UNM HSC in or around

2006 when I served as Senior Associate Dean of Research at the UNM School of Medicine. I

hired Mr. Briggs to serve as the Director of the Institutional Review Board (IRB) in the Office of

Research. Shortly thereafter, Mr. Briggs and I worked together to build up the CTSC. UNM HSC

received the Clinical and Translational Science Award (CTSA) from the National Institutes of

Health. The CTSA Program supports a national network of approximately 60 medical institutions

to translate biomedical research discoveries into improved health care and treatments. The CTSA

Program is considered one, if not the most, prestigious award an institution like UNM HSC can

receive for medical research.

       5.      During our twelve (12) years working together, I found Mr. Briggs’s work to be

outstanding and exceptional. Mr. Briggs was an exemplary employee and received only positive

performance evaluations. Mr. Briggs was repeatedly promoted, including to become the Director

of the Office of Human Research Protections, and later to be the Chief Administrative Officer of



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the CTSC.      As CAO of the CTSC, Mr. Briggs supervised a substantial number of staff

(approximately 50 employees) and his work in that role was excellent. In or around 2015, Mr.

Briggs was again promoted to be the Executive Research Operations Officer, which is effectively

the head of the Office of Research. As Vice Chancellor for Research, I became Mr. Briggs’ direct

supervisor.

       6.      Prior to the off-campus incident at issue in this lawsuit, I never received nor heard

of anyone making any complaint of any kind about Mr. Briggs or his conduct. To the contrary, I

observed that Mr. Briggs at all times acted professionally and appropriately with everyone that he

interacted with. As Mr. Briggs’ direct supervisor and as the Executive Vice Chancellor of UNM

HSC, I would been notified if anyone had complained about Mr. Briggs. In my twelve (12) years

working with Mr. Briggs, no one ever complained that (a) they felt uncomfortable around Mr.

Briggs; (b) that he had sexually harassed any person; (c) that he had interfered with any one’s

employment or work in any other department; or (d) that he had created a hostile work

environment.

       7.      When I conducted performance reviews for Mr. Briggs, I would seek input from

colleagues, including UNM HSC employees who directly reported to Mr. Briggs.             All of his

colleagues and direct reports described Mr. Briggs’ work as outstanding.       I routinely received

positive verbal comments about Mr. Briggs from UNM HSC staff and faculty. I never received

any negative feedback about his work or conduct.

       8.      Based on Mr. Briggs’ conduct, professionalism, consistently strong performance,

achievement of his Executive MBA in 2016, and otherwise unblemished record, it is highly likely

that Mr. Briggs would have continued to enjoy a long career at UNM HSC through retirement.

Based on my experience as Executive Vice Chancellor, it is highly likely that Mr. Briggs would



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have received additional promotions within UNM HSC over time, and that he would have received

commensurate pay increases as his career progressed.

       9.      On or about April 3, 2018, I received a packet from UNM’s Office of Equal

Opportunity (OEO) regarding its investigation of allegations made against Mr. Briggs by Joy Van

Meter. The OEO packet included a memo directing that I discipline or sanction Mr. Briggs after

UNM’s new President, Garnett Stokes, conducted an appeal and reversed OEO’s finding of no

policy violation.

       10.     On or about April 11, 2018, I was asked to meet with three administrators from

UNM, including (a) Dorothy Anderson, who was then UNM’s Vice President of Human

Resources; (b) Francie Cordova, who was then UNM’s Director of OEO; and (c) Heather Cowan,

who was then UNM’s Title IX Coordinator (collectively referred to below as the “UNM

Administrators”). Exhibit A.

       11.     During that meeting with the UNM Administrators on April 11, 2018 (referred to

below as the “Meeting”), I was pressured to terminate Mr. Briggs’ employment. I was told that,

as Mr. Briggs direct supervisor, UNM policies required that I impose discipline, which I was

prepared to do. Prior to the Meeting, OEO had provided me with an incomplete file that included

the OEO investigator’s Preliminary Letter of Determination (PLOD). In the PLOD, the OEO

investigator made certain fact findings against Mr. Briggs. I was not provided the attachments

referenced in the PLOD, which I understood to include the evidentiary support for those findings.

I requested that OEO provide me with the complete file, including the attachments referenced in

the PLOD and any interim documents received by OEO between the PLOD and Final Letter of

Determination (FLOD). This would have included any response by Mr. Briggs to the fact findings

in the PLOD. The UNM Administrators refused my request.



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       12.     I also did not receive any final document from OEO finding a policy violation by

Mr. Briggs, and I requested that one be provided before I imposed discipline. The UNM

Administrators also refused this request.

       13.     Because I was being pressured to terminate a long-standing, exemplary employee

with no prior complaint of any kind after UNM’s President reversed OEO’s initial finding of “no

policy violation,” I felt strongly that it was important and appropriate to have the complete file and

to have a written finding of a policy violation from OEO. To protect myself against potential legal

claims if I terminated Mr. Briggs employment – as Ms. Anderson, Ms. Cordova, and Ms. Cowan

pressed me to do – I wanted to make sure that I had thoroughly reviewed the file, facts, and

evidence against Mr. Briggs. The UNM Administrators refused to provide me with the requested

records.

       14.      I also wanted clear documentation from OEO finding a policy violation. I have

been involved in a number of HR actions over my career at UNM HSC and I have learned it’s

important when you're the one who’s going to sanction an employee that you have proper

documentation and follow policy and procedures before you do. The UNM Administrators also

refused to provide me with a memo stating the policy violation for which I was supposed to

sanction Mr. Briggs. I then recused myself from the process.

       15.     After I recused myself from the disciplinary process, Dr. Paul Roth – who was then

the Dean of the School of Medicine and the Executive Vice President and Chancellor of UNM

HSC – was directed by the UNM Administrators to discipline Mr. Briggs. When I later discussed

Mr. Briggs’ potential discipline with Dr. Roth, he acknowledged that UNM’s Administrators were

insistent that Mr. Briggs be terminated. Dr. Roth told me, inter alia, that another administrator

involved in the process, Chamiza Pacheco de Alas (UNM HSC Chief of Staff to the Executive



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Vice President), told him that she wanted to “cut Michael’s dick off.” It became clear to me that

the UNM Administrators, as well as UNM’s President and other administrators – all of whom were

female – were intent on firing Mr. Briggs regardless of the evidence or procedural problems. I also

became concerned that these UNM Administrators wanted a male supervisor – either myself or

Dr. Roth – to be seen as the decision-maker that terminated Mr. Briggs employment in the likely

event that litigation followed.

       16.     When I raised questions about OEO’s refusal to provide the requested information,

UNM’s Title IX Coordinator, Heather Cowan challenged my ability to be fair and neutral:

       Based on conversations with you, and this subsequent email, I am concerned about
       your ability to approach the sanctioning role neutrally and not colored by personal
       beliefs about the incident or the Respondent. When we met to discuss sanctions,
       you indicated that the Complainant ‘said yes’ to the conduct, a fact clearly in
       opposition to OEO’s findings and the President’s decision. Your recent email of
       April 18, 2018, sounds much like an attorney advocate would provide for
       Respondent. Please strongly consider your ability to be fair and neutral in any
       sanction given.

4/19/18 Email from H. Cowan to R. Larson (Exhibit B).

       17.     Before I recused myself, I felt it was important to contemporaneously document the

process (a) in the event that I or another administrator at UNM HSC was sued for wrongful

termination by Mr. Briggs; (b) because I felt pressured to terminate Mr. Briggs; and (c) because I

was increasingly concerned that the disciplinary process for Mr. Briggs was irregular and biased.

Attached as Exhibits A and B to this Declaration are true and correct copies of emails that I

contemporaneously sent to myself at the time of these events to preserve my notes and

communications with UNM Administrators. The emails and notes contained in Exhibit B reflect

my concerns that:




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               a.      “There is a carefully worded directive issued by the [UNM] president to

OEO that requires OEO to amend the FLOD in writing with regard to the incident being off-

campus.” Ex. B.

               b.      “[S]uch a carefully worded document by the [UNM] president and the

resistance of OEO to issue a letter of determination that indicates there has been a policy violation

by Mr. Briggs gives the appearance that there is a coordinated effort to achieve an end besides

giving me the proper documentation to begin a sanctioning procedure with Mr. Briggs. More

concerning to me, it is possible to construe these actions as an attempt to shift liability and future

legal action away from OEO, the president, and/or the university to me- since I would be taking

sanctioning action without any written documentation of the policy violations committed by Mr.

Briggs from OEO.” Ex. B.

               c.      “OEO will only allow me to be aware of a limited number of facts related

to the case.” Ex. B;

               d.      “OEO is intentionally producing obtuse documents.” Ex. B.

               e.      “Their reluctance to explain and their tactics to prevent documentation to

be produced seems to confirm my impression that something more is at play here.” Ex. B.

               f.      “I remain concerned about the Title IX officer’s emails stating that she is

concerned about my neutrality and that I indicated the [complainant] said ‘yes’. The implication

of her statement reflects a substantial misinterpretation of the conversation that occurred.

Furthermore, this action by her further heightens my concern about her willingness, either

intentionally or through unconscious bias, to seek retaliatory action toward me in the future- since

she perceives me as not ‘going along’ with the process she is demanding.” Ex. B.




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               g.      “At this point, I intend to recuse myself from sanctioning and this case if

OEO cannot provide a written document indicating that Mr. Briggs has violated UNM policy on

the basis of their investigation.” Ex. B.

               h.      “It did not escape me at this point that the Title IX officer seems to have a

strong role in the interpretation of the findings in this case, how the letters of determination were

issued, and now how the notices of contemplative and final action will be issued.” Ex. B.

       18.     The email attached as Exhibit B, as well as other similar emails documenting my

concerns about Mr. Briggs’ disciplinary process, initially resided on my email account within

UNM HSC’s email system. I then became aware that my emails documenting Mr. Briggs’

disciplinary process were selectively deleted from my UNM HSC email account. Because I

supervised and acted (on an interim basis) as UNM HSC’s CIO, I was aware that only a high level

UNM administrator could authorize or direct the deletion of emails from my UNM HSC account.

I became concerned that UNM was intentionally destroying evidence relating to my involvement

in Mr. Briggs’ discipline, and I therefore forwarded the emails to my personal account to ensure

that these communications were preserved.

       19.     During the Meeting with UNM Administrators, I was told that “[t]he maximum

sanction for a first-time violation of 2720, 2730 or 2740 is suspension per the HR disciplinary

matrix. The next step is to consider a set of mitigating and aggravating factors which are listed in

a table. Almost all of the mitigating factors applied to the respondent in this case. The severity of

the violation was the one aggravating factor that was identified in this discussion.” Ex. B.

       20.     Attached as Exhibit D is a document titled “Disciplinary Considerations and

Guidelines” provided by the UNM Administrators during the Meeting (referred to below as the

“Guidelines”). These Guidelines describe the escalating and mitigating factors I understood I was



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supposed to consider. I communicated to the UNM Administrators that, in my view, virtually all

of the mitigating factors weighed in favor of Mr. Briggs, including: (a) “No prior disciplinary

history;” (b) “No pattern of similar offenses;” (c) “Length of employment (with no recent issues);”

and (d) “Minimal impact to University operations, environment, clients/customers, etc.” UNM’s

Vice President of Human Resources, Dorothy Anderson, directed that I essentially ignore the

Guidelines’ mitigating factors and told me that I should terminate Mr. Briggs’ employment based

on a single escalating factor: “nature, severity, and frequency.” I was told that I could not suspend

Mr. Briggs and that I must fire him.

       21.     Notably, the Guidelines require that a supervisor imposing discipline review

“evidence” of whether a policy violation was willful, intentional or grossly negligent. As

described above, the UNM Administrators refused my requests for the evidence cited in the PLOD.

       22.     During the Meeting with UNM Administrators, “I inquired about whether my

observation that there is considerable ambiguity to this case and the determination of OEO based

on a ‘predominance of evidence’ could be considered. I pointed out that there were aspects of the

facts that gave some merit to the respondent’s case- such as they had been going out for drinks for

some time, she followed him back to his house, and she said ‘yes’ when he asked if he could come

in the shower. They responded with the observation that she had ‘threw up’ 8 times and was not

in a state to consent. But in general, I was not allowed to look at any of the ambiguities of the case

and solely needed to sanction based on OEO’s findings.” Ex. B.

       23.     During the Meeting, I told the UNM Administrators that “[g]iven that I was being

told I needed to sanction on OEO’s finding in the PLOD of ‘sexual misconduct of severe type’ and

that I was only to see a very limited set of documents. I asked if that finding was disputed and if

the respondent had been given appropriate appeal opportunities- or that I could be given an



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assurance that appropriate appeal rights had been offered.” Ex. B. The UNM Administrators

“indicated that there was no written or established appeal process regarding situation presented by

the complexities of this case.” Id. The UNM Administrators “further indicated that the respondent

had not appealed the PLOD, and that the respondent and his lawyer should have known to appeal

a PLOD which had a favorable determination but underlying findings that would be harmful if the

determination was reversed.” Id. The UNM administrators “stated that because the respondent

did not appeal the findings, I should view this as evidence that he did not dispute the finding.” Id.

The UNM Administrators “admitted that the respondent was not informed of the appeal of the

complainant and that there was some ‘exposure’ there.” Id.

       24.     During my testimony at a later Peer Review Hearing, I was provided with a letter

dated December 6, 2017, from Mr. Briggs’ attorney, which indicated that Mr. Briggs had in fact

disputed the findings in the PLOD contrary to the UNM Administrators’ representations to me.

See 12/6/17 Letter (attached Exhibit C). UNM never provided this letter to me and told me that

Mr. Briggs had not disputed the findings in the PLOD.

       25.     During the April 11, 2018 Meeting with the UNM Administrators, “I pointed out

that the respondent had provided a document by email to Dr. Roth and I dated April 8, 2018. That

letter appeared to indicate that the respondent did dispute OEO’s findings. They asked if that letter

contained ‘new’ information. I indicated that it did to me but I had limited information relating to

the case” because the UNM Administrators had refused to provide me with the complete file. Ex.

B.

       26.     “I was prepared to issue a sanction of termination to the respondent- although this

was going to be emotionally difficult for me since he had been an exemplary employee. But I was




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concerned about the process, particularly the lack of documentation that would be provided to me

that would support the action of termination.” Ex. B.

       27.     During the Meeting with UNM Administrators, “I was told that I would have to

meet with the respondent (with the VP of HR present) . . . .” Exhibit B. “The Title IX officer

indicated that there would be a new step in this process. Both the notice of contemplative action

and the notice of final action would need to be approved by her prior to their issue. This appeared

to by a surprise to the VP of HR who indicated that hadn’t been done before.” Id.

       28.     Prior to April 2018, no one at UNM raised any concerns with me about Mr. Briggs

potentially interfering with Ms. Van Meter’s work while she was employed at UNM HSC. I was

not asked by UNM OEO, nor the UNM President, nor Ms. Van Meter nor anyone else at UNM to

take any interim action to limit Mr. Briggs’ movements on campus or to protect against any

potential interaction between Ms. Van Meter and Mr. Briggs. No one at UNM ever raised any

concern that Mr. Briggs’ employment at UNM HSC might create a hostile work environment for

Ms. Van Meter while she was employed at UNM HSC.

       29.     During the Meeting with UNM administrators on April 11, 2018, I asked whether

OEO had independently taken any steps to protect against any claimed hostile work environment

as a result of the UNM President’s reversal of OEO’s finding of no policy violation:

       I asked for clarification around the president’s decision to reverse the decision of
       OEO that there was not an objectively hostile environment. The OEO director
       pointed out that there was not an objectively hostile environment, but the president
       found that “subjectively” there was a hostile work environment due to the position
       that the respondent held within the office of research and therefore reversed the
       decision. I asked if there was any obligation during this time for the institution to
       assure that a hostile work environment was not created. For instance, were the
       complainant and the respondent responsible for assuring that a hostile work
       environment was not created, or should the institution had done something to
       prevent it?




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Exhibit B. I received no clarification and was not asked to restrict Mr. Briggs' movements

or activities.

        I declare under penalty of perjury that the foregoing is true and correct.



                                               Executed on: 0     l - C)~ - ~o~            <
                                               {lb sct::J     Dr. Richard S. Larson




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                                                                                                  A




From:RichardLarson
Sent:Wednesday,April11,20188:36PM
To:DorothyAnderson
Subject:Re:Meetingrequest

Thanks

From:DorothyAnderson<dtanderson@unm.edu>
Sent:Wednesday,April11,20188:24PM
To:RichardLarson
Subject:Re:Meetingrequest

575Ͳ644Ͳ8913

SentfromDorothy'siPhone

OnApr11,2018,at8:02PM,RichardLarson<RLarson@salud.unm.edu>wrote:

       505Ͳ469Ͳ2670;pleasesendyourssoitisnotinadvertentlyblockedifyoucall.
       Richard

                                                        1
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From:DorothyAnderson<dtanderson@unm.edu>
Sent:Wednesday,April11,20186:23PM
To:RichardLarson
Subject:Re:Meetingrequest

RichardͲpleasesendmeyourcellnumber.Dorothy

SentfromDorothy'siPhone

OnApr11,2018,at12:20PM,RichardLarson<RLarson@salud.unm.edu>wrote:

       Thanks all,
       RIchard

       From: Heather Cowan [mailto:hbcowan@unm.edu]
       Sent: Wednesday, April 11, 2018 12:20 PM
       To: Richard Larson <RLarson@salud.unm.edu>
       Cc: Francie Cordova <fcordova3@unm.edu>; Dorothy Anderson
       <dtanderson@unm.edu>
       Subject: Re: Meeting request

       Yes,FrancieandIwillbethereat3.

       Thanks!
       Heather

       SentfrommyiPhone

       OnApr11,2018,at12:15PM,RichardLarson<RLarson@salud.unm.edu>wrote:

               Heather, can you make it?
               Richard

               From: Francie Cordova [mailto:fcordova3@unm.edu]
               Sent: Wednesday, April 11, 2018 12:05 PM
               To: Dorothy Anderson <dtanderson@unm.edu>
               Cc: Richard Larson <RLarson@salud.unm.edu>; Heather Cowan
               <hbcowan@unm.edu>
               Subject: Re: Meeting request

               I’llbethereat3.

               SentfrommyiPhone

               OnApr11,2018,at12:03PM,DorothyAnderson
               <dtanderson@unm.edu>wrote:

                       3:00 works for me, also.

                       From: Richard Larson <RLarson@salud.unm.edu>
                       Sent: Wednesday, April 11, 2018 11:56 AM
                       To: Francie Cordova <fcordova3@unm.edu>;
                                                   2
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               Heather Cowan <hbcowan@unm.edu>; Dorothy
               Anderson <dtanderson@unm.edu>
               Subject: RE: Meeting request

               Actually I can do 3:00 if that then works for all 4 of
               us. I am free until 4.
               Richard

               From: Francie Cordova
               [mailto:fcordova3@unm.edu]
               Sent: Wednesday, April 11, 2018 11:55 AM
               To: Heather Cowan <hbcowan@unm.edu>;
               Richard Larson <RLarson@salud.unm.edu>;
               Dorothy Anderson <dtanderson@unm.edu>
               Subject: RE: Meeting request

               My intake is from 2-3. If you want to touch base
               after you all talk, I can call in. Just let me know.

               Thanks so much,

               Francie

               From: Heather Cowan
               Sent: Wednesday, April 11, 2018 11:54 AM
               To: Richard Larson <RLarson@salud.unm.edu>;
               Dorothy Anderson <dtanderson@unm.edu>
               Cc: Francie Cordova <fcordova3@unm.edu>
               Subject: RE: Meeting request

               Francie has another appointment but my 2:30
               canceled, so I will join you. Is your office on the 3rd
               floor as well where we saw you this morning?

               Thanks,
               Heather

               From: Richard Larson <RLarson@salud.unm.edu>
               Sent: Wednesday, April 11, 2018 11:22 AM
               To: Dorothy Anderson <dtanderson@unm.edu>
               Cc: Francie Cordova <fcordova3@unm.edu>;
               Heather Cowan <hbcowan@unm.edu>
               Subject: RE: Meeting request

               Francie and Heather,

               Dorothy and I were already scheduled to meet this
               afternoon in my office at 2:30. Would that work for
               you? I would appreciate the guidance.

               Richard

               From: Dorothy Anderson
               [mailto:dtanderson@unm.edu]
                                          3
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               Sent: Wednesday, April 11, 2018 11:20 AM
               To: Richard Larson <RLarson@salud.unm.edu>
               Subject: RE: Meeting request

               Should we invite them to our meeting this
               afternoon?

               From: Richard Larson <RLarson@salud.unm.edu>
               Sent: Wednesday, April 11, 2018 11:19 AM
               To: Chamiza Pacheco de Alas
               <Chamiza1@salud.unm.edu>; Francie Cordova
               <fcordova3@unm.edu>; Heather Cowan
               <hbcowan@unm.edu>; Dorothy Anderson
               <dtanderson@unm.edu>
               Subject: RE: Meeting request

               Ok,
               Richard

               From: Chamiza Pacheco de Alas
               Sent: Wednesday,y, April
                                   p 11,, 2018 11:16 AM
               To: Richard Larson <RLarson@salud.unm.edu>;
                                           @                ;
               Francie Cordova <fcordova3@unm.edu>;
                                          @          ; Heather
               Cowan <hbcowan@unm.edu>;
                                @            Dorothy Anderson
               <dtanderson@unm.edu>
                           @
               Subject: Meeting request

               Hi,, we met with Francie and Heather todayy for
               our regular
                      g    OEO update
                                  p      meeting g and the case
               we discussed Mondayy came up.    p Dr. Roth
               indicated he would like yyou all to sit together
                                                         g      in
               a face to face meetingg to discuss sanctions
               and what OEO's standards usually.
                                            usually

               Best, Chamiza

               Chamiza Pacheco de Alas, JD
               Executive Project Director
               Office of the Chancellor
               UNM Health Sciences Center
               chamiza1@salud.unm.edu




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                                                                                                               B




From: Richard Larson
Sent: Sunday, April 22, 2018 11:24 AM
To: Richard Larson
Subject: Additional notes

Additional documentation related to my interactions with OEO, Title IX and HR officers.

4/22/18 11:00 am

I remain concerned about the Title IX officer’s emails stating
                                                             g that she is concerned about myy neutralityy and that I indicated
the compliant
        p     said “yes”.
                    y     The implication
                                 p         of her statement reflects a substantial misinterpretation
                                                                                            p          of the conversation that
occurred. Furthermore,, this action byy her further heightens
                                                       g       myy concern about her willingness,
                                                                                           g      , either intentionallyy or
through
      g unconscious bias,, to seek retaliatoryy action toward me in the future- since she perceives
                                                                                           p           me as not “going
                                                                                                                   g g along”g
with the process
         p       she is demanding.g So,, I am documenting   g the meeting that I had with the Title IX officer, OEO director,
and HR director on April 11, 2018 at 3:00 pm in my office HSSB 302. These typed notes amplify the written notes that I
took during that meeting.

Only Dorothy Anderson and I took notes during the meeting.

This email documents the content of the discussions of this recent meeting and my state of mind and motivations.

This meeting was called to give me guidance to sanctioning in this case. The meeting included Dorothy Anderson,
Heather Cowan, Francie Cordova and myself.


                                                               1
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The meeting opened with a reminder to me that I could not recuse myself from issuing sanctions “without good reason”,
since I was respondent’s supervisor. I was also told that the Provost had recused himself since the respondent’s ex- wife
worked for him several years ago. [I did not respond to this statement, but it did seem to me to be a rather weak
justification for recusal. Also, the fact that they were bringing this up indicated that they were concerned that I may recuse
myself and either the Chancellor or the Provost would then have to issue sanctions. In addition, the timeline of events in
the materials that had been provided to me by OEO in an email dated April 3, 2018 indicated that the provost, while
interim president, had the complaint’s appeal but chose to take no action and pass action on the appeal to the new
president.]

I then stated that I had very limited knowledge of this case prior to receiving the sanctioning communication from OEO on
April 3, 2018. The respondent had told me some time in 2017 that there was OEO investigation of an allegation of sexual
misconduct but it occurred off campus. He wanted me to know in case legal released something publicly due to an IPRA,
but he provided no additional details. In January of 2018, he again mentioned to me that the “OEO case” had been
“cleared” and that there wouldn’t be any additional action. He reiterated his concern that the OEO report, although an HR
action, would be released publicly due to the willingness of our OUC to release OEO documents as they did in a previous
case. The next communication related to this case that I received was the email from Laura Vele Buchs on April 3, 2018
indicating that I needed to sanction the respondent. I forwarded that note to the respondent with no other information,
since I was out of town. Later that week I saw the respondent, told him I could not discuss the case, and that I would be
meeting with him in the future. That email had attachments which included the PLOD dated December 4, 2017 (without
any of its attachments), a FLOD dated December 12, 2017 (which indicated there were no policy violations) , the letter
from the president to consul of the complainant OEO to reverse its determinations, and a letter from OEO dated April 3,
2018 instructing me to sanction the respondent. [To date, I have not met with the respondent related to this case- Dorothy
and I scheduled a meeting but I canceled it since I was hoping for an amended FLOD that stated the policy violations].

I asked for clarification around the president’s
                                      p           decision to reverse the decision of OEO that there was not an objectively
                                                                                                                        j
hostile environment. The OEO director pointed
                                           p         out that there was not an objectively
                                                                                 j       y hostile environment,, but the
president found that “subjectively”
p                           j      y there was a hostile work environment due to the position
                                                                                         p         that the respondent
                                                                                                               p          held
within the office of research and therefore reversed the decision. I asked if there was anyy obligation
                                                                                                     g       during
                                                                                                                  g this time for
the institution to assure that a hostile work environment was not created. For instance,, were the complainantp        and the
respondent
    p         responsible
                 p         for assuring that a hostile work environment was not created, or should the institution had done
something to prevent it? OEO and Title IX officers indicated that the process was confidential, so this was not
possible. [note-in reviewing the letter from the president subsequent to this meeting, the president does state that she
found an “ objectively hostile work environment” so there appears to be a difference in interpretation- in addition, OEO is
under no obligation to produce a written document reversing their previous determination, but still must reverse their
determination. Again, why is all of this so carefully crafted? ]

The complainant did obtain a restraining order to prevent a hostile work environment. The respondent asked for there to
be a clause that prevented “accidental” contact from being interpreted as hostile. The Title IX officer quickly pointed out
that the respondent seeking such an exception was evidence that he knew he would create a hostile work environment.
[Note- It is also apparent to me that if he didn’t seek such an exception, then an accidental contact such as being cc’d on
an email would have been interpreted as by OEO and Title IX officers as creating a hostile work environment. I also did
not respond to the Title IX officer’s comment, since I did not wish to further heighten her emotion.]

We then discussed the sanctioning    g process.
                                       p        I was told that I would have to meet with the respondent (with the VP of HR
present), and we would explain the process to the respondent. The process would include issuing a notice of
contemplative action which he could respond and then a notice of final action. He had the ability to appeal the notice of
final action through arbitration or a peer review board. [I drew a diagram of this process in my notes].

The Title IX officer indicated that there would be a new step p in this process.
                                                                        p         Both the notice of contemplative
                                                                                                              p      action and
the notice of final action would need to be approved
                                              pp       byy her prior
                                                               p     to their issue. This appeared
                                                                                           pp       to byy a surprise
                                                                                                                p     to the VP of
HR who indicated that hadn’t been done before. The Title IX officer indicated it was federal requirement and that she
would send regulation to VP of HR.

[[Note- It did not escape
                        p me at this point
                                      p     that the Title IX officer seems to have a strong
                                                                                           g role in the interpretation
                                                                                                              p         of the
       g in this case,, how the letters of determination were issued, and now how the notices of contemplative and final
 findings
                issued]
 action will be issued
 We then reviewed the policy and sanctioning grid that was to guide what sanction I issued.

The maximum sanction for a first-time violation of 2720,, 2730 or 2740 is suspension
                                                                              p         per
                                                                                        p the HR disciplinary
                                                                                                        p      y matrix. The
next step is to consider a set of mitigating and aggravating factors which are listed in a table. Almost all of the mitigating


                                                                2
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factors applied
          pp      to the respondent
                            p       in this case. The severity of the violation was the one aggravating factor that was
identified in this discussion.

I needed clarification on the violation that I was sanctioning.
                                                              g If I was sanctioningg a hostile work place
                                                                                                     p     then suspension
                                                                                                                   p
seemed in order. However,, theyy pointed
                                    p        out that I must sanction on the finding of “sexual misconduct of severe type
leading to the creation of a hostile workplace.”

I inquired
    q      about whether myy observation that there is considerable ambiguity
                                                                          g y to this case and the determination of OEO
based on a “predominance
              p                                                   p
                              of evidence” could be considered. I pointed                        p
                                                                          out that there were aspects                     g
                                                                                                        of the facts that gave
some merit to the respondent’s
                       p          case- such as theyy had been going
                                                               g g out for drinks for some time,, she followed him back to
his house,, and she said “yes”
                            y    when he asked if he could come in the shower. Theyy responded
                                                                                           p       with the observation that
she had “threw up” p 8 times and was not in a state to consent. But in general,
                                                                       g       , I was not allowed to look at any of the
ambiguities of the case and solely needed to sanction based on OEO’s findings. This discussion was to understand what
I was supposed to consider when sanctioning. [it is clear from the later email from the Title IX officer that she perceived
this as a lack of neutrality]

I was further told that I had to connect all the findings in the PLOD (but not the reversed determination by the president)
with the first FLOD and the president’s letter. I asked if I could have a document that stated the findings, determinations
and policy violation on which I was sanctioning. The weakness in this approach in my mind was that it meant I did not
have a letter of determination from OEO that indicated there was any policy violation by the respondent- I thought it
prudent to have such a document since my sanctions needed to be on the letter issued by OEO. I also wanted such a
document to protect myself legally from action by either the complainant or respondent, and since I was sanctioning on
the basis of OEO, Title IX, and the president’s findings and determinations- I needed a document that made it clear what I
was sanctioning and could be used to justify may actions when/if future legal action occurred. I was told that “they didn’t
do that”. I then requested that I have at least an amended FLOD that clearly stated the policy violations that I had to
sanction, since my sanctioning was to be based on OEO’s FLOD. The President’s letter reversing OEO’s determination
was directed to the complainant’s counsel, not me. OEO and Title IX indicated that they did not wish to do this either. I
indicated that I was willing to sanction appropriately but that I wanted the appropriate written documentation. They
indicated I had the appropriate documentation, even though it was unclear.

[Note- I am very aware of the Howard case and how the departmental chairs involved were chastised for not appropriately
documenting their actions. My observation that the compliance officers in this case are reluctant to clearly document
findings, determinations, and policy violations is a “red flag” and that additional motives are being considered].

Given that I was being   g told I needed to sanction on OEO’s finding    g in the PLOD of “sexual misconduct of severe type” yp and
that I was only y to see a veryy limited set of documents. I asked if that finding  g was disputed
                                                                                             p                     p
                                                                                                    and if the respondent    had been
g
given  appropriate
         pp p          pp
                      appeal   pp
                              opportunities-                      g
                                               or that I could be given                      pp p
                                                                        an assurance that appropriate     pp
                                                                                                         appeal    g
                                                                                                                 rights  had been
offered. They  y indicated that there was no written or established appealpp     p
                                                                                 process   g
                                                                                         regardingg situation presented
                                                                                                              p           byy the
     p
complexities    of this case. They y further indicated that the respondent
                                                                    p                  pp
                                                                              had not appealed  the PLOD,, and that the respondent
                                                                                                                               p
and his lawyery should have known to appeal   pp     a PLOD which had a favorable determination but underlying  y g findingsg that
would be harmful if the determination was reversed. Further,, it was stated that because the respondent   p          did not appeal the
findings,
       g , I should view this as evidence that he did not dispute p               g Furthermore,, theyy admitted that the
                                                                       the finding.
respondent
    p          was not informed of the appeal of the complainant and that there was some “exposure” there. [I did not
respond to this discussion]

Then,, I pointed
         p                        p
                 out that the respondent       p
                                           had provided   a document byy email to Dr. Roth and I dated April
                                                                                                          p 8,, 2018. That
letter appeared
        pp                               p
                 to indicate that the respondent          p
                                                  did dispute               g Theyy asked iff that letter contained “new”
                                                               OEO’s findings.
information. I indicated that it did to me but I had limited information relating
                                                                                g to the case. Theyy indicated that theyy would
have to send the complainant and the respondent a letter and give them both the opportunity to provide additional
information. [Again, I did not respond]

At the end of the meeting, g, I was prepared
                                    p p                                                   p
                                             to issue a sanction of termination to the respondent-       g this was going
                                                                                                   although         g     to
be emotionallyy difficult for me since he had been an exemplary
                                                             p y employee.
                                                                       p y                                   p
                                                                              But I was concerned about the process,
particularly the lack of documentation that would be provided to me that would support the action of termination. I wanted
to have a document that clearly spelled out the findings, determination by OEO, and the policy violation that I needed to
sanction. It was clear that OEO and Title IX officers would not issue a document that had findings, determination and
policy violation in a single summary document. So, I indicated that I needed a letter of determination from OEO (who I
was taking direction from) that spelled out the policy violation.

Subsequent communications were an attempt to get a letter of determination from OEO and or the Title IX officer that
clearly spelled out the policy violation that I needed to sanction in a letter of determination from them. As indicated in

                                                                  I3
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those communications, OEO and Title IX (along with a carefully worded document from the president that was not
addressed to me) are designed to not issue a final or amended final letter of determination that explicitly states the
violations that need to be sanctioned. I do not understand the motivation. The motivation is being hidden. It does not
appear that a clear letter of determination will be issued. It will be interesting to see if OEO and Title IX change their
posture, actions and/or documentation now that Dr. Roth will be issuing sanctions.

I am relieved that I will no longer be involved in this case. But I am documenting this as a precautionary measure to
protect myself.

From: Richard Larson
Sent: Friday, April 20, 2018 7:36 AM
To: Richard Larson <RLarson@salud.unm.edu>
Subject: Further notes



From: Richard Larson
Sent: Thursday, April 19, 2018 7:36 AM
To: Richard Larson <RLarson@salud.unm.edu>
Subject: OEO Briggs

This email serves to document my situation, Richard Larson, with OEO, HR and OUC with regard to the Michael Briggs
case. I am writing this email on 4/19/18 on 7:30 am.

There is a carefullyy worded directive issued by the president to OEO that requires OEO to amend the FLOD in writing with
regard to the incident being off-campus. The directive then states that they must also amend the FLOD to determine that
Mr. Briggs violated UNM policies 2720,2730 and 2740. However, the president did not state that this change was
required in writing. This leaves it to OEO’s discretion on whether they would amend the FLOD to state there was a
violation of UNM policy by Mr. Briggs.

On 4/18/2018, I received an email from Heather Cowan amending the FLOD to indicate the incident was off-campus, but
did not address the whether there was a violation of UNM policy by Mr. Briggs.

In interpreting the the FLOD (that I received in an email dated 4/3/18) and amended FLOD, there does not appear the be
any determination by OEO in writing that that indicates there was a policy violation by Mr. Briggs.

On the evening of 4/18/18, I sent an email to OEO and HR requesting an explanation of why OEO will not produce an
amended letter of determination that indicates there has been a policy violation by Mr. Briggs. I am waiting for their reply.

I am further concerned that such a carefullyy worded document byy the president
                                                                          p         and the resistance of OEO to issue a letter
of determination that indicates there has been a policy
                                                    p y violation byy Mr. Briggs
                                                                               gg gives
                                                                                  g      the appearance
                                                                                              pp            that there is a
coordinated effort to achieve an end besides giving
                                                g g me the proper
                                                                p p documentation to begin  g a sanctioning      g procedure
                                                                                                                   p          with
Mr. Briggs.
       gg More concerning                   possible to construe these actions as an attempt
                            g to me,, it is p                                                p to shift liabilityy and future legal
                                                                                                                                g
action awayy from OEO,, the president,
                             p         , and/or the universityy to me- since I would be taking sanctioning action without any
written documentation of the policy violations committed by Mr. Briggs from OEO.

In addition to not issueing
                          g a written letter of determination indicating
                                                                       g that Mr. Briggs
                                                                                     gg violated UNM policy,
                                                                                                     p y, I am further
documenting  g that OEO will only allow me to be aware of a limited number of facts related to the case. This puts me in an
impossible position of being directed by OEO and HR to issue sanctions, but not to have a letter of determination from
OEO that indicates there has been a policy violation.

Furthermore, given the power of OEO and HR in this institution, I am very concerned that OEO has additional motivations
than properly documenting in writing the determinations of policy violations against Mr. Briggs. Why else would they be
reluctant? Therefore, my request to have written documentation of the OEO’s determination of a policy violation could
potentially lead to retaliatory efforts toward me on the part of OEO in the future.

At this point,
        p    , I intend to recuse myself
                                   y     from sanctioning
                                                        g and this case if OEO cannot provide a written document indicating
that Mr. Briggs has violated UNM policy on the basis of their investigation.

I will continue to update this log.

                                                                 4
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Here is the subsequent email that I received shortly after writing the paragraph above and my response.

Heather,

I don’t interpret
             p myy actions in the manner that you
                                              y do below,, and I don’t agree
                                                                           g     with your
                                                                                      y    interpretation
                                                                                                p         or intent of my
statements, actions, or emails. I have only been trying to get a clear set of documents on which to act. It appears that
you have misinterpreted my actions.

Nonetheless,, given
              g     you
                    y have raised concerns about the perception of my neutrality and my requests for documentation, I
am recusing myself from this case.

Regards,
Richard

From: Heather Cowan [mailto:hbcowan@unm.edu]
Sent: Thursday, April 19, 2018 8:01 AM
To: Richard Larson <RLarson@salud.unm.edu>
Cc: Laura Vele Buchs <laurabuchs@unm.edu>; Dorothy Anderson <dtanderson@unm.edu>; Paul B Roth M.D.
<PRoth@salud.unm.edu>; Chamiza Pacheco de Alas <Chamiza1@salud.unm.edu>; Francie Cordova
<fcordova3@unm.edu>
Subject: Re: OEO Case Referral for Sanctioning

Dear Dr. Larson:

In response
       p      to your
                 y    email,, the simple
                                     p answer is that President Stokes remanded the case to OEO for two reasons: 1)) The
discrete issue of further clarifying
                                y g that the sexual misconduct was not work related (did
                                                                                    (    not happen
                                                                                               pp in the context of a work
setting               p), and she overturned OEO’s NO POLICY finding (thus the President determined there was a policy
      g or relationship),
violation in regard to 2720, 2730 and 2740).

In the April 3, 2018, letter to the parties, OEO provided notice that the President had overturned OEO’s decision (thus
making it a policy violation), and that the matter was being sent to you and Dr. Roth for sanctioning. The April 3, 2018,
letter inadvertently did not reflect the first issue from President Stokes (further clarifying that the conduct was not work
related). The April 13, 2018, amended further amended the FLOD to address discrete number issue 1.

Thus, both documents (April 3 and April
                                      p 13,, 2018)) should be read together
                                                                     g      to indicate that you
                                                                                             y are sanctioningg in regard
                                                                                                                     g    to
a violation of 2720,, 2730 and 2740. The April
                                          p 3,, 2018 document further clarifies that the conduct was not work related (the
document further clarifies what OEO documented in their original findings), but is more specific in language.

Hopefully that is clear to you.

Based on conversations with you,
                               y , and this subsequent
                                                    q     email,, I am concerned about your
                                                                                          y     abilityy to approach
                                                                                                             pp       the
          g role neutrallyy and not colored byy personal
sanctioning                                     p        beliefs about the incident or the Respondent.
                                                                                                 p            When we met to
discuss sanctions,, you
                    y indicated that the Complainant
                                                 p       “said yes’
                                                               y     to the conduct,, a fact clearlyy in opposition
                                                                                                           pp       to OEO’s
      g and the President’s decision. Your recent email of April
findings                                                        p 18,, 2018,, sounds much like an attorneyy advocate would
provide for Respondent. Please strongly consider your ability to be fair and neutral in any sanction given.

I have not heard from either from the Complainant nor the Respondent regarding further impact information they would
like considered at sanctioning. I have given them until Tuesday COB to provide such information.

Please contact me if you have further questions.

Heather


4/20/2018 7:34 am

Here is my documentation related to her allegation and her perception of my lack of neutrality:

Myy statement about the Complainant
                           p        saying
                                      y g “yes”
                                           y    was in the context of a broader discussion of trying
                                                                                                y g to understand how
OEO concluded that the predominance of evidence indicated that there was severe sexual misconduct. I was listing
                                                               5
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evidence that supported
                 pp        both the complainant
                                          p      as well as the respondent’s
                                                                   p          case. I believe this to be evidence of the
willingness of the Title IX officer to take something out of context and re-cast the nature of the conversation.

She further interpreted my email related to trying to understand why OEO would not issue a final letter of determination
that stated the policy
                  p   y violation of the respondent
                                            p        as “attorney advocate” like. This further heightens my suspicion that
OEO is intentionally producing obtuse documents. I don’t fully understand the legal implications, but neither OUC (in a
April 9, 2018) or OEO will provide an explanation for their actions in terms of an unwillingness
                                                                                             g      to produce
                                                                                                       p       an amended
final letter of determination that states the policy
                                              p    y violations that must be sanctioned. Their reluctance to explain
                                                                                                                p    and their
tactics to prevent documentation to be produced seems to confirm my impression that something more is at play here.

I am veryy concerned that if I had sanctioned without proper documentation that the liability and law suits would be directed
at me rather than bring in OEO. There may be additional or alternative explanations for the actions of OEO and the
president (under the advisement of OUC) for producing obtuse documents, but they have not been willing to communicate
it.

I recused myself after this email- and denied all her allegations.

I will further state that it appears to me that in other compliance areas with federal oversight there is usually a “checklist”
that requires there be a statement of:
1) Allegation
2) Findings
3) Determinations
4) Documentation that any appeals process occurred
5) Affirmation that the proper federal or other regulatory bodies were informed as required.

Since I have recused myself, I hope that I will not be drawn into this case anymore.




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                                                                                                    C

         GARCIA IVES NOWARA                                        Molly Schmidt-Nowara
                                                                    924 Second Street NW, Suite A
                                                                       Albuquerque, NM 87102
                                                                            505.899.1030




                         •                                             molly@ginlawfirm.com
                                                                         www.ginlawfirm.com




                                   VIA ELECTRONIC MAIL

                                         December 6, 2017

Laura Vele Buchs
EEO Compliance Manager
laurabuchs@unm.edu

Dear Ms. Vele Buchs:

I write in response to your Preliminary Letter of Determination in OEO#I-2016-11-66. We agree
with your conclusion there was no policy violation connected to the allegations in this matter.
However, we strongly disagree with your conclusion that a preponderance of the evidence
suggested that the Complainant’s version of events is true. Given that there is a finding of no policy
violation, we believe the appropriate steps in this matter would be dismissal of the Complaint and
that it not be forwarded to any other parties.

Mr. Briggs, as he has consistently and credibly done throughout this investigation, categorically
denies that the sexual contact he had with the Complainant was improper. The sexual activity was
consensual. Moreover, we again reiterate our concern that the OEO has extended its jurisdiction
in this matter beyond its natural conclusion. This was not a work-related incident, Mr. Briggs did
not work with the Complainant, and the Complainant does not work at UNM anymore. Contrary
to your findings, Mr. Briggs had verbal consent to join the Complainant in the shower, and non-
verbal cues suggesting consent when the two began to kiss. As soon as the Complainant indicated
she needed to go home, the two immediately stopped with the consensual sexual contact and
preceded to get dressed. Thus, your analysis that Mr. Briggs should have inferred there was not
consent is without merit.

We also believe it is important for your report to include specific reference to the Complainant’s
inconsistencies regarding her drinking on the day in question. It is my understanding that the
Complainant told the detective she had four beers, but she also stated she had three. Moreover,
Mr. Briggs never saw her physically vomit and he did not understand her to have vomited multiple
times—just one time. The two continued to have another hour-long conversation after she had


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initially vomited and brushed her teeth. She never appeared impaired to the point of slurred
speech. She drank water, while Mr. Briggs had another beer. It is also our understanding, based on
witness testimony, that the Complainant sent a text message to a friend that she would not be able
to go out later that night. That text message was sent after 5:00 PM, according to the witness. This
was also the time that the complainant testified she was not coherent and did not remember activity
leading up to getting into the shower. But the objective evidence shows she was aware of the time
and her schedule. This is not consistent with a person who was profoundly impaired.

Mr. Briggs submits that the Complainant did indeed undress herself, and she also took off her own
pantyhose. She was able to stand on her own and get into the shower on her own initiative. She
was also able to dress herself after the shower. At no time did Mr. Briggs find her impaired to the
point of staggering or with the inability to speak. Also, according to text message - while
inadvertently sent to her friend, and not her husband, she was able to text "I'm on my way!". This
action further demonstrates she was coherent and aware of the situation and time.


The parties’ text messages the following day also suggest that the Complainant understood that
the two parties had engaged in consensual contact and was worried about what her husband would
say. "I hope I don't have to explain anything", and "Just so you know, that was a first - never done
that before" suggest that she was aware of what transpired. The two kept up a normal exchange of
texts with each other the next day, and there was not any suggestion that Mr. Briggs had done
anything inappropriate. It was not until she had to confront her husband that her recollection of
events changed. The Complainant’s regret for what transpired does not mean that Mr. Briggs
engaged in misconduct.

Finally, we must raise what we believe is evidence of bias in the investigation. It is my
understanding that you told Mr. Brigg’s former supervisor (Catherine Penick) that "Mr. Briggs
admitted to wrong-doing". This statement is categorically false (Mr. Briggs has always maintained
his innocence in these matters), violated the confidentiality promised to the parties, and suggests
that the review of the evidence in the case was not impartial. On this basis alone, we ask the
Complaint be dismissed and your report not further disseminated in any manner.

Thank you for your attention to these matters.

                                                             Very truly yours,

                                                             Molly Schmidt-Nowara

Copies to:

Michael Briggs
Francie Cordova
Heather Cowan




                                                 2
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  -.lW HUMAN
  .Lt!}~ RESOURCES                                                                                     D
                         Disciplinary Considerations and Guidelines

The work violations and suggested responses in this resource contain general guidelines for examining
and responding to employee conduct and work performance issues and is intended to be read in
conjunction with the Disciplinary Matrix.

The guide is a tool to help supervisors evaluate and respond to employee performance problems and
workplace issues in a fair and effective manner. It does not stand alone, nor does it constitute legal
advice regarding action specific infractions. These Guidelines are not intended to create contractual
rights or obligations regarding the level of disciplinary action which may be imposed on an employee.

Personnel hired under employment contracts are governed by the conditions of their contracts and
other University disciplinary provisions may apply. For Unionized staff, please refer to the appropriate
Collective Bargaining Agreements for additional information outside of this matrix.

Employee Expectations of Management

Employees play a valuable and critical role in helping the University fulfill its mission. Supervisors have a
responsibility to train and support each employee in understanding job requirements and to assist
employees in improving performance and addressing issues negatively affecting the workplace.
Employees of the University have the following reasonable expectations of management:

    x   A clear understanding of the individual job description, standards, expectations and work rules
    x   Annual performance appraisal based upon job-related competency criteria
    x   A safe and healthy work environment
    x   Willingness to respond to employees’ concerns and complaints
    x   To be treated with dignity and respect
    x   Fair and non-discriminatory application of policies and procedures

In turn, providing quality programs and services requires cooperation by employees and adherence to
established policies, procedures, regulations, practices, and high standards of job performance. In an
effort to maximize the contribution of every employee, the University has adopted Policy #3215:
Performance Improvement and Discipline and provided the following guidelines.

Using these Guidelines

This document provides general guidelines for the proper level of discipline depending on particular
infractions and is to be used to help promote consistency in the level of discipline for similarly-situated
employees. Specific case information must be considered which may change the recommended level of
disciplinary action from what is noted on this matrix. The following section outlines considerations that
should be taken into account prior to initiating a disciplinary action.

Considerations Prior to Action

    x   Did the supervisor give the employee forewarning of the possibility or probability of disciplinary
        action for the employee’s conduct?
    x   Was the supervisor’s rule/expectation reasonably related to the orderly, efficient and safe
        operation of the establishment?
    x   Did the supervisor investigate whether the employee violated the rule/order?
    x   Was the fact finding process fair and objective?
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    x       Did the fact finding reveal substantial evidence of proof of violation of the rule/order?
    x       Has the supervisor applied the rule/expectation and the penalties even handedly to all
            employees?
    x       Is the degree of discipline reasonably related to the violation?
            (See accompanying matrix for a suggested response that may be considered reasonable for a
            given offense)

Escalating and Mitigating Factors

When using this guide, consideration should always be given to the nature of the incident, the frequency
of the violation, and the employee’s overall work record before disciplinary action is taken. A corrective
process of progressive discipline is generally used but some violations could be of such a serious nature
that disciplinary action could lead directly to a suspension or discharge. The following table outlines
important factors to be taken into consideration, which may result in increased or decreased sanctions:



The final outcome must be determined based on specifics of the case. Contact your HR Consultant when
determining any level of discipline.

                   ESCALATING FACTORS                                                    MITIGATING FACTORS
 Factual information or evidence regarding the violation that might   Information or evidence regarding the violation that might result in a
 result in an increased sanction.                                     decreased sanction.



        x    Nature, severity, and frequency                               x     Significant period of time since the last
        x    Relationship of offense to employee’s                               violation
             position                                                      x     Technical or inadvertent error
        x    Prior notice given to the employee                            x     No prior notice given to the employee
        x    Prior disciplinary history                                    x     No prior disciplinary history
        x    Brief period of time since the last                           x     Extensive period of time since the last
             violation                                                           violation
        x    Pattern of similar violations                                 x     No pattern of similar offenses
        x    Number of total violations                                    x     No evidence that the violation was willful
        x    Evidence that violation was willful or                              or intentional
             intentional                                                   x     No evidence that the violation was
        x    Evidence that the violation was grossly                             grossly negligent
             negligent                                                     x     Length of employment (with no recent
        x    Impact to University operations,                                    issues)
             environment, clients/customers, etc.                          x     Minimal impact to University operations,
        x    Impacts health or safety of customers                               environment, clients/customers, etc.
             and/or campus community                                       x     The potential of rehabilitation
                                                                           x     Other mitigating factors such as disability
                                                                                 etc.
Important Considerations

These Guidelines do not take into account individual circumstances relating to the Family Medical Leave
Act (FMLA), the Americans with Disabilities Act (ADA), or Workers’ Compensation. If you have reason to
believe an employee has a medical condition impacting their performance, attendance or
behavior, contact your HR Consultant to help guide you appropriately on these issues.

Administrative Leave is only to be used in extreme situations and only after consultation with HR and
prior approval by the EVP.
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

 MICHAEL BRIGGS,                                                                               3
         Plaintiff,

 v.                                                   Case No.: 1:20-cv-00651 KWR-JMR

 THE UNIVERSITY OF NEW MEXICO, a
 public university, THE BOARD OF
 REGENTS OF THE UNIVERSITY OF NEW
 MEXICO, GARNETT STOKES, individually
 and in her official capacity, PAUL B. ROTH,
 individually and in his official capacity,
 DOROTHY ANDERSON, individually and
 in her official capacity, LAURA VELE
 BUCHS, individually and in her official
 capacity, and KEVIN GICK, individually and
 in his official capacity

         Defendants.

                       FIRST DECLARATION OF MICHAEL BRIGGS

       I, Michael Briggs, hereby provide this declaration in support of Plaintiff’s Response in

Opposition to Defendants’ Motion Summary Judgment in the above-referenced civil action, and

state as follows:

       1.       I personally and independently reviewed 371 files produced by the University of

New Mexico (“UNM”) arising from complaints of sexual misconduct and sexual harassment

considered by UNM’s Office of Equal Opportunity (“UNM OEO”) during the period from January

1, 2017, to December 31, 2022 (the “Files”). Of the 371 Files produced, UNM marked 133 of the

Files as “Investigated” and 238 as “Uninvestigated.”

       2.       In reviewing the Files, I was able to find information sufficient to determine the sex

of the respondent. The Files include 269 complaints against male respondents and 102 complaints

against female respondents. Of the 269 complaints made against male respondents, 126 (or 46.9%)

                                                  1
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were investigated by UNM OEO. Of the 102 complaints made against female respondents, 7 (or

6.9%) were investigated by UNM OEO.

       3.      I personally reviewed each File and observed that, of the 269 complaints made

against male respondents, 78 (or 29%) resulted in a finding of a policy violation against the male

respondent. Of the 102 complaints made against female respondents, only 1 (or less than 1%)

resulted in a policy violation against the female respondents.

                                                                    Rate of Finding of
                             Complaints        Policy Violations
                                                                     Policy Violation
              Males              269                   78                29.00%
             Females             102                    1                 0.98%
                                 371                   79


       4.      I personally reviewed each File and observed the severity of discipline imposed

after UNM OEO found that a respondent’s conduct violated UNM policy. Of the 371 files, 52

resulted in the most severe disciplinary actions against male respondents (termination, sanctions,

suspension, or expulsion). Of those 371 complaints – 102 of which were made against female

respondents – only one female respondent received discipline (expulsion).

       I declare under penalty of perjury that the foregoing is true and correct.


                                                           2/5/2025
                                              Executed on: ______________________



                                              __________________________________
                                              ____________________
                                              Michael Briggs




                                                 2
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                                                                                             PLAINTIFF'S
                                                                                               EXHIBIT


                           AFFIDAVIT OF CATHERINE PENICK                                         4
       I, Catherine Penick, being over the age of 18 and competent to make this declaration

based on my personal knowledge, declare as follows:

       1.      I have worked in and for the Health Sciences Center at the University of New

Mexico ("UNM") for 16 years. Currently, I serve as the Strategic Planner for Economic

Development. In 2015, I held the position of Executive Research Operations Officer. This is the

same position that Michael Briggs currently holds. In fact, he succeeded me in that position.

             Briggs' History of Positive Contributions to His Work Environment

       2.      From 2006, when Mr. Briggs was first hired by UNM until 2015, I was Mr.

Briggs' immediate supervisor. In my capacity as Mr. Briggs' suP.ervisor, I never had occasion to

discipline Mr. Briggs for any reason. To the contrary, Mr. Briggs is an exem I~ UNM

emRloyee. See Briggs' Perfonnance Evaluations, attached as Ex. A (all signed by me, as Mr.

Briggs' immediate supervisor, all reflecting exemplary performance).

       3.      His 2012 performance evaluation demonstrates the quality of Mr. Briggs' work

and his positive contributions to his work environment. In that evaluation, I characterize Mr.

Briggs as "nothing short of amazing" and note that "his performance during the past year easily

exceeds expectations." See 2012 Performance Evaluation, attached as Ex. B.

       4.      Others within Mr. Briggs' work environment felt the same way. Mark Burge,

M.D. stated that Mr. Briggs was "[o]utstanding in every respect." Id Shiraz Mishra, MBBS,

PhD called Mr. Briggs "an invaluable asset" to the team. Id. Robert Rhyne, M.D. responded

that Mr. Briggs "is very pleasant to work with. He has a friendly demeanor and does not get

rattled easily. He listens and is open to other people's input and works very well with the staff.
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He is responsive to suggestions and is prompt in responding to requests. The staff enjoy working

with him and he keeps them informed." Id

        5.      In 2014, I recommended Mr. Briggs as a candidate for the UNM Anderson School

of Management Executive MBA program. I stated then and continue to believe that

                Mr. Briggs has been tasked with enormous challenges during his
                tenure at UNM, and in all cases he has demonstrated integrity,
                professionalism, excellence in his work and strong leadership. He
                has been able to lead the Human Research Protections Office, play
                a herculean role in our nationally recognized Clinical and
                Translational Science Center, and take on leadership of significant
                institutional initiatives as they arise. . . . Mr. Briggs has a strong
                future as a leader and manager at UNM.

See 2014 Recommendation, attached as Ex. C.

                      Evidence of Bias in the OEO Investigation of Briggs

        6.     I am aware that an individual working at UNM Hospital within the DeRartment of

Orthopedics alleged policy violations against Mr. Briggs and that the UNM Office of Equal

Opportunity (OEO) undertook an investigation into the matter.

       7.      I only recently learned the name of the individual who made allegations against

Mr. Briggs, Joy Van Meter. I have never met Ms. Van Meter, nor is she an employee over

whom either I or Mr. Briggs had any supervisory authority.

       8.      Given my personal knowledge of Mr. Briggs' character and his work

environment, including whether Mr. Briggs had influence over Ms. Van Meter's position and

whether Mr. Briggs worked in close proximity to Ms. Van Meter, an OEO investigator

interviewed me as part of its investigation.

       9.      Although I do not independently recall the name of the investigator, I have since

learned that the OEO investigator who interviewed me was Laura Vele-Buchs.




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        10.    I am very familiar with the OEO investigation process, having served as a witness

(in my capacity as a supervisor of multiple employees) in several prior investigations.

       11.     During my interview, I expressed some surprise at Ms. Van Meter's allegations

against Mr. Briggs given my knowledge of his character over such a long period of time.

Investigator Vele-Buchs responded, "Well, you may have that view of Michael, but he has

admitted to wrong-doing."

       12.     In my prior experience with OEO investigations, I have never observed an

investigator make such a comment on a pending investigation.

       13.     Because I knew Mr. Briggs had absolutely not admitted to wrong-doing of any

kind, I found Investigator Vele-Buchs' statement shocking. I therefore became concerned that

Mr. Briggs was not going to get a fair investigation, as it appeared to me that Investigator Vele-

Buchs had already concluded that Mr. Briggs did something wrong.

                  Briggs' Work Environment is Completely Separate From
                the Department of Orthopedics, where Complainant Worked

       14.     In any case, I provided Investigator Vele-Buchs with information concerning Mr.

Briggs' work environment, with which I am very familiar.

       15.     The Department of Orthopedics is organizationally and physically seQarate from

the Office of Research, where Mr. Briggs works and where I worked up until 2015.

       16.     Ms. Van Meter does not work in the same building as Mr. Briggs.

       17.     Mr. Briggs has no supervisory authority over Ms. Van Meter; she is com letely

outside of Mr. Briggs' chain of command at UNM.

       18.     I understand that Ms. Van Meter claims to have worked in some capacity with

research compliance committees and further claims that Mr. Briggs "oversees all research

compliance committees."


                                                 3
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        19.    Ms. Van Meter's re orted understanding of Mr. Briggs' osition is inaccurate.

        20.    At UNM, there are multiple committees that might be characterized as "research

compliance committees."

        21.    UNM is fully committed to ensuring the autonomy of its research compliance

committees. The committees that review and decide whether to approve or disapprove research

projects presented to them do so independently, without influence by Mr. Briggs.

        22.    Mr. Briggs is not a member of any research com liance committee

        23.    Individuals who are members of research compliance committees have both the

obligation and right to report any attempts at undue influence upon them to make decisions with

respect to matters, actions, or decisions within their delegated authority.

        24.    Mr. Briggs has no influence over decisions made by any research compliance

committee.

        25.    I explained all of the above to OEO Investigator Laura Vele-Buchs. Mr. Briggs'

role-a role which I myself held until 2015----<loes not have any direct or indirect influence upon

Ms. Van Meter's position or her department. I simply cannot see how Mr. Briggs could create a

hostile work environment for Ms. Van Meter.

Date:




                                               Catheri




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                                                      PAUL ROTH      1/9/2020

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 · · · · · · · ·· IN THE UNITED STATES DISTRICT COURT
 · · · · · · · · ·· FOR THE DISTRICT OF NEW MEXICO

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 · · · · JOY VAN METER
 · · · ·
 · · · · · · · · · Plaintiff/Counter-Defendant,
 · · · ·
 · · · · ·-vs-· · · · · · · · · ··NO:··1:18-cv-00970 RB/JHR
 · · · ·
 · · · ·
 · · · · MICHAEL BRIGGS,
 · · · ·
 · · · · · · · · · · ·· Defendant/Counterclaimant.
 · · · ·
 · · · ·
 · · · · · · · ·· VIDEO DEPOSITION OF PAUL ROTH, M.D.
 · · · ·
 · · · · · · · · · · · · · January 9, 2020
 · · · · · · · · · · · · · 9:03 a.m.
 · · · · · · · · · · · · · Suite 1500
 · · · · · · · · · · · · ··201 Third Street, Northwest
 · · · · · · · · · · · · · Albuquerque, New Mexico
 · · · ·
 · · · · · ·· PURSUANT TO THE FEDERAL RULES OF CIVIL
 · · · · PROCEDURE, this deposition was:
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 · · · ·
 · · · · TAKEN BY:··TRAVIS JACKSON, ESQ.
 · · · · · · · · · ·ATTORNEY FOR DEFENDANT/COUNTERCLAIMANT
 · · · ·
 · · · · REPORTED BY:··KENDRA D. TELLEZ
 · · · · · · · · · · · CCR #205
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                                                       PAUL ROTH      1/9/2020

                                                                               80
·1··Briggs?

·2·· · ·A.· ··Yes.

·3·· · ·Q.· ··Was
              Was Dorothy Anderson the person that

·4··primarily advised you with respect to the discipline

·5··of Michael Briggs?

        A.·
·6·· · ·A. · ··Yes.

·7·· · ·Q.· ··So I now want to talk about the period

·8··after the NCA was issued.··Okay?

·9·· · ·A.· ··(Witness nods head.)

10·· · ·Q.· ··Okay.··And so I showed you the --

11··Mr. Briggs' response to the NCA that's dated July 3,

12··2018, that's marked as Deposition Exhibit 190 in

13··this case.··Between the time that the NCA was issued

14··on June 6, 2018, and Mr. Briggs submitted his

15··response to it on July 3, 2018, did you have any

16··additional meetings relating to the discipline of

17··Michael Briggs?

18·· · ·A.· ··I don't recall.

19·· · ·Q.· ··Okay.··Would your calendar reflect any

20··additional meetings that you had during that time

21··period?

22·· · ·A.· ··Yes.

23·· · ·Q.· ··During that time period between the

24··issuance of the NCA on June 6 and Mr. Briggs'

25··submission of his response to the NCA on July 3,
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                                                       PAUL ROTH      1/9/2020

                                                                               81
·1··2018, did you have any further e-mail communications

·2··with anybody relating to the discipline of Michael

·3··Briggs?

·4·· · ·A.· ··I might have.

·5·· · ·Q.· ··Earlier we talked about the testimony that

·6··you gave during the peer review hearing, correct?

·7·· · ·A.· ··Yes.

·8·· · ·Q.· ··And we talked about how you -- you

·9··testified that -- give me a moment.

10·· · · · · ·"In making the sanction decision, I

11··consulted with the vice president of Human

12··Resources, Dorothy Anderson; the Title IX

13··coordinator, Heather Cowan."

14·· · ·A.· ··Um-hmm.

15·· · ·Q.· ··Now, we've gone through several meetings,

16··and you've never mentioned Heather Cowan.··So was

17··there a time at which you met with Heather Cowan

18··about the discipline of Mr. Briggs?

19·· · ·A.· ··I don't recall specifically, but I do

20··remember understanding that the O- -- the Title IX

21··coordinator felt that termination was appropriate.

22·· · ·Q.· ··And how did you come to know -- how did

23··you come to understand that the Title IX coordinator

24··recommended termination?

25·· · ·A.· ··Again, that would have been either through
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                                                       PAUL ROTH      1/9/2020

                                                                               83
·1··a couple of follow-ups.··During your peer review

·2··testimony, you said, quote, "I can disclose that

·3··both Ms. Anderson and Ms. Cowan advised me that

·4··termination was the most appropriate sanction for

·5··Mr. Briggs."

·6·· · · · · ·And you can't -- it sounds like you cannot

·7··recall whether you actually received direct advice

·8··from Ms. Cowan; is that correct?

·9·· · · · · · · ··MR. SMITH:··Object to the form.

10·· · · · · · · ··MS. ANDERSON:··And, Travis, can I

11··please get a page and line number.··Do you have the

12··transcript?

13·· · · · · · · ··MR. JACKSON:··Sure.··Page 156.

14·· · ·Q.· ··So did you answer my question?··I'm sorry.

15·· · ·A.· ··Could you repeat that again?

16·· · ·Q.· ··Sure.··During your testimony at the peer

17··review hearing, you testified that, "I can disclose

18··that" -- quote, "I can disclose that both Ms.

19··Anderson and Ms. Cowan advised me that termination

20··was the most appropriate sanction for Mr. Briggs
                                              Briggs,"

21··close quote.

22·· · · · · ·Do you recall saying that during the peer

23··review hearing?

24·· · ·A.· ··Yes.

25·· · ·Q.· ··And so all I'm asking is:··Did you ever
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                                                        PAUL ROTH      1/9/2020

                                                                                89
·1··later Notice of Final Action, the one that was

·2··issued on August 27, 2018, was the document that

·3··officially terminated Mr. Briggs' employment?

·4·· · ·A.· ··I believe I understand that, yes.

·5·· · ·Q.· ··Okay.··And what I want to know is:··In

·6··between the time that you received the PLOD,

·7··whenever that was --

·8·· · ·A.· ··Um-hmm.

·9·· · ·Q.· ··-- and the date of the August 27, 2018,

10··Notice of Final Action that finally terminated

11··Mr. Briggs' employment, did you ever request any of

12··the 15 items of documentary evidence referred to in

13··the PLOD?

        A.·
14·· · ·A. · ··I don't believe I did.

        Q.·
15·· · ·Q. · ··And why not?

        A.·
16·· · ·A. · ··Because it was part of the investigation.

17··My job, as I understood it, was not to reassess the

18··investigation or re-evaluate it, but simply take the

19··results of the investigation and the appeal as fact

20··and then come to a determination of what the

21··disciplinary action should be.

        Q.·
22·· · ·Q. · ··Okay.··And was that understanding based on

23··advice given to you by Dorothy Anderson?

        A.·
24·· · ·A. · ··Yes.

25·· · ·Q.· ··When you were considering the discipline
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·1··one way or the other?

·2·· · ·A.· ··Not entirely, no.

·3·· · ·Q.· ··And why not?

·4·· · ·A.· ··For the reasons that I had been struggling

·5··with a decision all along, and that was that my

·6··experience with Mr. Briggs up to that point had been

·7··one in which he was an exemplary employee, he had

·8··conducted himself very professionally in all areas,

·9··all venues that I was familiar with.··And -- and I

10··had felt that the decision for termination seemed a

11··little more harsh than what was absolutely

12··necessary.

13·· · ·Q.· ··Okay.··In
                     In your discussions with

14··Ms. Anderson, did she express to you that she had

15··formed an opinion about what the appropriate

16··discipline should be after receiving Mr. Briggs'

17··response to the NCA?

18·· · ·A.· ··I
              I think Dorothy Anderson maintained pretty

19··constant opinion that termination was really the

20··only reasonable option.

21·· · ·Q.· ··Okay.··So
              Okay.··So during your conversation with

22··Dorothy -- and it sounds like there's this tension,

23··I'll call it, in which you were trying to find

24··discipline to something less than termination and

25··she is recommending termination.··Is that fair?
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                                                                           100
·1·· · · · · · · ··MR. SMITH:··Object to the form.

·2·· · ·A.· ··That's
              That's -- that's pretty fair.

·3·· · ·Q.· ··Okay.··After the Notice of Contemplated --

·4··after Mr. Briggs' notice -- response to the Notice

·5··of Contemplated Action was sent to you, did you

·6··discuss it with anyone other than Ms. Anderson?

·7·· · ·A.· ··Again, I may have.··Whether I had met or

·8··had a conversation with Heather Cowan or have had --

·9··had had some discussions with Chamiza, those would

10··have been possible.··I just don't recall specifics.

11·· · ·Q.· ··Okay.··Is there any way for us to

12··determine -- for the Court to determine whether you

13··had any further meetings with anyone else relating

14··the -- to Mr. Briggs' response to the NCA?

15·· · ·A.· ··Other than checking my electronic calendar

16··for a specific meeting, that would be the only way

17··of knowing if I had a formal meeting.··But -- but I

18··think if we had hallway conversations or something

19··short of a formal meeting on the calendar, you would

20··have to ask those individuals.

21·· · ·Q.· ··Okay.··I may have already asked this

22··question, but -- so I apologize -- I'll apologize if

23··I'm repeating myself.

24·· · · · · ·But after Mr. Briggs submitted his

25··response to the NCA, did you have any e-mail
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                                                                           101
·1··communications about it?

·2·· · ·A.· ··I don't recall.

·3·· · ·Q.· ··Okay.··If the Court wanted to determine

·4··whether or not you had done so, we would need to

·5··look at the e-mails that Emily collected, correct?

·6·· · ·A.· ··Yes.

·7·· · ·Q.· ··After
             ·After you received Mr. Briggs' response to

·8··the NCA, during discussion with Ms. Anderson, did

·9··she reemphasize to you that it was not your role to

10··reweigh the evidence?

11·· · · · · · · ··MS. ANDERSON:··Object to form.

12·· · ·A.· ··I
              I don't recall if it was -- if Dorothy had

13··explicitly restated that, but it was clearly my

14··understanding at the time.

15·· · ·Q.· ··During the peer review hearing, you

16··presented sworn testimony by reading from a prepared

17··written statement, correct?

18·· · ·A.· ··Yes.

19·· · ·Q.· ··Did you prepare that written statement by

20··yourself?

21·· · ·A.· ··No.

22·· · ·Q.· ··Who participated in the preparation of

23··that written statement?

24·· · · · · · · ··MR. SMITH:··Travis, I think you're

25··wading into attorney/client privileged
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·1·· · ·Q.· ··Okay.··Who wrote the written statement --

·2··the written sworn testimony that you provided during

·3··the peer review hearing?

·4·· · ·A.· ··I think it was a joint effort.

·5·· · ·Q.· ··And it was a joint effort between who?

·6·· · ·A.· ··Counsel and myself.

·7·· · ·Q.
        Q.·· ··So you didn't solely author the sworn

·8··testimony that you presented at the peer review

·9··hearing; is that correct?

        A.·
10·· · ·A. · ··Correct.

11·· · ·Q.· ··And this is going over some ground that

12··we've already covered, so I apologize in advance,

13··but I want to talk about your testimony during the

14··peer review hearing.··Okay?

15·· · · · · ·During the peer review hearing, you

16··testified that, quote, "It was not my role to decide

17··whether Mr. Briggs engaged in sexual misconduct."

18··Do you recall that?

19·· · ·A.· ··Yes.

20·· · ·Q.· ··And how did you determine that it was not

21··your role to determine whether Mr. Briggs engaged in

22··sexual misconduct?

        A.·
23·· · ·A. · ··That's what I understood to be my role

24··through Dorothy Anderson.

25·· · ·Q.· ··Okay.··And during the peer review hearing,
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                                                                           104
·1··you also testified that, quote, "It was not my role

·2··to reanalyze and reweigh the evidence that was

·3··collected and considered during the OEO process."

·4··Do you recall that?

·5·· · ·A.· ··Yes.

·6·· · ·Q.· ··And how did you come to understand your

·7··role with respect to that statement?

        A.·
·8·· · ·A. · ··In the same way.

        Q.·
·9·· · ·Q. · ··Through Dorothy Anderson?

        A.·
10·· · ·A. · ··Dorothy Anderson.

11·· · ·Q.· ··Did Dorothy Anderson ever point you to any
1

12··UNM policy that prohibited you from

13··analyzing/reanalyzing the evidence considered by OEO

14··when imposing discipline?

15·· · ·A.· ··I don't recall.

16·· · ·Q.· ··Would you have relied on -- did you rely

17··on Dorothy Anderson to identify the applicable

18··policies --

19·· · ·A.· ··Yes.

20·· · ·Q.· ··-- with respect to the discipline of

21··Mr. Briggs?

22·· · ·A.· ··Yes.

23·· · · · · · · ··MR. JACKSON:··What time is it?

24·· · · · · · · ··MR. SMITH:··I've got 11:34.

25·· · · · · · · ··MR. JACKSON:··So I'm about to get
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·1·· · ·A.· ··Um-hmm.

·2·· · ·Q.· ··Did Dorothy Anderson, did she actually

·3··emphasize to you that your role was not to

·4··re-evaluate the evidence?··Is that how you would

·5··characterize her conversation with you?

        A.·
·6·· · ·A. · ··Yes.

·7·· · ·Q.· ··What about the terminology about this

·8··tension that existed between your interest in

·9··pursuing some type of a settlement with Michael

10··Briggs that would allow him to stay on as an

11··employee with the University and Ms. Anderson's

12··decision -- or feeling that he should be terminated,

13··would you characterize that as a tension between you

14··two?

        A.·
15·· · ·A. · ··Yeah.··I think it -- we were not in full

16··agreement initially that termination was the proper

17··course of action.··And I had specifically asked to

18··have her and OEO consider an alternative, which I

19··believe they were willing to do, but that would not

20··have been their initial recommendation.

21·· · ·Q.· ··I guess when I hear the word "tension," I

22··think of kind of an aggressive disagreement.··Was

23··that disagreement aggressive in any way or --

24·· · ·A.· ··Oh, no.

25·· · ·Q.· ··-- contested?
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·1··anything having to do with that particular incident.

·2··And -- and so I did not see this as a -- as a

·3··realistic counteroffer.··It was -- it was a complete

·4··rejection of -- of what we had offered.

·5·· · ·Q.· ··And I think you testified about your

·6··desire for Mr. Briggs to take some type of

                                               correct?
·7··responsibility at the peer review; is that correct

·8·· · ·A.· ··Yes.

·9·· · ·Q.· ··And why was that important to you?

10·· · ·A.· ··Well, it -- it speaks to, I think in

11··general, a factor that I had considered when

12··agreeing to -- to the termination of Mr. Briggs,

13··that he took no responsibility at all.··And it also

14··spoke to the concern, I think, that we briefly

15··touched on earlier in the deposition about the sense

16··of safety for the rest of the University community;

17··in that, if -- since Michael took no responsibility

18··for his actions at all, that that could have been

19··perceived by him as enabling him to repeat that

20··behavior with others.

21·· · ·Q.· ··And I think you were alluding to that, and

22··I just want to confirm that in your peer review

23··testimony, when you said that, quote, "I
                                           I believe

24··that a person who refuses to accept responsibility

25··for misconduct is a person likely to reengage in the
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                                                                           160
·1··same
    same conduct."··Is that -- does that convey your

·2··concerns about Michael potentially reoffending?

        A.·
·3·· · ·A. · ··Yes.

·4·· · ·Q.· ··Or reengaging in that type of sexual

·5··misconduct?

        A.·
·6·· · ·A. · ··Yes.

·7·· · ·Q.· ··With regards to -- and I'm jumping around
·

·8··a little bit, so I appreciate you bearing with me.

·9·· · · · · ·With regards to Exhibit 185, this is going

10··to be the December 4th PLOD, the Preliminary Letter

11··of Determination.··And I just want to draw you to --

12··your attention back to page 17 of 28.··And my

13··questions are going to relate to the documentary

14··evidence portion of it.··Okay?

15·· · · · · ·You were asked earlier in the deposition

16··whether or not you reviewed any of the documentary

17··evidence; is that correct?

18·· · ·A.· ··Yes.

19·· · ·Q.· ··And you did not recall specifically

20··whether or not you reviewed this information?

21·· · ·A.· ··Correct.

22·· · ·Q.· ··And it wasn't necessary -- or was it

23··necessary, in your opinion, to actually review the

24··underlying evidence?

25·· · ·A.· ··No.
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·1·· · ·Q.· ··Why not?

·2·· · ·A.· ··It -- it was not my job to actually

·3··revisit the investigation.··It
                                It was mostly to

·4··consider the outcome and the findings of OEO.··And I

·5··was -- my understanding of my role was not to

·6··reinvestigate or question the findings, but to

·7··accept the findings as fact and then to determine

·8··the appropriate disciplinary action.

·9·· · ·Q.· ··I understand.··And did the peer review

10··panel, did they have the opportunity to review this

11··documentary evidence that's pointed out in page 17

12··of Exhibit 185?

13·· · ·A.· ··Did they have the opportunity to?··I think

14··the policy -- or the process we undertook -- you

15··know, I don't know if -- from a procedural

16··perspective, whether they did or didn't.

17·· · ·Q.· ··Let me ask a better question.··Was the

18··peer review panel, were they allowed to make

19··determinations about the evidence?

20·· · · · · · · ··MR. JACKSON:··Object to form.

21·· · ·A.· ··I don't know.

22·· · ·Q.· ··Are you aware of whether or not the peer

23··review panel could reweigh the evidence that was

24··initially indicated in the PLOD?

25·· · ·A.· ··You know, I don't recall if they were
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                                                                           164
·1··of the evidence a lack of consent and ability to

·2··consent to the sexual activity in question, and thus

·3··the activity was unwelcome."

·4·· · · · · ·Did I read that correctly?

·5·· · ·A.· ··Yes.

·6·· · ·Q.· ··When
              When you referred to "critical admissions"

·7··by Michael Briggs, can you tell me what you were

·8··referring to?

        A.·
·9·· · ·A. · ··Critical admissions?

        Q.·
10·· · ·Q. · ··Yes.

        A.·
11·· · ·A.                                          that?
           · ··What was the context in which I said that

12·· · ·Q.· ··I'll just point your attention back to

13··that last sentence, and then if you could just

14··explain to me what those critical admissions were.

15·· · ·A.· ··Now, I'm not sure I wrote this.··I think

16··this was a form that was either written by OEO or

17··the HR Department.

18·· · ·Q.· ··Okay.··And I would just ask you to flip

19··the page over to page 2.

20·· · ·A.· ··Okay.··That's got my signature on it.

21·· · ·Q.· ··Well, sitting here today, do you recall --

22·· · ·A.· ··Yes.

23·· · ·Q.· ··-- what those critical admissions were?

24·· · ·A.· ··I -- I don't recall what those were.··I

25··think it might have had to have been relating to the
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                                                                                                         PLAINTIFF'S
                                                                                                           EXHIBIT


                                                       U.S. Department of Justice
                                                       Civil Rights Division
                                                                                                            6
                                                       Educational Opportunities Section


SAS:TBC:CMP:RS                                        U.S. Mail: 950 Pennsylvania Avenue, NW
                                                                 Patrick Henry Building, Suite 4300
169-49-69                                                        Washington, D.C. 20530
                                                      Overnight: 601 D Street, NW, Suite 4300
                                                                 Washington, D.C. 20004
                                                      Phone:     (202) 514-4092
                                                      Fax:       (202) 514-8337



                                                        April 22, 2016

President Robert G. Frank
Office of the President
1 University of New Mexico
Albuquerque, NM 87131


        Re: Title IX and Title IV Investigation of University of New Mexico

Dear President Frank:
 The Department
           p          of Justice ((the “Department”
                                          p         or “the United States”)) has completed
                                                                                      p      its
 investigation
          g       regarding
                    g      g the Universityy of New Mexico’s ((“the University”y or “UNM”)) handlingg
 of reports by students of sexual harassment, including sexual assault, at its Albuquerque campuscampus.
 The United States conducted its investigation under Title IV of the Civil Rights Act of 1964
 (“Title IV”), 42 U.S.C. § 2000c-6, which prohibits discrimination based on sex, among other
 bases, by public colleges and universities, and Title IX of the Education Amendments of 1972
 (“Title IX”), as amended, 20 U.S.C. §§ 1681–1688, and its implementing regulations, 28 C.F.R.
ppt. 54,, which prohibit
                  p        sex discrimination byy recipients
                                                      p      of federal financial assistance. UNM is a
 recipient
     p       of financial assistance from the Department’s
                                                  p           Office of Justice Program’s National
 Institute of Justice and Bureauu of Justice Statistics.

The Department
        p         initiated its investigation
                                       g      in December 2014,, after receivingg complaints
                                                                                      p       from
multiple students alleging that UNM did not respond adequately to their reports of sexual assault.
The complaints raised a range of issues, including confusion regarding where and how to report,
lengthy delays in UNM’s investigative and resolution processes, insensitive and sometimes re-
traumatizing investigative techniques by UNMPD and other UNM employees, failure to provide
effective interim safety measures, supports and services, and a perception that the campus culture
affords preferential treatment to certain students, particularly athletes or those affiliated with
fraternities, while approaching reports of sexual assault with skepticism or indifference.

As part of the investigation, the Department reviewed the University’s policies and grievance
procedures; training for staff, students and faculty, including training of those responsible for
coordinating Title IX enforcement; responses to reports by students of sexual harassment, sexual
assault, and retaliation; coordination of Title IX enforcement; and notice of nondiscrimination.
During site visits to campus, we conducted dozens of interviews of campus administrators and
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police officers, current and former students and their families, faculty members, and community
partners who provide services and supports to UNM students who have been sexually assaulted.
UNM cooperated from the outset and throughout the process.

Our investigation
            g       found that althoughg UNM has strengthened
                                                           g         its response
                                                                            p      to sexual harassment
and sexual assault of students over the ppast yyear,, it remains out off compliance
                                                                              p        with Title IX and
Title IV in keyy respects.
                    p      Based on our review,, UNM must do more to address and respond       p      to
sexual harassment that creates a hostile environment,, including     g sexual assault,, by
                                                                                         y effectively
stopping
   pp g harassment,, preventing
                       p          g its recurrence,, eliminatingg the hostile environment,, and
       y g its harms. This letter constitutes notice of the Department’s
remedying                                                          p            findings,
                                                                                       g , and of the
minimum steps p that the University y must take to bringg policies,
                                                           p          practices, and procedures into
compliance with federal law, and to remedy past violations.

The United States appreciates the University’s cooperation, its proactive efforts to date, and its
stated commitment to addressing sexual harassment, including sexual assault, to ensure a safe
campus and access to educational opportunities for all students. We also extend our thanks to
each member of the UNM and greater Albuquerque community who met with us in the course of
the investigation – especially the many current and former students who came forward to share
their perspectives and personal experiences with sexual assault and campus response at UNM.

                                           BACKGROUND

The University of New Mexico is a large public research university located in Albuquerque, with
branch campuses in Gallup, Los Alamos, Taos and Valencia County. In the fall of 2015, 27,353
students were enrolled in undergraduate, graduate and professional degree programs at the main
campus in Albuquerque, which also retains approximately 16,000 employees. Among these
employees are the 40 sworn peace officers of the University of New Mexico Police Department
(UNMPD). UNMPD officers hold the authority to enforce all applicable laws, ordinances, and
campus traffic regulations, and to make arrests for criminal behavior that occurs on the UNM
campus. The Chief of UNMPD reports directly to the University’s Executive Vice-President for
Administration Office.

On December 5,, 2014,, the Department
                               p         notified UNM byy pphone and byy letter that it was initiating
an investigation
           g     and compliance review under Title IV and Title IX based on multiple
complaints, and requested that UNM produce documents and other information for review.
complaints
From the start of our investigation, the University President pledged his cooperation and that of
his staff. The University responded promptly to all of the United States’ requests for information
and provided access to all University employees with whom the United States requested to meet.

In the course of the investigation, the United States reviewed thousands of pages of documents
and conducted site visits to the University and the Albuquerque community in January, April and
May of 2015. We reviewed the University’s policies prohibiting sexual harassment, including
sexual assault; the Student Conduct Code (“SCC”), the Discrimination Claims Procedure
(“DCP”), and the Student Grievance Procedure (“SGP”); UNMPD policies, procedures and
practices for responding to, and investigating incidents of, sexual assault; and training and


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education materials on Title IX, sexual harassment, and sexual assault that UNM provided to
members of the campus community.

We also reviewed copies of all complaints filed with the University and UNMPD alleging sexual
harassment or sexual assault for six full academic years, from the 2009-2010 school year through
the end of the 2014-15 school year.1 The complaints included, but were not limited to,
allegations involving student-on-student sexual harassment and sexual assault, and employee-on-
student sexual harassment and sexual assault. In addition, the United States analyzed how the
University and/or UNMPD responded to each of these complaints and how UNM policies,
training, and grievance procedures affected how they were processed and resolved. In total, we,
together with expert consultants in sexual assault response and campus law enforcement,
reviewed UNM’s administrative response to 173 complaints of sexual harassment, including
sexual assault, domestic violence and stalking, and 55 campus police investigation reports. The
United States also conducted more than 50 interviews with current and former students and their
parents, current and former faculty and staff, community members, and University officials, and
held six focus group meetings and multiple open office-hours sessions in Albuquerque to hear
directly from students, staff and faculty.

At the outset of our investigation,
                            g     , the Universityy had in pplace a labyrinth
                                                                        y      of 17 outdated ppolicies
and pprocedures related to sexual assault and sexual harassment, many in conflict with each other
and with federal regulations and guidance on Title IX IX.2 Faculty and staff did not understand
when or how to report sexual harassment that they observed, learned about, or themselves
experienced. The University provided virtually no training on sexual assault or sexual violence
to students. Students told us they had no idea where or how to report or where to get help.
Those who were able to report
                            p encountered a confusingg process,
                                                            p       , rife with roadblocks and delays.
Further,, UNM officials responsible
                            p         for addressingg and remedying
                                                                 y g complaints
                                                                            p       of sexual
harassment,, includingg sexual assault,, had received minimal and inconsistent trainingg and
demonstrated a lack of understanding of trauma-informed interviewing and investigative
techniques.

Similarly, most UNMPD officers had not received adequate law enforcement training in how to
respond to sexual assault incidents, including how to appropriately conduct victim and witness
interviews and effectively gather evidence following a sexual assault. The various individuals
and organizations handling different aspects of sexual assault response at the University did not
communicate with each other, leading to fractured and incomplete service provision and failure
to make appropriate referrals. Without appropriate supports in place, numerous students saw

1
  This letter of findings focuses on the policies, procedures and practices in place at the beginning of the 2009-10
school year through the 2014-2015 school year. We did not review complaints or investigations filed, processed, or
completed after July 1, 2015. With respect to trainings, policies, and procedures, we requested and reviewed
updates as of November 2015, as reflected throughout this letter.
2
  Title IX prohibits sex-based discrimination in all schools, colleges, and universities that receive federal financial
assistance, while Title IV prohibits sex-based discrimination only in public schools, colleges and universities. As
Title IX is the more expansive statute, the phrase “Title IX” has evolved as short hand for discussing a school’s
obligation to respond to, eliminate, prevent the recurrence of, and remedy the harm of sex-based discrimination in
educational programs. All references to a school’s Title IX obligations should be read to include its parallel Title IV
obligations.

                                                           3
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promising academic careers derailed – experiencing lasting and serious emotional and mental
health consequences; suspending their academic coursework; dropping out of extracurricular
activities; losing scholarships; and/or leaving the University altogether. And troublingly, in
interview after interview, UNM students expressed reluctance to report sexual assault to UNM
because they feared retaliation or because they lacked confidence in the University’s response.

Fromm the start of our investigation, the University
                                          University openly acknowledged gaps in its response to
sexual assault and sexual harassment and, to its credit, engaged in an ongoing and major effort to
begin addressing those gaps. UNM expanded the mandate and raised the profile of the
University’s Presidential Task Force on Sexual Assault, which President Frank had first asked
his staff to create in Spring 2014. As chair of the Presidential Task Force, UNM’s Dean of
Students (“DoS”) reconvened UNM’s Sexual Assault Response Team (“SART”), which had first
formed in 2013 but by the following year was no longer meeting regularly. In 2015, SART was
renamed the Sexual Misconduct and Assault Response Team (“SMART”), and its focus
broadened to also include sexual misconduct. SMART includes representatives from campus
and community-based stakeholders and organizations, including medical, counseling, law
enforcement, and the student conduct office.

In September 2014, UNM commissioned consultants from Pilgrim & Associates to review and
evaluate the climate regarding sexual violence in UNM’s student housing and athletics programs.
Pilgrim provided the University with a report on December 4, 2014, making recommendations
for changes to UNM’s policies, climate, training, and security. UNM publicly released the report
in January 2015. In May 2015, UNM adopted a new sexual violence policy, streamlining its
existing assortment of inconsistent policies into a clearer document that better complies with
federal requirements. UNM also expanded training for undergraduate students, with an initial
focus on student athletes and members of campus fraternities and sororities. In June 2015, the
University launched a website called LoboRESPECT to publicize and provide information about
its sexual harassment policies and procedures, and in September 2015 UNM opened the
LoboRESPECT campus advocacy center to consolidate services and resources under one roof.
 The Department commends UNM for these significant and proactive efforts. And we note that
 these initial measures may already be lifting student confidence in UNM’s response: During the
 2014-15 school year, the University received 109 administrative complaints of sexual
 harassment, sexual assault, domestic violence and stalking, in which at least one UNM student
 was party to the complaint.3 By contrast, UNM had received a total of 57 complaints for the
 same acts in the previous five years combined. Increased reporting is a positive signal that
 UNM’s efforts are improving students’ awareness of, and confidence in, the University’s  y
pprocedures to address sexual harassment and sexual assault. Nonetheless,, we found that UNM
must take additional steps
                         p to ensure prompt
                                      p     p and equitable
                                                   q         resolutions of reports
                                                                              p     of sexual
harassment and assault,, protect
                         p       and support
                                        pp students who have reported sexual
harassment/assault, and improve campus climate and culture.
                                                        culture


3
  For purposes of this letter, the school year starts on July 1st. Of the 109 complaints, 36 were classified as sexual
assault, 41 as sexual harassment, 15 as domestic violence, 14 as stalking, and one each of sexual exploitation,
hazing, and battery.

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                                                               LEGAL STANDARDS

The United States conducted this investigation and review of the University under its Title IX
and Title IV authority. Title IX and its implementing regulations, 28 C.F.R. Part 54, prohibit
discrimination on the basis of sex in education programs and activities operated by recipients of
federal financial assistance. Title IV prohibits discrimination against students in public schools
and colleges and universities based on sex, race, color, religion, and national origin. The
University is a public school that receives federal financial assistance and therefore is subject to
the requirements of both Title IX and Title IV. In the context of court actions for injunctive
relief and administrative enforcement actions, the United States interprets Title IX and Title IV
as applying the same standard to allegations of sex-based harassment. Thus, in the context of
this investigation and compliance review of the University, the United States applied the same
legal standards under Title IX and Title IV to conduct its legal analysis and reach its findings.4

Under Title IX and Title IV, colleges and universities that receive federal financial assistance are
responsible for providing students with a nondiscriminatory educational environment. Sexual
harassment is unwelcome conduct of a sexual nature and can include unwelcome sexual
advances, requests for sexual favors, and other verbal, nonverbal, or physical conduct of a sexual
nature, such as sexual assault or acts of sexual violence. Sexual harassment that is sufficiently
serious to interfere with or limit a student’s ability to participate in or benefit from the school’s
program, i.e. creates a hostile environment, is a form of sex discrimination prohibited by Title IX
and Title IV.
To determine whether a hostile environment exists, the United States considers whether there
was harassing conduct based on sex that was sufficiently serious—that is, severe, persistent or
pervasive—to deny or limit a student’s ability to participate in or benefit from the school’s
program. The United States examines all the relevant circumstances from an objective and
subjective perspective, including: the type of harassment (e.g., whether it was verbal or
physical); the frequency and severity of the conduct; the age, sex, and relationship of the
individuals involved (e.g., teacher-student or student-student); the setting and context in which
the harassment occurred; whether other incidents have occurred at the college or university; and
other relevant factors. The more severe the conduct, the less need there is to show a repetitive
series of incidents to prove a hostile environment, particularly if the harassment is physical.
Indeed, a single instance of rape is sufficiently severe to create a hostile environment.

When a school knows or reasonably should know of possible sexual harassment, it must take
immediate and appropriate steps to investigate or otherwise determine what occurred. If an
investigation reveals that sexual harassment created a hostile environment, the school must then
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4
  For consistency in federal administrative compliance reviews, the Department follows the legal standards
 established by the Department of Education’s Office of Civil Rights in the Revised Sexual Harassment Guidance:
Harassment of Students by School Employees, Other Students, or Third Parties, available at:
http://www.ed.gov/about/offices/list/ocr/docs/shguide.html (Jan. 19, 2001); and its subsequent interpretive
documents: the Dear Colleague Letter on Sexual Violence, available at:
http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.html (Apr. 4, 2011), and “Questions and
Answers on Title IX and Sexual Violence” (Apr. 29, 2014), available at:
http://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf.

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take prompt and effective steps reasonably calculated to end the sexual harassment, eliminate the
hostile environment, prevent its recurrence, and, as appropriate, remedy its effects. A school
should not wait to take steps to protect its students until students have already been deprived of
educational opportunities. The school has responsibility to respond to allegations of sexual
harassment of which they are or should have been aware, regardless of whether a student has
complained, asked the school to take action, or identified the harassment as a form of
discrimination.

The United States evaluates the appropriateness of a university’s responsive action by assessing
whether it was prompt and effective. What constitutes an appropriate response to harassment
will differ depending upon the circumstances. In all cases, however, the college or university
must conduct a prompt, thorough, and impartial inquiry designed to reliably determine what
occurred. A school must protect the complainant and ensure his or her safety as necessary,
including taking interim steps before the final outcome of any investigation.5 The school should
take these steps promptly once it has notice of a sexual harassment allegation and should provide
the complainant with periodic updates on the status of the investigation. The school should also
ensure that the complainant is aware of any available resources, such as victim advocacy,
housing assistance, academic support, counseling, disability services, health and mental health
services, and legal assistance. If a school delays responding to allegations of sexual harassment
or responds inappropriately, the school’s own inaction may subject the student to a hostile
environment. If it does, the school will also be required to remedy the effects of the sexual
violence that could reasonably have been prevented had the school responded promptly and
appropriately.

Sexual harassment of a student by a faculty member or other school employee also violates Title
IX and Title IV. A school should take steps to protect its students from sexual abuse by its
employees by developing policies prohibiting inappropriate conduct by school personnel and
procedures for identifying and responding to such conduct. Whether a school had notice or not,
a school is nonetheless responsible for remedying any effects of the sexual harassment on the
student, as well as for ending the sexual harassment and preventing its recurrence, when an
employee engaged in the sexual activity in the context of the employee’s provision of aid,
benefits, or services to students (e.g., teaching, counseling, supervising, advising, or transporting
students).

In addition, if there is an incident involving potential criminal conduct, a school should notify a
complainant of the right to file a criminal complaint, and should not dissuade a complainant from
doing so. While schools may honor law enforcement’s request to delay temporarily the fact-
finding portion of a Title IX investigation while the police are gathering evidence, schools
should not wait for the conclusion of a criminal investigation or criminal proceeding to begin
their own Title IX investigation. A law enforcement investigation, whose purpose is to
determine whether a person violated the state’s penal code, differs from an administrative
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  For the purpose of this letter, complainant refers to the person allegedly subjected to the harassing conduct.
However, as already noted, a school must respond to complaints of alleged sexual harassment whether it learns of
the harassment from the person subjected to the harassment, a third party, or an alternative source of information,
e.g. a news report.

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complaint investigation under Title IX, the purpose of which is to ensure a student’s access to
education is not limited or denied due to discrimination. A law enforcement investigation (and
any subsequent prosecution) is independent of and does not relieve a university of its Title IX
and Title IV obligation to ensure that a student’s access to the education program is not limited
or denied. While universities are encouraged to enter into agreements coordinating campus and
community law enforcement investigations, a university should not wait for the conclusion of a
criminal investigation or criminal proceeding to begin its own Title IX investigation.
Title IX also requires universities to adopt and publish grievance procedures providing for
prompt and equitable resolution of student and employee complaints alleging any action that
would be prohibited by Title IX, including sexual harassment and sexual assault. 28 C.F.R. §
54.135(b). Title IX does not require a university to provide separate grievance procedures for
sexual harassment complaints than other disciplinary procedures; however, a university’s
grievance procedures for handling discrimination complaints through their administrative
process must comply with the prompt and equitable requirements of Title IX. To ensure
individuals can invoke these grievance procedures without fear of reprisal, Title IX also prohibits
the university and others, including students, from retaliating against any individual “for the
purpose of interfering with any right or privilege secured by [Title IX],” or because that
individual “has made a complaint, testified, assisted, or participated in any manner in an
investigation, proceeding, or hearing” under Title IX.6 Prohibited retaliatory acts include
intimidation, threats, coercion, or discrimination against any such individual. Universities
therefore should take steps to prevent any retaliation against a student who makes a complaint or
any student who provides information regarding the complaint. At a minimum, under Title IX
and Title IV, a university must ensure that complainants and their parents, if appropriate, know
how to report any incidents of retaliation or new incidents of harassment, and should follow up
to determine whether those incidents occurred.

A university may also need to take steps to address campus climate and the educational
environment for students, including: training; the dissemination of information about how to
report sexual harassment; adoption of new policies; and other steps designed to clearly
communicate that the university does not tolerate, and will be responsive to any reports of,
sexual harassment.

Further, a university must designate at least one employee to coordinate its efforts to comply
with and carry out its responsibilities under Title IX. 28 C.F.R. § 54.135(a). All students and
employees must be notified of the name (or title), office address, email address, and telephone
number of the designated Title IX Coordinator(s). The Title IX Coordinator(s) must have
adequate training on what constitutes sexual harassment, including sexual violence, and
understand how the grievance procedures operate.




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6
  28 C.F.R. § 42.107(e); see 28 C.F.R. § 54.605 (adopting enforcement procedures of Title VI of the 1964 Civil
Rights Act at 28 C.F.R. §§ 42.106-42.111 and applying them to the Title IX regulations).



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Lastly, a university must notify all parties that, pursuant to Title IX, it does not discriminate on
the basis of sex in the education programs or activities that it operates. 28 C.F.R. § 54.140. The
notice must state: the requirement not to discriminate in the recipient’s education programs and
activities extends to employees and students; inquiries concerning the application of Title IX
may be referred to the Title IX Coordinator or employee designated pursuant to 28 C.F.R. §
54.135(a); and the name, office address, email address, and telephone number of the designated
coordinator.

                                     DISCUSSION OF FINDINGS

Based on the standards above, the United States reviewed the University’s policies on sexual
harassment, including sexual assault, and trainings regarding those policies to determine whether
they provide adequate and clear notice to students and employees of conduct prohibited by law.
We also carefully reviewed the adequacy of the University’s Title IX grievance procedures,
whether students have sufficient notice of these procedures and how to file complaints, and how
the University has used these procedures to respond to sexual assault and sexual harassment
complaints since the 2009-2010 school year.

Additionally, we evaluated the University’s compliance with its duties to designate
coordinator(s) under Title IX, to train those responsible for Title IX coordination and
enforcement, and to provide a notice of nondiscrimination.

Below we explain in detail each area in which the University’s compliance with Title IX and
Title IV fell short of its legal obligations.

I.       University Policies Prohibiting Sexual Harassment and Sexual Assault

At the time the Department
                     p        initiated its investigation,
                                                   g      , UNM had in placep     17 overlapping, and
often conflicting, policies related to sexual harassment and sexual assault. Most had not been
updated in over 15 years, and as such did not reflect more recent federal interpretive guidance
related to sexual harassment and sexual assault,, such as the U.S. Departmentp        of Education’s
2011 gguidance on Title IX.7 Collectively,  y, UNM’s policies
                                                        p        failed to provide
                                                                             p       members of the
UNM communityy with a clear understanding       g of the parameters
                                                         p             off prohibited
                                                                           p          conduct,, where to
  p , options
report,  p       for confidential and non-confidential reporting,
                                                            p      g, pprocedures for adjudication,
                                                                                         j         , and
where to seek helpp and support.
                            pp      For example,
                                               p , the University’s
                                                                  y Sexual Assault Policy   y (which
                                                                                               (       was
in effect until Mayy 2015)) had not been updated
                                             p       since 1995,, used inconsistent and confusing  g
terminology,
           gy, contained multiple
                               p cross-references to other policies, and provided incomplete
                                               procedures. A UNM student, particularly one seeking
information on reporting and adjudication procedures
help and guidance after experiencing a traumatic assault, would likely have found the
University’s policies to be daunting and inscrutable.

UNM’s adoption of the new Sexual Violence and Sexual Misconduct Policy (“SVSMP” or
“Policy 2740”) in May 2015 has alleviated many, but not all, of these deficiencies. Although the
7
  See 2011 Dear Colleague Letter on Sexual Violence, U.S. Department of Education, Office for Civil Rights,
(April 4, 2011) available at http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.html.

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University still has 17 policies that, at least in part, apply to incidents of sexual harassment,
including sexual assault, the SVSMP consolidates much of the information, making it easier for
users to find conduct requirements and procedures without navigating multiple disparate policies.
UNM does not, however, explain how the policies interrelate, or which of the 17 policies, if any,
have been withdrawn or are no longer in effect. For example, in addition to the SVSMP, three
additional primary policies relate to Title IX: the Equal Opportunity, Non-Discrimination, and
Affirmative Action (“Policy 2720”); Sexual Harassment (“SHP” or “Policy 2730”); and
Whistleblower Protection and Reporting Suspected Misconduct and Retaliation (“Policy 2200”).8
Not only do the four policies contain various inconsistencies, but faculty, staff and students
receive no guidance as to which policy governs when there are areas of conflict.

The ppolicies,, for example,
                       mp , still fail to define sexual harassment in a consistent manner, and
conflate the definition of harassment with the definition of a hostile environment. Policy 2720
 defines sex-based harassment as “unwelcome verbal or physical behavior, which is directed at
 persons because of their … sex … when these behaviors are sufficiently severe or pervasive to
 have the effect of unreasonably interfering with their educational experience, working
 conditions, or student housing by creating an intimidating, hostile, or offensive environment.”
 Policy 2730 and Policy 2740 define sexual harassment differently: “sexual harassment, a form
 of sex discrimination, is defined as unwelcome conduct of a sexual nature. There are two typical
 types of sexual harassment: quid pro quo and hostile environment.” Policy 2730 then goes on to
 note that sexual misconduct may be “offensive, but not sufficiently    y severe,, ppervasive or
ppersistent as to constitute a hostile environment.” These definitions differ in multiple  p and
significant
   g         respects:
                 p     under Policyy 2730,, ppersistent sexual misconduct would constitute a hostile
environment,, whereas under Policyy 2720,, it would not. Policyy 2720 suggests
                                                                             gg       that an offensive
environment is different from a hostile environment and can independently
                                                                       p        y rise to the level of
harassment,, while Policy  y 2740 suggests
                                     gg      that an offensive environment is jjust a lesser form of a
hostile environment that does not independently
                                          p         y constitute harassment. As a result,, these
ppolicies fail to provide students, faculty, and staff with clear and consistent notice of prohibited
 conduct.

In addition, each of these policies mistakenly indicates that unwelcome conduct of a sexual
nature does not constitute sexual harassment until it causes a hostile environment or unless it is
quid pro quo. Unwelcome conduct of a sexual nature, however, constitutes sexual harassment
regardless of whether it causes a hostile environment or is quid pro quo. Indeed, federal
guidance defines sexual harassment as “unwelcome conduct of a sexual nature. It includes
unwelcome sexual advances, requests for sexual favors, and other verbal, nonverbal, or physical
conduct of a sexual nature, such as sexual assault or acts of sexual violence.”9

Hostile environment is not part of the definition of sexual harassment, nor is it required for
“unwanted conduct of a sexual nature” to be deemed sexual harassment. Instead, hostile

8
  Policy 2215: Consensual Relationships and Conflicts of Interest, which requires any UNM staff, faculty, or
student engaged in a relationship with a subordinate to report said relationship to their supervisors, is also relevant to
Title IX matters.
9
  See 2011 Dear Colleague Letter on Sexual Violence, U.S. Department of Education, Office for Civil Rights,
(April 4, 2011) available at http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.html.

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environment is the threshold for determining the school’s obligation under Title IX: when a
school knew or should have known about sexual harassment that is sufficiently severe, persistent
or pervasive as to create a hostile environment, the school has an obligation to end the
harassment, prevent its reoccurrence, and remedy its harm.10 The school, therefore, carries the
responsibility to investigate complaints of sexual harassment to determine whether a hostile
environment exists that requires further action. In conflating the definitions of sexual harassment
and hostile environment, UNM shifts this responsibility to UNM staff, faculty, and students, by
suggesting that a complainant must determine whether, and then specifically allege, a hostile
environment exists for a report to constitute sexual harassment.

Compounding the confusion created by inconsistencies among the policies is the absence of any
explanation regarding how the policies relate to one another and when each applies. For
example, Policy 2200, which governs how employees should report suspected misconduct,
including sexual harassment, provides no definition for sexual harassment and does not reference
or link to any UNM policy that does define sexual harassment. Employees referencing this
policy may fail to report allegations of sexual harassment as required, because they have no clear
examples or explanation of prohibited behavior.

II.           Campus Awareness of Sexual Harassment Policies

UNM posts all relevant policies on its website, and publishes some in the Student Handbook
distributed at Orientation. However, based on our interviews and focus groups, we found that
with those efforts UNM had not effectively publicized its policies on sexual harassment to
students, faculty, staff, and the wider UNM community. First, most students had never heard of
the Office of Equal Opportunity (“OEO”), the office tasked with processing sexual harassment
complaints. Second, when asked where they would report a sexual assault, most students said
they did not know where to report or that they would call Agora, a student-run, confidential
telephone hotline that offers support and referral services. Contacting Agora, however, does not
constitute a report to the University or initiate UNM’s investigation procedures, as Agora
volunteers are not responsible employees of the University with a duty to provide information
about the reports it receives.11 Third, students did not understand when a report of a sexual
assault would be confidential and when it would not. Fourth, unless they had actually reported a
sexual assault, students generally did not know that there are two reporting options: criminal and
university administrative. While most students were only aware of the criminal option, those
who were aware of the UNM reporting option didn’t understand how the two processes differed.
Students were also generally unfamiliar with UNM resources available to those who have been
sexually assaulted, apart from Agora and the Student Health and Counseling Center (“SHAC”).

In June 2015, UNM took a step toward addressing these gaps by launching a website called
LoboRESPECT to publicize and provide information about its sexual harassment policies and
procedures. We commend UNM for consolidating information in a central and easily accessible
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  Id.
11
  Agora is a highly visible service that provides students with an option for seeking confidential support.
Confidential support options are important as many complainants need someone to speak to before they determine
whether they wish to officially report their assaults.

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location, and for continuing to review and strengthen the website for both content and clarity.
The Reporting Options page, which provides important information regarding on campus and off
campus reporting options for victims or bystanders, could be further enhanced to clarify the
implications of using each of those options. For example, the Reporting Options page does not
include a link to the DCP, which governs the OEO investigation and adjudication process, so
students considering reporting to OEO have no readily clear explanation about what each step in
the reporting process.
UNM policies compound the confusion as to where students should report sexual harassment,
including sexual assault. For example, the first section of the new SVSMP, “Reporting Sexual
Violence,” encourages students to report sexual violence or misconduct, but states that “all UNM
staff and faculty…who receive information about a person who has experienced sexual violence
or misconduct must report the information to OEO within 24 hours.” This section never states or
encourages students themselves to report directly to OEO. A student looking to report sexual
harassment may mistakenly interpret this section of the SVSMP to mean that they should tell a
staff or faculty member first and cannot contact OEO directly.

UNM has acknowledged the need to expand training provided to undergraduate students to
address gaps in students’ knowledge and understanding of its sexual harassment policies and
reporting procedures, and as part of its general prevention efforts. Prior to 2015-16, UNM’s only
training on sexual harassment, including sexual assault, for the general undergraduate body took
place during first year orientation. In recent years, this training consisted of upper class students
performing a skit that included a scenario of potential sexual assault and situations involving
drugs, alcohol, and other behaviors common among college students. When asked, most
students did not recall receiving any information about sexual harassment or sexual assault
during freshman orientation. Those students that did remember receiving information on sexual
assault described the skit as imparting the message that “girls shouldn’t drink.” Many students
described their perception, based on these skits, that UNM’s focus was not on condemning
sexual assault, but on blaming women for putting themselves in dangerous situations by
choosing to drink alcohol. Such messaging can lead to self-blaming by students who may have
been sexually assaulted, as well as reluctance to report out of fear of discipline for underage
drinking.

In August 2014, UNM began to provide targeted sexual harassment prevention training to
specific student groups, including athletes, fraternity and sorority members, and resident
advisors.12 These trainings were largely developed and presented by the Women’s Resource
Center (“WRC”) on campus. In addition, UNM mandates that all employees complete a single,
online module about sexual harassment in the work place at the beginning of each year. We,
along with our experts in sexual assault prevention and training, reviewed the WRC trainings,
other sexual harassment trainings developed by outside consultants or guest speakers and
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   While all first-year students are required to attend orientation over the summer prior to the start of the school
year, transfer students and those who enroll in the spring are not, so a significant number of UNM students have
never received any training on sexual harassment or sexual assault. Unless students are part of other specific groups
they would not receive any training from UNM on sexual harassment, including sexual assault, in the four or more
additional years they attend UNM after freshman orientation.



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provided to a few student groups, and information about Campus Clarity, which UNM has
retained to provide future online trainings to the campus community. Our review included
interviews of trainers and students, as well as focus group data. Based on this review, we found
that much of UNM’s trainings on sexual harassment, including sexual assault, were lacking in
content and depth, and did not reflect current research or align with best practices in the field.
Consequently, even after receiving training, students we spoke with lacked basic understandings
about consent, reporting, and Title IX process and procedure.

First, UNM has not provided adequate resources to support the development and dissemination
of sexual harassment prevention training. In 2014-15, the majority of the sexual harassment
prevention training was administered through the WRC by a graduate student who works part-
time. This graduate student trained all orientation leaders, handled mandatory training for
resident assistants, and oversaw the delivery by administrators (or delivered) sexual assault
prevention programs in groups of 10 to 400 for athletics, housing, fraternities and sororities, and
international students (a total of 19,000 students). The graduate student is now employed by the
Advocacy Center to provide the same services. The need for sexual harassment prevention
training at a school the size of UNM is too great for a part-time position.

 Second, we found UNM’s sexual harassment prevention programs from 2014 to be dated in both
content and delivery methodology, in ways that limited their effectiveness. The programs, for
example, do not provide practical experiences to develop skills required for prevention. They
also impart information on sexual harassment through “myths and facts,” rather than through
more current methodologies, which emphasize interaction with participants and use of current
case examples to generate discussion and disseminate facts about sexual harassment.13 UNM’s
bystander intervention program materials are similarly lacking in content, specific instruction,
and practice on bystander intervention strategies. Bystander intervention prevention requires a
comprehensive program that teaches knowledge and skills and provides the target audience with
opportunities to practice.14

Further, UNM does not consistently use evidence-based curricula, evaluation, or pilots for any of
its sexual harassment prevention training. UNM told us that while they intend to pilot a new
online sexual harassment prevention training, there is no current plan to evaluate the new online
modules, or any of its other sexual harassment or misconduct training. Evaluation is key to
determining the effectiveness of any training, and for providing guidance to the constituencies
who are participating in the trainings (e.g., athletics, housing). Program evaluations provide
important information on effectiveness and should be used to both enhance the content of the
program and the training of the facilitators.


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   For more information, see the systematic review of primary prevention strategies for reducing campus sexual
assault conducted by the Centers for Disease Control and Prevention, (April 2014), available at
https://www.notalone.gov/assets/preventing-sexual-violence-on-college-campuses-lessons-from-research-and-
practice.pdf.
14
   For more information, see the description of effective programs and promising practices focused on bystander
prevention efforts prepared by the Centers for Disease Control and Prevention, (April 2014), available at
https://www.notalone.gov/assets/bystander-summary.pdf.

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Finally, the sexual harassment prevention training and programming that we reviewed lacked
sufficient information about to whom students should report and how UNM handles sexual
harassment cases. As a result, students do not understand where to report or what will happen
when they report. In particular, students said they did not know there were different ways to
report a sexual assault (i.e., law enforcement and university) and they did not understand the
implications around who they choose to report the incident (e.g., a university official with or
without confidentiality). A number of students discussed filing reports with UNMPD and not
being informed of their reporting options on campus. Others reported confusion as to whether a
report made to UNMPD constituted a report to the University. Some assumed that any
information provided to UNMPD would be shared with the University. Other students expressed
frustrations to learn that information in UNMPD’s possession would be shared with OEO. Last,
numerous students reported confusion about the University’s jurisdiction over sexual harassment
or assault that occurs off-campus.15 This is important because the vast majority of UNM
students live off campus.
In August 2015, UNM introduced a new small group participatory training for incoming first
year students. This sexual harassment prevention training, called the Grey Area, addresses issues
such as incapacitation and consent. Although we have reviewed the materials and found them to
be much more aligned with best practices in the field, we have not fully assessed their
implementation or effectiveness. UNM also contracted with education provider Campus Clarity
to offer online trainings on sexual harassment for students, faculty, and staff. However, UNM
had not provided these online trainings to students as of November 18, 2015.
III.       Campus Administrative Investigations

The University’s
               y grievance
                   g         procedures,
                             p           , both as written and as implemented,
                                                                     p        , violate Title IX and
Title IV. The ggrievance procedures
                          p            do not ensure pprompt
                                                           p and equitable
                                                                   q       resolution of students’
complaints
     p       of sexual harassment,, includingg sexual assault, and have impeded the University’s
ability to take remedial action against the discrimination. See 28 C.F.R. §§ 54.135(b), 54,110(a).

In evaluating whether a university’s Title IX grievance procedures are prompt and equitable, the
United States considers the following:

       x   notice to students and employees of the procedures, including where complaints may be
           filed;
       x   application of the procedures to complaints alleging harassment of students;
       x   adequate, reliable, and impartial investigations of complaints, including the opportunity
           for the complainant and respondent to present witnesses and other evidence;
       x   designated and prompt timeframes for the resolution of the complaint process;
       x   written notice to the parties of the outcome of the complaint; and


15
   See 2011 Dear Colleague Letter on Sexual Violence, U.S. Department of Education, Office for Civil Rights,
(April 4, 2011) available at http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.html. (“Under Title
IX, a school must process all complaints of sexual harassment, regardless of where it occurred, to determine if the
conduct happened in the context of an educational program or activity or had continuing effects on campus or in an
off-campus education program or activity.”)

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      x   evidence of prompt and effective steps taken to prevent recurrence of any harassment and
          to correct its discriminatory effects on the complainant and others, if appropriate.

UNM has two grievance procedures that apply to sexual harassment, including sexual assault:
the Discrimination Claims Procedure (“DCP”) and the Student Grievance Procedure (“SGP”).16
Prior to May 21, 2014, when a student was accused of sexual harassment, the SGP governed how
the DoS handled adjudications and sanctioning. The SGP currently applies to student conduct
matters that do not involve allegations of sexual harassment. The DCP governs the adjudication
process of the OEO which, prior to May 21, 2014, held intermittent jurisdiction over allegations
of sexual harassment.17 Since May 21, 2014, UNM has applied the procedures laid out in the
DCP to all Title IX adjudication processes, e.g. investigation of and findings regarding sexual
harassment allegations, whether they occur between students or in a work setting.18 After OEO
makes a finding that an undergraduate student has engaged in sexual harassment that violates
UNM policy, the Student Conduct Office in the DoS imposes discipline under the SGP.19
UNM’s policies provide for a spectrum of possible sanctions, from an educational conference to
expulsion.

The DCP,, which defines procedural
                         p          requirements
                                      q           for all Title IX investigations
                                                                          g       and
adjudications
  j           at UNM,, does not constitute an adequate
                                                 q      grievance
                                                        g          procedure
                                                                   p          for Title IX
complaints
    p      because it has not afforded a prompt
                                            m and effective means for responding to sexual
harassment, including sexual assault.

These conclusions were reinforced byy our interviews with numerous students,, pparents,, and
facultyy members who had contact with OEO as complainants,
                                                        p          , respondents
                                                                        p         and witnesses.
Uniformly,  y, these individuals complained
                                       p      of confusion,, frustration and stress caused by the length
of investigations
            g        and lack of communication byy the institutional bodyy conducting  g the
investigation;
        g       ; the failure to provide
                                 p       accurate information about the OEO pprocess,, the appeals
                                                                                             p
pprocess,, and academic accommodations and supports; and delays in investigations and
 discipline. Indeed, some complainants reported that OEO’s process was more upsetting and
traumatizing than the initial sexual harassment that was the subject of their complaint. As a
result, almost all complainants with whom the United States spoke said that they wished they had

16
   While the SVSMP, published on May 15, 2015, provides information on UNM’s grievance procedures, the
SVSMP is an Administrative Policy, not a grievance procedure, and it specifically states that the DCP governs the
processing of allegations of sexual harassment, including sexual violence.
17
   For example, prior to May 21, 2014, work-related allegations of sexual harassment, including incidents involving
residents and interns at the Medical School, were to be “resolved in the workplace or with the aid of a second-level
supervisor.” If complaints could not be resolved internally, they were referred to OEO. There is no evidence that the
incidents handled internally followed any set procedures or guidelines, creating a risk of unreliable and potentially
partial determinations.
18
   UNM failed to provide adequate notice to students of policy changes. For example, although the Sexual
Harassment Policy was updated on May 21, 2014, the New Student Orientation Handbook for the 2014-2015 school
year still contained the pre-amended Sexual Harassment Policy.
19
   According to interviews with the DoS and OEO offices, matters involving faculty, staff, and students in the
professional schools, upon a finding of probable cause that sexual harassment has occurred, disciplinary matters are
turned over to the Human Resources Department or the department/division in which the respondent is employed.
Generally, we found that University officials do not follow up with these departments to ensure they take immediate
action to eliminate the harassment, prevent its recurrence, and address its effects.

                                                         14
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never gone through the process and would not refer another student who had experienced sexual
assault to OEO.

In the discussion below, we address overall support for and training for OEO, notice of the DCP
and how the DCP functions in practice when students report sexual harassment, including sexual
assault, to UN M.

        A. UN M's Office of Equal Opportunity (OEO)

Although      M has expanded the role of OEO in addressing campu sexual harassment
complaints in recent years. it has not adequatel y expanded the training and resources to that
office to support OEO in carrying out its mandate effectively. OEO employs a Director, a Title
IX Coordinator/manager, and three investigator assigned to Title IX matters, with each
investigator handling between ten and twel ve open matters. Turnover within OEO is
exceedingly high. Since May 2014, OEO has had three different Directors, three investigators
have resigned, and three new investigators have been hired. Such high turnover results in long
delays during which cases are reassigned. One complainant" s case was transferred three times as
a result of OEO staff turnover. In addition, despite a nine-fold increase in the number ofreports
received, OEO has not increased its total staffing, but instead has eliminated administrative and
data manager positions.

Throughout the time period we reviewed , OEO investigators received only interm ittent and
inconsistent training on how to conduct sexual harassment investigations and adjudications,
resulting in inadequate. unreliable and potentially biased investigations and reso lutions. 2 For          °
examnle. UNM does not nrovide OEO investigators with sufficient training on making reliable
findings of responsibility or non-responsibility. While OEO investigator training includes
information on the Equal Employment Opportunity Commission's ("EEOC'') fi ve-factor to
detem1ine credibility (Inherent Plausibility, Past Record, Motive to Falsify, Corroboration, and
Demeanor), investigators do not receive effective training on how to collect and analyze
evidence, including witness statements using these five factors, resulting in inconsistent and
unreliable determinations of credibility.2 1




20 UNM does not have a written policy or procedure on training requirements for investigators with the OEO, who
since May 2014 are tasked with inve tigating all Title IX complaints. OEO orally stated that it trains its new
investigators by g iving them information on Title IX, having them review old case files, complete an online training,
and shadowing an experienced instructor for 3-6 months. However. two OEO investigator stated that they received
cases with in three to six weeks of starting in the position and ome had not yet completed the on line tra inings .
21 Whi le Title IX doe not require a spec ific type of training for individuals that handl e sexual harassment, one OEO

investigator independently chose to attend trauma-informed forensic interview training in their personal time to
better understand how trauma affects the brain and how to not re-traumatize a witness. Th is training i considered
be t practi ce in the field of sexual harassment and sex ual assau lt investigations. Another chose to sit in on
LoboRESP CT task force meeti ngs to develop a deeper understanding of U M' s policies and grievance
procedures. These employees shou ld be commended for their initi ative to obtain a greater understanding of their
work.



                                                          15
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         B. Notice of Grievance Procedures

UNM’s policies
         p       fail to consistently                                          p complaints
                                    y pprovide clear information on where to report    p      of
sexual harassment, including sexual assault, and how those complaints will be handled.
Specifically, UNM does not readily bring the DCP, which directs members of the campus
community to bring sexual harassment complaints to OEO, to students’ attention in an obvious
or accessible manner. For example, the DCP is not readily accessible in this year’s “Pathfinder,”
the student handbook that contains the name and/or text of most University policies and which
UNM provides to all incoming students. By contrast, almost all other UNM policies that, at least
in part address sexual harassment, are individually indentified and linked in Pathfinder. Students
reported not being aware of the DCP until provided a copy by OEO after a complaint is made to
the office.

The LoboRESPECT website similarly does not provide clear notice of UNM’s grievance
procedures. The Policies and Sanctions page of the LoboRESPECT website refers to the SGP,
but fails to explain that students should refer to the DCP for information on the filing,
investigation and adjudication of complaints. Further, while LoboRESPECT contains hyperlinks
to the DCP, SHP, and SVSMP, it provides no information as to how the policies interrelate.
Finally, many of the hyperlinks on the LoboRESPECT website did not work at the time of
launch, potentially thwarting visitors to the site, especially students in crisis. While UNM is
slowly fixing these issues as it become aware of them, more attention should be spent on making
the website user-friendly at the time of initial publication.

We also note that while the SVSMP meets many of the requirements of Title IX, the SVSMP is
classified as an Administrative Policy and specifically states that the DCP governs the processing
of allegations of sexual harassment, including sexual violence. Consequently, UNM must also
include all relevant information in the DCP itself as the procedural document that governs Title
IX complaints. For example, while the SVSMP includes a section listing the rights of
complainants and respondents during the OEO grievance process, that same section is not
included in the DCP.22 In fact, the DCP does not contain any assurance of a prompt, equitable
and impartial process.

         C. Processing of Complaints

A school’s Title IX investigation
                           g       must be adequate,
                                               q    , reliable,, impartial,
                                                                   p      , and prompt and include
the opportunity for both parties to present witnesses and other evidence. Between May 2014 and
June 20, 2015, OEO received 115 complaints of sexual harassment and sexual assault; 35 of
which resulted in investigations.23 In seven matters, the complainant requested an Educational
Conference with the respondent instead of a formal investigation. As of June 20, 2015, OEO had
22
   UNM issued a revised SGP on January 13, 2016, which we have not fully evaluated. We also understand there
are plans to revise the DCP. UNM should be cognizant of the need to explain how the policies inter-relate and affect
each other.
23
   In an internal report, OEO reported receiving 138 Title IX complaints in calendar year 2015, of which 81 were
accepted for investigation. This reflects a substantial increase from calendar year 2014, during which OEO reported
to receive a total of 46 Title IX complaints, of which they investigated 32.



                                                        16
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made finding in 13 matters; seven of which resulted in determinations that sexual harassment
that violated the SCC had occurred. Based on a review of the 35 investigations,
                                                                          g       we found that
OEO’s investigatory process does not meet the requirements of Title IX. The DCP’s written
procedures effectively prevent investigators from conducting a thorough investigation, collecting
corroborating evidence or making effective determinations regarding credibility. Consequently,
OEO cannot make accurate determinations as to whether sexual harassment creating a hostile
environment has occurred and/or address the sexual harassment, as is required by Title IX. See
28 C.F.R. § 54.110(a). The DCP also lacks written procedures to ensure that UNM adequately
investigates and responds to additional allegations of harassment that arise during an
investigation.

Last,, UNM fails to ensure impartial resolution of Title IX complaints, in contravention of Title
IX. As a result, the DCP process often fails to eliminate, and sometimes exacerbates, the
discrimination experienced by students.

               1. Ineffective Initial Evidence-Gathering

The DCP does not require OEO to ask a respondent (1) any question about the incident(s) at
issue, or (2) to explain his or her own version of events. Instead, during their initial meeting, the
DCP requires OEO only to advise the respondent about the investigative process and provide
him or her with a written copy of the complainant’s specific allegations. The respondent then
has seven working days to provide a written response to the allegations.

This default procedure – that respondents are asked only provide a written response to a
complainant’s statement – effectively prevents OEO from pursuing and collecting important
additional evidence during the initial stages of an investigation. Because most incidents of
sexual harassment, including sexual assault, occur in private with no witnesses, initial interviews
of both complainants and respondents are important to determining what occurred. Witness
accounts of events often diverge as to location, statements made, and/or actions taken. If one
witness is not solicited to provide an independent account before being provided with a written
copy of the other witness’ statement, important physical evidence or potential additional witness
testimony pertaining to the incident, or surrounding events, may be overlooked.

For example, in one case we reviewed, the respondent’s written response to each paragraph of
the complainant’s statement contained assertions such as “I agree generally with the content of
this paragraph.” Occasionally, the respondent provided a “correction, clarification and
elaboration.” Not requiring investigators to request the respondent provide an independent
account of the events prevents the OEO from getting a full picture of what occurred, may deprive
the respondent of the opportunity to tell his or her version of events, if desired, and curtails
OEO’s ability to assess a respondent’s account of the events, credibility and demeanor. Further,
the wording of the DCP does not clearly inform the respondent that he or she can choose to offer
an independent account of the events as part of the investigation.

Indeed, in-person interviews allow both complainants and respondents to provide their own
accounts of what occurred and give investigators the opportunity to gather information, identify
evidence that corroborates the different accounts, and assess each person’s credibility and

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reliability. Yet after OEO’s initial in-person interview of a complainant and meeting with the
respondent to explain the process and provide the complainant’s written statement, OEO
communicates to all parties almost exclusively in writing, rarely conducting follow-up
interviews. Not only does that practice limit the information OEO receives, if inconsistent
written information is provided, OEO has no means of ascertaining the reason for, or resolving,
the inconsistency. For example, in one case OEO noted that the respondent provided
inconsistent information in his written response to the complainant’s statement, but determined
that the existence of inconsistent statements alone was not evidence of lack of credibility; a
follow-up interview would have given OEO an important opportunity to more fully and
effectively assess the information provided by respondent and his credibility

               2. Inconsistent Application of Credibility Assessment

OEO written policy requires a finding of “probable cause” based on a preponderance of the
evidence that the alleged harassment occurred. However, OEO adheres to an unwritten policy
that a finding of probable cause requires corroboration of the alleged incident by an eyewitness,
tangible evidence,, or admission by
                                  y the respondent
                                           p       of the offendingg behavior,, including
                                                                                        g a lack of
consent. OEO rarely attempts to identify witnesses or obtain physical evidence on its own
                                                                                        own, and
does not alert complainants to the need for, and value of, witness testimony. As a result, in cases
where complainants did not suggest any potential witnesses, OEO appears not to credit the
complainant’s allegation. Even in matters where complainants do offer relevant witness
testimony, OEO typically does not credit the information unless it is direct eyewitness
information.
For example, a complainant expressed reservations about going through the OEO process
because she did not have physical evidence to corroborate her allegation of sexual assault. The
OEO investigator assured the complainant that corroborating physical evidence was only one
factor considered in making a finding, and that OEO would consider factors such as the
complainant immediately reporting the assault to a friend and a text message the complainant
sent to the respondent within hours of the assault confronting him about his alleged actions.
However, upon receipt of the OEO’s findings, the complainant learned that OEO did not give
weight to those factors, despite having corroborated them, and concluded that “because there
were no witnesses or evidence to show one version was more likely to have occurred than the
other, there is insufficient evidence to demonstrate that the sexual intercourse was
nonconsensual.”
In another case, OEO’s letter of findings noted that a witness who spoke with the complainant
the morning after an alleged assault described how the complainant was “shaking” as she relayed
how the respondent initiating sex while she “told him ‘no’ over and over again.” The witness
also described the complainant as “so different” since the incident, “pushing people away” and
“panicky.” A separate internal OEO report described this respondent’s use of his position as an
academic advisor to contact “multiple female undergraduates who were not his advisees” and
escalate the professional interactions to personal ones – including two incidents of sexual
intercourse – as potentially “predatory” behavior that could lead to further allegations. Yet OEO
did not consider this evidence in assessing either the complainant’s or the respondent’s
credibility or in considering whether to make a finding of responsibility, instead making a
determination that “because there were no witnesses or evidence to show one party’s version is

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more likely to have occurred than the other, it is determined that there is insufficient evidence to
demonstrate that the sexual intercourse was non-consensual.”

Additionally,
            y, OEO investigators
                            g     either fail to implement
                                                  mp       the five-factor credibilityy assessment,,
implement
   p        it inequitably
                  q        as between the complainant or the respondent, or aapply it inconsistently
from case to case. In one case, the complainant reported inappropriate sexual contact by the
respondent, and witnesses to whom complainant immediately reported the alleged assault
corroborated complainant’s story. OEO found both the complainant and the witnesses credible
with no motive to lie. However, OEO did not engage in a similar credibility assessment of the
respondent, except to note that there were inconsistencies in his written response to the
complainant’s statement and that his supervisor reported receiving a prior complaint against him.
As a result, OEO determined that there was not enough information to make a finding of
probable cause that a sexual assault had occurred, despite noting that “OEO has serious concerns
regarding the investigation” and that “because Complainant had no clear reason to report
something that did not occur, it can be reasonably determined that something happened in
Respondent’s office which made her uncomfortable.”

In a second case involving  g an alleged
                                     g sexual assault,, OEO failed to adequately
                                                                             q      y weigh
                                                                                          g all the
known evidence in reachingg its determination that there was “insufficient evidence to
demonstrate” non-consensual sexual contact. OEO considered the respondent’s p          pproffer of an
alibi witness as credible “evidence that it is likelyy he was not with the complainant
                                                                                p          at the time.”
However,, OEO did not acknowledge     g other evidence in its ppossession includingg that: ((1))
respondent
   p        originally
               g      y stated that he was not with and “neverr touched” the complainant
                                                                                     p         -a
statement contradicted byy a number of eyewitnesses
                                           y             and physical
                                                             p y      evidence;; (2)
                                                                                  ( ) respondent
                                                                                          p         then
changed
     g his statement and admitted being    g with the complainant
                                                           p        but stated the sexual activity  y was
consensual;; (3)
             ( ) the alibi witness admitted that she was onlyy with respondent
                                                                         p         for one hour and
that was not the hour duringg which the alleged
                                              g assault would likelyy have occurred. In addition,,
OEO did not ggive weightg to evidence of the complainant’s
                                                     p         credibility,
                                                                         y, despite
                                                                               p the availability of
substantial information to consider and assess,, includingg the complainant’s
                                                                     p           demeanor
immediately after the alleged assault, physical evidence and witness corroboration.

Similarly, in another case involving a respondent alleged to have engaged in a pattern of sexual
harassment, OEO determined no civil rights violation had occurred because, while a number of
incidents were corroborated, some of them were not. OEO made this finding despite the fact that
at least four other students reported witnessing or being affected by the same or similar offending
behavior by the respondent, and the respondent had been dismissed from his prior school for
sexual harassment.

                3. Inconsistent Collection and Consideration of Corroborating Evidence

Throughout a school’s Title IX investigation, the parties must have equal opportunity to present
relevant witnesses and other evidence. Where parallel investigations of an incident are being
conducted, a school should coordinate with the other ongoing school or criminal investigations,
particularly where the investigations include or may include forensic evidence. However, OEO
rarely attempts, and investigators are inadequately trained, to identify witnesses or obtain
physical evidence of its own accord. For example, in one case, a respondent’s supervisor shared

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with OEO that there had been a previous sexual harassment complaint made against the
respondent. Without verifying or learning the facts of that complaint, OEO issued a finding of
no probable cause in the matter before it. In doing so, OEO ignored the possibility that the prior
complaint may have revealed additional witnesses or provided evidence of pattern behavior.

In addition,, multiple
                   p witnesses stated that theyy informed OEO about the existence of text
       g , social media messages,
messages,                      g , and recorded imagesg that were relevant to investigations, but
OEO did not follow through in requesting or viewing this evidence. One complainant reported
being so frustrated by OEO’s non-responsiveness that she contacted OEO asking how she could
provide the information to them. In another case, the complainant, respondent and a number of
witnesses informed UNM that videos of the incident had been shared with respondent’s social
circle through social media. At least one witness identified the videos as having come from the
respondent’s phone. Despite this knowledge, OEO did not attempt to conduct a wider
investigation among respondent’s classmates, friends and acquaintances to ascertain the contents
or whether the distribution of said videos implicated a violation of the Student Code of Conduct.

OEO investigators are not effectively trained on how to identify and weigh evidence that
corroborates allegations of sexual assault, including medical records. For example, in one case
the complainant alleged that the respondent strangled her during a sexual assault; the respondent
denied ever placing his hands on or around her neck. The medical records, which were made the
same day as the assault, indicated that redness and bruising was observed on the complainant’s
neck. Despite having copies of the medical records, the OEO investigator misstated the medical
record, writing, “Complainant herself reported strangulation, but the report did not demonstrate
that evidence of such was found.” Ultimately, the OEO investigator found that, due to a lack of
“tangible evidence,” there was insufficient evidence to make a finding of probable cause.

Finally, OEO and UNMPD do not have a written agreement regarding the sharing of information
or evidence collected during parallel investigations. (See infra at Section IV.) While the United
States’ investigation revealed that OEO investigators and UNMPD officers occasionally call
each other to discuss a case with parallel investigations, OEO rarely requests to view the
evidence for their own investigatory purposes. Indeed, OEO reported that the prior Chief of
UNMPD was reluctant to provide OEO with access to evidence. As a result, OEO occasionally
makes a determination in a case knowing that potentially material evidence exists but without
viewing or gathering that evidence.

               4. Inconsistent Investigations
                                      g       and Poor Recordkeeping regarding
                  Additional Complaints of Harassment

UNM fails to investigateg or keep  p adequate
                                        q     records of all known allegations
                                                                       g       of sexual assault,
which prevents the school from determining whether a violation of Title IX has occurred. This
failure is partly attributable to the DCP’s silence on how OEO should handle additional
complaints of harassment against a single respondent by additional complainants that arise
during the course of an investigation. As a result, OEO investigations of multiple allegations of
sexual harassment against a single respondent result in inconsistent processes and conclusions.



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For example, OEO became aware of six separate allegations of sexual harassment, including
assault and retaliation, against a single respondent. OEO only fully investigated one complaint,
despite the fact that UNMPD found probable cause to refer two additional complainants’ case to
the Bernalillo County (Albuquerque) District Attorney’s Office. OEO also failed to adequately
record the additional five allegations. Internal records include an entry regarding only one of the
additional complainants – with the name of the respondent blank.

By contrast, in another case, OEO became aware of four additional complaints of sexual
harassment against the same respondent. All five complaints were recorded in OEO’s internal
records, including one report where the complainant asked OEO not to initiate an investigation.
One of the complainants had reported to the DoS the prior year and the investigation resulted in a
finding of no probable cause. Once OEO received the new complaint against the same
respondent, the report from the prior investigation and its findings were submitted to OEO. As
the allegations of all five of the complaints against the respondent were virtually identical, OEO
properly took account of the prior complaints in relation to each other.

Once a school knows about an alleged incident of unwanted sexual conduct, Title IX requires it
to initiate an investigation to determine whether the harassment was sufficiently serious as to
cause limitations or denial of educational benefits. This is true whether UNM becomes aware of
harassment through a formal complaint or during an investigation. The lack of established
guidelines and procedures regarding how to proceed upon receipt of additional complaints
against a single respondent has impeded UNM’s compliance with this requirement. UNM must
keep full and accurate records of complaints to identify repeat offenders and examine patterns of
sexual harassment. For every sexual harassment complaint, OEO should record the respondent’s
and complainant’s names; and the time, location, and description of events, even when the
complainant requests that an investigation not be conducted or a finding of no probable cause is
made.

               5. Inconsistent Consideration of Power Dynamics

Schools must consider the identity of and relationship between the harasser and subject when
evaluating whether a hostile environment exists, especially in allegations of sexual harassment of
a student by a school employee. OEO investigators do not consistently consider or assign value
to power dynamics in relationships, an important consideration on a University campus where a
number of complaints may involve faculty-on-student or staff-on-student harassment. In some
cases, OEO ignored or completely dismissed the power differential. For example, in one case
OEO noted that the respondent employee “is responsible for knowing UNM policy prohibiting
sexual harassment,” but in the letter of findings did not engage in analysis of the role of an
employee’s “authority” or “power” over students, or how knowledge of the UNM policy was
evidence that the employee knew or should have known when conduct was unwelcome or non-
consensual. After finding a lack of probable cause of sexual harassment, OEO internally
recommended that respondent’s staff and management receive training related to sexual
harassment and Title IX in order to ensure that they are aware of and understand the importance
of the policies and related procedures.



                                                21

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In another case where the respondent was a both a university employee and graduate student, in
the letter of findings OEO ignored the respondent’s role as an employee with authority over
complainant and the fact that other students described the respondent as using his professional
position to initiate contact and develop sexual relationships. OEO formally concluded that the
facts of the case were insufficient to make a determination, but again internally noted that the
respondent’s “behavior could be viewed as ‘predatory’ and could lead to further allegations that
[he] used his position as an advisor to engage female undergraduate students in sexual activity.”
OEO recommended that the respondent’s supervisor and UNM Human Resources “follow up”
and “take action as appropriate under University policy.” There is no evidence of a follow-up
response by either Human Resources or the respondent’s supervisor.

                 6. Lack of Procedures to Ensure Impartiality

Title IX investigations
                 g        and adjudications
                                j              must be impartial
                                                          p       and equitable.
                                                                         q        The United States
learned that in at least two instances,, high-level
                                             g        administrative offices ppressured the OEO to gget
the investigation
            g      “done” – in one case,, because it was in the media and in another,, because the
respondent
    p        in a case was “well ppositioned,, politically,
                                                p         y, in the state.” In another case,, a UNM
Dean requested
         q        an internal audit delayy because a highg profile
                                                             p       guest
                                                                     g     was visitingg the respondent
                                                                                                p
((who was an employee),
                  p y ), stating  g that,, should the gguest become aware of the investigation
                                                                                           g      it would
 cause embarrassment to the University. Such intervention by university administrators is
 entirely improper. Further, the United States learned that students at UNM were aware of the
 pressure placed on OEO in one of the cases described above, undermining the confidence of
 students in the University’s response to complainants that come forward to report sexual
 harassment, including sexual assault.

Additionally,
            y, we note that,, until the current school year,
                                                       y , OEO reported
                                                                     p      directlyy to the Office of
                                                                                                   24
Universityy Counsel ((“OUC”),  ), which had final review authorityy over Title IX investigations.
                                                                                           g
This management
           g       structure created a conflict between OEO’s stated goalg of eliminating and
redressing harassment and OUC’s role in limiting the University’s liability.
                                                                       liability For example, when
a medical licensing board contacted UNM for information regarding a former UNM student who
had been the subject of a sexual misconduct investigation, OUC noted that the respondent’s
lawyer had threatened legal action and therefore recommended that UNM limit its liability by not
informing the medical board that the misconduct allegation involved harassment of a sexual
nature.

                 7. Inadequate Procedures to Convey Information to Prevent Recurrence

Imposing sanctions against the respondent, without additional remedies, is often insufficient to
eliminate the hostile environment and prevent recurrence as required by Title IX. To ensure that
additional or continuing harassment does not occur, schools should develop specific materials
that include the schools’ policies, rules, and resources that explain protocol for steps that staff,
faculty, and administrators should take when they learn of an allegation of sexual harassment.

24
  UNM informed the United States that OEO now reports directly to the Office of the President, a change we have
not had the opportunity to assess.


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The United States found that after UNM received an allegation of sexual harassment, effective
follow-through procedures were largely absent, both during OEO’s investigative period and after
it issued findings. In addition, UNM does not have established protocols to ensure that
information regarding investigations and findings are effectively conveyed to other departments
and divisions on campus. For example, a respondent was suspended during the pendency of a
sexual assault investigation, but applied for graduate school at UNM and was granted admission
prior to the time OEO completed the investigation. The graduate school admissions office did
not know about the respondent’s sexual assault-related investigation or suspension, or the
ultimate finding that a sexual assault had occurred, until an advocate for the complainant called
and notified that office. In another matter, the department that employed the respondent
attempted to remove him from his teaching position with access to students during the pendency
of the investigation, but was unable to do so because the administrative head of the department
was not aware of UNM’s procedure to remove an employee. OEO ultimately found probable
cause that the respondent in that matter sexually assaulted a student. In a third matter, OEO
learned of additional complainants against a single respondent. Two of the complainants
reported being harassed and threatened by other students in the respondent’s department. OEO
never conveyed this information to the administrators of the department so they could respond
effectively, and UNM provided no immediate training on its prohibitions against sexual
harassment and retaliation as a means to stop the behavior.

         D. Inadequate Timeframes for Resolution of Complaints

School grievance procedures must provide for prompt and equitable resolution of sexual
harassment complaints; and an unduly long appeals process mayy impact     p whether a school’s
response
   p      was prompt
               p     p and equitable
                              q        as required
                                            q      byy Title IX. UNM’s investigations
                                                                                   g         of sexual
harassment complaints
                 p        often take far too manyy months,, and occasionally  y yyears,, to complete.
                                                                                                 p     Of
the 13 investigations
              g         conducted byy OEO for which findings  g had been issued as of June 30,, 2015,
the entire process,
           p       , from receipt
                                p of complaint
                                          p     to issuingg of the Final letter of Determination,, took
                          25
an average of 137 days. Ten investigations took over 100 days; the longest took 266 days.

In addition,, while investigations
                           g       are ppending,
                                              g, important
                                                   p       information necessary
                                                                               y for makingga
reliable final determination, such as physical evidence or witness statements, is often lost or
overlooked. One reason for UNM’s inappropriately long timeframes for investigations is that the
DCP, as written, delays the evidence-collecting phase of an investigation until both a
complainant and a respondent have reviewed and replied to a preliminary Investigative Issues
Letter (“IIL”), which occurs one to two months after OEO receives an initial complaint.

First, the DCP states that OEO will not initiate an investigation until a minimum of 19 to 24 days
after receiving
              g a complaint,
                        p    , and OEO often extends that time upon
                                                                  p a respondent’s
                                                                           p          request.
                                                                                        q       Such
delayy impedes
          p     OEO’s ability y to conduct a thoroughg investigation,
                                                              g     , as material evidence,, such as
securityy videos,, social media content,, or text messages
                                                       g identified in the complainants’
                                                                                p         and
respondents’ statements, may be recorded over and deleted in the intervening time time. For example,

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   Federal guidance recommends that a school’s investigation and adjudication process take approximately 60 days.
See “Questions and Answers on Title IX and Sexual Violence” (Apr. 29, 2014), available at:
http://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf.

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in one case, by the time OEO initiated the investigation, potentially critical video evidence from
UNM security cameras had long since been recorded over, even though the complainant’s
statement informed OEO of its existence. OEO could have easily obtained this type of evidence
while granting the respondent a request for an extension of time and ensuring the respondent had
the opportunity to provide evidence and testimony in support of their case.

Second, the DCP allows for either party to request extensions of time throughout the
investigatory process, but does not establish how OEO should respond to a request for an
extension of time. Further, there is no guidance as to what OEO should do when a party fails to
meet a required deadline, causing further delays and creating the risk of unreliable
determinations. In one case, the respondent requested an extension of time for a meeting with
OEO and in providing a response to the IIL. Internal emails from OEO reflected confusion about
how to respond and whether the investigation could proceed. Ultimately, when the investigation
was initiated three months after Complainant reported to UNM and two months after OEO
received the Complainant’s verified IIL, OEO reached out to an important eyewitness only to
discover the witness had left the country and would not return.26

Even after the initial intake, UNM does not have a written protocol establishing internal
timelines for promptly conducting, reviewing, issuing and communicating investigative progress
and findings, and conducting appeals. Nor does OEO have a set protocol for communicating
with complainants and respondents regarding the progress of or delays in investigations, which
results in stress and uncertainty to both parties. First, the DCP states that the investigation will
not commence until after the complainant and respondent have reviewed the IIL, which does not
occur until between one and two months after the receipt of the complaint. The OEO
investigation takes between two weeks and four months, after which OEO issues a Preliminary
Letter of Determination (“PLOD”), and, approximately one month later, a Final Letter of
Determination (“FLOD”).

The United States’ investigation revealed that, despite assurances that they would be informed of
the progress of their matters, on multiple occasions both complainants and respondents inquired
about the status of their cases due to a prolonged lack of communication from OEO. In one case,
after receiving a final IIL to a complainant, three weeks passed without further communication
from OEO. The lack of communication prompted the complainant to send an e-mail noting, “It’s
been a while since I’ve heard from you so I wanted to check in to see what’s happening.” The
following month, the respondent also had to email OEO for an update. In another case, the
complainant grew frustrated with the lengthy investigation and withdrew from the process,
explaining that “this is taking too long and the emotional toll on me is too great.” On occasion,
OEO has authored internal memoranda documenting delays and the reasons for the delays, such
as a respondent’s health issues or scheduling conflicts with a respondent’s attorney. However,
more often OEO provides no explanation of or reason for the delays.


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   OEO initially delayed reaching out to respondents for one month at the request of law enforcement who was
conducting a simultaneous investigation. Such a delay is reasonable and allowed under Title IX. Universities and
law enforcement are encouraged to have MOUs in place to govern accommodating investigatory delay requests and
information sharing processes.

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The lack of internal deadlines and communication protocols causes confusion and frustration for
the greater University community. For example, in one case involving a UNM employee, OEO
informed the employee’s supervisor that it had completed the investigation approximately two
months after opening it, and that a report would follow. The supervisor contacted OEO five
times over seven months seeking the report and expressing concerns regarding “timely follow
through,” as OEO had asked the Department not to make personnel decisions while the report
was pending. At one point OEO informed the supervisor that the report was being reviewed by
OUC, but that office informed the supervisor that “no one in the OUC is reviewing anything for
OEO at this time.” The report was released eight months after the investigation opened.

In another case, the chair of the academic department brought allegations of misconduct,
including sexual harassment, by a faculty member to UNM’s Internal Audit Office. The Internal
Audit Office turned the sexual harassment portion of the complaint over to OEO two weeks later
without appearing to have informed the department chair who brought the complaint. One week
after that, the chair emailed Internal Audit about the timeframe of the investigation, expressing
concern about a delay in the ability of the department to address the faculty member.

Last, the DCP lacks timelines for the appellate process, which can lead to months of delay in
submitting a determination to the DoS for disciplinary measures and leaves both complainants
and respondents waiting without any communication regarding the final outcome of their case.
For example, in one case, OEO released the FLOD 209 days after the complainant reported an
assault. The appeals process took an additional 127 days, resulting in increased stress and
anxiety for all parties.

The delays in UNM’s adjudication and sanction process reinforce the perception that UNM does
not take complaints of sexual harassment seriously. Of the seven investigations that resulted in a
finding that sexual harassment had occurred, four had completed the appeals process by June 30,
2015. Three resulted in suspension, expulsion or denial of renewed employment. However, due
to the length of the investigative and appeals process – an average 128 days for the three –
disciplinary measures were so delayed that they had no effect. For example, the United States’
investigation revealed that in one case, prior to any sanction announcement, the respondent
employee completed his employment contract with the university and moved out of state. Thus,
UNM’s sanction on the respondent was of limited or no consequence.

        E. Procedures to Prevent Further Harassment and Remedy its Effects

When a school knows or should have known of sexual harassment that causes a hostile
environment and limits or denies educational opportunities, Title IX requires that the school
remedy the harm and prevent its recurrence. UNM’s SGP gives the DoS the authority to both
ensure student safety by issuing interim suspensions and no-contact orders for complaints of
student-on-student harassment, and providing interim measures to complainants by assisting
students with academic and remedial accommodations. However, UNM’s grievance procedures
do not adequately ensure that the University complies with either requirement, and the
procedures are not sufficiently transparent to explain the process, resulting in some students
experiencing further harassment and denial of educational opportunities.


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               1. Inadequate Procedures for Issuing and Enforcing Safety Measures

UNM has no policy setting forth the factors the DoS should consider during the OEO
investigatory process to determine whether a respondent is a safety threat and therefore should be
suspended or have limited access to the campus during the investigation. This absence of policy
results in inconsistent and confusing application of immediate measures to protect student safety.
For example, in one matter involving an alleged sexual assault, the DoS contacted OEO after an
alleged sexual assault asking whether “an interim suspension” was necessary. OEO responded
that it was not because “there is so much attention on [the respondent] right now.” The DoS took
no steps to determine whether the respondent posed an ongoing threat to the campus, even after
additional complainants came forward to lodge complaints of sexual harassment against the same
respondent. Unfortunately, after OEO and DoS were aware of the multiple allegations against
him, the respondent remained on campus and allegedly continued to sexually harass students.

While UNM orally informed the United States that a respondent cannot ask for reconsideration
of an immediate safety measure, the SGP states any student who has been banned from campus
on an emergency basis may request an informal meeting requesting that the ban be reassessed.
The SGP does not set out the factors it considers in lifting the ban; require the complainant to be
notified of the informal hearing or be provided the opportunity to share information regarding
why the respondent may remain a potential risk; or require the complainant be informed of any
changes to the emergency ban.

The result can be confusion and frustration for the complainant as well as the respondent. In one
example, a respondent was suspended from campus for the pendency of the investigation, but
requested an informal hearing on the suspension. One month later, the DOS lifted the interim
suspension, but failed to inform the complainant or explain the reason. When the complainant
became aware of the respondent’s return to campus through third parties, she felt “powerless and
destroyed.” In another matter, UNM suspended the respondent from campus during the
pendency of the investigation, but told him that he could continue with his course work at home.
However, no arrangement was made for him to take his tests off campus, and respondent did not
know who to reach out to for assistance. As a result, he dropped all his classes and lost a
semester of course work.

               2. Inadequate Procedures to Enforce No-contact Orders

UNM lacks the proper procedures to adequately enforce no-contact orders. On several
occasions, UNM did not provide notice of the no-contact orders to necessary enforcement
parties. For example, in a matter of alleged student-on-student harassment, the DoS issued a no-
contact order, but failed to inform UNMPD of the order. When the complainant approached
UNMPD to complain that the respondent was violating the no-contact order, she was informed
that UNMPD was not aware of the order and could do nothing in response to her complaint. In
another matter, the complainant requested a no-contact order from OEO, who informed her that
they would send her request to the DoS, which issues such orders. When a no-contact order was
not issued, the Complainant went to the DoS and was informed that OEO never forwarded the
request. Indeed, UNM employees in the DoS and OEO offices noted in internal communications


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that “there were (potentially) multiple gaps in process and communication,” and a need to
“revisit the conversation regarding the protocol of Title IX cases.”

UNM also lacks effective procedures to ensure that its no-contact orders are issued in a way that
prevents harassment instead of encouraging it. For example, in a matter involving an alleged
sexual assault where the complainant and respondent did not know each other’s names, the DoS
Office automatically issued a no-contact order without informing the complainant that doing so
would reveal her name to the respondent and that she had the choice not to have a no-contact
order. As a result, the respondent and his friends found the complainant and allegedly harassed
and threatened her for reporting the assault. In another case involving a non-student’s alleged
stalking of a student on campus, the DoS did not issue a no-contact order because the
complainant had requested that her name not be revealed. However, DOS failed to inform
UNMPD of the stalking complaint or the request for anonymity, resulting in UNMPD revealing
the complainant’s name to the respondent after it responded to a call of harassment.

               3. Inadequate Procedures to Ensure Academic Accommodations

UNM’s DoS Office lacks adequate authority or procedures to institute appropriate academic
accommodations for complainants, resulting in insensitive and inappropriate communications
between the DoS and complainants. In one matter, the DoS staff stated they would email the
complainant’s professors to inform them that she should receive accommodations following an
incident, but the DoS failed to do so. When the complainant approached her professors to
request the accommodations, they did not know what she was talking about, making the situation
awkward and uncomfortable for all involved. In another matter, DoS told a complainant that she
could take medical leave for the remainder of the current semester and the entire following
semester, as a result of documented medical conditions resulting from a sexual assault. A month
after completing the required paperwork, the complainant was informed she had been given a
“leave of absence” and not a medical leave, which meant that she could only take part of the
current semester off and had to return to campus for the following semester.

In a third matter, a complainant reported being sexually assaulted by another student with whom
she had no prior relationship. The DoS staff member who was assisting her to obtain interim
safety accommodations repeatedly referred to the respondent as her “ex-lover.” The complainant
reported feeling humiliated and demeaned by this language.

IV.        Campus Law Enforcement Investigations

Law enforcement agencies should recognize that explicit and implicit biases, including
stereotypes about gender roles and sexual assault, can affect law enforcement officers’
perceptions of sexual assault incidents and prevent them from effectively handling allegations of
these crimes. Eliminating gender bias in policing practices can have a real and immediate effect
on the safety of individuals and communities as a whole, and foster victim confidence, which
makes complainants more likely to report future incidents. In order to reduce potential gender
bias, law enforcement agencies should have (1) clear, unequivocal policies about the proper
handling of sexual assault crimes; (2) training for officers about these policies and about
effective responses to sexual assault crimes more generally; and (3) supervision protocols and

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systems of accountability to ensure that officers responding to sexual assault crimes act in
accordance with these policies and trainings.27 In addition, where a law enforcement agency is
employed by and housed at a college or university, sexual violence complaints are often filed
with the school’s law enforcement unit. Therefore, all school law enforcement unit employees
should receive training on the school’s Title IX grievance procedures in addition to training on
the law enforcement response to and investigation of sexual assault.

UNMPD has the authority to investigate complaints of sexual harassment and assault within their
jurisdiction. OEO often received and sometimes relied on UNMPD investigations in making
determinations in Title IX enforcement matters. On August 9, 2013, UNMPD issued policies
and procedures for sexual assault investigations that encompass many of the principles for proper
handling of sexual assault crimes.28 However, UNMPD officers who handle sexual assault have
received inconsistent and intermittent training on responding to sexual harassment, including
sexual assault, resulting in incomplete investigations and leaving complainants and respondents
feeling confused and alienated with respect to the UNM investigatory process. In addition,
UNMPD does not have the means or training necessary to independently collect and manage
evidence, which delays and impedes their ability to independently investigate these crimes.

Prior to the 2014-15 school year, UNMPD did not require training on sexual assault
investigations for members of its SMART.29 Commanding officers noted that most members of
the then-SMART team were former Albuquerque Police Department (“APD”) officers with
experience investigating sexual assaults. However, prior experience is not analogous to nor a
substitute for training in effective investigatory techniques in sexual assault cases. Such training
assists officers to obtain evidence in an unbiased manner and helps officers recognize where
assumptions and stereotypes influence their judgments as to the credibility of a complainant.

Notably, several individuals who reported sexual harassment to UNMPD told us felt they were
treated in an insensitive and humiliating manner. Complainants described being asked why they
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   For additional guidance, see Identifying and Preventing Gender Bias in Law Enforcement Response to Sexual
Assault and Domestic Violence U.S. Department of Justice (December 2015); available at:
http://www.justice.gov/opa/file/799366/download.
28
   As part of its practice, UNMPD referred a number of sexual assault cases to the Bernalillo County District
Attorney’s Office, but individuals in UNMPD command expressed frustration as they believed that the District
Attorney rarely prosecuted sexual assault cases unless the assaults were committed by strangers and the cases were
presented “in a neat little package tied up in a bow.” This frustration was echoed by members of the community
who had interacted with the District Attorney’s Office on sexual assault matters. While not the focus of this
investigation, the United States has concerns that this perceived unwillingness to prosecute sexual assault crimes
involving victims known to the offenders may discourage some victims from reporting their assaults.
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   In 2014-15, all five members of the team attended conferences on Investigating Strangulation/Sexual Assault or
Sexual Assault Nurse Examiners (“SANE”), or both. However, it is unclear if this was a one-time occurrence or a
mandated annual training. One of the detectives on the SMART team took it upon himself to attend the SANE
conference in two previous years, and in 2015 attended three additional trainings: the New Mexico Sexual Assault
Coalition’s training on Effective Investigative strategies, including trauma-informed and forensic interview training;
the Rape Crisis Center of Central New Mexico’s sexual assault training; and the Crime Victims Reparations
training. This detective was able to articulate a best practice, trauma-informed approach to investigating sexual
assault cases, and illustrate how he and another SMART officer used the approach in a recent investigation. These
officers should be commended for their proactive approach to pursuing best practice training in the field, which also
reflected in their work. Complainants who interacted with this detective described him as caring and supportive.

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didn’t do more to fight off their attackers or being lectured on why young women should not
drink in public; approaches that suggest either explicit or implicit gender bias on the part of the
investigating officer.

Along with our experts in investigations of sexual assault by law enforcement, we reviewed
UNMPD investigation reports for complaints of sexual assault and harassment. Many reports
reflected relatively short and dismissive complainant interviews which focused the investigation
on the complainant, not the accused, and claims of consent by the accused were taken on face-
level and rarely challenged. Reports rarely reflected observations of demeanor or deduced or
documented psycho-physiological evidence, all of which illustrates a deficiency in training and
understanding of the complexities of sexual assault cases. The majority of the reports reflected a
lack of understanding of the impact of trauma on complainants, or how such impact explains the
challenges officers face in interviewing victims, such as memory gaps, inconsistent accounts, or
delayed reporting, that can lead to inappropriate questioning. As a result, a review of UNMPD
reports revealed that some officers were skeptical of victims’ reports, and often UNMPD officers
failed to conduct a follow-up investigation on information reported in the victim’s initial report.

In addition, UNMPD officers, including some in command, exhibited a lack of understanding
regarding the issues surrounding sexual, domestic and dating violence through their lack of
familiarity with the parameters established by the FBI and International Association of Chiefs of
Police on what constitutes an “unsubstantiated” case” versus an “unfounded” case.30 For
example, one officer described a domestic violence victim as a “liar” when she recanted her story
after returning home, not recognizing that she may have done so under threat, duress, or fear for
her safety. A criminal complaint should not be unfounded as a result of the initial complainant
interview or perceived complainant reaction to the sexual assault, as complainants of sexual
assault may recant or decline prosecution for various reasons (e.g. fear of retaliation by the
offender, concern about not being believed, hesitancy regarding the criminal justice system, and
loss of privacy). A complainant’s reluctance to participate is neither indicative of a false report
nor reason to forego a strong, evidence-based investigation. Only after a full investigation shows
that an offense was not committed or attempted may cases be coded as unfounded, as either
baseless, if the case did not meet the elements of a crime or was improperly coded as a sexual
assault; or false, if the evidence obtained through an investigation shows that a crime was
definitively not committed or attempted.

Lastly, UNMPD officers noted that they are not trained and do not have the tools to process a
crime scene for evidence. Currently, UNMPD must notify the Albuquerque Police Department

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   The FBI defines “unfounded” as “a complaint that is determined through investigation to be false or baseless. In
other words, no crime occurred…. the refusal of the victim to cooperate with prosecution or the failure to make an
arrest does not unfound a legitimate offense. Also, the findings of a coroner, court, jury, or prosecutor do not
unfound offenses or attempts that law enforcement investigations establish to be legitimate.” See U. S. Department
of Justice’s Federal Bureau of Investigation’s Criminal Justice Information Services Division’s Uniform Crime
Reporting Program Summary Reporting System User Manual (June 20, 2013), available at:
https://www.fbi.gov/about-us/cjis/ucr/nibrs/summary-reporting-system-srs-user-manual. For additional information
on classifying cases as unfounded, see the International Association of Chiefs of Police’s Guidelines on Sexual
Assault Incident Reports, available at http://www.theiacp.org/portals/0/pdfs/SexualAssaultGuidelines.pdf.

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to have a crime scene processed, which can result in significant delay when that team is not
immediately available.

V.         Campus Climate

As described above, based on our analysis of sexual harassment complaints made to the
University in the past six school years, focus group discussions, and interviews, the United States
determined that incidents of sexual harassment, including sexual assault, created a hostile
environment for affected students, as they were sufficiently serious that they interfered with or
limited students’ ability to participate in or benefit from the school’s program. Affected students
dropped classes; expressed fear of going to certain areas of campus; experienced negative mental
health consequences, including post-traumatic stress disorder and suicidal ideation; lost
scholarships; and in some cases withdrew from the University. Further, as explained above, gaps
in procedures and training have prevented UNM from taking prompt and effective steps
reasonably calculated to end the sexual harassment, eliminate the hostile environment, prevent its
recurrence, and, as appropriate, remedy its effects.

More generally, many UNM students described significant concerns about campus climate,
expressing unwillingness to report sexual harassment, including sexual assault, to UNM because
they were afraid of retaliation, lack of a response by the University, or a negative response by the
University. Students, faculty, staff, and community members expressed the view that the
University approaches allegations of sexual assault with indifference or skepticism, and in some
cases even levels blame upon the student experiencing the alleged assault. Indeed, in our
interviews, University officials made several statements placing blame with students who are
assaulted, reflecting a significant lack of understanding about the dynamics of sexual assault.
One University official described “women putting themselves at risk [of sexual assault].” The
same official specifically described a student who reported an assault as a “young woman who
was very lonely, tended to be clingy, and would put herself in situations that led to her being
victimized…she didn’t have much insight into her behaviors.” Community members told us
they heard UNM administrators express similar sentiments at events in the community.

Some members of the campus   p community      y described a pperception
                                                                  p     that UNM will not discipline
                                                                                                p
    g perpetrators,
alleged  p p          , especially
                          p      y athletes,, even after receiving
                                                                 g multiple
                                                                         p complaints
                                                                                p       about the same
    g perpetrator.
alleged  p p           One UNMPD officer statedd that the administration
                                                               administration did not respond
                                                                                         p     when
campus
     p police
         p       presented
                 p          evidence of a pattern off sexual harassment and retaliation by certain
student athletes. A number of students reported being harassed by a group of student athletes
after making a sexual harassment complaint to the University against one of their teammates, and
that UNM did little to address their safety concerns. This view was also reflected in interviews
conducted by Pilgrim & Associates at the request of the University. For example, one student
who decided not to press charges against her ex-boyfriend told Pilgrim that “she was scared of
retaliation because football is very petty with stuff like that. She thinks they would definitely ‘do
stuff like they did with the girl that reported the rape [by members of the football team]’…. She
has seen retaliation occur against the alleged victim of the football rape accusations…. She saw
on Instagram the football players posting pictures of the three guys saying something like ‘that
girl is going to get what’s coming to her.’”


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Students,, faculty,
                 y, staff,, and communityy members also expressed
                                                             p        a belief that UNM’s approach
                                                                                           pp      to
sexual assault is driven primarily by concerns about image-building and protecting high-profile
students, rather than fostering a safe and healthy climate. In describing this perception, many
students
pointed to the University’s efforts to build its athletics program and to promote athletics in
conjunction with a “party” culture; for example, the University has a partnership with “United
We Rage” to host tailgates where students consume substantial amounts of alcohol pprior to
athletic events on campus.
                         p     Students also expressed
                                               p        frustration about insufficient communication
from the administration followingg high-profile
                                       g p        alleged
                                                      g incidents of sexual assault, and attributed
that lack of communication to concerns about image.

Prior to the launch of this investigation,
                                   g      , UNM veryy rarely
                                                           y made ppublic statements denouncing  g or
expressing
    p        concern about student safety in response to sexual assault allegations against UNM
students. During one high-profile case involving student athletes, UNM did not release a single
 media report or message from the administration affirming that it took allegations
                                                                              g       of sexual
 assault seriously
                 y or that it condemned the type
                                             yp of behavior alleged.
                                                                 g    The University’s
                                                                                     y lack of
ppublic communication in response
                                p    to these serious and widely-reported
                                                               y p         allegations of assault left
 students with the perception that UNM was indifferent to these allegations. One student told
 Pilgrim & Associates that UNM’s response “was a slap on the wrist. The coaching staff and the
 athletic department acted like nothing happened…The week after the news broke out, the
 football player was on campus and was rolling around like nothing happened. The football
 player was on Twitter saying things like “I’m free, they’ll never hold me down.”

UNM was similarly silent after a high-profile case involving an alleged sexual assault at a
fraternity. Ultimately, UNM suspended the fraternity for serving alcohol to minors, without
referencing the allegations of sexual assault. Students, including members of fraternities and
sororities, told us that UNM’s response led them to believe that the school either condoned or
was dismissive of the alleged sexual assault. In a different case, a UNM fraternity expelled a
member after conducting its own extensive investigation into allegations of sexual assault.
Fraternity members reported frustration at seeing the expelled member openly walking around
campus, stating g that the fraternity
                                    y “did the right
                                                 g thing”
                                                       g despite
                                                            p fears of “beingg ppublicly
                                                                                       y labeled
the rape
      p frat.” These students told us theyy perceived
                                               p        UNM as unwilling to hold the student
accountable because it would tarnish the school’s reputation.

By contrast, UNM has swiftly issued public statements responding to allegations against persons
not affiliated with the school. For example, after a series of gropings on campus by a non-UNM
student in 2013, the UNM President released a message stating that “recent attacks on two
female students on campus are deeply disturbing to me. As the president of this university and
as one who also lives on campus with my family, I am committed to doing everything in my
power to ensure that safety continues to be a top priority. I understand that the frequency of
these incidents over the past two weeks may be a source of anxiety and also may raise questions
about what we are doing to try to prevent such events from happening. Your safety is of the
utmost importance to the University.”

Lastly, students and staff reported that the University does not adequately engage student groups
to ensure that it is meeting the needs of its diverse campus community. Religion, race and
ethnicity, sexual orientation, disability and gender identity – among other characteristics – can

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affect how students address and respond to sexual harassment, including their willingness to
make an official report. UNM’s efforts to prevent, address and respond to sexual assault should
take account of and include students from diverse backgrounds. For example, LGBTQ students
report that the University’s messaging around sexual harassment, including sexual assault, uses a
heterosexist frame; UNM does not have a counselor trained or competent to help LGBTQ
individuals at the faculty/staff counseling center; and LGBTQ students have been left out of
some University efforts to improve responses to sexual harassment.31 Further, OEO has received
very few complaints of sexual harassment from members of the LGBTQ community, even
though LGBTQ Resource Center staff told us that some of the 3,000 visits they receive annually
do involve complaints of sexual harassment, including sexual assault.32 LGBTQ staff are not
required to report sexual assault to OEO and keep reports confidential unless a student requests
otherwise. The relatively few reports received directly by OEO suggests that members of the
LGBTQ community may be unaware of or uncomfortable reporting to OEO – an inference that
was supported by our interviews with students.33

When UNM created the SMART and the Presidential Task Force, only the Women’s Resource
Center (“WRC”) was engaged in the original development of SMART, while the WRC and
LGBTQ Resource Center were both invited to participate on the Presidential Task Force.
Members of numerous other campus community groups – including African American Student
Services, Indian American Student Services and El Centro de la Raza – said they were not able
to engage with SMART or the Presidential Task Force to ensure that the sexual harassment
policies, procedures and practices reflect the specific needs of these communities.

VI.           Title IX Coordinator

While UNM has taken a number of steps to bring itself into compliance regarding its Title IX
coordinator, further action is needed to notify all students and employees of the name or title and
contact information of the coordinator and providing the Title IX Coordinator with adequate
training. Further, as UNM has designated its Coordinator to coordinate the implementation and
administration of procedures for resolving Title IX complaints, including educating the school
community on responsible employees’ obligations to report a complaint alleging sexual
harassment, the coordinator must do more to clarify reporting responsibilities and ensure that
responsible employees have a clear understanding of what constitutes sexual harassment,
including sexual assault, and each employee’s duties and obligations under the various policies.
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31
   Starting fall of 2015, UNM invited the LGBTQ Center to participate on UNM’s Sexual Misconduct and Assault
Response Team, and recognized the LGBTQ Center as a confidential reporting center in the new Sexual Violence
and Sexual Misconduct Policy. However, the LGBTQ Center does not serve on the Title IX or LoboRESPECT
Committee, so their voices will not be considered in development and assessment of Title IX policies and
procedures.
32
   Members of the LGBTQ community experience high rates of sexual, domestic and interpersonal violence. See
Ctrs. for Disease Control and Prevention, Nat’l Ctr for Injury Prevention and Control, National Intimate Partner and
Sexual Violence Survey: 2010 Findings on Victimization by Sexual Orientation 2 (2013), available at:
http://www.cdc.gov/violenceprevention/pdf/nisvs_sofindings.pdf (noting that 44 percent of lesbian women, 61
percent of bisexual women, 26 percent of gay men and 37 percent of bisexual men have experienced rape, physical
violence, and/or stalking by an intimate partner.)
33
   While not the focus of our investigation, multiple UNM personnel reported discrimination against LGBTQ
faculty and staff members as well as harassment on the basis of sexual orientation.

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UNM must also devise a system to effectively communicate information on its Title IX
enforcement among the many components on the campus.
              1.             UNM Does Not Adequately Identify Its Title IX Coordinator

Through the duration of our investigation, the University designated the Director of OEO as the
Title IX Coordinator.34 However, contrary to federal law and guidance, some of UNM’s various
policies and procedures pertaining to sexual harassment, including UNM’s adjudication policies,
do not accurately identify the Title IX Coordinator. Some policies correctly identify the current
Title IX Coordinator by name; others state that the Director of OEO is the Title IX Coordinator,
which is not currently true. Further, the policies are inconsistent in describing the role and duties
of the Coordinator, and some fail to provide the contact information required by regulations.35
As a result, almost no students or faculty are even aware that UNM had a Title IX Coordinator
because the information is not readily or clearly available. For example, the SHP does not
mention the Title IX Coordinator in the introduction, instead only referencing the position as an
aside in section 3.1: Reporting Responsibilities: “the University relies on its employees to notify
the University’s Title IX Coordinator of all disclosures of sex discrimination, sexual harassment,
and sexual violence against students.”36 The words “Title IX Coordinator” are not hyperlinked
to the webpage containing the current Coordinator’s contact information. Persons seeking the
Title IX Coordinator’s information in the SHP cannot easily ascertain the identity, office
affiliation or contact information of the Coordinator. By contrast, the SVSMP identifies the Title
IX Coordinator by name and office affiliation and includes a hyperlink to a page of the OEO
website that provides the Title IX Coordinator’s name, contact information, and her duties and
responsibilities. This Title IX Coordinator webpage on the OEO website meets all the
requirements of Title IX. However, the information is only easily accessible from the S VSMP
or for people who already know that the Title IX Coordinator information would be included on
the OEO website. Moreover, relying on hyperlinks prevents anyone who may be accessing the
policies in hard copy form from getting information about the Title IX coordinator.

              2.             UNM Does Not Adequately Train Its Title IX Coordinator Regarding Title
                             IX Compliance Obligations

UNM does not require nor set forth a process for the Title IX Coordinator to engage in regular
and timely review of federal law and guidance regarding Title IX. The Title IX Coordinator has
not keep abreast of federal updates regarding Title IX compliance. Notably, the University’s
Sexual Assault Policy, which was in effect until May 2015, was not compliant with the US
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34
   In August of 2015, UNM removed the Title IX Coordinator duties from the Director of OEO and assigned them
to Heather Cowan, a compliance manager in the OEO who oversees Title IX investigations conducted by the OEO
office. It is unclear whether this is a one-time event or formal change, and whether Title IX Coordinator will be an
independent position. As the change was made after June 30, 2015, the United States does not have the information
to assess whether any duties Ms. Cowan may still retain regarding the Title IX investigation process has or could
create a potential conflict of interest.
35
   28 C.F.R. § 54.135(a). As of September 15, 2015, the Office of Equal Opportunity Discrimination Claims
Procedure still identifies the Director of OEO as the Title IX Coordinator. UNM will need to correct this
inaccuracy.
36
   The Reporting Responsibility section was only added to the SHP on May 21, 2014. Prior to that date, the sexual
harassment policy was devoid of any mention of the Title IX Coordinator.

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Department of Education’s 2011 guidance on Title IX. In fact, prior to April 19, 2015, UNM
was unaware that a process existed for colleges and universities to be officially informed of new
federal guidance. When the Department of Education released its 2011 Dear Colleague Letter a
UNM employee outside OEO brought it to the Title IX Coordinator’s attention. After learning
of the 2011 Dear Colleague Letter, the Title IX Coordinator established a Title IX Compliance
Committee, but did not call meetings for months at a time and did not undertake a compliance
review or update of the University’s sexual harassment policies. UNM did not update its sexual
harassment policy to reflect federal guidance until 2015.
              3.             UNM Does Not Adequately Identify or Train Its Responsible Employees

UNM has designated its Title IX Coordinator to provide training on school policies related to
sexual harassment to make sure that UNM employees are aware of their rights and obligations
under Title IX. However, UNM’s policies provide conflicting information regarding who
constitutes a responsible employee with an obligation to inform the Title IX Coordinator or OEO
of a report of sexual harassment, including sexual assault. Moreover, UNM has not effectively
communicated the reporting requirements of those designated as responsible employees. The
new SVSMP states that all UNM faculty and staff, except those individuals employed by or
associated with SHAC, Counseling, Assistance & Referral Services, or the UNM Advocacy
Center, as “responsible employees” who are required to inform OEO of any report of sexual
harassment, sexual violence or sexual misconduct. By contrast, the SHP identifies not all staff,
but only faculty, administrators, and supervisors as “required to engage in appropriate measures
to prevent violations of this policy and promptly notify OEO.”

While Title IX does not dictate which university employees have Title IX reporting obligations,
guidance from the U.S. Department of Education’s Office for Civil Rights (“OCR”) defines
responsible employee as “any employee: who has the authority to take action to redress sexual
violence; who has been given the duty of reporting incidents of sexual violence or any other
misconduct by students to the Title IX coordinator or other appropriate school designee; or
whom a student could reasonably believe has this authority or duty.”37 Once a university has
designated responsible employees, the failure of an identified responsible employee to make
such a report constitutes a violation of Title IX. The conflicting language of the SVSMP and
SHP regarding responsible employees is likely to confuse employees attempting to determine
whether they have reporting obligations. Individuals who consult the SHP may not understand
that, under the SVSMP, staff members who do not have supervisory duties still have reporting
obligations.
UNM does not provide sufficient notice of or training on sexual harassment policies and
procedures to its faculty and staff. While the University requires faculty and staff to participate
in annual online training, faculty and staff report that the focus of this training is on the
importance of not sexually harassing others in the workplace. This type of training is also
necessary, but faculty and staff reported that they receive no training on how to identify sexual
harassment; what to do if a student reports a sexual assault; the designation and duties of

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37
  See Revised Sexual Harassment Guidance: Harassment of Students by School Employees, Other Students, or
Third Parties at 13, available at: http://www.ed.gov/about/offices/list/ocr/docs/shguide.html (Jan. 19, 2001).

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responsible employees to report; how the University will investigate or respond to the report; or
where the faculty or staff member can direct the student for help or support.

During the 2014-15 school year, OEO developed training regarding Title IX reporting
obligations, which includes information on where responsible employees must direct reports.
However, the United States’ investigation revealed that a number of UNM employees, including
those who have always been designated responsible employees, have never received training
about – and are thus unaware of – their reporting obligations. Faculty and staff reported that they
did not know whether they were responsible employees required to report incidents that were
reported to them; would not know what to do if a student reported a sexual assault to them; and
did not know who to call. A number of graduate students and staff members stated that they
brought complaints of sexual harassment to their department chairs or supervisors, respectively,
who appeared to have done nothing to report or remedy the situation, nor was the evidence that
the information was passed on to OEO. Further, faculty and staff who themselves experienced
alleged sexual harassment, including sexual assault, also report a great deal of confusion about
UNM’s sexual harassment policies and procedures. As of November 18, 2015, the only
employees required to attend training on identifying and reporting sexual harassment, including
sexual assault, are the 219 individuals employed as residential advisors, academic advisors and
Athletics Department staff.

In addition, UNM provides no training for graduate students, who often serve dual roles as
employees and students. Most graduate students indicated that they did not know they had the
option of reporting to OEO, nor did they understand that in the context of their teaching role,
they might have an obligation to report sexual harassment to OEO.
The lack of information regarding who constitutes a responsible employee has resulted in UNM
not receiving information about sexual harassment, including sexual assault, on campus in a
systematic and comprehensive manner. For example, prior to May 2014, UNMPD, members of
whom are responsible employees, received a number of complaints of sexual assault of UNM
students, including one complaint against a student accused of two additional sexual assaults
against different complainants. Neither the DoS nor OEO appear to have received that report or
to have conducted an investigation. Further, in 2013, there were four complaints of drug-
facilitated sexual assaults affiliated with UNM sororities and fraternities. Students remember
discussing all of the incidents with a UNM official who has reporting obligations, and a sorority
sent out an email discussing a possible serial assaulter. However, there is no evidence that this
information was passed on to OEO. As a result of these failures to report, UNM failed to
adequately respond to known allegation of sexual harassment, prevent their recurrence, and
provide sufficient supports and remedies to the complainants to redress the harm.

Further, while the United States focused its investigation on sexual harassment involving
students, information we collected showed that UNM lacks understanding regarding the purpose
and scope of Title IX. For example, in a report issued in October 2015, UNM incorrectly noted
that claims of sex-based discrimination against employees are not covered by Title IX, as “Title




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IX protections cover only students.”38 During the course of its investigation, the United States
heard from a number of current and former employees in academic and services departments
who identified hostile environments due to sex-based discrimination and an indifferent response
by the administration to complaints.
VII.     Conclusion

We acknowledge and appreciate the commitment of the University to prevent and address sexual
harassment, including sexual assault, and the steps UNM has taken to date in furtherance of that
commitment. To fully comply with Title IX, the University must take additional specific steps
to:
1.      Provide comprehensive and effective training to all students, faculty, and staff that gives
        notice of the University’s prohibition on sexual harassment, including sexual assault;
        information about reporting options, duties and obligations; details on where to go for help
        or assistance; and information on grievance procedures and potential outcomes;

2.      Revise the University’s
                              y policies,
                                  p       , procedures,
                                            p         , and investigative
                                                                   g      practices
                                                                          p         to provide
                                                                                       p       a
        ggrievance procedure
                   p           that ensures prompt and equitable resolution of sexual harassment
         and sexual assault allegations;

3.      Adequately investigate or respond to all allegations by students who have alleged sexual
        harassment, including sexual assault, and/or allegations of retaliation for reporting sexual
        assault or sexual harassment;

4.      Take prompt
             p    p and effective steps to eliminate a hostile environment, prevent its recurrence,
        and address its effects; and

5.      Ensure that the individuals designated to coordinate its Title IX efforts receive adequate
        training and coordinate these efforts effectively.

We hope to continue working with UNM in an amicable and cooperative fashion to resolve our
outstanding concerns. We hope that you will give this information careful consideration and that
it will assist in advancing productive discussions that have already been initiated with the
University.




38
   UNM acknowledged to the United States that the report “incorrectly states that the protections of Title IX of the
Educational Amendments of 1972 only cover students. The Office of Equal Opportunity does not share this view.”
However, the fact that individuals tasked with internally reviewing sexual harassment investigations are not aware
that Title IX covers employees is evidence of UNM’s lack of understanding and failure to train responsible parties
as to the scope of the statute.

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Please contact us to inform the United States whether the University is interested in working
cooperatively to resolve this matter. We know that you will give this letter careful consideration
and review, and we look forward to speaking with you in the very near future. If you have any
questions regarding this letter, please contact Torey Cummings at (202) 305-4204 or Colleen
Phil lips at (202) 307-6548.



Sincerely,

                                                                                                     - -----


Shaheena Simons, Chief                               Damon Martinez
Educational Opportunities Section                    United States Attorney
Civil Rights Division                                District of New Mexico
U.S. Department of Justice                           U. S. Department of Ju ·ce




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                             Agreement

                               between

           The United States Department of Justice

                                 and

   The Board of Regents of the University of New Mexico
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                                                  Introduction

The United States Department of Justice, Civil Rights Division, Educational Opportunities
Section, and the United States Attorney’s Office for the District of New Mexico (collectively,
“DOJ” or the “Department”), received and investigated complaints that the University of New
Mexico (“UNM” or the “University”) failed to adequately respond to allegations of sexual
assault of students. On April 22, 2016, DOJ issued a Letter of Findings on the University’s
compliance with Title IV of the Civil Rights Act of 1964 (“Title IV”), 42 U.S.C. § 2000c-6,
which prohibits discrimination based on sex, among other bases, by public colleges and
universities, and Title IX of the Education Amendments of 1972 (“Title IX”), as amended, 20
U.S.C. §§ 1681–1688, and its implementing regulations, 28 C.F.R. pt. 54, which prohibit sex
discrimination by recipients of federal financial assistance. (See Exhibit A.)

The Department and the University enter into this Agreement to address the University’s
obligations under federal civil rights laws to address sexual harassment, 1 including sexual
violence, 2 which creates a hostile environment for students affected by such harassment, and to
provide clear and consistent procedures for reporting, investigating, and responding to such
conduct. 3

The Department recognizes that throughout its investigation into this matter, the University has
taken significant and proactive steps to strengthen its prevention of and response to sexual
harassment and assault on campus. (See Exhibit B, “UNM’s June 2nd Letter to DOJ.”)

The Department acknowledges that the University has, in good faith, initiated some of the
actions described below prior to execution of this Agreement. 4 The University agrees to comply
with the requirements of this Agreement starting on the date signed and to maintain compliance
for the duration of this Agreement.




1
  University Administrative Policy 2730 (“Sexual Harassment”) defines sexual harassment as unwelcome conduct of
a sexual nature. There are two typical types of sexual harassment which violate University policies: quid pro quo
and hostile environment (examples of each are provided in Policy 2730).
2
  Sexual violence is defined in University Administrative Policy 2740 as physical sexual acts perpetrated against a
person’s will or when a person is incapable of giving consent (for example, due to the student’s age or use of drugs
or alcohol, or because an intellectual or other disability prevents the student from having the capacity to give
consent). A number of different acts fall into the category of sexual violence, including rape, sexual assault, sexual
battery, sexual abuse, and sexual coercion. Sexual violence can be carried out by school employees, fellow students,
students from other schools, or third parties.
3
  See 20 U.S.C. §§ 1681–1688, and its implementing regulations, 28 C.F.R. pt. 54; and the legal standards discussed
in the Department of Education’s Office of Civil Rights in the Revised Sexual Harassment Guidance: Harassment of
Students by School Employees, Other Students, or Third Parties (Jan. 19, 2001); and its subsequent interpretive
documents: the Dear Colleague Letter on Sexual Violence (Apr. 4, 2011), and “Questions and Answers on Title IX
and Sexual Violence” (Apr. 29, 2014).
4
  DOJ’s acknowledgement does not connote agreement that UNM’s proactive measures, as implemented, meet the
requirements of this Agreement or bring the University into complete compliance with Titles IV and IX.


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                                                Terms of the Agreement

     To resolve the concerns identified by    y the Department
                                                       p          in its Letter of Findings,
                                                                                          g , the University will
     take action designed to eliminate and prevent sexual harassment, including sexual violence     violence, that
     creates a hostile environment in its education programs and activities, and in compliance    p        with
     Title IV,, Title IX,, and Title IX’s implementing
                                              p          g regulations.
                                                             g           To that end,, the Universityy will make
     all necessaryy and appropriate
                           pp p        revisions to its policies,
                                                        p       , procedures,
                                                                  p            , and practices
                                                                                     p          regarding
                                                                                                   g      g
          p sexual harassment,, including
     campus                                   g sexual violence;
                                                        violence; take appropriate
                                                                          pp p         and immediate steps  p to
             g or otherwise determine what occurred when it has actual or constructive knowledge
     investigate
                harassment; and mitigate the effects of sexual harassment of students that has created a
     of sexual harassment
     hostile environment, including taking prompt and effective steps reasonably calculated to end the
     sexual harassment, eliminate any hostile environment that mayy arise,, prevent  p        its recurrence,, and,
                                            5
     as appropriate,
          pp p       , remedy y its effects. In return,, DOJ will not initiate litigation
                                                                                    g       regarding
                                                                                              g       g its Title
     IX and Title IV findings g raised as of the date of this Agreement,
                                                                  g          , provided
                                                                               p         the Universityy
     continues its efforts and d implements
                                     p         the provisions of this Agreement in good faith and subject
     to the terms in Section VII below.
                                     below

I.            DEFINITIONS

              A. “Student” means all students who have a regular physical presence on campus and
                 are enrolled in a degree-granting program for six credit hours or more per semester.
                 This definition does not include students taking all of their classes exclusively on-
                 line, 6 students taking classes in non-degree or non-credit status, or students taking
                 classes in the University’s Extended Learning or other community learning programs.

              B. “Sexual harassment” includes all forms of sexual harassment defined in University
                 Administrative Policies 2730 and 2740.

              C. “Days” refers to calendar days. If a deadline falls on a weekend, holiday recognized
                 by either the Department or the University, or during the University’s Winter Break
                 period, that deadline will be extended to the first regular business day following that
                 weekend day, holiday, or the end of the Winter Break.




     5
       Title IV, Title IX, and Title IX’s implementing regulations protect students from prohibited discrimination and do
     not restrict the exercise of any expressive activities or speech protected under the U.S. Constitution. When a school
     works to prevent and redress discrimination, it must respect the free-speech rights of students, faculty, and other
     speakers. Title IX and Title IV protect students from sex discrimination; they do not regulate the content of speech.
     The Department recognizes that the offensiveness of a particular expression as perceived by some students, standing
     alone, is not a legally sufficient basis to establish a hostile environment under Title IX and Title IV. While working
     to meet the requirements of this Agreement, UNM should also review the Department of Education’s July 28, 2003,
     Dear Colleague Letter on the First Amendment, http://www.ed.gov/ocr/firstamend.html, and October 26, 2010, Dear
     Colleague Letter on harassment and bullying, http://www.ed.gov/ocr/letters/colleague-201010.html.
     6
       Should a student who takes all of their classes exclusively on-line change their status such that the student has a
     regular physical presence on campus, that student will then qualify as a “student” as defined in this Section.



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          D. “Supportive measures” include interim supportive academic measures such as
             academic accommodations or changes in residential assignment, and appropriate
             supportive safety measures, such as no contact directives or temporary suspensions.

          E. “Attendant materials” help implement and disseminate information about University
             policies and include, but are not limited to, websites, brochures, handouts, and other
             materials designed with the purpose of informing the public about such policies.

II.       POLICIES AND PROCEDURES

          A. To clarify what conduct constitutes sexual harassment prohibited by University policy
             and students’ options for reporting sexual harassment, including sexual violence, the
             University will review all relevant policies, procedures, and attendant materials for
             consistency and clarity, and will amend, rescind, or insert cross-references as
             necessary. The University will ensure its policies, procedures and related attendant
             materials consistently and accurately:

                 1. Define sexual harassment and explain when such harassment rises to a level
                    that violates University policy (e.g., hostile environment, quid pro quo); and

                 2. Provide clear and detailed information on reporting, including: (a) a
                    description of how, where and to whom to report sexual harassment; (b) an
                    explanation of when reports are confidential, and when they constitute notice
                    to the University, thereby triggering a requirement that the University
                    respond; (c) how to report under each option; and (d) the consequences of
                    each reporting option. The University will include details on anonymous
                    and/or confidential reporting and on how to report a crime to law enforcement
                    for criminal justice response.

          B. The University will ensure that its procedures provide for adequate, reliable, prompt,
             and impartial investigation, adjudication (where appropriate), and appeal (where
             applicable) of all complaints of sexual harassment, including an equal opportunity for
             the parties to present witnesses and other evidence. To this end, the University will
             review and revise its procedures and any attendant materials as follows:

                 1. Revise its updated Office of Equal Opportunity (“OEO”) Discrimination
                    Claims Procedure (“DCP”) to provide an explanation of what OEO considers
                    in making a final determination of whether a complaint of sexual harassment
                    violates University policies, including (a) a description of what types of
                    evidence may be obtained by OEO or offered by witnesses, and (b) an
                    explanation of how such evidence is considered in making the final
                    determination;

                 2. Revise the DCP to provide detailed information for complainants and
                    respondents regarding their rights under OEO’s processes, including the rights
                    of complainants and respondents as defined in University Administrative


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                       Policy 2740; 7 and expectations/options for complainants and respondents as
                       the investigation proceeds;

                  3. Revise the DCP to provide a statement that OEO will independently and
                     impartially investigate and adjudicate sexual harassment complaints without
                     intervention or involvement by University administrators, unless such
                     administrators are specifically tasked with responsibilities in the adjudication
                     process;

                  4. Revise the DCP to provide a prompt and reasonable timeframe for any appeals
                     process allowed under University policy, to ensure that a finding of a violation
                     of University policy is timely and effectively shared with the appropriate
                     sanctioning body; and

                  5. Review the Student Grievance Procedure against the DCP to ensure both
                     clearly and consistently reflect each other’s processes and procedures.

         C. To ensure that University procedures provide for adequate, reliable, prompt, and
            impartial investigation, adjudication (where appropriate), and appeal (where
            applicable) of all complaints of sexual harassment, the University will develop
            written internal protocols for the implementation of the DCP. 8 These written
            protocols will:

                  1. Require OEO investigators to, where feasible, conduct in-person interviews
                     with material witnesses to a complaint before providing any witness with
                     another witness’ written statement;

                  2. Establish a timeframe after witness interviews for OEO investigators to follow
                     up on collecting relevant evidence identified by witnesses, including
                     statements, pictures and videos published through social media, and
                     information from cell phones, including but not limited to text messages,
                     photos, and videos;

                  3. Define parameters for granting or denying an extension of time during any
                     part of OEO’s investigation procedure when such extension is requested by
                     the complainant, the respondent, law enforcement or the OEO investigator, in
                     a way that minimizes the negative impact of such delays on OEO
                     investigators’ ability to timely collect evidence or provide supportive
                     measures;

                  4. Establish when and how OEO must consider, as relevant evidence, additional
                     complaints of sexual harassment against a single respondent that arise prior to

7
  All policy number references in this Agreement refer to the text of policies in place as of the date this Agreement is
signed.
8
  See 28 CFR 54.135(b).


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                     or during the course of an investigation, including complaints of additional
                     harassment or violations of no-contact orders;

                 5. Establish how OEO will consider power dynamics in complaints by students
                    against faculty and staff, including when a respondent is both a student and
                    school employee;

                 6. Require that investigators equally assess the credibility of all witnesses and
                    explain the basis for their assessment in the letters of determination;

                 7. Establish a process by which OEO will receive relevant information from the
                    University of New Mexico Police Department (“UNMPD”), and seek to
                    receive information from the Albuquerque Police Department, the Bernalillo
                    County Sheriff, and the Bernalillo County District Attorney;

                 8. Establish a procedure for OEO investigators to report, and an appropriate
                    office to effectively respond to, any contact made by UNM administrators or
                    other non-OEO employees during the pendency of the investigation and
                    adjudication of a complaint that could be perceived as creating bias or
                    partiality; and

                 9. Establish a time frame for OEO investigators to communicate with the
                    complainant and respondent to keep them timely informed as to the
                    investigation, adjudication, and appeals processes.

        D. To ensure that the University effectively eliminates any hostile environment created
           by sexual harassment, prevents its recurrence, and remedies its effects, the University
           will establish written internal protocols regarding communications about its response
           to allegations of sexual harassment, including:

                 1. A process by which the OEO and Dean of Students Office (“DoS”) will share
                    information regarding complaints of third party retaliation and respond as
                    appropriate;

                 2. Criteria for and a process by which the OEO and the DoS will determine
                    appropriate supportive measures during the grievance investigation and
                    adjudication process; 9

                 3. A process by which the OEO and the DoS will convey information regarding
                    pending investigations, supportive measures, or findings of a violation of
                    University policy to necessary campus entities, which may include but not be


9
 The appropriateness of a supportive measure will be determined at the discretion of the OEO, DoS or other
University body with jurisdiction over such issues.



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               limited to UNMPD, residential life, athletics, and any applicable academic
               departments.

    E. To ensure that the University consistently responds promptly and equitably to all
       allegations of sexual harassment of or by students of which it had actual or
       constructive knowledge, the University will:

           1. Revise the University’s procedures for tracking electronically all alleged
              sexual harassment incidents (including any written or verbal complaints) to
              produce a spreadsheet that includes: the date and nature of the complaint; the
              name of the complainant or that the complaint was anonymous; the name of
              the person(s) who received the complaint or made the report; the name(s) of
              the respondent; whether OEO opened an investigation or its reason for
              declining to investigate; the name(s) of the person(s) assigned to investigate
              the complaint, issue any supportive measures, and issue disciplinary action
              (where relevant); the supportive measures issued, if any; the date of every
              major step of the investigation and adjudication process, including interviews
              of material witnesses, extensions of time granted, and issuance of preliminary
              and final findings; communications regarding all major steps to complainant
              and respondent; the dates of any appeals and their findings; and a summary of
              the findings at the initial, hearing, and appeal stages, including any actions
              taken on behalf of the alleged victim and any disciplinary or other actions
              taken against the respondent;

           2. Ensure that OEO retains all records and supporting written documentation
              related to any incident of alleged sexual harassment for the duration of this
              Agreement, including but not limited to: any written report or complaint; any
              written statements of the student(s) alleging harassment and/or person(s)
              reporting the alleged harassment; interview notes; any evidence submitted or
              collected; any records of correspondence, whether written, in person or by
              phone, with the complainant and respondent, their representatives, or other
              potential witnesses in a matter; existing documentation of any prior incidents
              of discrimination or harassment involving the student(s) subject to harassment
              or the alleged harasser(s); actions taken on behalf of the alleged subject of
              harassment; actions taken with respect to the respondent, including any
              temporary measures; records of any discipline or proposed discipline; records
              of findings communicated to the parties; and records of any appeals;

           3. Establish a process for the Title IX Coordinator to regularly review (a) all
              reports of conduct that may constitute sexual harassment, including UNMPD
              police reports, to ensure that all alleged incidents that involved possible sexual
              harassment were properly identified as such; and (b) all files and reports
              related to the investigation, adjudication, appeal, and sanctions of allegations
              of sexual harassment to ensure they were responded to appropriately and in
              accordance with the requirements of University policies and procedures, Title
              IV, and Title IX and its implementing regulations. The Title IX Coordinator


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                      will follow up as appropriate with any UNM employee(s) who could improve
                      their identification of or response to sexual harassment.

           F. On or before December 1, 2016, the University will submit to the Department for
              review and approval any initial proposed revisions of its policies, procedures, and
              attendant materials related to sexual harassment (including identification of which
              policies, if any, will be rescinded), and (with respect to the University Administrative
              Policies), if necessary, review of any subsequent substantive changes after the
              policies and procedures have gone through UNM’s notice and comment process.
              These revisions will reflect the requirements of the Agreement and relevant federal
              law. If the Department chooses to provide comments on the University’s proposed
              revisions, the Department will do so within 30 days of receipt. The University will
              incorporate the Department’s comments unless there is disagreement, in which case
              the University and the Department will work together in good faith to resolve the
              disagreement. If the parties are unable to agree on the revisions within 30 days of the
              Department providing notice of any concerns, the Department may pursue relief
              under the enforcement provisions of Section VIII below.

           G. Once the University revises its policies, procedures and attendant materials related to
              sexual harassment under the terms above, the University will not substantively
              modify those policies, procedures or protocols during the period of the Agreement
              without the approval of the Department under the process set forth in Section II.F.

           H. By August 1 of each year covered by this agreement, the University will submit the
              spreadsheet identified in section II.E.1 for review, and will maintain all other
              documents identified in II.E.2 to be produced to the Department for review within 30
              days of a request.

III.       NOTICE OF POLICIES AND PROCEDURES

           A. No later than 30 days after final execution of each revised or new policy or procedure,
              the University will provide all students and employees with written notice regarding
              the revised or new policy or procedure regarding sexual harassment and the
              procedures for resolving sexual harassment complaints required by Sections II.A-B.
              The University, at a minimum, will publish revisions of University Administrative
              Policies in the “News” section on the UNM Policy Office website and in the UNM
              News Minute. The University will also include links to all relevant policies and
              procedures in the Student Pathfinder Handbook, including but not limited to OEO’s
              DCP.

           B. By the start of each academic year, the University will review and update the
              LoboRESPECT website to ensure it provides information consistent with any revised
              policies and procedures, and contains clear and consistent information identifying
              which policies and procedures govern the investigation, adjudication, appeal and
              sanctioning processes.



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IV.           TRAINING

              A. Training for Students

                       1. The University currently provides in-person interactive training on sexual
                          harassment to incoming students through its New Student Orientation
                          program and offers it to the University community on an ad-hoc basis
                          throughout the year. 10

                           As part of this Agreement, the University will revise and enhance its training
                           programming to provide in-person interactive training to all students by the
                           close of the monitoring period described in this Agreement. Such
                           programming will include information regarding prevention of sexual
                           harassment and the University’s policies and procedures regarding the
                           reporting, investigation, and adjudication of Title IX complaints. The
                           University will ensure that the training: (a) informs students of the
                           University’s prohibitions against sexual harassment as provided in University
                           policy, the University’s prohibition against retaliation, and the University’s
                           commitment to preventing and addressing sexual harassment; (b) educates
                           students on what type of conduct constitutes sexual harassment that violates
                           University policy; (c) informs students as to how and to whom they can report
                           allegations of sexual harassment and retaliation; and (d) provides a general
                           overview of Title IX, the rights it confers on students, the resources available
                           to students who have experienced sexual harassment and retaliation, and the
                           Department’s role in enforcing Title IX and other laws prohibiting sex
                           discrimination.

                                a. The training will use evidence-based curricula and methodologies,
                                   which emphasize interaction with participants and use of fact patterns
                                   from Title IX claims generally publicly known through national media
                                   dissemination (but do not involve current or past students, faculty, or
                                   staff at the University of New Mexico) to generate discussion and
                                   disseminate facts about sexual harassment. The training will include
                                   opportunities for discussion and interaction.

                                b. These sessions will emphasize: issues around consent in sexual
                                   interactions; the criminal, academic, housing, athletic, and student-
                                   record-related consequences related to committing sexual harassment
                                   and/or retaliation that violates University policy; the role of alcohol
                                   and drug use in incidents of sexual harassment, including how such
                                   use relates to consent and what constitutes incapacitation that prevents

      10
        The in-person interactive training that the University provides its incoming students in the New Student
      Orientation program is titled “the Gray Area.” DOJ will determine whether the Gray Area complies with these
      requirements as part of the monitoring component of this Agreement.



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                     consent from being given; clear examples of what types of actions may
                     constitute prohibited sexual harassment under University policy, and
                     what may provide the basis for a complaint under the DCP; how
                     bystanders can help; and when off-campus misconduct falls within the
                     University’s policies and the DCP.

          2. By February 1, 2017, the University will establish the necessary infrastructure
             to allow it to provide the in-person interactive training described in this
             Agreement on an ongoing basis.

          3. Starting February 1, 2017, the University will issue notices to all current
             students that those who have not taken the in-person interactive training
             described in this Agreement through New Student Orientation or another
             campus opportunity will be required to take such training prior to the end of
             the Fall 2017 academic semester.

                 a. The University will ensure that all students currently enrolled in
                    graduate programs at UNM have received training by December 31,
                    2017.

                 b. The University may exempt from this training requirement all students
                    graduating from their degree granting programs at the end of the
                    Spring 2017 semester. However, the University must ensure that those
                    students graduating from their degree granting programs at the end of
                    the Spring 2017 semester who will be starting a new University degree
                    granting program for six credit hours or more at any point following
                    the close of the Spring 2017 semester will be required to take the in-
                    person interactive training prior to starting or at the beginning of their
                    graduate program.

          4. Starting in the 2017-2018 academic year, the University will provide the in-
             person interactive training described in IV.A.1 to all students who are new to
             the University. This training will be mandatory for all students new to the
             University starting in the 2017-2018 academic year (including freshmen, new
             graduate students, and incoming transfer students).

          5. Starting in the 2017-2018 academic year and continuing through the end of
             this Agreement, the University will ensure that all continuing students who
             have already received the in-person interactive training then receive annual
             online training on sexual harassment pursuant to the requirements below.

                 a. The online training will emphasize: issues around consent in sexual
                    interactions; the criminal, academic, housing, athletic, and student-
                    record-related consequences related to committing sexual harassment
                    that violates University policy, and retaliation; the role of alcohol and
                    drug use in incidents of sexual harassment, including how such use


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                              relates to consent and what constitutes incapacitation that prevents
                              consent from being given; clear examples of what types of actions may
                              constitute prohibited sexual harassment under the University policy,
                              and what may provide the basis for a complaint under the University’s
                              grievance procedures; how bystanders can help; and when off-campus
                              misconduct falls within the University’s policies and grievance
                              procedures.

                          b. The online training will be interactive. 11

                          c. Individuals taking classes at the University exclusively online in a
                             degree granting program will be required to take the online training in
                             their first semester of enrollment and annually thereafter, so long as
                             they are enrolled for one or more credits during the academic year.

                 6. The University may develop a system whereby individuals may request
                    waiver of the training(s) requirement. The waiver system will be reviewed by
                    the Department prior to implementation.

                 7. All training will include participant evaluations, which UNM will analyze to
                    determine ongoing effectiveness of training. The University will develop a
                    system for monitoring training to ensure that every student required to do so
                    as provided in this Section participated in the trainings described in this
                    Section subject to allowance of waiver approved by the Department or
                    reasonable limitations for which the University supplies an explanation.

        B. Training for Responsible Employees

                 1. By December 31, 2016, the University will provide training to all University
                    staff and faculty that it designates as responsible employees, including but not
                    limited to members of the UNMPD. This training will explain the
                    University’s responsibilities under Title IX to address allegations of sexual
                    harassment and how employees should respond to reports of sexual
                    harassment. The training will include:

                          a. Clear examples of what types of actions may constitute sexual
                             harassment, and what may provide the basis for a complaint under to
                             the University’s grievance and other procedures;

                          b. Information regarding the University’s policies and grievance
                             procedures for Title IX complaints;


11
   The University has already purchased interactive online training modules. DOJ will determine whether the
training complies with these requirements as part of the monitoring component of this agreement.



                                                        11
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                 c. Information relevant to informing complainants of their right to file a
                    Title IX complaint with the school and a criminal complaint with
                    campus and community law enforcement and how to do so;

                 d. Which employees are responsible employees under University policy,
                    the reporting requirement of all responsible employees, where and to
                    whom reports of sexual harassment should be made, and any
                    consequences for failure to report;

                 e. Information as to where victims of sexual harassment may seek help
                    and assistance on campus; and

                 f. Information regarding the University’s Title IX Coordinator, including
                    role, responsibilities, and contact information.

          2. Each responsible employee will be required to complete the training annually.
             The University will maintain a system for monitoring training to ensure that
             every responsible employee of the University participated in the training
             required by this Section.

          3. The training will include participant evaluations, which UNM will analyze to
             determine ongoing effectiveness of the training.

          4. By December 1 of each year covered by this Agreement, the University will
             ensure that the Title IX Coordinator and all employees directly involved in
             processing, investigating, adjudicating, responding to appeals, and/or
             sanctioning complaints of violations of University policies through the DCP
             regarding allegations of sexual harassment have received Title IX training(s).
             The training(s) must be in-person and cover:

                 a. The University’s policies and grievance procedures for Title IX
                    complaints;

                 b. The University’s responsibilities under Title IX and Title IV to address
                    allegations of sexual harassment, including how to recognize and
                    appropriately respond to allegations and complaints; and

                 c. For the Title IX Coordinator and all individuals who investigate
                    complaints of sexual harassment prohibited by Title IX and Title IV:
                    how to conduct and document adequate, prompt, reliable, and
                    impartial Title IX investigations. Training should focus on a trauma-
                    informed approach, and must also include how to identify, collect,
                    weigh and analyze evidence, including witness statements and forensic
                    evidence, such as SANE and medical reports, information on consent
                    and the role drugs or alcohol can play in the ability to consent, and
                    how to assess credibility. Training may be provided using a train-the


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                             trainer model (e.g., at least one employee attends outside training by
                             experts in the field and coordinates in-house training).

                 5. Beginning with the 2016-17 academic year, the University will ensure that all
                    employees new to the University employed in positions identified by the
                    University as “responsible employee” as provided in Sections IV.B.1 and 4
                    complete the training required in this Section III.B within thirty (30) days of
                    their employment start date.

                 6. For all training provided to employees by the University, UNM will also
                    develop a plan to evaluate and monitor the effectiveness of such training.

          C. Training for UNMPD

                 1. By December 1, 2016, UNMPD will ensure that all UNMPD officers who
                    respond to or investigate allegations of criminal sexual assault and domestic
                    violence have received training on evidence-based, trauma-informed
                    investigative techniques. Training will include the neurobiological effects of
                    trauma on the brain, how to identify drug- and alcohol-facilitated criminal
                    sexual assault, effective report writing and evidence gathering. Training
                    should also include information on how to recognize and eliminate implicit
                    and explicit gender bias in policing.

                 2. By December 1, 2016, UNMPD will also establish a written protocol for all
                    UNMPD officers who respond to or investigate allegations of criminal sexual
                    assault to receive training at least annually on investigating criminal sexual
                    assault and domestic violence to ensure all officers are aware of current best
                    practices.

                 3. All training will include participant evaluations, which UNM will analyze to
                    determine ongoing effectiveness of trainings.


V.        TITLE IX COORDINATOR

          The University will review all policies, the DCP, and attendant materials to ensure they
          consistently identify the Title IX Coordinator’s name or title, office address, email
          address, and telephone number as required by Title IX at 28 C.F.R. § 54.135(a) in all
          places where that information is published. Additionally, the University will ensure that
          all published notices of nondiscrimination with the Title IX Coordinator’s information
          are consistent with the requirements of Title IX at 28 C.F.R. § 54.140.

VI.       EDUCATIONAL CLIMATE

          A. The University will take steps to eliminate any hostile environment that it identifies
             for students reporting sexual harassment (e.g. by providing academic services,
             counseling, escort services, and changing housing assignments and scheduling for

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       classes, dining services, etc.). Each semester the University will document, on an
       internal spreadsheet, any steps it takes to address a student’s environment, including
       the nature and duration of any such steps.

    B. The University, using evidence-based methodology and validated questions, will
       continue to conduct one or more annual climate surveys for all students to: 1) assess
       students’ attitudes and knowledge regarding what constitutes prohibited sexual
       harassment and retaliation; 2) gather information regarding students’ experience with
       sexual harassment while attending the University; 3) determine whether students
       know when and how to report such harassment; 4) gauge students’ comfort level with
       reporting sexual harassment; 5) identify any barriers to reporting; 6) assess students’
       familiarity with the University’s outreach, education, and prevention efforts to
       identify which strategies are effective; and 7) solicit student input on how the
       University can encourage reporting of prohibited sexual harassment and retaliation,
       and better respond to such reports.

           1. The annual climate surveys will be administered in the Fall semesters of 2017
              and 2018 to all students, and will allow for respondents to answer the survey
              anonymously.

           2. By December 1, 2016, the University will submit its proposed climate survey
              and assessment methodology to the Department for review, and if changes are
              proposed, shall resubmit for review before conducting.

    C. By February 1, 2017, the University will implement a monitoring program to assess
       the effectiveness of its efforts to prevent and address sexual harassment and
       retaliation and to promote a non-discriminatory school climate. The monitoring
       program should include an assessment of the effectiveness of its prevention and
       response efforts as they relate to the University’s diverse population, e.g. Limited
       English Proficiency, LGBTQI, and Native American students. By February 1, 2017,
       the University will submit a monitoring plan to the Department for review. The
       monitoring program shall include an annual assessment of the effectiveness of its
       anti-harassment efforts and submission of the assessment to the Department as
       required by Section VII.E. The assessment will be completed by June 30, 2017, and
       then at the conclusion of each academic year for the life of this Agreement, and
       include:

           1. A review of student climate surveys (see Section VI.B) to determine: where
              and when sex-based harassment occurs; deficits in students’ knowledge of
              what constitutes sexual harassment that violates University policy, where to
              report it, and the results of reporting to different resources; barriers to
              reporting sexual harassment; and recommendations for how the University
              can better encourage reporting of and improve its response to complaints;

           2. A review of all reports
                                p     of sexual harassment and the University’s
                                                                              y responses to
              such reports, particularly with respect to: whether such reports were


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                       adequately,
                           q     y, reliably,
                                           y, ppromptly,
                                                   p y, and impartially
                                                                p      y investigated
                                                                                g      and resolved; how
                       manyy resulted in a findingg of violation of University policy and (where
                       applicable) the disciplinary action taken; the University’s actions to remedy
                       the effects of any hostile environment and retaliation that occurred; how many
                       reports involved particular groups of students or staff (e.g., first-year students,
                       athletes, members of fraternities or sororities, or academic advisors) or
                       particular patterns of behavior (e.g., drug- or alcohol-facilitated assault);
                       whether any individuals engaged in repeat misconduct; and if so, the
                       University’s actions to prevent the repeated misconduct and remedy its
                       effects;

                  3. Detailed data on the number of sexual harassment reportsp     received by the
                     University,y, whether the Universityy investigated
                                                                   g    each report,
                                                                                p , and,, if
                     investigated,
                             g     , the findings,
                                               g , the sanctions imposed
                                                                    p    (if
                                                                         ( applicable)
                                                                              pp        ) and the dates
                     of all relevant events in each report,
                                                        p , includingg but not limited to the date of the
                     complaint
                          p      and the date findings were communicated to the complainant and
                     respondent;
                     respondent

                  4. Evaluation and analysis of the data collected, including an assessment of any
                     changes in the number or severity of reported incidents of sexual harassment,
                     particularly among subgroups of students or staff (e.g., first-year students,
                     athletes, members of fraternities or sororities, or academic advisors);

                  5. Conclusions derived from the monitoring program implemented under Section
                     VI.C;

                  6.    Any recommendations received from community members and stakeholders,
                       including members of law enforcement, that are gathered for the annual
                       assessment; and

                  7. Any recommendations by the University for improving its sexual harassment
                     response and prevention programs, and timelines for the implementation of
                     the recommendations.

VII.       REPORTING PROVISIONS

           A. Policies, Procedures and Protocols

              The Universityy will pprovide the Department
                                                  p        all documents and information identified
              in provisions II.A-F in accordance with the timelines set forth above.
                                                                              above

           B. Notice of Revised Policies and Procedures

              Within 45 calendar days after providing notice to students and employees of the
              newly amended or revised policies and the DCP, the University will provide the
              Department with documentation that it has implemented Section III of this


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       Agreement, including copies of any written notices issued to all students and
       employees regarding the new Title IX procedures; a description of how the notices
       were distributed; links to the webpages where the revised Pathfinder and University
       policies are located; and a link to its webpage(s) where the revised DCP is located.

    C. Training

       By December 1, 2016, the University will provide to the Department, for review and
       approval, the training materials and agendas to be used in the trainings conducted
       pursuant to Sections IV.A and B. The University will also provide information
       describing the expertise and experience with regard to Title IX of the person or
       persons conducting the training pursuant to Sections IV.B and C of this Agreement. If
       the Department chooses to provide comments on the proposed training or trainers, it
       will do so within 45 days of receipt of the materials.

       By September 30, 2017, and by June 30th of each subsequent year covered by this
       Agreement, the University will provide information regarding the content and
       recipients of each student training provided pursuant to this Agreement. This
       information must include:

           1. Copies of all agendas used at such training sessions;
           2. Copies of the training materials distributed at student trainings;
           3. Electronic access to any training provided through other media;
           4. The dates and duration of each student training session held that was required
              by this Agreement; and
           5. The number of students who have yet to participate in the online or in-person
              training required by Section III.A with an explanation for how the University
              will ensure that they receive the training, subject to the limitations and
              conditions approved by the Department as described in this Agreement.

       By September 30, 2017, and by June 30th of each subsequent year covered by this
       Agreement, the University will provide the Department with a list of any University
       employee, by name and job title, who missed any training required by Sections IV.B
       and C of this Agreement during the past calendar year, and information as to how
       each employee will receive the training.

    D. Title IX Coordinator/Notice of Nondiscrimination

       By December 1, 2016, the University will provide the Department with a report
       documenting the actions it has taken to comply with the provisions of Section V
       above.




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            E. Educational Climate

                By September 30, 2017, and by June 30th of each subsequent year covered by this
                Agreement, the University will provide the Department with a report documenting its
                follow-up efforts with complainants as required by Section VI.A.

                By September 30, 2017, and by September 30th of each subsequent year covered by
                this Agreement during which a climate survey was conducted, the University will
                provide the Department with a report documenting that the annual climate survey has
                been conducted, and including the cumulative results of the survey questions,
                summaries of comments provided in the survey, the University’s analysis of the
                survey results, and proposed actions based on that analysis and the survey
                information.

                By September 30, 2017, the University will provide the Department with a copy of its
                annual assessment of the effectiveness of its sexual harassment response and
                prevention programs, including any proposed recommendations for improving said
                programs. The Department will notify the University in writing if it has any
                objections to the assessment’s proposed recommendations.

                On June 30th of each year covered by this Agreement, the University will provide the
                Department with a copy of its annual assessment of the effectiveness of its sexual
                harassment response and prevention programs, including any proposed
                recommendations for improving said programs. The Department will notify the
                University in writing if it has any objections to the assessment’s proposed
                recommendations. If at any other time the University seeks to improve its sexual
                harassment response and prevention programs in ways that contradict a term of this
                Agreement, it will provide the Department with immediate written notice of the
                proposed improvement(s) and need not wait until it submits its annual assessment.

VIII.       ENFORCEMENT

            A. The Department
                      p         mayy enforce the terms of this Agreement, Title IX, Title IV, and all
               other applicable federal laws.

            B. If the University, despite its good faith efforts, anticipates that it will be unable to
               meet any timeline set forth in this Agreement, it will immediately notify the
               Department of the delay and the reason for it. The Department may provide a
               reasonable extension of the agreed timeline.

            C. If the Department
                         p          determines that the Universityy has failed to comply
                                                                                      p y with the terms
               of this Agreement
                         g          or has failed to comply
                                                          p y in a timelyy manner with anyy requirement
                                                                                               q          of
               this Agreement,
                      g        , it will so notifyy the Universityy and will attempt
                                                                                  p to resolve the issue(s)
                                                                                                         (
               in good
                  g     faith with the University. y If the Department
                                                               p         and the Universityy are unable to
               reach a satisfactory resolution of the issue(s) within 60 days of providing notice to the



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              University, the Department may initiate civil enforcement proceedings in federal
              court.

          D. The Universityy understands that the Department
                                                       p         will monitor this Agreement
                                                                                    g          until it
             determines that the Universityy has fulfilled the terms of this Agreement
                                                                              g          and is in
             compliance
                 p       with Title IV,, Title IX,, and the implementing
                                                              p           regulations at 28 C.F.R.
                                                 investigation.
             Part 54, which were at issue in its investigation

          E. The Universityy further understands that the Department
                                                                p          retains the right
                                                                                          g to evaluate
             the University’s
                            y compliance
                                     p       with this Agreement,
                                                         g         , includingg the right
                                                                                      g to conduct site
             visits,, observe trainings,
                                     g , interview Universityy staff and students (including
                                                                                    (          g ex pparte
             communications with students and Universityy employeesp y       other than University  y
             administrators),), and request
                                       q     anyy relevant additional reports
                                                                         p     or data,, includingg the
             investigative
                      g     reports
                               p     and files of OEO and UNMPD,, as are necessaryy for the
             Department
                p          to determine whether the University   y has fulfilled the terms of this
             Agreement and is in compliance with federal law.

          F. By signing this Agreement, the University agrees to provide data and other
             information in a timely manner in accordance with the reporting requirements of this
             Agreement. To ensure compliance with this Agreement, the Department may require
             additional monitoring reports or the ability to inspect data or other information
             maintained by the University as determined necessary by the Department.

IX.       TERMS AND TERMINATION

          A. This Agreement will be in effect for three (3) full academic years and will not
             terminate until at least 60 days after the Department has received all reporting related
             to the 2018-2019 school year required by this Agreement.

          B. Forr the duration of this Agreement,
                                        g         , the University,          g OEO and UNMPD,, is
                                                                  y, including
             expected
               p       to ppreserve documents,, including                y stored information,, used to
                                                          g electronically
                  p the above-referenced reports,
             compile                          p      , and agrees
                                                            g      to make such documents available
             for inspection by the Department upon request
                                                        request.

          C. This Agreement has binding effect on the parties, including their principals,
             administrators, representatives, successors in interest, and their legal representatives.

          D. If any part of this Agreement is for any reason held to be invalid, unlawful, or
             otherwise unenforceable by a court of competent jurisdiction, such decision shall not
             affect the validity of any other part of the Agreement. Furthermore, the University
             and Department shall meet within fifteen (15) days of any such decision to determine
             whether the Agreement should be revised or supplemented in response to the court’s
             decision.

          E. This Agreement is for the purpose of voluntarily resolving an issue and is not, and
             will not be construed as, an admission of liability, fault, or wrongdoing of any kind by
             the University.

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ALBUQUERQUE POLICE DEPARTMENT
400 ROMA AVE NW
ALBUQUERQUE, NM 87102
Phone: 505 768-2020

Printed on: Friday, June 08, 2018 2:43:24 PM




Agency Case No Supplement            Reported   Reported
                                                 Incident    Cir     Rpt/Incident
APD    1Q.:    No                    Date       Time
                                                  No         Code     yp
       98541 0000        10/18/2016 11:00         162920696 42       FORCE RAPE
Location                  City         ZIP Code Beat Area Sector Map Coordinates
6401 CONSUELO POINT ST~ ALBUQUERQUE 87111       533 FH 53        hs68232 /1511443
From Date             o Date    To Time Member#/Dept ID# 2nd Member#/ID#
10/14/2016           10/14/2016 16:00    P5426
Entered By  Review Member#                  RC Status Date      RC Status Tlme
P5426       P2891                           11/04/2016          13:40:45




                                                Us Bia Lo #P MO Ac
     #
. Offense Offense/Incide Descriptio Complain                       weapon/Fore IBR
              nt           n      •. t Type  AC                       e
   s                                            e S C • r E t                   s
1         30-9-11             CRIMINAL D          C A    88 20           N 40            11A
                              SEXUAL
                              PENE




              Person          Pers      Type      Name(Lst,Fst M)                  DOB
 Juve?        Code             No
                                                 VANMETER,JOY
                                                 BRIGGS ,MICHAEL


Person Code          Pers No Type          Name(Lst,Fst M)      'Race
VIC                  1         Individual  VANMETER,JOY          w
Juvenile?                Height        Weight        Hair Color
N                       509             140           BRO
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Gen Appearance               Build   Hair Description             Facial Features         Deformity

Speech            Demeanor                Mask          Glasses           Body Clothing

Weapon Type                          Caliber        Barrel Length                         Finish




       • Type                                    ID No




                Phone Type                                            Phone No




Person Code   Pers No Type          Name(Lst,Fst M)       Race                                      Age
SUS           2        Individual BRIGGS,MICHAEL          W                                         47
Juvenile?         Height        Weight        Hair Color
N                 509           150           BRO
Gen Appearance        Build Hair Description        Facial Features                       Deformity

Speech            Demeanor                Mask          Glasses           Body Clothing

Weapon Type                          Caliber        Barrel Length                          Finish




Type                     Address                                   City                    ZIP Code




L        Type
                                                 ID No
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                                          Narrative
On October 18th, 2016, at approximately 1100 hours, while serving as the on ca ll Sex
Crimes detective, I was advised of a female subject requesting to file a report reference an
alleged sexual assault.

I contacted victim Joy Vanmeter in a designated interview room. Joy stated that on 10-14-
14, she was sexually assaulted by a friend named Michael Briggs while at Michael's
residence.

A full investigation into this incident will follow. See APD supplemental reports for fu rther
details.
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ALBUQUERQUE, NM 87102
Phone: 505 768-2020

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Agency Case No Supplement Reported      Reported    Incident    Cir    Rpt/Incident
APD     16-    No          Date          ime        No          Code Typ
       98541 0001          03/22/2017 00: 01        162920696 42       FORCE RAPE
Location                    City          ZIP Code Beat Area Sector Map Coordinates
6401 CONSUELO POINT ST NE ALBUQUERQUE 87111        533 FH 53        1568232 /1511443
From Date   From Time To Date     To Time Member#/Dept ID# 2nd Member#/ID#
10/14/2016             10/14/2016 16: 00    P5426
Entered By   Review Member#                   RC Status Date       RC Status Time
P5426        P2891                            05/08/2017           11:55:19




   #    Offense /I nc1.d. e Descnp
                                 . t·10 Comp Iain
                                               .   • Us Bia . Lo ._ #P •i MO Ac ._ Weapon /F ore _IBR
Offense
             nt               n         t Type    AC                                  e
 s                                                   e   S     C , r       E t •                   s
1         30-9-11          CRIMINAL D             C A     88    20           N 40               11A
                           SEXUAL
                           PENE



Gang Act? Gang Name Property Targeted Physical Evidence Method of Entry Point of Entry
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                                                                                                             EXHIBIT

                                                                                             1
                                                                                                             17
 1

 2

 3

 4
 5

 6

 7
 8
                              TRANSCRIPTION OF AUDIO-RECORDED
 9                              INTERVIEW OF JOY VANMETER

10                                     October 18, 2016
11

12
13
        REPORTED BY:
14
                              ANNE DEHON, CCR #263
15                            Bean & Associates, Inc.
                              201 Third Street NW, Suite 1610
16                            Albuquerque, New Mexico 87102
                              (505) 843-9494
17
18

19
20      JOB NO:             621N

21

22
23
   O                               
24           
25

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                                                                                            2


 1                     DETECTIVE SPINKS:     This is Detective Spinks.

 2     Today is Tuesday, October the 18th, 2016.                              The time

 3     is 10:45 hours.             I'm at the FAC with Joy VanMeter

 4     who came in today to file a police report.
 5                     Off the record, Joy, we kind of talked about

 6     why you're here today.             You've indicated that you

 7     were the victim of a sexual assault.                            What I would
 8     ask for you to do is just kind of start at the

 9     beginning, you know, whatever it is that happened,

10     and just tell me a story about what happened to
11     you.

12                     MS. VANMETER:     Okay.     So on Friday, the

13
■      14th, a friend of mine, coworker, colleague, met at

14
■      Matanza at around 2:00.             We were getting a couple

15
■      of beers.             This is a normal occurrence.                  We do it

16
■      maybe once or twice a month.                We've known each

17
■      other for the last, oh, two-and-a-half years.                                  We
18     went through a master's program together, so -- and
19     we work in the same department, so it's very common

20     for us to get together, talk about people we know,

21     chat and whatnot.

22                     We had two beers, both of them were Marble
23     Reds, at Matanza, and, within that time frame, we

24 O talked
            about
                  a number
                            of things pertaining to work,
         
25 you know, my husband, our kids. He has kids. I


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                                                                                            BRIGGS.000429
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                                                                                         3


   1     have kids.

   2                     He just bought a house and moved in within

   3     the last week and was telling me about it,
                                                it and I
   4     said, you know, sometime you should show me your
   5

   6

   7
        -house.          It would be great to see it.
                                                  it
         well, how much time do you have right now?

         have anything planned for the rest of the day.
                                                                       And he said,

                                                                              I don't

                                                                                     And
   8     I said, well, I have 'til 6:00.                    I have to be home

   9     at 6:00 because my husband is in a play and I have

  10     to watch our four-year-old tonight.
  11                     He said, well great, let's go.                  We'll go

  12     over there and I'll show you around the house.                              I
  13     said, that's great.             So I asked him, you know, do

  14     you want -- do you want me to pick up a couple of
  15     beers so we can have a beer at your house?                           He
  16     said, no, I have Blue Moon, don't worry about it.

  17     I said, okay.
  18                     I was perfectly fine after those two beers.
  19     Two beers does not affect me.

  20                     DETECTIVE SPINKS:     Sure.

  21                     MS. VANMETER:     He gave me his address and

  22     kind of told me how to get there because I don't
  23     have like a GPS thing that I follow on my car or

  24 O anything.
                       
           
  25            So I arrive at his house, which is in High


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                                                                                             15


 1      what I was going to tell my husband, and I said I

 2      had no idea.             And he wrote me back and said, just

 3      tell him you got really sick and that you needed to

 4      take a shower to clean up before you went home.
 5

 6
                       DETECTIVE SPINKS:

        those text messages?                    -
                                                Uh-huh.                 Do you have



 7
 8
                       MS. VANMETER:
                       DETECTIVE SPINKS: -No.
                                                They've been deleted?

 9

10
11
        -
        Okay.

                       MS. VANMETER:
        hoping that we can recover them.
                                          But we can recover -- I'm



12                     DETECTIVE SPINKS:        Absolutely.                  And if
13      you're not able to and you can be without your

14      phone for -- I could always make an appointment.
15      Usually -- normally, we kind of like leave the
16      phone there and they do it in a day or two, but if

17      I make an appointment, they might be able to get
18      your phone back to you in three or four hours.
19                     MS. VANMETER:      Okay.

20                     DETECTIVE SPINKS:        So like we could meet

21      here.        I could grab the phone, run it there and

22      then just meet with you somewhere else and then
23      return the phone to you --

24 O                 MS.
                          VANMETER:
                                        That's fine.
             
25                     DETECTIVE SPINKS:        -- if you're not able to


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                                                                                          53


 1      ends up driving you home.            What kind of a car does

 2      he drive?

 3                     MS. VANMETER:     He drove me in my car.

 4                     DETECTIVE SPINKS:     Oh.        How did he get home?
 5                     MS. VANMETER:     He said he Uber'd.

 6                     DETECTIVE SPINKS:     Okay.           What kind of car

 7      do you have?
 8                     MS. VANMETER:     Chevy Cavalier, red.

 9                     DETECTIVE SPINKS:     Okay.           He assisted you to

10      the porch where your husband was with your
11      daughter.            Was there any interaction between him

12      and your husband?
13                     MS. VANMETER:     All I heard him say was,

14      she's not doing so well, while holding my shoulder.
15                     DETECTIVE SPINKS:     To your husband?
16                     MS. VANMETER:     Yeah, and he's holding my

17      shoulders and he's pushing me in front of him.                                And
18      I don't know when he did that.                  I don't know if I
19      walked from the car to the porch or if he had

20      walked me to the porch.            My husband was walking out

21      the door at that time.            My husband left.                  He said

22      that he saw this guy walking up the street when he
23      left.

24 O                 DETECTIVE
                               SPINKS:
                                            Michael?
             
25                     MS. VANMETER:     Yeah.     It's very complicated


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 1     you were texting, your husband isn't home yet.

 2                     MS. VANMETER:       He didn't come home that

 3     night.

 4                     DETECTIVE SPINKS:          Okay.           Why didn't he come
 5     home?

 6                     MS. VANMETER:       He was pissed off at me --

 7                     DETECTIVE SPINKS:          Okay.
 8                     MS. VANMETER:       -- for -- he and I had argued

I9     beforehand.               He had thought I had gone out and

10
■      gotten trashed as a retaliation.
11                     DETECTIVE SPINKS:          Oh, you had been arguing

12     before this?
13                     MS. VANMETER:       Yes.

14                     DETECTIVE SPINKS:          Okay.           Gotcha.       Okay.
15     When did you do your S.A.N.E. exam?                                I don't have
16     it.

17                     MS. VANMETER:       Sunday.
18                     DETECTIVE SPINKS:          Okay.
19                     MS. VANMETER:       I went to the mental health

20     clinic on Saturday --

21                     DETECTIVE SPINKS:          Okay.

22                     MS. VANMETER:       -- at UNM and saw them and
23     they are the ones who referred me to S.A.N.E.

24 O
   
         DETECTIVE
                  SPINKS:
                    

■ disclose to Michael about what had happened?
25
      
                                     happened -
                             Gotcha. When did you




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                                                                                       56


 1                      MS. VANMETER:     Saturday.

 2                      DETECTIVE SPINKS:     How did that go?

 I3                     MS. VANMETER:     The first time not so well,
                                                                well
 4      so I called -- asked my girlfriend to call me.                             She
 5      called me in the morning.             I talked to her.               She

 6      said -- she suggested that I actually go talk to

 7      someone who knew about this stuff because she
 8      suspected something.

 9                      DETECTIVE SPINKS:     Uh-huh.

10                      MS. VANMETER:     I called up another one of my
11      friends who lives in town because he had been

12      drugged in college.             He also is preparing for med
13      school and is very familiar with a lot of things.

14      And he's also one of my good friends that I go
15      drinking with and so he had seen me after one beer,
16      two beers, three beers, seven beers, and so I trust

17      his evaluation on my functioning after drinking.
18                      DETECTIVE SPINKS:     Sure.
19                      MS. VANMETER:     And so he met me at like

20      10:00 Saturday morning, and I told him everything,

21      and he said you are never drunk after three beers.

22      He said, I've seen you when you have a lot to eat,
23      I've seen you when you have nothing to eat, I've

24 O seen you after seven
                             beers, and you're not that
         
25 drunk after seven beers. And he said everything


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  1     you just described to me is very similar to what I

  2     went through.             And so after talking to him and

  3     feeling like I wasn't insane, I tried to text my

  4     husband that I thought I had been drugged, and his
  5     response was, sorry.              And I told him, yeah, me too,

  6     so I really don't think I want to have any contact

  7     with this guy anymore.
  8                     DETECTIVE SPINKS:      Uh-huh.

  9                     MS. VANMETER:      I'm really uncomfortable

 10     around him and I certainly don't trust him anymore,
 11     and that's when he started questioning whether or

 12     not something had happened.
 13                     DETECTIVE SPINKS:      Okay.

 14                     MS. VANMETER:      And I said, well, he
 15
 16

 17
        certainly tried.
        reciprocate?

        reciprocate.
                                     He goes, well, did you
                                  And I said, no, I did not  -
                                  And then he wouldn't talk to me for a
 18     little while.             And then in a few hours -- I asked
 19     him if I could call him, and he said, no, I'm busy.

 20                     And so a few hours later, I said, I really

 21     want -- I really want to talk to you about this.

 22     And I called him and I explained it to him.                             And he
 23     got very upset generally, not necessarily at me,

 24 O although
               he was
                      very
                           angry and he yelled at me
          
 25 about something else, not this. And then we just


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                                               PROH.SSIO:-W., ~ T
                                                                                               1-800-669-94922
                                                RD'()Rlli'<GSERVICJ::              e-mail: info@litsupport.com
                                                                                  BRIGGS.000484
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                                                                                         58


 1     argued a little bit, and I said, you just don't

 2     seem to care about this at all.                     And we hung up and

 3     then he called back and he said, I'm sorry, I want

 4     you to file a police report.
 5                     DETECTIVE SPINKS:      Okay.

 6                     MS. VANMETER:      And that's when I told him I

 7     was not ready to file a police report.
 8                     DETECTIVE SPINKS:      Sure.

 9                     MS. VANMETER:      I didn't know how I wanted to

10     handle anything.             I didn't know how I felt about
11     everything.

12                     And so he came home.         I called -- I have a
13     counselor that I see.              My husband and I are in

14     couples counseling, which has been very beneficial
15     for us.           We have a lot of external stressors in
16     addition to three kids and jobs and me finishing

17     grad school.
18                     DETECTIVE SPINKS:      Uh-huh.
19                     MS. VANMETER:      And so like we called them

20     for support.              My therapist suggested that I file a

21     report.           I said, I'm not ready.            I met with my

22     husband and we talked about it.                     At that point in
23     time I was pretty much at a breaking down point and

24 O he took
             me
                to  MHC --
                          
         
25            DETECTIVE SPINKS:               Okay.


     SANTA FE OFFICE                                                                             MAIN OFFICE
     119 East Marcy, Suite 110                                                        201 Third NW, Suite 1630
     Santa Fe, NM 87501                                                                Albuquerque, NM 87102
     (505) 989-4949                                                                               (505) 843-9494
     FAX (505) 843-9492                                                                     FAX (505) 843-9492
                                              l'IIOH.SSIONA.L COVRT
                                                                                                 1-800-669-94922
                                               RD'ORTll'<GStRVICE                    e-mail: info@litsupport.com
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                                                        EXHIBIT
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                                                            18
                                                                                   $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                                1                                                                   3
  ·
·1·                                                                 ·1·
                                                                      ·to remain silent.··Anything you say can be used against
  ·
·2·                                                                 ·2·
                                                                      ·you in a court of the law.··You have the right to have an
  ·
·3·
                                                                    ·3·
                                                                      ·attorney present while we ask you questions.··If you
  ·
·4·
  ·
·5·                                                                 ·4·
                                                                      ·cannot afford an attorney, one will be appointed for you
  ·
·6·                                                                 ·5·
                                                                      ·free of charge.··If you agree to answer questions today,
  · · · · · · ·TAPED INTERVIEW OF MICHAEL BRIGGS
·7·
                                                                    ·6·
                                                                      ·you have the right to stop answering questions and leave
  ·
·8·
  · · · · · ··INTERVIEW DATE:··December 13, 2016
·9·                                                                 ·7·
                                                                      ·at any time.
  ·
10·                                                                 ·8·
                                                                      · · ·A.· ·Okay.··Thank you.
  ·
11·
                                                                    ·9·
                                                                      · · ·Q.· ·With your rights in mind, do you still want to
  ·
12·
  ·
13·                                                                 10·
                                                                      ·talk to me today?
  ·INTERVIEW TAKEN BY:
14·                                                                 11·
                                                                      · · ·A.· ·Absolutely.
  · · ·DETECTIVE DANIEL SPINKS
15·
                                                                    12·
                                                                      · · ·Q.· ·Okay.
 ··· · ·DETECTIVE AMANDA WILD
  ·
16·                                                                 13·
                                                                      · · ·A.· ·And I'd just like to say, I appreciate when you,
  ·
17·                                                                 14·
                                                                      ·you know, contacted me that day, you understand that I,
 ··APPEARANCE
   ·           ON BEHALF OF MICHAEL BRIGGS:
  ·                                                                 15·
                                                                      ·you know, was very willing to come forward and talk to you
18·
 ··· · ·ZACHARY ARTHUR IVES, ESQ.                                   16·
                                                                      ·right away, but, obviously, I think it's in my best
  · · ·ZACH IVES LAW
19·                                                                 17·
                                                                      ·interest to have an attorney.
 ··· · ·P.O. Box 27469
  · · ·Albuquerque, New Mexico··87125-7469
20·                                                                 18·
                                                                      · · ·Q.· ·Yeah.··And I'm never going to put you in a
 ··· · ·(505)257-3787                                               19·
                                                                      ·position where you're doing something you're not
  · · ·zach@zachiveslaw.com
21·                                                                 20·
                                                                      ·comfortable with.
  ·
22·
 ··TRANSCRIBED
   ·            BY:                                                 21·
                                                                      · · ·A.· ·Okay.
  ·
23·                                                                 22·
                                                                      · · ·Q.· ·So, you know, if at any point, you know, you're
 ··· · ·THERESA E. DUBOIS, RPR, CSR #29
                                                                    23·
                                                                      ·done answering questions, you guys have the right to walk
  · · ·ALBUQUERQUE COURT REPORTING SERVICE, LLC
24·
 ··· · ·P.O. Box 56787                                              24·
                                                                      ·out.
  · · ·Albuquerque, New Mexico··87187
25·                                                                 25·
                                                                      · · ·A.· ·Okay.

                                                                2                                                                   4
·1·
  · · · · · ··(Taped Interview of Michael Briggs)                   ·1·
                                                                      · · · · · · ··DETECTIVE WILD:··We do need to escort you
·2·
  · · · · · · ··DETECTIVE SPINKS:··If you fall down, I'm            ·2·
                                                                      ·out, though.
·3·
  ·going to laugh before I help you get up.                         ·3·
                                                                      · · · · · · ··MR. IVES:··Yeah, I couldn't walk out on my
·4·
  · · · · · · ··DETECTIVE WILD:··Please join in.                    ·4·
                                                                      ·own.
·5·
  · · · · · · · ·INTERVIEW BY DETECTIVE SPINKS                      ·5·
                                                                      · · ·Q.· ·(BY DETECTIVE SPINKS)··No, I know.··That's the --
·6·
  · · · · · · ··DETECTIVE SPINKS:··Okay.··So, you know, we've       ·6·
                                                                      ·that's the plan.··We'll get you guys totally turned
·7·
  ·had numerous conversations about the case and, you know,         ·7·
                                                                      ·around.
·8·
  ·(inaudible).··So I'm going to forego formalities; I know         ·8·
                                                                      · · ·A.· ·Okay.
·9·
  ·we're kind of on a time crunch here.··You need to be out         ·9·
                                                                      · · ·Q.· ·So at Mr. Ives' request, I did provide him with a
10·
  ·by about 3:45; is that right?                                    10·
                                                                      ·list of some of the questions that I might be asking
11·
  · · · · · · ··MR. IVES:··Yeah.··Yeah, I just need to be           11·
                                                                      ·today.··Have you had a chance to review that list?
12·
  ·back to my office by 4, so, you know.                            12·
                                                                      · · ·A.· ·We -- we reviewed them.··We didn't -- I haven't
13·
  · · · · · · ··DETECTIVE SPINKS:··So don't let me ramble on        13·
                                                                      ·discussed them with him at all.
14·
  ·too much.··So if we reach a time when you need to go, just       14·
                                                                      · · ·Q.· ·Okay.··And that's okay if you did.··I was just
15·
  ·let me know.                                                     15·
                                                                      ·wondering if you had seen it.
16·
  · · · · · · ··MR. IVES:··Okay.                                    16·
                                                                      · · ·A.· ·Okay.··Right.
17·
  · · ·Q.· ·(BY DETECTIVE SPINKS)··With that being said,            17·
                                                                      · · ·Q.· ·I don't have a script in front of me.··Obviously,
18·
  ·obviously, you're here of your own accord.                       18·
                                                                      ·I have the case file for a few different things like that
19·
  · · ·A.· ·Yes, sir.                                               19·
                                                                      ·so far, including the text messages you provided me today.
20·
  · · ·Q.· ·You're able to leave at any point.··You're with         20·
                                                                      · · · · ··Thank you for that.
21·
  ·your attorney.··That being said, because we are in a             21·
                                                                      · · · · · · ··MR. IVES:··You're welcome.
22·
  ·police station, I still have to go over your Miranda             22·
                                                                      · · ·Q.· ·(BY DETECTIVE SPINKS)··So I'll reference my notes
23·
  ·rights with you just like you see on TV.                         23·
                                                                      ·a little bit.··I'll take some notes as you're talking.
24·
  · · ·A.· ·I see.                                                  24·
                                                                      ·Mainly, I'm going to rely on my audio recording later when
25·
  · · ·Q.· ·It's just kind of our policy.··You have the right       25·
                                                                      ·I'm writing my report.


                                    $OEXTXHUTXH&RXUW5HSRUWLQJ6HUYLFH//&
                                                  
                                                      Exhibit R
                                                                                                                                    2
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                                                                                    $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                                5                                                                   7
·1·
  · · ·A.· ·Okay.                                                   ·1·
                                                                      · · ·A.· ·Okay.··So, yeah, that's where our first time we
·2·
  · · ·Q.· ·So I kind of want to start with your relationship       ·2·
                                                                      ·went out, we went to Kelly's.
·3·
  ·with Joy.                                                        ·3·
                                                                      · · ·Q.· ·Oh, okay.
·4·
  · · ·A.· ·Okay.                                                   ·4·
                                                                      · · · · · · ··MR. IVES:··They have super beer at Kelly's.
·5·
  · · ·Q.· ·Just kind of start, you know, how did you guys          ·5·
                                                                      · · · · · · ··DETECTIVE SPINKS:··No way.
·6·
  ·meet?··What was your relationship like before whatever           ·6·
                                                                      · · · · · · ··MR. IVES:··That was my first -- my first job
·7·
  ·happened happened?                                               ·7·
                                                                      ·after college.
·8·
  · · ·A.· ·Okay.··So we've been part of the -- I met her           ·8·
                                                                      · · · · · · ··DETECTIVE SPINKS:··You know they have new
·9·
  ·during the executive MBA program.··I had known of her            ·9·
                                                                      ·ownership now.··It's not quite as good as it used to be.
10·
  ·previously before we entered the program in 2014 -- yeah,        10·
                                                                      · · · · · · ··MR. IVES:··Yeah.
11·
  ·so 2014 is when we started the program.··And I had known         11·
                                                                      · · ·A.· ·So that was our routine.··We'd go, we'd have
12·
  ·of her prior to that because she had worked at a -- at a         12·
                                                                      ·beers, we'd talk about life.··You know, we -- over that
13·
  ·mind research network that we had collaborated with, so I        13·
                                                                      ·time we got to know each other very well.··We shared
14·
  ·had seen her around.··So when she was in my cohort, I knew       14·
                                                                      ·intimate stories about each other.··I shared with her that
15·
  ·of her.··I didn't know her personally.                           15·
                                                                      ·I lost my first son.··My first son passed away.··So just
16·
  · · ·Q.· ·Uh-huh.                                                 16·
                                                                      ·to give you the detail of intimacy that we had, she shared
17·
  · · ·A.· ·We were in the program for two years together;          17·
                                                                      ·with me that she had an abortion.··So we had a very open
18·
  ·just colleagues, classmates.··I honestly didn't interact         18·
                                                                      ·and honest relationship and friendship.··I'd call it
19·
  ·with her much over the two-year period.··It wasn't until         19·
                                                                      ·friendship.
20·
  ·on our last day of school when we finished our exams, we         20·
                                                                      · · · · ··That continued for a while.··She -- as time went,
21·
  ·all -- a big, large group of us -- pretty much the whole         21·
                                                                      ·I got to know more about her, got to know more about her
22·
  ·cohort went out to have drinks afterward.                        22·
                                                                      ·situation with her husband.··I had -- I had explained to
23·
  · · ·Q.· ·Okay.                                                   23·
                                                                      ·her that I had gone through a divorce during the MBA
24·
  · · ·A.· ·And we spent the entire day and evening as a            24·
                                                                      ·program.··And it was a very challenging situation,
25·
  ·group.··And Joy and I kind of spent most of the evening,         25·
                                                                      ·obviously, to go through a divorce while working on our

                                                                6                                                                   8
·1·
  ·kind of hit it off in terms of --                                ·1·
                                                                      ·Master's.··She shared with me she -- that there were two
·2·
  · · ·Q.· ·Okay.                                                   ·2·
                                                                      ·or three times that she and her husband talked about
·3·
  · · ·A.· ·-- talking, because we have -- we both work at          ·3·
                                                                      ·getting a divorce as well during that time.··So I had --
·4·
  ·the University of New Mexico and we have, you know,              ·4·
                                                                      ·we had that in common, and we talked a lot about that.
·5·
  ·similar -- we know similar people and things like that.          ·5·
                                                                      · · · · · · ··So, from my perspective, we had a very strong
·6·
  ·So that's how that started.··We -- I'd say following             ·6·
                                                                      ·friendship based on a lot of common struggles.
·7·
  ·after, you know, that night, she had texted me and asked         ·7·
                                                                      · · ·Q.· ·(BY DETECTIVE SPINKS)··Sure.
·8·
  ·if I could help her with a project at work -- a                  ·8·
                                                                      · · ·A.· ·Personal -- personal struggles.··And we've built
·9·
  ·construction project.··And I said, sure, you know,               ·9·
                                                                      ·what I thought was a, you know, bond.
10·
  ·anything, let me help you out.··And we worked a little bit       10·
                                                                      · · ·Q.· ·Uh-huh.
11·
  ·on that.··I helped her out.··And at that point she asked         11·
                                                                      · · ·A.· ·And so, that's really the background about --
12·
  ·me, she said, hey, would you like to go get a beer?··And,        12·
                                                                      ·about Joy and myself.
13·
  ·sure, that sounds great.··And we went and we had a beer.         13·
                                                                      · · ·Q.· ·Okay.··So let's kind of jump in to October 14th.
14·
  ·That continued -- that was, I'd say, late July, early            14·
                                                                      · · ·A.· ·Okay.
15·
  ·August -- all the way up until --                                15·
                                                                      · · ·Q.· ·That's when I think the day that Joy is alleging
16·
  · · ·Q.· ·Of this year?                                           16·
                                                                      ·that something happened.
17·
  · · ·A.· ·Of this year, yeah, very recently, the last two         17·
                                                                      · · ·A.· ·Yes.
18·
  ·months.··We went out, I'm going to say, four or five times       18·
                                                                      · · ·Q.· ·So why don't we just start with your interactions
19·
  ·to have beers.··So it was kind of a routine.··We'd say,          19·
                                                                      ·with Joy on the 14th, and just kind of tell me a story
20·
  ·you know, do you want to get a beer?··Sure.··Where do you        20·
                                                                      ·about everything that you remember happening that day.
21·
  ·want to meet?··And we always met at Matanza, which is a          21·
                                                                      · · ·A.· ·Okay.··We -- she was off that afternoon, and we
22·
  ·brewery -- a micro brewery on Central.                           22·
                                                                      ·had planned on meeting that afternoon, you know, probably
23·
  · · ·Q.· ·It's right next to Kelly's.                             23·
                                                                      ·after 2 or 3.··And I texted her -- I believe the text
24·
  · · ·A.· ·Exactly.                                                24·
                                                                      ·messages start, you know, on that, and say, are you -- are
25·
  · · ·Q.· ·We like Kelly's.                                        25·
                                                                      ·you available?··Yeah.··Let's meet now.··So we ended up


                                       $OEXTXHUTXH&RXUW5HSRUWLQJ6HUYLFH//&
                                                     
                                                                                                                                    3
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                                                                                  $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                                9                                                                  11
·1·
  ·meeting at approximately 2:00.··We met at Matanza.··And          ·1·
                                                                      ·to sit down.··And she was embarrassed, and I sensed that.
·2·
  ·we -- we ordered a couple of beers and we just talked like       ·2·
                                                                      ·And I said, would you like to brush your teeth.··And she
·3·
  ·we normally do, nothing unusual.                                 ·3·
                                                                      ·said, yeah, if you don't mind.··So I went and got her one
·4·
  · · ·Q.· ·Okay.                                                   ·4·
                                                                      ·out of my bathroom, I got her a toothbrush.··She went back
·5·
  · · ·A.· ·Probably we drank one beer -- and I know 30             ·5·
                                                                      ·into the bathroom and brushed her teeth.
·6·
  ·minutes, or within an hour or so, she -- we had ordered          ·6·
                                                                      · · · · ··I went back out -- I was back out on the couch,
·7·
  ·another beer.··And she said, so when do I get to see your        ·7·
                                                                      ·sitting around, waiting, and she came back and sat down
·8·
  ·new house?··Because I had recently moved to a new house.         ·8·
                                                                      ·with me.··We continued to have a conversation.··We talked
·9·
  · · ·Q.· ·Okay.                                                   ·9·
                                                                      ·about -- at that point I remember we were talking about
10·
  · · ·A.· ·I said, anytime, anytime you'd like, just, you          10·
                                                                      ·work and her career growth because she was, like, okay,
11·
  ·know, let me know.··And she said, what about now?··And I         11·
                                                                      ·what are we going to do with our MBAs now.··And she is a
12·
  ·said, sure, you know.··Fine.··We continued to -- at that         12·
                                                                      ·program specialist at UNM, and she thinks now with her
13·
  ·point the beers came, and we continued to have a second          13·
                                                                      ·Master's she can grow into management.··And we talked
14·
  ·beer at this point.··And we continued talking, just              14·
                                                                      ·about that some more.
15·
  ·general -- I don't recall the specifics, about life, work,       15·
                                                                      · · · · ··She, at one point, complained about having, you
16·
  ·you know, general things.··And she said, let's go.··And I        16·
                                                                      ·know, the smell of vomit -- puke in her hair.
17·
  ·said, okay.                                                      17·
                                                                      · · ·Q.· ·Sure.··Sure.
18·
  · · · · ··And we paid the tab and I gave her my address to        18·
                                                                      · · ·A.· ·And she said, I need to wash my hair and, you
19·
  ·my house.··I live up in the far Northeast Heights, up in         19·
                                                                      ·know, get this puke out.··And I suggested to her, I said,
20·
  ·High Desert.                                                     20·
                                                                      ·you can take a shower.··And she said, that's a good idea.
21·
  · · ·Q.· ·Okay.                                                   21·
                                                                      ·You know, are you sure?··And she said, yeah, that's a good
22·
  · · ·A.· ·And so I gave her my address and we -- and I            22·
                                                                      ·idea.··So we proceeded to go into my bathroom and she
23·
  ·walked one way to the parking lot and she walked to get          23·
                                                                      ·proceeded to undress herself.··And I said -- I looked at
24·
  ·her car.··And it probably took me 25, you know, 30 minutes       24·
                                                                      ·her, and I said, can I join you?··And she kind of brightly
25·
  ·to get up there.··I got there before she did, and, you           25·
                                                                      ·smiled and said, sure.··And so, she had undressed herself.

                                                               10                                                                  12
·1·
  ·know, I waited for her.··And when she got there, I said,         ·1·
                                                                      ·I went -- I had started the shower because it takes a
·2·
  ·would you like to see the house?··And I gave her a tour of       ·2·
                                                                      ·while for the hot water to go.
·3·
  ·the house.··It's two stories.··I showed her the view of          ·3·
                                                                      · · ·Q.· ·Sure.
·4·
  ·the mountain, showed her the view of the city and where's        ·4·
                                                                      · · ·A.· ·So I had started the water and she had her -- she
·5·
  ·my kids' rooms are, my son and my daughter, showed her           ·5·
                                                                      ·had entered -- she entered the shower.··And I walked into
·6·
  ·their rooms.··We went down, and I offered her a beer.··And       ·6·
                                                                      ·my closet which is just right next to it, and I undressed.
·7·
  ·I poured her a -- I got a chilled glass out of the freezer       ·7·
                                                                      ·And I joined in the shower at that point.··And Joy and I
·8·
  ·and poured her -- it was a Blue Moon -- is typically what        ·8·
                                                                      ·made out.··I would consider it making out.··We kissed.
·9·
  ·I drink.··I poured her a Blue Moon and poured myself a           ·9·
                                                                      · · ·Q.· ·Okay.
10·
  ·Blue Moon.··We went and sat on the couch, and had a              10·
                                                                      · · ·A.· ·Yeah.··And we were in there for a few minutes,
11·
  ·conversation for a long time.··I mean, I would say it was        11·
                                                                      ·and she said, you know, she said, I've got to go.··I've
12·
  ·probably within an hour or so, we continued talking for          12·
                                                                      ·got to go.
13·
  ·about an hour.                                                   13·
                                                                      · · ·Q.· ·Okay.
14·
  · · · · ··When we finished those beers, I got up and said,        14·
                                                                      · · ·A.· ·And I said, okay.··Why?··And she said, I have to
15·
  ·would you like another beer?··And she said, sure.··So I          15·
                                                                      ·be home by 6.··My husband wants the car.··I have to be
16·
  ·got up, went to get us -- went to get us a beer.··She went       16·
                                                                      ·home by 6.··At that point, that was kind of a surprise to
17·
  ·into the bathroom.··She was in the bathroom for longer           17·
                                                                      ·me, and I was like, okay.··I turn off the shower, she
18·
  ·than usual, I would say.··You know, I would expect her to        18·
                                                                      ·got -- I gave her a towel.··I went and I went in the -- in
19·
  ·come right back out, and she didn't come right back out.         19·
                                                                      ·my closet and I started to get dressed.··She dried off and
20·
  · · · · · · ··And she came out, you know, a few minutes           20·
                                                                      ·she got dressed.··And that's when we, you know, went into
21·
  ·later.··And she said, I just threw up.··I was like, are          21·
                                                                      ·the kitchen, and grabbed her stuff.··And she asked, you
22·
  ·you all right?··She was, like, yeah.··And I didn't think         22·
                                                                      ·know, can I give her a ride home.··And I said, absolutely.
23·
  ·anything was wrong.··She just threw up.··I was like, wow.        23·
                                                                      · · · · ··I was going to give her a ride home in my car.
24·
  ·And I said, so, here, let me get you some water.··So I           24·
                                                                      ·And she said that her husband needed the car at 6 -- at
25·
  ·gave her water.··And I had my beer, and we went back down        25·
                                                                      ·6:00.··I said, fine, no problem, I can drive you home.


                                      $OEXTXHUTXH&RXUW5HSRUWLQJ6HUYLFH//&
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                                                               13                                                                  15
·1·
  ·And I took her home.··So I proceeded -- we drove home.           ·1·
                                                                      ·okay with that.
·2·
  ·And I drove her home, she gave me directions to her house.       ·2·
                                                                      · · ·Q.· ·Well, I mean "open" in regard to?
·3·
  ·When we arrived, I said, where do you want me to park, in        ·3·
                                                                      · · ·A.· ·Oh, having extramarital affairs.
·4·
  ·the back here?                                                   ·4·
                                                                      · · ·Q.· ·Okay.
·5·
  · · ·Q.· ·Sure.                                                   ·5·
                                                                      · · ·A.· ·And I thought --
·6·
  · · ·A.· ·And she said, no, it doesn't matter.··And she           ·6·
                                                                      · · ·Q.· ·I thought that's what you meant, I just wanted to
·7·
  ·pointed to her house, and she said, just pull up right           ·7·
                                                                      ·make sure.
·8·
  ·here.··And I pulled up, and her husband holding his --           ·8·
                                                                      · · ·A.· ·Okay.··Yes, that's what I had thought that she
·9·
  ·their four-year-old daughter, was out on the porch.              ·9·
                                                                      ·meant.
10·
  · · ·Q.· ·That had to be difficult.                               10·
                                                                      · · ·Q.· ·Okay.
11·
  · · ·A.· ·It was awful.                                           11·
                                                                      · · ·A.· ·And we had talked about that.··And that had been
12·
  · · ·Q.· ·Yeah.                                                   12·
                                                                      ·an ongoing issue in their relationship, that he wanted to
13·
  · · ·A.· ·It was awful.··And we got out, she jumped -- she        13·
                                                                      ·have this open marriage, and she didn't.··She didn't feel
14·
  ·got out of her car, walked straight into her house.··She         14·
                                                                      ·comfortable with that.··And so we talked about that.
15·
  ·had her pantyhose and her high heels on, and wet hair.           15·
                                                                      · · · · · · ··I'm sorry.··What was the --
16·
  ·And she walked right by her husband and her daughter, and        16·
                                                                      · · ·Q.· ·Well, with regard to the --
17·
  ·right into the house.··I walked up to her husband and            17·
                                                                      · · ·A.· ·Oh, with regard to the flirtation?
18·
  ·said, you know, Joy wasn't feeling well and I wanted to          18·
                                                                      · · ·Q.· ·Yeah.··I mean, was she -- with regard to the open
19·
  ·make sure she got home safely, handed him the keys and           19·
                                                                      ·marriage, was she insinuating that maybe you could be a
20·
  ·walked away.··And I walked several blocks and I got an           20·
                                                                      ·viable sexual partner for her?··Where was that going?
21·
  ·Uber.··And that was the events.                                  21·
                                                                      · · ·A.· ·I took it toward that.
22·
  · · ·Q.· ·Okay.                                                   22·
                                                                      · · ·Q.· ·Okay.
23·
  · · ·A.· ·And you have the text messages.                         23·
                                                                      · · ·A.· ·She did clarify that in our discussions, though,
24·
  · · ·Q.· ·Yeah.                                                   24·
                                                                      ·that she -- they never pursued that because she was not
25·
  · · ·A.· ·Would you like me to talk about those or do you         25·
                                                                      ·okay with it.

                                                               14                                                                  16
·1·
  ·have questions?                                                  ·1·
                                                                      · · ·Q.· ·Okay.
·2·
  · · ·Q.· ·Well, I had a few questions about them.                 ·2·
                                                                      · · ·A.· ·And then, so that -- at that point I was like,
·3·
  · · ·A.· ·Okay.                                                   ·3·
                                                                      ·you know.··And she had talked about, you know, a lot about
·4·
  · · ·Q.· ·Let me -- let me just kind of go back and just          ·4·
                                                                      ·the -- the relationship of her husband and the other
·5·
  ·recap your story and maybe ask for some clarification on a       ·5·
                                                                      ·actress in this play.··And it was a big -- she had a lot
·6·
  ·few points and then we can go into the text messages a           ·6·
                                                                      ·of problems with that.··She was very jealous about that.
·7·
  ·little bit further, if that's okay with you.                     ·7·
                                                                      ·And we talked about that often, about the jealousy there.
·8·
  · · ·A.· ·Absolutely.                                             ·8·
                                                                      · · ·Q.· ·What was -- why was she jealous?
·9·
  · · ·Q.· ·Okay.··So you guys were intimately close with           ·9·
                                                                      · · ·A.· ·Well, because they were kissing.··She had to go
10·
  ·each other, I mean, discussing the loss of a child and for       10·
                                                                      ·see him every night on stage, and see them kissing, and it
11·
  ·her discussing abortion.··Was there anything ever romantic       11·
                                                                      ·was just a problem for her.··And we had talked about that.
12·
  ·between you guys, whether it be an actual romance,               12·
                                                                      · · ·Q.· ·Did she suspect there was anything else going on
13·
  ·perceived romance, anything you guys talked about, a             13·
                                                                      ·or --
14·
  ·future, or anything like that?                                   14·
                                                                      · · ·A.· ·I don't know.
15·
  · · ·A.· ·I would say it was more leaning -- it was more          15·
                                                                      · · ·Q.· ·Nothing that she brought to your attention?
16·
  ·leaning toward flirtation as opposed to romance.                 16·
                                                                      · · ·A.· ·Nothing that she brought up to me, no.
17·
  · · ·Q.· ·Okay.··Describe the flirtation for me.                  17·
                                                                      · · ·Q.· ·What about any infidelity on her husband's part?
18·
  · · ·A.· ·Okay.··I would say the second time that we had          18·
                                                                      ·Was that ever brought to your attention?
19·
  ·met, she had talked about her husband wanting -- wanting         19·
                                                                      · · ·A.· ·Not to my attention.
20·
  ·an open marriage.                                                20·
                                                                      · · ·Q.· ·Okay.
21·
  · · ·Q.· ·Her husband wanted --                                   21·
                                                                      · · ·A.· ·Just the -- kind of the jealousy.··She did
22·
  · · ·A.· ·Her husband wanted an open marriage.                    22·
                                                                      ·indicate on the Friday -- the 14th, earlier, that they
23·
  · · ·Q.· ·And what did you take that to mean?                     23·
                                                                      ·were having problems again, and that he was staying with
24·
  · · ·A.· ·Well, initially, I was kind of like, oh, okay.··I       24·
                                                                      ·his mom that night.
25·
  ·kind of was thinking that she was suggesting that she was        25·
                                                                      · · ·Q.· ·Okay.


                                     $OEXTXHUTXH&RXUW5HSRUWLQJ6HUYLFH//&
                                                   
                                                                                                                                    5
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,QWHUYLHZRI0LFKDHO%ULJJV
                                                                                     $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                               17                                                                  19
·1·
  · · ·A.· ·She said, so...                                         ·1·
                                                                      · · ·A.· ·Yeah.
·2·
  · · ·Q.· ·When did she tell you that?                             ·2·
                                                                      · · ·Q.· ·And whose idea was it for -- to go back to your
·3·
  · · ·A.· ·That was -- I believe it was when we were at the        ·3·
                                                                      ·place and take a tour of the house?
·4·
  ·bar.                                                             ·4·
                                                                      · · ·A.· ·It was Joy's.
·5·
  · · ·Q.· ·Oh, okay.··So it wasn't a text message exchange?        ·5·
                                                                      · · ·Q.· ·Okay.
·6·
  · · ·A.· ·No.                                                     ·6·
                                                                      · · ·A.· ·She asked me, she said, when am I going to get to
·7·
  · · ·Q.· ·Or anything like that?                                  ·7·
                                                                      ·see your new house?
·8·
  · · ·A.· ·No.                                                     ·8·
                                                                      · · ·Q.· ·Okay.
·9·
  · · ·Q.· ·Okay.··And she said that her and -- and his name        ·9·
                                                                      · · ·A.· ·And then, subsequently, when -- you know, she
10·
  ·is Michael, too.                                                 10·
                                                                      ·said, let's go.··And she was ready to go.
11·
  · · ·A.· ·Right.                                                  11·
                                                                      · · ·Q.· ·And it's -- it looks like you accounted for two
12·
  · · ·Q.· ·I've been kind of referring to him as "Mr. Ellis"       12·
                                                                      ·alcoholic beverages at the bar?
13·
  ·and you as "Mr. Briggs."                                         13·
                                                                      · · ·A.· ·Yes, sir.
14·
  · · ·A.· ·Sure.··She texted me before accidentally that,          14·
                                                                      · · ·Q.· ·Was that for you and her?
15·
  ·you know, Michael about fixing a pipe, and then she's            15·
                                                                      · · ·A.· ·I had two, she had two.
16·
  ·like, oops, the wrong Michael.                                   16·
                                                                      · · ·Q.· ·Right.··Okay.··Yeah.··And do you know what you
17·
  · · ·Q.· ·So it was your understanding that Mr. Ellis was         17·
                                                                      ·guys were drinking?
18·
  ·staying with his mother that night because of some marital       18·
                                                                      · · ·A.· ·We always would drink Marble Red.
19·
  ·issue they were having?                                          19·
                                                                      · · ·Q.· ·Oh, okay.··So two Marble Reds for both of you?
20·
  · · ·A.· ·Yes.··she told me that, yes.                            20·
                                                                      · · ·A.· ·Correct.
21·
  · · ·Q.· ·Okay.                                                   21·
                                                                      · · ·Q.· ·And forgive me, I'm not a beer connoisseur.··Is
22·
  · · ·A.· ·And that's why time didn't seem to be of an             22·
                                                                      ·that unusually high alcohol content or --
23·
  ·essence when we were at my house.··Up until the fact that        23·
                                                                      · · ·A.· ·I think micro brews tend to probably be a little
24·
  ·she told me that she needed to be home by 6 because he           24·
                                                                      ·bit more on the high side.
25·
  ·needed the car.                                                  25·
                                                                      · · ·Q.· ·Okay.

                                                               18                                                                  20
·1·
  · · ·Q.· ·And the first time you heard that was at your           ·1·
                                                                      · · ·A.· ·We'd always -- every time we've gone previously,
·2·
  ·house?                                                           ·2·
                                                                      ·like I say, I believe it's four of five times that we'd
·3·
  · · ·A.· ·Correct.                                                ·3·
                                                                      ·gone, we had always had two beers; one occasion, we had
·4·
  · · ·Q.· ·All right.··Okay.··And just to kind of summarize        ·4·
                                                                      ·three beers.
·5·
  ·that point, there was no -- there was romantic interest on       ·5·
                                                                      · · ·Q.· ·Okay.
·6·
  ·her part toward you before the 14th?                             ·6·
                                                                      · · ·A.· ·And there was never any time where I thought she
·7·
  · · ·A.· ·Other than -- I would say flirtation more so than       ·7·
                                                                      ·was -- you know, that we were impaired where we couldn't
·8·
  ·romance.                                                         ·8·
                                                                      ·drive.
·9·
  · · ·Q.· ·Right.··But no -- no prior incidents?                   ·9·
                                                                      · · ·Q.· ·Okay.
10·
  · · ·A.· ·No.                                                     10·
                                                                      · · · · · · ··DETECTIVE WILD:··Were they talls or shorts?
11·
  · · ·Q.· ·No conflicts?                                           11·
                                                                      · · · · · · ··MR. BRIGGS:··They were the short.
12·
  · · ·A.· ·Exactly, no.                                            12·
                                                                      · · · · · · ··DETECTIVE WILD:··The 16?
13·
  · · ·Q.· ·All right.··And that's all I was trying to --           13·
                                                                      · · · · · · ··MR. BRIGGS:··Yeah.··I believe that's the

14·
  · · ·A.· ·I was, like, well, what is romance?                     14·
                                                                      ·standard.··Is that the pint?

15·
  · · ·Q.· ·Right.                                                  15·
                                                                      · · · · · · ··DETECTIVE WILD:··Uh-huh, yeah.

16·
  · · ·A.· ·I didn't know what you...                               16·
                                                                      · · ·Q.· ·(BY DETECTIVE SPINKS)··Yeah, a pint is the

17·
  · · ·Q.· ·You know, we're all adults.··You know, I've been        17·
                                                                      ·smaller one.

18·
  ·married for 12 years now.··I always tell my wife, it's           18·
                                                                      · · ·A.· ·Yeah, we had pints, yes.

19·
  ·okay to window shop, as long as I don't buy the                  19·
                                                                      · · ·Q.· ·Okay.··Okay.

20·
  ·merchandise, you know, so, no problems there.                    20·
                                                                      · · · · · · ··MR. IVES:··I can verify that.

21·
  · · · · ··Okay.··So at the bar how did Joy seem?··Did she         21·
                                                                      · · · · · · ··MR. BRIGGS:··Yeah, you used to be a brewer,

22·
  ·seem troubled?··Joyful -- or joyful.··Was she happy, I           22·
                                                                      ·right?··We've got an expert here.

23·
  ·mean?                                                            23·
                                                                      · · · · · · ··DETECTIVE WILD:··I was going to say, let's

24·
  · · ·A.· ·She seemed energetic.                                   24·
                                                                      ·refer to the expert here.

25·
  · · ·Q.· ·Energetic, okay.                                        25·
                                                                      · · · · · · ··MR. IVES:··I don't want to be a witness.


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                                                                                                                                    6
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,QWHUYLHZRI0LFKDHO%ULJJV
                                                                                    $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                               21                                                                  23
·1·
  · · · · · · ··DETECTIVE WILD:··Don't try to interrogate           ·1·
                                                                      · · ·A.· ·Part of it was, we had talked a little bit more
·2·
  ·yourself.                                                        ·2·
                                                                      ·about, you know, our MBA program and so forth.··I remember
·3·
  · · ·Q.· ·(BY DETECTIVE SPINKS)··Okay.··So you got to             ·3·
                                                                      ·talking specifically about a work issue.··We were both
·4·
  ·your -- you give her your address, and she's driving her         ·4·
                                                                      ·involved -- she's involved with fetal tissue, and I
·5·
  ·car, and you're driving your car.··You get back to your          ·5·
                                                                      ·oversee some of the fetal tissue, for the newspaper, we
·6·
  ·place first.··How -- how much sooner are you there than          ·6·
                                                                      ·talked a little bit about that.··Talked about -- a lot, I
·7·
  ·her?                                                             ·7·
                                                                      ·mean it was over an hour.
·8·
  · · ·A.· ·I would say just about, I mean, a couple of             ·8·
                                                                      · · ·Q.· ·Right, yeah.
·9·
  ·minutes, max.                                                    ·9·
                                                                      · · ·A.· ·I don't recall all of the specifics.
10·
  · · ·Q.· ·Okay.                                                   10·
                                                                      · · ·Q.· ·Fair enough.
11·
  · · ·A.· ·I went in my house, and made sure that things           11·
                                                                      · · ·A.· ·Right.
12·
  ·were put away.                                                   12·
                                                                      · · ·Q.· ·You know, why would you?
13·
  · · ·Q.· ·Sure.··Oh, yeah.                                        13·
                                                                      · · ·A.· ·Right.
14·
  · · · · ··And so, the sequence of events after she arrived        14·
                                                                      · · ·Q.· ·Up until now, it's just a normal day, right?
15·
  ·at your house was you gave her a tour of the house first         15·
                                                                      · · ·A.· ·Exactly.
16·
  ·before you poured her a beer.··And then you guys kind of         16·
                                                                      · · ·Q.· ·Was the conversation ever flirtatious in nature?
17·
  ·sat on the couch and enjoyed the beer?                           17·
                                                                      · · ·A.· ·You know, I felt -- she was up on the couch with
18·
  · · ·A.· ·Yes, sir.                                               18·
                                                                      ·her shoes off, and you know, her feet kind of toward me,
19·
  · · ·Q.· ·Am I getting that right?                                19·
                                                                      ·and I was kind of -- I was close with her.
20·
  · · ·A.· ·Yes.                                                    20·
                                                                      · · ·Q.· ·Sure.··I mean, just reading the writing on the
21·
  · · ·Q.· ·Okay.··And it was a Blue Moon?                          21·
                                                                      ·wall, she's complaining about her husband, she's texted
22·
  · · ·A.· ·It was a Blue Moon.                                     22·
                                                                      ·you the struggle of him kissing another girl, it's
23·
  · · ·Q.· ·Okay.··Anything mixed with the Blue Moon?               23·
                                                                      ·obviously a sore spot for her.··Now you guys are alone at
24·
  · · ·A.· ·A smidgeon of orange juice.                             24·
                                                                      ·your house, there's alcohol involved.··I mean, it seems
25·
  · · ·Q.· ·A smidgeon of orange juice, okay.··Did -- was Joy       25·
                                                                      ·flirtatious to me.··And I just, you know --

                                                               22                                                                  24
·1·
  ·present when you were preparing the beverage in the              ·1·
                                                                      · · ·A.· ·That was -- absolutely.··As soon as she asked to
·2·
  ·kitchen?                                                         ·2·
                                                                      ·go to my house --
·3·
  · · ·A.· ·She might -- I have an open area -- I have my           ·3·
                                                                      · · ·Q.· ·Yeah.
·4·
  ·kitchen, and then there's an open area to the -- the             ·4·
                                                                      · · ·A.· ·-- I had taken that as, okay, that was a sign
·5·
  ·living room, so I believe she was in the living room when        ·5·
                                                                      ·that she was flirting with me, that she --
·6·
  ·I was in the kitchen, you know, but it was open.                 ·6·
                                                                      · · ·Q.· ·Sure.··Were you into her?
·7·
  · · ·Q.· ·And she had a view into the --                          ·7·
                                                                      · · ·A.· ·Absolutely.··I have the -- I preface this:··prior
·8·
  · · ·A.· ·Yes.                                                    ·8·
                                                                      ·to these accusations, I have the utmost respect for Joy.
·9·
  · · ·Q.· ·The reason I bring it up is Joy had indicated to        ·9·
                                                                      ·I think that she's a wonderful person.··You know, I
10·
  ·me the orange juice in the Blue Moon was kind of new to          10·
                                                                      ·question her motives with this.
11·
  ·her.··And she mentioned something about asking what you          11·
                                                                      · · ·Q.· ·With the reporting, you mean?
12·
  ·were putting in the beer.··Do you recall having that             12·
                                                                      · · ·A.· ·Yes, sir.
13·
  ·conversation with her?                                           13·
                                                                      · · ·Q.· ·Okay.··Yeah, and as do we.··I mean, we -- we do
14·
  · · ·A.· ·I don't.                                                14·
                                                                      ·this service with anybody.··If we take everything at
15·
  · · ·Q.· ·Okay.··That's fine.··So she -- both of you were         15·
                                                                      ·surface value.
16·
  ·at the couch drinking your beers.··And is it -- is it just       16·
                                                                      · · ·A.· ·Right.
17·
  ·a bottle each or did you split a bottle?                         17·
                                                                      · · ·Q.· ·You know, that's kind of the point of coming in
18·
  · · ·A.· ·One bottle each.                                        18·
                                                                      ·and setting some of this straight.
19·
  · · ·Q.· ·One bottle each.                                        19·
                                                                      · · · · ··Okay.··So I mean, I guess like in your mind --
20·
  · · ·A.· ·Yes, sir.                                               20·
                                                                      ·and don't let me put words in your mouth -- if I -- if I
21·
  · · ·Q.· ·Okay.··And I think you said maybe it was about an       21·
                                                                      ·have it backward, just tell me.··But you were kind of
22·
  ·hour that is took to consume?                                    22·
                                                                      ·thinking maybe something could happen as far as maybe a
23·
  · · ·A.· ·Right.                                                  23·
                                                                      ·sexual encounter with Joy?
24·
  · · ·Q.· ·Do you remember any of the conversation you guys        24·
                                                                      · · ·A.· ·Absolutely.
25·
  ·had in that hour?                                                25·
                                                                      · · ·Q.· ·Was it ever -- was it ever spelled out?··Did she


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                                                                                     $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                               25                                                                  27
·1·
  ·ever tell you --                                                 ·1·
                                                                      ·vomited?
·2·
  · · ·A.· ·No.                                                     ·2·
                                                                      · · ·A.· ·She said, yeah, I vomited.··She said, yeah, I
·3·
  · · ·Q.· ·-- she wanted something to happen?                      ·3·
                                                                      ·just threw up.··I was like, oh, wow.··Okay.··Sorry.··Are
·4·
  · · ·A.· ·No.                                                     ·4·
                                                                      ·you okay?··And I offered -- you know, that's when I
·5·
  · · ·Q.· ·She talked about divorce with her husband.··Did         ·5·
                                                                      ·offered to get her water.··I said, do you need something
·6·
  ·you feel like there was anything imminent, something that        ·6·
                                                                      ·to eat, you know.
·7·
  ·was going to happen?                                             ·7·
                                                                      · · ·Q.· ·Yeah.··Did she take you up on your offer?
·8·
  · · ·A.· ·I did.··When she said that they were having             ·8·
                                                                      · · ·A.· ·She didn't.··I said, well, I've got a -- I had
·9·
  ·problems and that it got to the point where he was staying       ·9·
                                                                      ·just moved in, I hadn't been there very long so my kitchen
10·
  ·with his mom.··She said -- because I asked, how is it            10·
                                                                      ·was not fully stocked.··I said, here, I've got some
11·
  ·going?··She said, well, just so you know, he's staying at        11·
                                                                      ·protein bars, some, you know, sandwich meat.··She said,
12·
  ·his mom's tonight, so that --                                    12·
                                                                      ·no, I'm fine.
13·
  · · ·Q.· ·Oh, okay.                                               13·
                                                                      · · ·Q.· ·Okay.··What about the second beer, did she drink
14·
  · · ·A.· ·-- was an indication of, yes, there.                    14·
                                                                      ·anything out of that glass?
15·
  · · ·Q.· ·Of how well things were going?                          15·
                                                                      · · ·A.· ·There was only one.··I had poured mine -- I don't
16·
  · · ·A.· ·Right.··Not well.                                       16·
                                                                      ·recall whether I poured both beers, but she didn't have a
17·
  · · ·Q.· ·All right.··Okay.··So a beer over the next hour         17·
                                                                      ·second beer.
18·
  ·at your house?                                                   18·
                                                                      · · ·Q.· ·She didn't have a second beer?
19·
  · · ·A.· ·Yes, sir.                                               19·
                                                                      · · ·A.· ·She -- no, she had water.··I gave her water
20·
  · · ·Q.· ·A Blue Moon with a little bit of orange juice.          20·
                                                                      ·instead.
21·
  ·No other hard alcohol in that, or anything?                      21·
                                                                      · · ·Q.· ·Okay.··Did you drink your beer?
22·
  · · ·A.· ·No.                                                     22·
                                                                      · · ·A.· ·I did.
23·
  · · ·Q.· ·Okay.··You asked her if she wanted another one,         23·
                                                                      · · ·Q.· ·Okay.··So this would be number four for you?
24·
  ·and she agreed.··And then you got up to go --                    24·
                                                                      · · ·A.· ·This was number four.
25·
  · · ·A.· ·Pour us two others.                                     25·
                                                                      · · ·Q.· ·Okay.··And four over -- if I'm doing the math

                                                               26                                                                  28
·1·
  · · ·Q.· ·And that's when she walks -- or --                      ·1·
                                                                      ·right -- over three hours?
·2·
  · · · · · · ··(Inaudible due to multiple speakers.)               ·2·
                                                                      · · ·A.· ·It was definitely over three hours, approximately
·3·
  · · ·A.· ·She went in the bathroom.··She said, where's your       ·3·
                                                                      ·three-and-a-half hours.
·4·
  ·bathroom, and she went in to my side bathroom, which is          ·4·
                                                                      · · ·Q.· ·Okay.··So I mean, that's not a lot of alcohol.
·5·
  ·right next to the kitchen.                                       ·5·
                                                                      ·How were you feeling?
·6·
  · · ·Q.· ·Oh, okay.··And how did she seem in the moments          ·6·
                                                                      · · ·A.· ·I was feeling fine.··I have always known that I
·7·
  ·leading up to that?                                              ·7·
                                                                      ·can have one beer per hour and feel that I'm okay.
·8·
  · · ·A.· ·She was fine.··I mean, she didn't -- I honestly         ·8·
                                                                      · · ·Q.· ·That's a good ratio.··Okay.··So you guys end up
·9·
  ·thought she was just going to use the restroom.                  ·9·
                                                                      ·back on the couch, I'm assuming that you're drinking your
10·
  · · ·Q.· ·Sure.··She didn't appear sick?                          10·
                                                                      ·beer at this point and she's drinking water?
11·
  · · ·A.· ·No, no.                                                 11·
                                                                      · · ·A.· ·Yes, sir.
12·
  · · ·Q.· ·No complaints of nausea or --                           12·
                                                                      · · ·Q.· ·And how long was it that you were sitting on the
13·
  · · ·A.· ·No.                                                     13·
                                                                      ·couch before she made a comment about her hair being
14·
  · · ·Q.· ·I think you guys submitted that she seemed like         14·
                                                                      ·stinky, or smelling like puke, whatever it is that she
15·
  ·she was in there longer than what she should have been --        15·
                                                                      ·said?
16·
  ·or it seemed unusually long.··How long do you think that         16·
                                                                      · · ·A.· ·Right.··Probably 20, 30 minutes, I don't recall
17·
  ·was?                                                             17·
                                                                      ·the exact amount of time.··It was -- it was a good amount
18·
  · · ·A.· ·Two or three minutes.                                   18·
                                                                      ·of time because we had continued talking for a while.
19·
  · · ·Q.· ·Okay.··Were you back in the living room by now          19·
                                                                      · · ·Q.· ·Sure.··Was it long enough for you to finish your
20·
  ·with --                                                          20·
                                                                      ·beer, just as a point of reference?
21·
  · · ·A.· ·Well, I was kind of -- I was just in the kitchen,       21·
                                                                      · · ·A.· ·Yeah, it was, actually.
22·
  ·kind of wait -- you know, expecting her to come out and,         22·
                                                                      · · ·Q.· ·Okay.
23·
  ·you know, hand her the beer -- the Blue Moon.··So we kind        23·
                                                                      · · ·A.· ·I had almost finished my beer.
24·
  ·of met in the hallway when she came out.                         24·
                                                                      · · ·Q.· ·Okay.··And that's when you offered to allow her
25·
  · · ·Q.· ·Okay.··And then she told you then that she had          25·
                                                                      ·to use your shower?


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                                                                                                                                    8
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,QWHUYLHZRI0LFKDHO%ULJJV
                                                                                    $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                               29                                                                  31
·1·
  · · ·A.· ·Right.                                                  ·1·
                                                                      ·in?··Was the dress off at this point?
·2·
  · · ·Q.· ·Okay.··What did she say when you -- when you made       ·2·
                                                                      · · ·A.· ·She was in the process of undoing her dress.
·3·
  ·that offer?                                                      ·3·
                                                                      · · ·Q.· ·Okay.··So it's apparent to you at this point that
·4·
  · · ·A.· ·She said, that's a good idea.                           ·4·
                                                                      ·she's not --
·5·
  · · ·Q.· ·Okay.··And were -- did you have to lead her to          ·5·
                                                                      · · ·A.· ·She wasn't shy.
·6·
  ·the shower?                                                      ·6·
                                                                      · · ·Q.· ·-- or bashful?
·7·
  · · ·A.· ·Yes.                                                    ·7·
                                                                      · · ·A.· ·No.
·8·
  · · ·Q.· ·Was it in the bathroom she had previously gone          ·8·
                                                                      · · ·Q.· ·Okay.··Was she wearing any undergarments under
·9·
  ·in?                                                              ·9·
                                                                      ·her dress?
10·
  · · ·A.· ·No, that was -- that's just a toilet and sink.          10·
                                                                      · · ·A.· ·Other than the pantyhose, that was it.··That was
11·
  · · ·Q.· ·Like a half bath?                                       11·
                                                                      ·all I recall.
12·
  · · ·A.· ·A half bath, yes, sir.                                  12·
                                                                      · · ·Q.· ·Okay.··You don't remember if she had like a bra
13·
  · · ·Q.· ·Okay.                                                   13·
                                                                      ·on?
14·
  · · ·A.· ·So we walked into my back bedroom.                      14·
                                                                      · · ·A.· ·No.··Honestly, I didn't pay any attention,
15·
  · · ·Q.· ·Okay.··Yeah, you mentioned the closet.                  15·
                                                                      ·because I was -- I had turned to go turn the shower on,
16·
  · · ·A.· ·Yeah.                                                   16·
                                                                      ·and then at that point she was undressed.
17·
  · · ·Q.· ·And you showed her the way, obviously?··Or did          17·
                                                                      · · ·Q.· ·Okay.··So when you turned back around, was she
18·
  ·she know where to go because of the tour?                        18·
                                                                      ·fully nude at that point?
19·
  · · ·A.· ·No, I walked her in.                                    19·
                                                                      · · ·A.· ·Yes, sir.
20·
  · · ·Q.· ·Okay.··Do you remember what she was wearing that        20·
                                                                      · · ·Q.· ·Or was she taking the pantyhose off?
21·
  ·day?                                                             21·
                                                                      · · ·A.· ·Well, I don't recall the specifics of that.
22·
  · · ·A.· ·She was wearing a dress, pantyhose and high             22·
                                                                      · · ·Q.· ·Okay.··Fair enough.··So you walked out of the
23·
  ·heels.··She had taken her high heels off, but I think it         23·
                                                                      ·bathroom into your closet to --
24·
  ·was a blue dress.                                                24·
                                                                      · · ·A.· ·Yeah, so just point of reference is, this is the
25·
  · · ·Q.· ·Just a blue dress?                                      25·
                                                                      ·shower, and my closet is right here.

                                                               30                                                                  32
·1·
  · · ·A.· ·Yeah.                                                   ·1·
                                                                      · · ·Q.· ·Okay.
·2·
  · · ·Q.· ·Okay.··So you lead her to the bathroom.··When she       ·2·
                                                                      · · ·A.· ·And so I just stepped in my closet and I took off
·3·
  ·walked into the bathroom, I mean, did she close the door         ·3·
                                                                      ·my clothes and then walked right back in.
·4·
  ·behind her or did she say anything to you?                       ·4·
                                                                      · · ·Q.· ·Okay.··And where was Joy when you walked back
·5·
  · · ·A.· ·No, it's a pocket door.                                 ·5·
                                                                      ·into the bathroom?
·6·
  · · ·Q.· ·Okay.                                                   ·6·
                                                                      · · ·A.· ·She was washing off her hair.
·7·
  · · ·A.· ·So we walked in and she started to undo her             ·7·
                                                                      · · ·Q.· ·Okay.··So you got in with her at that point?
·8·
  ·dress.··And at that point I said, can I join you, and she        ·8·
                                                                      · · ·A.· ·Yes, sir.
·9·
  ·said, sure.                                                      ·9·
                                                                      · · ·Q.· ·Is there any conversation going on between you
10·
  · · ·Q.· ·Okay.                                                   10·
                                                                      ·guys?
11·
  · · ·A.· ·And that's when I went in and I turned on the           11·
                                                                      · · ·A.· ·No.··No.
12·
  ·shower.··And at that point she was completely undressed          12·
                                                                      · · ·Q.· ·Okay.··So what happens next?
13·
  ·and she walked into the shower.                                  13·
                                                                      · · ·A.· ·I get in and I kiss her and make out.
14·
  · · ·Q.· ·Okay.··And so she made no attempts to -- attempts       14·
                                                                      · · ·Q.· ·Okay.
15·
  ·for privacy as she's unrobing?                                   15·
                                                                      · · ·A.· ·We French kissed for -- you know, we French kiss.
16·
  · · ·A.· ·No.                                                     16·
                                                                      ·And I kiss her -- I kiss her all over.
17·
  · · ·Q.· ·You were standing in the bathroom with her and          17·
                                                                      · · ·Q.· ·Okay.··And just for clarification, French kissing
18·
  ·she's --                                                         18·
                                                                      ·would imply your tongue is in her mouth?
19·
  · · ·A.· ·Yes.                                                    19·
                                                                      · · ·A.· ·Yes.
20·
  · · ·Q.· ·I mean, her dress, is it like zippered in the           20·
                                                                      · · ·Q.· ·Her tongue is in your mouth?
21·
  ·back or how was she taking her dress off?··If you                21·
                                                                      · · ·A.· ·Yes.
22·
  ·remember.··If you don't, that's fine.                            22·
                                                                      · · ·Q.· ·Okay.
23·
  · · ·A.· ·I just remember that she had like a tie thing.          23·
                                                                      · · ·A.· ·We both -- we engaged in French kissing together,
24·
  · · ·Q.· ·Okay.··Okay.··And when you asked her if you could       24·
                                                                      ·yes.
25·
  ·join her in the shower, what state of undressing was she         25·
                                                                      · · ·Q.· ·Okay.··And you kiss her all over.··Where else did


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                                                                                    $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                               33                                                                  35
·1·
  ·you kiss her?                                                    ·1·
                                                                      ·recall?
·2·
  · · ·A.· ·I kissed her on her neck, I kissed her down her         ·2·
                                                                      · · ·A.· ·I don't recall.
·3·
  ·breast and I kissed down her stomach and around her              ·3·
                                                                      · · ·Q.· ·You don't recall, okay.
·4·
  ·vagina.                                                          ·4·
                                                                      · · ·A.· ·She had her -- like her hands on me when we were
·5·
  · · ·Q.· ·Okay.··So you kiss around her vagina.··Were you         ·5·
                                                                      ·kissing, or, you know, like, you know.
·6·
  ·at this point performing oral sex on her or --                   ·6·
                                                                      · · ·Q.· ·Right.··Okay.··And then you sit back, you
·7·
  · · ·A.· ·I wouldn't call it a sexual act -- oral sex.··I         ·7·
                                                                      ·continue to kiss her for how much longer do you think?
·8·
  ·was down there -- the reason I remember this is the water        ·8·
                                                                      · · ·A.· ·Not very long.··Not very long.
·9·
  ·was right in my face and it was --                               ·9·
                                                                      · · ·Q.· ·Okay.··And you said that at this point -- was it
10·
  · · ·Q.· ·Right.                                                  10·
                                                                      ·at this point that Joy said, oh, I have to be home at 6?
11·
  · · ·A.· ·-- it was actually kind of awkward in the way I         11·
                                                                      · · ·A.· ·Yes.
12·
  ·was.··I kind of felt weird, stupid, the way I was.               12·
                                                                      · · ·Q.· ·That was in the shower?
13·
  · · ·Q.· ·Sure.                                                   13·
                                                                      · · ·A.· ·She said, I've got to go.··And I stopped, and I
14·
  · · ·A.· ·And so I immediately went back up and started           14·
                                                                      ·was like, okay.··She said, I've got to go.··And I was like
15·
  ·kissing her up her chest and around her neck again and           15·
                                                                      ·-- she says, I have to be home by 6.··And I was like, it's
16·
  ·started kissing.··And again, this was probably a few             16·
                                                                      ·almost 6.··It's like, okay.··And that -- that was the
17·
  ·minutes -- three or four minutes, when she said, I've got        17·
                                                                      ·first I had known that she had a time that she needed to
18·
  ·to go.                                                           18·
                                                                      ·be home, and I was surprised.
19·
  · · ·Q.· ·Okay.··And of the three or four minutes you guys        19·
                                                                      · · ·Q.· ·Okay.··And Joy was able to dress herself after
20·
  ·were in the shower, how long were··you -- how long was           20·
                                                                      ·the shower?··She was able to dry herself off first?
21·
  ·your mouth at her vagina?                                        21·
                                                                      · · ·A.· ·Right, yes.
22·
  · · ·A.· ·Oh, I mean, not long at all.··I mean.··Let's see.       22·
                                                                      · · ·Q.· ·Okay.··Didn't need any assistance getting
23·
  ·I mean, I went and I kissed her, you know, I was down            23·
                                                                      ·dressed --
24·
  ·there.                                                           24·
                                                                      · · ·A.· ·No.
25·
  · · ·Q.· ·Sure.··Yeah.                                            25·
                                                                      · · ·Q.· ·-- or anything?

                                                               34                                                                  36
·1·
  · · ·A.· ·Not for very long.                                      ·1·
                                                                      · · ·A.· ·Not at all.
·2·
  · · ·Q.· ·Okay.··Was it just like one kiss and back up            ·2·
                                                                      · · ·Q.· ·Okay.··So how does -- how does Joy seem to you at
·3·
  ·or --                                                            ·3·
                                                                      ·this point with regard to her level of intoxication?··I
·4·
  · · ·A.· ·Yes, I would classify it as that.                       ·4·
                                                                      ·mean, she was just fine?
·5·
  · · ·Q.· ·Okay.··Did you ever -- did your tongue ever go          ·5·
                                                                      · · ·A.· ·She didn't appear intoxicated to me, at all.··At
·6·
  ·inside of her vagina?                                            ·6·
                                                                      ·this point she seemed more like, oh, shit, I've got to get
·7·
  · · ·A.· ·No, on the exterior.··I kissed her, like, on the        ·7·
                                                                      ·home.··She seemed a little bit nervous and flustered.
·8·
  ·exterior of her vagina.                                          ·8·
                                                                      · · ·Q.· ·Right.
·9·
  · · ·Q.· ·Sure.··Okay.··Did anything else ever go inside of       ·9·
                                                                      · · ·A.· ·And I was like -- so was I.··At this point it was
10·
  ·her vagina?                                                      10·
                                                                      ·almost 6:00, and she's, you know, expecting to be home.
11·
  · · ·A.· ·No.                                                     11·
                                                                      ·And this is like a 30-minute, you know, 20-minute drive
12·
  · · ·Q.· ·Meaning fingers, penis?                                 12·
                                                                      ·that we're talking about.
13·
  · · ·A.· ·Absolutely not.                                         13·
                                                                      · · ·Q.· ·Okay.··So other than the fact that she vomited,
14·
  · · ·Q.· ·Okay.··Did Joy ever perform any sex acts on you?        14·
                                                                      ·were there any other signs of intoxication that you saw?
15·
  · · ·A.· ·No, she did not.                                        15·
                                                                      · · ·A.· ·No, none.
16·
  · · ·Q.· ·Okay.··When you were -- when you're at level with       16·
                                                                      · · ·Q.· ·And you didn't see her vomit?··Did you hear her
17·
  ·her vagina, are you on your knees or are you just kind of        17·
                                                                      ·vomiting?
18·
  ·crouching?                                                       18·
                                                                      · · ·A.· ·No, I had no idea until she told me.
19·
  · · ·A.· ·I was kind of crouching.                                19·
                                                                      · · ·Q.· ·Okay.··Did you smell vomit?
20·
  · · ·Q.· ·Just kind of crouching, okay.··What was Joy doing       20·
                                                                      · · ·A.· ·No.··And she was very self-conscious about it,
21·
  ·while you were doing that?                                       21·
                                                                      ·and I was trying to put her at ease.··I'm like, no, you're
22·
  · · ·A.· ·Standing there.··You know, she didn't -- didn't         22·
                                                                      ·fine.··You know, even though, I said, here, brush your
23·
  ·give any sign one way or the other.··She was just standing       23·
                                                                      ·teeth, you're fine.··Don't worry about it.
24·
  ·there.                                                           24·
                                                                      · · ·Q.· ·Okay.··And she -- she asked you to drive her
25·
  · · ·Q.· ·Okay.··Did she have her hands on you, if you            25·
                                                                      ·home?


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                                                               37                                                                  39
·1·
  · · ·A.· ·Yes.                                                    ·1·
                                                                      · · ·A.· ·Yes.··He didn't look happy.
·2·
  · · ·Q.· ·Why do you think she -- I mean, that seems like         ·2·
                                                                      · · ·Q.· ·Okay.··He didn't -- that was the only
·3·
  ·an unusual request if she wasn't, like, showing any signs        ·3·
                                                                      ·conversation you had, was where are the keys?
·4·
  ·of intoxication.                                                 ·4·
                                                                      · · ·A.· ·Yes.
·5·
  · · ·A.· ·Yeah.                                                   ·5·
                                                                      · · ·Q.· ·Okay.
·6·
  · · ·Q.· ·Why do you think she asked you to drive?                ·6·
                                                                      · · · · · · ··DETECTIVE SPINKS:··Any questions?
·7·
  · · ·A.· ·Well, because, I mean, we had been drinking.··I         ·7·
                                                                      · · · · · · ··DETECTIVE WILD:··Yes.··You know me.
·8·
  ·think that, you know, my whole thing, in terms of the            ·8·
                                                                      · · · · · · ··DETECTIVE SPINKS:··That's why I had to...
·9·
  ·time, I felt that she probably felt that she may not have        ·9·
                                                                      · · · · · · · ·INTERVIEW BY DETECTIVE WILD
10·
  ·been in the best condition to drive.                             10·
                                                                      · · ·Q.· ·(BY DETECTIVE WILD)··So I'm getting that you
11·
  · · ·Q.· ·Okay.··Fair enough.··I mean, at this point,             11·
                                                                      ·didn't get the chance to sit in on the interview with her?
12·
  ·technically, you've had more to drink than she has, right?       12·
                                                                      · · ·A.· ·Yes.
13·
  ·I mean you've already finished your fourth beer and she          13·
                                                                      · · ·Q.· ·You have kids?
14·
  ·only had the three.··Okay.                                       14·
                                                                      · · ·A.· ·Yes, sir.··I mean, yes, ma'am.
15·
  · · · · · · ··Was there any back and forth about the ride         15·
                                                                      · · ·Q.· ·How old?
16·
  ·home, like, no, or --                                            16·
                                                                      · · ·A.· ·I have an 11-year-old daughter and a 12-year --
17·
  · · ·A.· ·Well, we talked about me driving her home in my         17·
                                                                      ·and a 13-year-old son.
18·
  ·car.··I said, well, I'll give you a ride home, and I have        18·
                                                                      · · ·Q.· ·Where were they?
19·
  ·no problem doing that.··And she says, no, Michael needs          19·
                                                                      · · ·A.· ·They were at their mom's house.
20·
  ·the car.··I said, okay, I guess I could drive your car           20·
                                                                      · · ·Q.· ·Oh.··So you guys --
21·
  ·home.                                                            21·
                                                                      · · ·A.· ·We split time.
22·
  · · ·Q.· ·Okay.··So you drive her home.··How did she seem         22·
                                                                      · · ·Q.· ·-- split?
23·
  ·on the ride home?                                                23·
                                                                      · · ·A.· ·This was my week -- this was happening on my week
24·
  · · ·A.· ·Very -- it was quiet.··It was, you know, having         24·
                                                                      ·off.
25·
  ·some awkward silence.                                            25·
                                                                      · · ·Q.· ·Oh, so you got to have a social life?

                                                               38                                                                  40
·1·
  · · ·Q.· ·Sure.                                                   ·1·
                                                                      · · ·A.· ·Yes.
·2·
  · · ·A.· ·At this point I was trying to think about how I         ·2·
                                                                      · · ·Q.· ·Okay.··I understand, having children, you don't
·3·
  ·am going to manage when we get to her house and she has          ·3·
                                                                      ·get that very often.
·4·
  ·wet hair.                                                        ·4·
                                                                      · · ·A.· ·Huh-uh.
·5·
  · · ·Q.· ·Right.                                                  ·5·
                                                                      · · ·Q.· ·So she comes over to your house, and you're
·6·
  · · ·A.· ·And I'm dropping her off, and I was dreading            ·6·
                                                                      ·saying you're getting the vibe that she's kind of
·7·
  ·that.                                                            ·7·
                                                                      ·interested, but she had told you prior that she was not
·8·
  · · ·Q.· ·Okay.··And in the text -- was it in the text            ·8·
                                                                      ·okay with an open relationship?
·9·
  ·messages that you reference handing her car keys to her          ·9·
                                                                      · · ·A.· ·She said she was not okay with an open
10·
  ·husband?                                                         10·
                                                                      ·relationship, meaning that they were both aware that each
11·
  · · ·A.· ·Yes.                                                    11·
                                                                      ·other were with other people.
12·
  · · ·Q.· ·Okay.··What, if any interaction, do you remember        12·
                                                                      · · ·Q.· ·Tell me more about that.
13·
  ·having with her husband when you took Joy home?                  13·
                                                                      · · ·A.· ·Well, that -- I mean, that's what I would --
14·
  · · ·A.· ·Just when he was standing there with his daughter       14·
                                                                      ·that's what she talked about in terms of having an open
15·
  ·in his arms, I walked up to him and as I was walking up to       15·
                                                                      ·relationship where they could both willfully see other
16·
  ·him, and Joy had walked into the house, I said, Joy's not        16·
                                                                      ·people and engage in having extramarital affairs with
17·
  ·feeling well, I wanted to make sure she got home safely.         17·
                                                                      ·other people.
18·
  ·He said, where are the keys?··I handed him the keys and I        18·
                                                                      · · ·Q.· ·But she said she was not okay with that?
19·
  ·turned and I walked away, and that was it.                       19·
                                                                      · · ·A.· ·She told me she was not okay with having an open
20·
  · · ·Q.· ·Okay.··Did he say anything to you?                      20·
                                                                      ·marriage.
21·
  · · ·A.· ·Nothing.                                                21·
                                                                      · · ·Q.· ·Okay.··So on this date when she's over at your
22·
  · · ·Q.· ·Nothing, okay.                                          22·
                                                                      ·house, tell me more about how you're interpreting these
23·
  · · ·A.· ·Other than, where are the keys, when I handed           23·
                                                                      ·mixed signals, because I mean you have a woman who clearly
24·
  ·them to him.                                                     24·
                                                                      ·stated, no, I'm not wanting a relationship, but now here I
25·
  · · ·Q.· ·Oh, okay.··Did he look upset, surprised?                25·
                                                                      ·am in your front room, drinking a beer?


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                                                                                                                                    11
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,QWHUYLHZRI0LFKDHO%ULJJV
                                                                                   $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                               41                                                                  43
·1·
  · · ·A.· ·Right.··I wouldn't call it an open marriage.··I         ·1·
                                                                      ·difference.··What is "Unreasonable" to you?
·2·
  ·think I would call it that she was having an affair.··We         ·2·
                                                                      · · ·A.· ·More than a minute.··I just thought, you know,
·3·
  ·had talked about initially -- the open marriage was back         ·3·
                                                                      ·that she had gone in there to --
·4·
  ·in early August.                                                 ·4·
                                                                      · · ·Q.· ·Go to the bathroom?
·5·
  · · ·Q.· ·Okay.··So some time --                                  ·5·
                                                                      · · ·A.· ·-- go to the bathroom.··It was a little bit
·6·
  · · ·A.· ·Right, before we had really had gotten in to            ·6·
                                                                      ·longer than unusual, I was, you know.
·7·
  ·knowing each other.··So we had developed a pretty close          ·7·
                                                                      · · ·Q.· ·Had she gone in there previously?
·8·
  ·relationship, with flirtation, during that time.                 ·8·
                                                                      · · ·A.· ·No.··No.
·9·
  · · ·Q.· ·Tell me more about that flirtation.                     ·9·
                                                                      · · ·Q.· ·So this was the first time?
10·
  · · ·A.· ·Well, we talked about her -- we talked a lot            10·
                                                                      · · ·A.· ·Yes.
11·
  ·about her sex with other people in colleges -- in college.       11·
                                                                      · · ·Q.· ·Okay.··You'd been meeting for how long for
12·
  ·She talked a lot about sex, and how she put their friends        12·
                                                                      ·drinks?··Had she gone up and excused herself at the bars?
13·
  ·and so forth, and forming good relationships with people         13·
                                                                      · · ·A.· ·No.··At this point it had just been a few hours,
14·
  ·and really not bond.··And a lot of it, I kind of related         14·
                                                                      ·but she had not.
15·
  ·to, okay, that's -- she's kind of doing that with me.            15·
                                                                      · · ·Q.· ·But previously -- at previous times that you guys
16·
  · · ·Q.· ·Okay.··Tell me more.··Was there any physical            16·
                                                                      ·had hung out?
17·
  ·touching?                                                        17·
                                                                      · · ·A.· ·No.
18·
  · · ·A.· ·No.                                                     18·
                                                                      · · ·Q.· ·Had you ever seen her get sick before?
19·
  · · ·Q.· ·Did you guys ever hug?                                  19·
                                                                      · · ·A.· ·No.··No, and usually we would go to the bathroom
20·
  · · ·A.· ·Yes.··Every day -- every time after we'd met for        20·
                                                                      ·before we left, like, you know, before we left the
21·
  ·beers, we'd give each other a hug.                               21·
                                                                      ·restaurant, because she'd have to pee before she left.
22·
  · · ·Q.· ·Okay.··Any other physical?                              22·
                                                                      · · ·Q.· ·Okay.··How much time would pass?
23·
  · · ·A.· ·No.                                                     23·
                                                                      · · ·A.· ·A few hours -- a couple of hours.
24·
  · · ·Q.· ·What about any kind of other flirtatious besides        24·
                                                                      · · ·Q.· ·Okay.··How much time between -- you guys both go
25·
  ·just talking about sex?                                          25·
                                                                      ·to the bathroom, do you guys meet immediately back out

                                                               42                                                                  44
·1·
  · · ·A.· ·No, not physically.                                     ·1·
                                                                      ·together, or do you have to wait for her?
·2·
  · · ·Q.· ·Not physically, okay.··So she comes back, she's         ·2·
                                                                      · · ·A.· ·About the same time.
·3·
  ·sitting on -- she kicks off her shoes.··She's in high            ·3·
                                                                      · · ·Q.· ·Okay.··Had she indicated to you any changes of
·4·
  ·heels, I totally understand --                                   ·4·
                                                                      ·her medications or any problems in anything like that?
·5·
  · · ·A.· ·Right.                                                  ·5·
                                                                      · · ·A.· ·None.
·6·
  · · ·Q.· ·-- the curse.··She sits down, she's getting             ·6·
                                                                      · · ·Q.· ·Had she been telling you that she had been
·7·
  ·relaxed.··How close are you guys?                                ·7·
                                                                      ·feeling sick?
·8·
  · · ·A.· ·I'd say like about where Zach is, and her feet          ·8·
                                                                      · · ·A.· ·No.
·9·
  ·were up on the couch, like this, and I was kind of facing        ·9·
                                                                      · · ·Q.· ·In the weeks prior?
10·
  ·her, so about this close.                                        10·
                                                                      · · ·A.· ·No.
11·
  · · ·Q.· ·In your personal bubble?                                11·
                                                                      · · ·Q.· ·No indication of anything changing?
12·
  · · ·A.· ·Yes.··Absolutely.                                       12·
                                                                      · · ·A.· ·Nothing.
13·
  · · ·Q.· ·Somewhere we can touch?                                 13·
                                                                      · · ·Q.· ·How was her demeanor?··Was she happy?

14·
  · · ·A.· ·Yes.                                                    14·
                                                                      · · ·A.· ·She was fine.··It was nothing -- nothing out of

15·
  · · ·Q.· ·Tell me about how you guys were interacting.            15·
                                                                      ·the ordinary.

16·
  · · ·A.· ·Having a normal conversation.                           16·
                                                                      · · ·Q.· ·Okay.··I don't know her, I've never met her.

17·
  · · ·Q.· ·Nothing giving you the indication that she's            17·
                                                                      · · ·A.· ·Okay.

18·
  ·wanting more from you that night?                                18·
                                                                      · · ·Q.· ·So you're going to have to -- you're going to

19·
  · · ·A.· ·Not over -- no, not overtly.··It was -- it was          19·
                                                                      ·have to kind of tell me who she is.

20·
  ·having good conversation.                                        20·
                                                                      · · ·A.· ·She is a -- she is a --

21·
  · · ·Q.· ·Okay.                                                   21·
                                                                      · · ·Q.· ·All I know is what is in black and white.

22·
  · · ·A.· ·She didn't make a move on me, no.                       22·
                                                                      · · ·A.· ·She is an outgoing, energetic person.

23·
  · · ·Q.· ·No?··So she gets up, she goes to the bathroom.          23·
                                                                      · · ·Q.· ·Okay.

24·
  ·She's there for -- what is -- I mean, my husband, he takes       24·
                                                                      · · ·A.· ·She's not much different than me in terms of our

25·
  ·five minutes; me, I take five seconds.··There's a huge           25·
                                                                      ·demeanor.··You know, we're kind of similar, I would say.


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                                                                                                                                    12
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                                                               45                                                                  47
·1·
  · · ·Q.· ·So there was kind of an attraction?                     ·1·
                                                                      · · ·Q.· ·Out of her hair.··And you said, do you want to
·2·
  · · ·A.· ·Yes.                                                    ·2·
                                                                      ·take a shower?
·3·
  · · ·Q.· ·Similar?                                                ·3·
                                                                      · · ·A.· ·Yeah, exactly.··Do you want to take a shower.
·4·
  · · ·A.· ·Yes.                                                    ·4·
                                                                      · · ·Q.· ·Okay.··So tell me more about how that proceeded
·5·
  · · ·Q.· ·So you guys are sitting there, you come back, and       ·5·
                                                                      ·into your room.
·6·
  ·you're handing her her fourth beer, but she doesn't --           ·6·
                                                                      · · ·A.· ·She said, okay.··And we both got up and she
·7·
  · · ·A.· ·I didn't hand her a beer, no.                           ·7·
                                                                      ·followed me into the bathroom.
·8·
  · · ·Q.· ·Okay.                                                   ·8·
                                                                      · · ·Q.· ·Okay.··How was she walking?
·9·
  · · ·A.· ·I didn't hand her her fourth beer.                      ·9·
                                                                      · · ·A.· ·Fine.
10·
  · · ·Q.· ·Okay.                                                   10·
                                                                      · · ·Q.· ·Did she appear to have to use the walls or
11·
  · · ·A.· ·They were in the -- they were on the counter.           11·
                                                                      ·anything?
12·
  ·And that's when she came out, and I filled up a water for        12·
                                                                      · · ·A.· ·Not at all, no.
13·
  ·her.                                                             13·
                                                                      · · ·Q.· ·Okay.··How was -- I mean, you've been around her
14·
  · · ·Q.· ·Okay.··And she came out.··How close is the              14·
                                                                      ·enough, how was her conversation?··Did she appear
15·
  ·bathroom from where you were in the kitchen?                     15·
                                                                      ·intoxicated?
16·
  · · ·A.· ·Just -- maybe just beyond where you are, 10 feet,       16·
                                                                      · · ·A.· ·No.··No.··At no point did she appear intoxicated.
17·
  ·5 feet.                                                          17·
                                                                      · · ·Q.· ·So was her conversation -- you said there was not
18·
  · · ·Q.· ·Okay.··So you can hear pretty much what's going         18·
                                                                      ·a whole lot, okay.··You walk into the bathroom, she starts
19·
  ·on?                                                              19·
                                                                      ·undressing.··Okay?··Does she -- how is her mannerisms?
20·
  · · ·A.· ·Oh, yeah, it was like right there.··I mean, you         20·
                                                                      ·Does she kind of stop, like are you leaving the bathroom?
21·
  ·could see the living room and the bathroom were right            21·
                                                                      · · ·A.· ·No, she -- we walked in, and she immediately just
22·
  ·there.                                                           22·
                                                                      ·started undressing.
23·
  · · ·Q.· ·And you didn't hear her being sick or anything?         23·
                                                                      · · ·Q.· ·Okay.··So at this point you guys are just
24·
  · · ·A.· ·No.                                                     24·
                                                                      ·friends, she's at your house.··What's giving you the
25·
  · · ·Q.· ·Did you hear the toilet flush?                          25·
                                                                      ·indication that she's wanting you to join her in the

                                                               46                                                                  48
·1·
  · · ·A.· ·No, I wasn't paying attention.                          ·1·
                                                                      ·shower?
·2·
  · · ·Q.· ·Okay.··So she could have been sick, but you were        ·2·
                                                                      · · ·A.· ·I asked her.
·3·
  ·just distracted?                                                 ·3·
                                                                      · · ·Q.· ·Okay.··But I mean, that's a bold -- a bold
·4·
  · · ·A.· ·I just didn't pay attention.                            ·4·
                                                                      ·question to ask.··You're in the room, there's -- there's
·5·
  · · ·Q.· ·Okay.··So you hand her water.··And how long             ·5·
                                                                      ·been no kissing, there's been no foreplay, there's been no
·6·
  ·between the water and you guys -- does she get sick again        ·6·
                                                                      ·additions, and it's like, hey, can I join you in the
·7·
  ·or --                                                            ·7·
                                                                      ·shower?
·8·
  · · ·A.· ·No.··To my knowledge, she didn't get sick again.        ·8·
                                                                      · · ·A.· ·Yes, that's how it happened.··I made an
·9·
  · · ·Q.· ·That was the only time?                                 ·9·
                                                                      ·assumption and I asked her --
10·
  · · ·A.· ·That was the only time.··She -- so she went in          10·
                                                                      · · ·Q.· ·Okay.
11·
  ·the bathroom twice, the second time was to brush her             11·
                                                                      · · ·A.· ·-- can I join you.
12·
  ·teeth.                                                           12·
                                                                      · · ·Q.· ·And what was her response?
13·
  · · ·Q.· ·Okay.··And she comes back out and she can smell         13·
                                                                      · · ·A.· ·She said, sure.
14·
  ·it on her hair.··Us chicks are that way, man.                    14·
                                                                      · · ·Q.· ·She said, sure?
15·
  · · ·A.· ·Right.                                                  15·
                                                                      · · ·A.· ·She said, sure.
16·
  · · ·Q.· ·Get me around a cigarette, and I'm like, aah, I         16·
                                                                      · · ·Q.· ·Okay.··And then that's when you proceeded to turn
17·
  ·can smell it for a week.··So she can smell it, you can't.        17·
                                                                      ·the water on, went to the closet, got undressed, went back
18·
  ·Trust us, us women, we have noses.··Ask him.                     18·
                                                                      ·in?
19·
  · · · · · · ··DETECTIVE SPINKS:··Yeah.                            19·
                                                                      · · ·A.· ·Yes, ma'am.
20·
  · · ·Q.· ·(BY DETECTIVE WILD)··If there's a fire in the           20·
                                                                      · · ·Q.· ·Where is she standing at?
21·
  ·East Mountains, I can smell it from here.··She can smell         21·
                                                                      · · ·A.· ·She was standing to -- here's the shower, and she
22·
  ·it.··You offer, do you want to take a shower?                    22·
                                                                      ·was standing here.··And I walked in to go in the closet,
23·
  · · ·A.· ·She ask -- she was concerned about the smell and        23·
                                                                      ·and she walked in and got in the shower, and then I walked
24·
  ·I figured she wanted -- she said, I need to wash this            24·
                                                                      ·in and joined her in the shower.
25·
  ·smell out of my house -- out of my hair.                         25·
                                                                      · · ·Q.· ·Okay.··Tell me more about how she was reacting at


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                                                               49                                                                  51
·1·
  ·that time.                                                       ·1·
                                                                      · · ·Q.· ·-- what the heck am I doing?
·2·
  · · ·A.· ·She was just standing there.··She had washed --         ·2·
                                                                      · · ·A.· ·No, not that at all.··It was like I need -- I was
·3·
  ·by the time I got in there, she -- her hair was wet, she         ·3·
                                                                      ·supposed to be home by 6:00.
·4·
  ·had rinsed off her hair.                                         ·4·
                                                                      · · ·Q.· ·Okay.··Did she say anything, okay, let's finish
·5·
  · · ·Q.· ·Okay.                                                   ·5·
                                                                      ·this up some other time?··I have to get home?
·6·
  · · ·A.· ·And I just -- I stood in front of her and closed        ·6·
                                                                      · · ·A.· ·No.··No.
·7·
  ·the door and leaned in and kissed her.                           ·7·
                                                                      · · ·Q.· ·Any other sexual banter?··I mean, you guys were
·8·
  · · ·Q.· ·Okay.··Tell me more about the kiss.                     ·8·
                                                                      ·talking sex earlier, and previous relationships.··Did she
·9·
  · · ·A.· ·It was -- it was a -- it started out as a normal        ·9·
                                                                      ·say, you know, hey, anything else?··You know, I'd really
10·
  ·kiss and became what I would consider more passionate,           10·
                                                                      ·love to continue where we left off, but I need to get
11·
  ·French kissing.                                                  11·
                                                                      ·home?··Any --
12·
  · · ·Q.· ·Okay.··Who kind of took it to that next level?          12·
                                                                      · · ·A.· ·Not that I recall, no.
13·
  · · ·A.· ·I did.                                                  13·
                                                                      · · ·Q.· ·Okay.··So this just was a change of dynamics, and
14·
  · · ·Q.· ·You did.··Okay.··So you took it one step up?··She       14·
                                                                      ·hey, I've got to go?
15·
  ·didn't pull away?                                                15·
                                                                      · · ·A.· ·Yes.
16·
  · · ·A.· ·No, she kissed me back.··We kissed together.            16·
                                                                      · · ·Q.· ·Who gets out of the shower first?
17·
  · · ·Q.· ·Okay.··What was she doing with her hands?               17·
                                                                      · · ·A.· ·I -- I don't recall.··With the way she was
18·
  · · ·A.· ·I don't -- I don't -- they were around -- I mean,       18·
                                                                      ·standing, more than likely she did.
19·
  ·we were together.                                                19·
                                                                      · · ·Q.· ·Okay.··So she gets out --
20·
  · · ·Q.· ·Okay.··Was she touching any part of you?                20·
                                                                      · · ·A.· ·You know, I'd imagine -- you know, the shower is
21·
  · · ·A.· ·She was touching me, but not like, you know.            21·
                                                                      ·here, and the door, you know, so I would imagine she
22·
  · · ·Q.· ·Not sexually?                                           22·
                                                                      ·stepped out.
23·
  · · ·A.· ·It's not sexual, no.                                    23·
                                                                      · · ·Q.· ·I'm glad you did this, because in my head --
24·
  · · ·Q.· ·Okay.··And that's when you proceed to kiss down?        24·
                                                                      ·there's blond on my head, I know -- but my brain is
25·
  · · ·A.· ·Right.                                                  25·
                                                                      ·actually visualizing what's going on.··Okay?··So I'm

                                                               50                                                                  52
·1·
  · · ·Q.· ·And then awkward, shower -- sorry, shower sex can       ·1·
                                                                      ·putting together the little pieces on here.··Trying to
·2·
  ·be awkward.··You work your way back up --                        ·2·
                                                                      ·understand how -- what you're telling us, and how's she's
·3·
  · · ·A.· ·Right.                                                  ·3·
                                                                      ·telling us, got so far, like this.
·4·
  · · ·Q.· ·-- and that's when she's like, whoa, hold on?           ·4·
                                                                      · · ·A.· ·Right.
·5·
  · · ·A.· ·Well, I worked my way back up and we started            ·5·
                                                                      · · ·Q.· ·Okay?··Because a lot of times, it's just a
·6·
  ·kissing again, and started kissing her neck again.··And          ·6·
                                                                      ·misunderstanding; your perception and her perception,
·7·
  ·that's when she said, you know, I've got to go.                  ·7·
                                                                      ·right?
·8·
  · · ·Q.· ·Okay.··Tell me about how -- how that went.··Tell        ·8·
                                                                      · · ·A.· ·Right.··Right.
·9·
  ·me more about how she presented that.                            ·9·
                                                                      · · ·Q.· ·So we're trying to piece them together.··And
10·
  · · ·A.· ·It was sudden:··I've got to go.··And I was like,        10·
                                                                      ·that's why I'm trying to understand how --
11·
  ·what?··And she's like, I've got to go.··And I -- I was           11·
                                                                      · · ·A.· ·Right, I understand.
12·
  ·taken aback.··I'm like, okay.··And you're like, you know.        12·
                                                                      · · ·Q.· ·-- we went from sitting over, BS'ing, having a
13·
  ·And she said, I need to be home by 6, and I was like,            13·
                                                                      ·beer, to, hey, can I join you in the shower?

14·
  ·okay.                                                            14·
                                                                      · · ·A.· ·Right.

15·
  · · ·Q.· ·So the way you did it seemed almost panicked.··Is       15·
                                                                      · · ·Q.· ·That's a huge leap.

16·
  ·that how she came across?                                        16·
                                                                      · · · · ··I mean, this is my work husband, and I'm sorry,

17·
  · · ·A.· ·This was kind of a surprise, like, I need to go.        17·
                                                                      ·I'm not joining him in the shower.··Besides the fact that

18·
  ·It wasn't like --                                                18·
                                                                      ·his wife would kill me and my husband would kill him.

19·
  · · ·Q.· ·What am I doing?                                        19·
                                                                      · · ·A.· ·Right.

20·
  · · ·A.· ·Yeah, it wasn't like -- well, no, it was                20·
                                                                      · · ·Q.· ·So there's that small hesitation of where --

21·
  ·realizing that, okay, I need to get home.                        21·
                                                                      ·where we went from point A to point B.

22·
  · · ·Q.· ·Okay.··That's how you interpreted it?                   22·
                                                                      · · ·A.· ·Right.

23·
  · · ·A.· ·Yeah.                                                   23·
                                                                      · · ·Q.· ·And that's why I'm trying to get you to help me

24·
  · · ·Q.· ·And not like, oh, crap --                               24·
                                                                      ·understand -- because that's where my movie in my head,

25·
  · · ·A.· ·No.                                                     25·
                                                                      ·comes to a halt right here.


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                                                               53                                                                  55
·1·
  · · ·A.· ·Right.                                                  ·1·
                                                                      ·her.
·2·
  · · ·Q.· ·Of everything else, picture perfect.··That is all       ·2·
                                                                      · · ·Q.· ·Okay.··The reason why I ask is because she did
·3·
  ·making sense, it's all fine and dandy.··Now we're getting        ·3·
                                                                      ·have a sexual assault exam done.
·4·
  ·to -- to the shower scene, and we went "doop, doop."··Does       ·4·
                                                                      · · ·A.· ·Okay.
·5·
  ·that make sense?                                                 ·5·
                                                                      · · ·Q.· ·Okay.··And we have injuries in that area.··She's
·6·
  · · ·A.· ·I get it.                                               ·6·
                                                                      ·claiming she didn't have sex with her husband prior.
·7·
  · · ·Q.· ·I need you to help me fill in that gap.                 ·7·
                                                                      · · ·A.· ·Okay.
·8·
  · · ·A.· ·I don't -- I don't understand the gap, though.··I       ·8·
                                                                      · · ·Q.· ·Okay?··So we're trying to piece together if the
·9·
  ·mean, I've explained to you that when we went into the           ·9·
                                                                      ·tongue wasn't there, the fingers weren't there, what the
10·
  ·shower -- went into the bathroom, and she was going to           10·
                                                                      ·heck's going on?
11·
  ·enter the shower, and I asked her, can I join you.··That         11·
                                                                      · · ·A.· ·Okay.··I don't know.··I would have no reason to
12·
  ·was my move, to say, okay, is that -- are you comfortable        12·
                                                                      ·expect to have any type of anything on her from our
13·
  ·with this.                                                       13·
                                                                      ·interactions.
14·
  · · ·Q.· ·Okay.··Had you ever told her in the past that you       14·
                                                                      · · ·Q.· ·From your interactions?
15·
  ·were interested in her sexually?                                 15·
                                                                      · · ·A.· ·Right.
16·
  · · ·A.· ·It was very obvious in terms of our back and            16·
                                                                      · · ·Q.· ·So if there was anything that took place, it
17·
  ·forth with each other.                                           17·
                                                                      ·wasn't from your guys's interactions?
18·
  · · ·Q.· ·See, that's what I'm trying to -- you're                18·
                                                                      · · ·A.· ·Correct.
19·
  ·generalizing, yeah, it was flirtatious.··You're not              19·
                                                                      · · ·Q.· ·Okay.··So that's clear.
20·
  ·filling me in on -- on the "flirtatious."··Because, to me,       20·
                                                                      · · · · ··You guys get out of the shower, how is she
21·
  ·obvious is not what's leading the procession of, okay now        21·
                                                                      ·dressing?··Is she stumbling?
22·
  ·I'm undressed and I'm down there kissing her vagina.··See        22·
                                                                      · · ·A.· ·No.··And I didn't watch her get dressed because I
23·
  ·the difference?··That's where I'm asking, is -- if she was       23·
                                                                      ·was also getting dressed at the same time.
24·
  ·so free to talk to you about the sex she had in college,         24·
                                                                      · · ·Q.· ·In your closet?
25·
  ·her relationships and everything else, and then she gets         25·
                                                                      · · ·A.· ·In my closet, which is right, you know, pretty

                                                               54                                                                  56
·1·
  ·out of the shower and has got to go, the flirtatious was         ·1·
                                                                      ·close, but I was getting dressed and she was getting
·2·
  ·off, right?                                                      ·2·
                                                                      ·dressed.
·3·
  · · ·A.· ·I -- it didn't -- she didn't appear upset with me       ·3·
                                                                      · · ·Q.· ·Okay.··Did you hear her fall down anywhere?
·4·
  ·at all at that point.                                            ·4·
                                                                      · · ·A.· ·No.
·5·
  · · ·Q.· ·Okay.··So there's no upset --                           ·5·
                                                                      · · ·Q.· ·Did you hear her stumbling anywhere?
·6·
  · · ·A.· ·No.                                                     ·6·
                                                                      · · ·A.· ·No.
·7·
  · · ·Q.· ·-- it's just panic?                                     ·7·
                                                                      · · ·Q.· ·Did you hear her get sick?
·8·
  · · ·A.· ·It wasn't pan -- I wouldn't call it panic.··It          ·8·
                                                                      · · ·A.· ·No.
·9·
  ·was like recognizing the time, that I need to get home.          ·9·
                                                                      · · ·Q.· ·Okay.··So she gets dressed.··How does the whole
10·
  · · ·Q.· ·Okay.··So you're in the shower, you go down to          10·
                                                                      ·transportation get going?
11·
  ·the vaginal area of the female's part's a little                 11·
                                                                      · · ·A.· ·She says, can you give me a ride home.
12·
  ·different.··Some of us have outies.··When you say the            12·
                                                                      · · ·Q.· ·Okay.··So you're assuming husband's gone?··Or are
13·
  ·outer lips, are we talking about the labias?                     13·
                                                                      ·you thinking the husband's home now?
14·
  · · ·A.· ·Again, technically, yes, I would say the                14·
                                                                      · · ·A.· ·Well, when she said that she needed to get home
15·
  ·exterior.                                                        15·
                                                                      ·because her husband needed the car, that was the first
16·
  · · ·Q.· ·The exterior lips?                                      16·
                                                                      ·indication, and I was like, her husband's home, waiting
17·
  · · ·A.· ·Yes.                                                    17·
                                                                      ·for the car.
18·
  · · ·Q.· ·Okay.··So you didn't French kiss?                       18·
                                                                      · · ·Q.· ·Okay.··So she needs to get home to get the
19·
  · · ·A.· ·The vaginal area?                                       19·
                                                                      ·husband the car.··So now you're like, oh, crap, I have to
20·
  · · ·Q.· ·Uh-huh.                                                 20·
                                                                      ·confront the husband?
21·
  · · ·A.· ·No.                                                     21·
                                                                      · · ·A.· ·Right.
22·
  · · ·Q.· ·Okay.··So it was lips to lips, so to speak?             22·
                                                                      · · ·Q.· ·Okay.··But you have to have that, oh, crap?
23·
  · · ·A.· ·It was lips, yeah, it was -- yes.··Meaning, I           23·
                                                                      · · ·A.· ·At this point I was -- I was -- it was a very --
24·
  ·don't recall the exact details of it, but I know it wasn't       24·
                                                                      ·you know, my thoughts were not good.··It was like, this is
25·
  ·like it was -- I wasn't giving -- performing oral sex on         25·
                                                                      ·going to be really bad.


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                                                                                                                                    15
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                                                                                  $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                               57                                                                  59
·1·
  · · ·Q.· ·Okay.··So she gets into the passenger seat?             ·1·
                                                                      ·believe I messed up your house.
·2·
  · · ·A.· ·Yes.                                                    ·2·
                                                                      · · ·A.· ·Right.
·3·
  · · ·Q.· ·You drive her vehicle?                                  ·3·
                                                                      · · ·Q.· ·Did you ever see any signs in her bathroom --
·4·
  · · ·A.· ·I do.                                                   ·4·
                                                                      · · ·A.· ·No.··And I told her, I was like, no, not at all.
·5·
  · · ·Q.· ·Okay.··How far away does she live?                      ·5·
                                                                      ·She was -- she had -- she was embarrassed.··And I told
·6·
  · · ·A.· ·Twenty-five minutes or so.··I'm up -- I'm way up        ·6·
                                                                      ·her, I always try and make her feel at ease, saying, you
·7·
  ·on Tramway and Academy, and she's down near UNM, Carlisle        ·7·
                                                                      ·know, you were fine.··I didn't -- I never saw you throw
·8·
  ·area -- Carlisle and Candelaria area.                            ·8·
                                                                      ·up, so I didn't think there was -- you know, I wasn't
·9·
  · · ·Q.· ·A lot of stoplights?                                    ·9·
                                                                      ·judging her by that.··And there was no signs of anything,
10·
  · · ·A.· ·Yeah.                                                   10·
                                                                      ·you know, so I was, like, no, it's okay.··Don't worry
11·
  · · ·Q.· ·Okay.··How is she acting during this drive?             11·
                                                                      ·about it.
12·
  · · ·A.· ·We're -- we're quiet.··I mean, I was -- you know,       12·
                                                                      · · ·Q.· ·Why do you think she would be making these
13·
  ·I had my hand on -- I put my hand on her knee and, you           13·
                                                                      ·statements?
14·
  ·know.··And we kind of didn't say a whole lot.··It was -- I       14·
                                                                      · · ·A.· ·I think it had to do with the next day when her
15·
  ·don't recall talking a lot with her.··We talked.··She told       15·
                                                                      ·husband got home, she didn't know what to say.··She put
16·
  ·me how to get to her house.                                      16·
                                                                      ·it -- I don't know.··I was absolutely -- you know, I don't
17·
  · · ·Q.· ·Okay.··So she went from talking before the              17·
                                                                      ·know.··I have no reason to understand why she would accuse
18·
  ·shower, to a little bit concerned?··Quiet?··Withdrawn?           18·
                                                                      ·me of that.
19·
  · · ·A.· ·I would say -- I think it was a little bit -- I         19·
                                                                      · · · · · ·FURTHER INTERVIEW BY DETECTIVE SPINKS
20·
  ·would -- I would say it was quiet.··I think both of us           20·
                                                                      · · ·Q.· ·(BY DETECTIVE SPINKS)··And just reviewing the
21·
  ·were like, we are about to -- I'm about to drop her off at       21·
                                                                      ·conversation you guys had in the aftermath, everything
22·
  ·her house and she's got wet hair, and how are we going to        22·
                                                                      ·seemed pretty copacetic until -- what was it, the
23·
  ·explain this.                                                    23·
                                                                      ·following Monday or so -- the conversational tone kind of
24·
  · · ·Q.· ·Okay.                                                   24·
                                                                      ·changes.
25·
  · · ·A.· ·I think both -- that was what's going through my        25·
                                                                      · · ·A.· ·Right.

                                                               58                                                                  60
·1·
  ·mind.··You know, I'm just like, hey, you know what.··And I       ·1·
                                                                      · · ·Q.· ·And her responses become very short and to the
·2·
  ·asked her when we were getting close, I said, you know,          ·2·
                                                                      ·point, saying, I'm busy, Monday.··(Inaudible.)··It was
·3·
  ·what do you want me to do?··Should I park down the street        ·3·
                                                                      ·actually --
·4·
  ·and then you drive in?··And she said, it doesn't matter.         ·4·
                                                                      · · ·A.· ·Right.
·5·
  ·I was like, are you sure?··She said, yeah.··And she just         ·5·
                                                                      · · ·Q.· ·You know, you asked her a couple of times, how is
·6·
  ·shook her head and she said, it doesn't matter.                  ·6·
                                                                      ·your day, and it didn't seem like you were getting a
·7·
  · · · · ··And I was like, okay.··And I was like, well,            ·7·
                                                                      ·response from her.··What do you think changed?
·8·
  ·where do we go?··And she said, just right up here.··And          ·8·
                                                                      · · ·A.· ·Well, so at that point, you know, Joy is my
·9·
  ·that's when I pulled up and her husband walked out               ·9·
                                                                      ·friend.
10·
  ·immediately.                                                     10·
                                                                      · · ·Q.· ·Right.
11·
  · · ·Q.· ·Okay.··Now, tell me more about that.                    11·
                                                                      · · ·A.· ·And I was concerned about how things were going
12·
  · · ·A.· ·So we pull up and I was like, oh, I just -- I           12·
                                                                      ·to go with her relationship with her husband.··And that
13·
  ·couldn't believe I'm in this situation.··I get out, walked       13·
                                                                      ·was really a bad situation that I felt that I was in, you
14·
  ·up, and Joy immediately -- she puts her head down and she        14·
                                                                      ·know, having to face her husband was awful.
15·
  ·walked straight into that house, past her son -- or her          15·
                                                                      · · ·Q.· ·Uh-huh.
16·
  ·husband and daughter.··And I walk up and I said, Joy             16·
                                                                      · · ·A.· ·So I was just checking in on her.··And then,
17·
  ·wasn't feeling well.··I just wanted to make sure she got         17·
                                                                      ·yeah, you know, nothing -- nothing happened.··I was like,
18·
  ·home okay.··And I handed him -- he says, well, where are         18·
                                                                      ·hey -- because there was times we would text previously,
19·
  ·the keys?··And I handed him the keys, and that was it.           19·
                                                                      ·where I wouldn't hear from her for a couple of days and
20·
  ·That was the interaction.··Then I walked away.                   20·
                                                                      ·that was normal.
21·
  · · ·Q.· ·Where did you go?                                       21·
                                                                      · · ·Q.· ·Sure.··Okay.
22·
  · · ·A.· ·I walked about two -- two blocks and I called           22·
                                                                      · · ·A.· ·But then it wasn't until on -- let's see.··That
23·
  ·Uber.                                                            23·
                                                                      ·was Wednesday.··You know, when I didn't hear anything more
24·
  · · ·Q.· ·Okay.··So reviewing the text messages, I mean,          24·
                                                                      ·from her, and I just stopped.··I just stopped and I was
25·
  ·like I said, everything seems pretty -- hey, I can't             25·
                                                                      ·like, okay, you know, that's the end of that.


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                                                                                     $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                               61                                                                  63
·1·
  · · ·Q.· ·Okay.··Just a few things we want to go over in          ·1·
                                                                      ·number, how many times she vomited, I wouldn't know that.
·2·
  ·the text messages.··You mentioned something -- or excuse         ·2·
                                                                      ·But certainly she didn't go into the bathroom eight times.
·3·
  ·me.··She says, I'm 99 percent sure that I'm not going out        ·3·
                                                                      · · ·Q.· ·Well, and her account was that she vomited that
·4·
  ·tomorrow.··What was that about?                                  ·4·
                                                                      ·one time, she came back to the couch and talked to you
·5·
  · · ·A.· ·She had asked me to go out the next night.··I           ·5·
                                                                      ·some more.··She felt sick again, got up again, vomited
·6·
  ·didn't -- I forgot to mention that.                              ·6·
                                                                      ·again.··She said it was after the third time that she
·7·
  · · · · · · ··DETECTIVE WILD:··When?                              ·7·
                                                                      ·vomited that you offered her the toothbrush.··She said in
·8·
  · · ·Q.· ·(BY DETECTIVE SPINKS)··That's okay.··Yeah, when         ·8·
                                                                      ·the middle of brushing her teeth, she got sick and vomited
·9·
  ·did you guys talk about that?                                    ·9·
                                                                      ·again so she brushed her teeth a second time.
10·
  · · ·A.· ·At the bar.                                             10·
                                                                      · · ·A.· ·I didn't know about that.
11·
  · · · · · · ··DETECTIVE WILD:··Okay.                              11·
                                                                      · · ·Q.· ·She said she vomited immediately upon getting out
12·
  · · ·Q.· ·(BY DETECTIVE SPINKS)··And what was that supposed       12·
                                                                      ·of the shower, that there was a toilet right next to the
13·
  ·to be?                                                           13·
                                                                      ·shower, that she vomited into that.··She said she vomited
14·
  · · ·A.· ·She said, hey, I'm going out tomorrow night with        14·
                                                                      ·on the ride home, that she had to open the car door real
15·
  ·a friend, you should join me.··I was like, great.                15·
                                                                      ·fast and vomit.
16·
  · · ·Q.· ·Okay.··You said you were going to -- was it like        16·
                                                                      · · ·A.· ·No.
17·
  ·a coworker?                                                      17·
                                                                      · · ·Q.· ·I mean, she -- her statement was that she was
18·
  · · ·A.· ·Like a girlfriend of hers.                              18·
                                                                      ·just, I mean, it sounded like she was dying, just vomiting
19·
  · · ·Q.· ·Okay.··And so this would have been Saturday night       19·
                                                                      ·all over the place.··Is there any chance that she vomited
20·
  ·that she was planning on going out?                              20·
                                                                      ·more than the one time that she reported to you?
21·
  · · ·A.· ·Right.··Right.                                          21·
                                                                      · · ·A.· ·There was a chance that she could have vomited
22·
  · · ·Q.· ·Okay.··Okay.··There was just one other thing.           22·
                                                                      ·the second time when she was in the bathroom.··I don't
23·
  ·Oh, when she -- at any point was she, like, unaccounted          23·
                                                                      ·know.··And none of that other stuff happened at all.
24·
  ·for in your house?··And the reason I ask is, I mean, you         24·
                                                                      · · ·Q.· ·Meaning?
25·
  ·guys have -- you and Joy have similar recollections to the       25·
                                                                      · · ·A.· ·She did not vomit in the toilet in front of me,

                                                               62                                                                  64
·1·
  ·events leading up to arriving at your house.··You guys           ·1·
                                                                      ·and she did not vomit in her -- in my -- in her car at
·2·
  ·both -- even -- if I remember correctly, she even                ·2·
                                                                      ·all.
·3·
  ·mentioned drinking a Marble Red at the bar -- or drinking        ·3·
                                                                      · · ·Q.· ·Okay.
·4·
  ·two Marble Reds.··Because everything seemed to line up           ·4·
                                                                      · · · · · · ··DETECTIVE WILD:··Did you guys have to stop on
·5·
  ·perfectly up until the point when you guys arrive at your        ·5·
                                                                      ·the way back --
·6·
  ·house.                                                           ·6·
                                                                      · · ·A.· ·No.
·7·
  · · · · ··She recalls you getting there before her.··And          ·7·
                                                                      · · · · · · ··DETECTIVE WILD:··-- to her house to vomit?
·8·
  ·it's her recollection that you had the drink already             ·8·
                                                                      · · ·A.· ·No, no.
·9·
  ·poured when she got there, and that you handed her the           ·9·
                                                                      · · · · · · ··DETECTIVE WILD:··Did she ever say she was
10·
  ·drink.··And then, upon finishing that drink, she recalls         10·
                                                                      ·still feeling sick?
11·
  ·you, you know, pouring the second drink.··She seems to           11·
                                                                      · · ·A.· ·No.
12·
  ·remember seeing you pouring something else into the cup,         12·
                                                                      · · ·Q.· ·(BY DETECTIVE SPINKS)··I mean, even reading the
13·
  ·which you had told her, oh, this is orange juice, it goes        13·
                                                                      ·texts messages, the fact that she references, you know,
14·
  ·good with Blue Moon.                                             14·
                                                                      ·I'm sorry if I, you know -- how did she describe it?
15·
  · · · · ··Where you -- where your stories start to deviate,       15·
                                                                      · · ·A.· ·Made a mess of your house.
16·
  ·and there's a little variation, she recalls being sick           16·
                                                                      · · ·Q.· ·Yeah.··I mean it sounds like she's apologizing
17·
  ·multiple times at your house, not just the one time that         17·
                                                                      ·for more than just vomiting one time in your toilet.··You
18·
  ·you -- that she reported to you.                                 18·
                                                                      ·know what I mean?
19·
  · · ·A.· ·Right.                                                  19·
                                                                      · · ·A.· ·Right.··Well, that's why I was like, of course
20·
  · · ·Q.· ·She -- when I went back and counted in my               20·
                                                                      ·not.··I mean, she, you know, I think I -- no, not at all.
21·
  ·interview notes, she recalled being sick at least eight          21·
                                                                      · · ·Q.· ·Okay.··The other thing that I gathered from the
22·
  ·different times while at your house.                             22·
                                                                      ·text messages was she asked you, so how bad was it when we
23·
  · · ·A.· ·No.··Absolutely -- I mean, in terms of, she was         23·
                                                                      ·got to my house.··Why do you think she asked you that?
24·
  ·in the bathroom by herself two times:··the first time and        24·
                                                                      · · ·A.· ·Because she walked immediately -- she just put
25·
  ·then the other time to brush her teeth.··In terms of the         25·
                                                                      ·her head down and walked right into the house.··And I had


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                                                               65                                                                  67
·1·
  ·to engage with her husband and daughter.                         ·1·
                                                                      ·what she's alleging is that in the shower, you were
·2·
  · · ·Q.· ·Okay.··Do you think she overheard any of that           ·2·
                                                                      ·performing cunnilingus on her, meaning your tongue was
·3·
  ·interaction?                                                     ·3·
                                                                      ·inside of her vagina.··She's alleging that your fingers
·4·
  · · ·A.· ·No.··It was -- I mean, if that -- I mean, it            ·4·
                                                                      ·were inside of her vagina, digital penetration.··She does
·5·
  ·was -- it was a good little walk, because, you know, it          ·5·
                                                                      ·have injuries that are consistent with digital
·6·
  ·wasn't like I was in her driveway, I was on the street.          ·6·
                                                                      ·penetration.··There is -- she has three small tears that
·7·
  ·And we walked up, and as I was walking up, she had walked        ·7·
                                                                      ·are fairly deep inside of her vagina, that the nurse
·8·
  ·across her yard into her -- into her front door.                 ·8·
                                                                      ·documented, swabbed for DNA.
·9·
  · · ·Q.· ·Gotcha.··Okay.··You -- your next text message at        ·9·
                                                                      · · ·A.· ·Okay.
10·
  ·about 8:18, and you asked her if she was okay.··And she          10·
                                                                      · · ·Q.· ·And photographed.··Is there any chance at all
11·
  ·didn't respond back until two hours and one minute later,        11·
                                                                      ·that your DNA is going to come out of those?··Because what
12·
  ·at 10:19.··She says, dude, I've never had a reaction to          12·
                                                                      ·the tear does, is the tear is a perfect little breeding
13·
  ·those beers like that.··I'm so sorry.··Thank you for all         13·
                                                                      ·ground to collect DNA.
14·
  ·your help.                                                       14·
                                                                      · · ·A.· ·Right.
15·
  · · · · ··Have you had any conversations with Joy outside         15·
                                                                      · · ·Q.· ·And they swab right into there, and those are the
16·
  ·of these text messages since this happened?                      16·
                                                                      ·swabs that we're going to compare to the buckle sample
17·
  · · ·A.· ·No.                                                     17·
                                                                      ·that you provided a few weeks ago.··Would there be any
18·
  · · ·Q.· ·Okay.··Joy is reporting that she was so                 18·
                                                                      ·reason why we would find your DNA within those tears?
19·
  ·intoxicated that night, that when she got home, she has          19·
                                                                      · · ·A.· ·When I first told -- when I met with Zach --
20·
  ·like a memory lapse, a time gap, between 6 p.m. and              20·
                                                                      · · · · · · ··MR. IVES:··Don't tell them about our
21·
  ·10 p.m.··Did you get the impression at all that she was          21·
                                                                      ·conversations.
22·
  ·intoxicated enough to explain that?··Why she wouldn't have       22·
                                                                      · · · · · · ··MR. BRIGGS:··Oh, okay.
23·
  ·any recollection of what happened between getting home and       23·
                                                                      · · ·A.· ·You know, I told him -- you know, I was trying to
24·
  ·waking up on the floor of their living room at 10:00?            24·
                                                                      ·figure this out.··I was like, we were making out and my
25·
  · · ·A.· ·No.··No.                                                25·
                                                                      ·hands were on her, but I -- I absolutely don't recall

                                                               66                                                                  68
·1·
  · · ·Q.· ·Did you ever get the impression that she was any        ·1·
                                                                      ·having digital penetration.
·2·
  ·more intoxicated than she had been at any point during           ·2·
                                                                      · · ·Q.· ·(BY DETECTIVE SPINKS)··Okay.··And there's --
·3·
  ·your bar trips, previous to that night?                          ·3·
                                                                      ·there is a difference -- a small difference between not
·4·
  · · ·A.· ·No.··No.··We'd drink three Marble Reds                  ·4·
                                                                      ·recalling something and could it have happened.··Is there
·5·
  ·previously.                                                      ·5·
                                                                      ·any chance that you just don't recall that your fingers
·6·
  · · ·Q.· ·Well, had you ever seen her vomit before?               ·6·
                                                                      ·were inside of her vagina?
·7·
  · · ·A.· ·No.                                                     ·7·
                                                                      · · ·A.· ·There's a chance that I don't recall my fingers
·8·
  · · ·Q.· ·Or had you ever known of her vomiting before?           ·8·
                                                                      ·being inside -- inside of her.
·9·
  · · ·A.· ·No.                                                     ·9·
                                                                      · · ·Q.· ·And when do you think that would have happened?
10·
  · · ·Q.· ·Okay.                                                   10·
                                                                      · · ·A.· ·Well, while I was going -- when we were making
11·
  · · · · · ··FURTHER INTERVIEW BY DETECTIVE WILD                   11·
                                                                      ·out.
12·
  · · ·Q.· ·(BY DETECTIVE WILD)··Did you guys have anything         12·
                                                                      · · ·Q.· ·While you were still standing or while --
13·
  ·to eat?                                                          13·
                                                                      · · ·A.· ·Yeah, while we were standing.
14·
  · · ·A.· ·No.                                                     14·
                                                                      · · ·Q.· ·While you were standing?
15·
  · · ·Q.· ·No munchies or --                                       15·
                                                                      · · ·A.· ·Yeah.
16·
  · · ·A.· ·No.                                                     16·
                                                                      · · ·Q.· ·Okay.··With regard to that, you know, the tears
17·
  · · · · · · ··MR. IVES:··I noticed in the text messages,          17·
                                                                      ·that we see are typically caused by one of two things:
18·
  ·she said all she had to eat all day was some toast.              18·
                                                                      ·either somebody is being too rough, sometimes it can be
19·
  · · · · · · ··DETECTIVE SPINKS:··Yeah, I saw that.                19·
                                                                      ·because of long fingernails.··But more commonly than not,
20·
  · · · · · ·FURTHER INTERVIEW BY DETECTIVE SPINKS                  20·
                                                                      ·it's because someone is not properly aroused yet.··There's
21·
  · · ·Q.· ·(BY DETECTIVE SPINKS)··Even in her interview she        21·
                                                                      ·just no -- there's no self-lubrication, and so those tears
22·
  ·confirmed that, she had mentioned that she was drinking          22·
                                                                      ·happen.
23·
  ·kind of on an empty stomach, but.                                23·
                                                                      · · · · ··Do you have any recollection whatsoever of
24·
  · · · · ··Okay.··So, I mean, obviously, you have a very           24·
                                                                      ·whether or not Joy appeared aroused while you were, for
25·
  ·different version of events than what she has.··I mean,          25·
                                                                      ·lack of -- I mean, while you were down on her?


                                    $OEXTXHUTXH&RXUW5HSRUWLQJ6HUYLFH//&
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                                                                                                                                    18
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,QWHUYLHZRI0LFKDHO%ULJJV
                                                                                     $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                               69                                                                  71
·1·
  · · ·A.· ·Right.··I don't -- I didn't hear her, you know,         ·1·
                                                                      ·keep you.··I know you've got an appointment.··Is there
·2·
  ·like moaning or like holding me down or, you know.               ·2·
                                                                      ·anything that you would like to add before we conclude?
·3·
  · · ·Q.· ·Okay.··Was there any indication from Joy that she       ·3·
                                                                      ·Anything you think I should know?
·4·
  ·was enjoying what was going on in the shower, verbal or          ·4·
                                                                      · · ·A.· ·No.··I think I've covered it all.
·5·
  ·otherwise?                                                       ·5·
                                                                      · · ·Q.· ·Okay.··Both of you have my cards.··If anything
·6·
  · · ·A.· ·There was no indication that she wasn't.                ·6·
                                                                      ·else comes up, don't hesitate to let me know.··If you feel
·7·
  · · ·Q.· ·All right.                                              ·7·
                                                                      ·like there's something you need to add to the statement,
·8·
  · · ·A.· ·Yeah.                                                   ·8·
                                                                      ·because my -- my part in this is basically done now.··I'm
·9·
  · · ·Q.· ·What about -- you said there was no moaning.··Was       ·9·
                                                                      ·going to type up your interview and I'm going to send it
10·
  ·she -- was she drawing you closer to her?                        10·
                                                                      ·to the DA's office.··Chances are they're going to wait
11·
  · · ·A.· ·She was when we initially -- when we first              11·
                                                                      ·until the DNA results come back from the lab before they
12·
  ·started kissing, sure, yeah.                                     12·
                                                                      ·make any decision about what they're going to do.
13·
  · · ·Q.· ·Did -- I mean, you know, when you initially             13·
                                                                      · · ·A.· ·Okay.
14·
  ·started kissing her, did her demeanor change when you went       14·
                                                                      · · ·Q.· ·I hate to speak for them because I never have a
15·
  ·down on her, or when you -- when you crouched in front of        15·
                                                                      ·real good sense of how they're going to proceed, whether
16·
  ·her?··Did you -- did you notice any changes in her --            16·
                                                                      ·or not they're going to, you know, charge somebody or not.
17·
  · · ·A.· ·No.                                                     17·
                                                                      ·So it might just very well come down to what the DNA
18·
  · · ·Q.· ·-- demeanor or behavior at that point?                  18·
                                                                      ·shows, you know.··You've indicated that there could be an
19·
  · · ·A.· ·No, not at all.                                         19·
                                                                      ·explanation for why your DNA might be there.
20·
  · · ·Q.· ·Did she seem uncomfortable about what you were          20·
                                                                      · · ·A.· ·Yeah, so there -- it would not surprise me.··I
21·
  ·doing?                                                           21·
                                                                      ·mean, we were intimate.
22·
  · · ·A.· ·Not to -- no, not to my knowledge at that time,         22·
                                                                      · · ·Q.· ·Sure.
23·
  ·no.                                                              23·
                                                                      · · ·A.· ·Okay?··And that's why I, you know, I said, yeah,
24·
  · · ·Q.· ·Okay.                                                   24·
                                                                      ·I'll give you a DNA sample.··I was with her.
25·
  · · ·A.· ·No, I was -- I was the one who was kind of              25·
                                                                      · · ·Q.· ·Right, right.

                                                               70                                                                  72
·1·
  ·uncomfortable.                                                   ·1·
                                                                      · · ·A.· ·I acknowledged that.
·2·
  · · ·Q.· ·Sure.                                                   ·2·
                                                                      · · ·Q.· ·Okay.··What about saliva, because they do check
·3·
  · · ·A.· ·You know, with the water in my face and so forth.       ·3·
                                                                      ·separately for saliva.··Do you know -- do you think we
·4·
  · · ·Q.· ·Okay.··And I think I had asked you this earlier.        ·4·
                                                                      ·could find your saliva on those deep swabs that they took?
·5·
  ·But you guys haven't had any phone conversations?··The           ·5·
                                                                      · · · · · · ··MR. IVES:··I mean, how would he -- how would
·6·
  ·only conversations you've had since --                           ·6·
                                                                      ·you --
·7·
  · · ·A.· ·Were these text messages.                               ·7·
                                                                      · · ·A.· ·I don't --
·8·
  · · ·Q.· ·-- were the text messages.                              ·8·
                                                                      · · · · · · ··MR. IVES:··I'm just going to say how would he
·9·
  · · · · ··So you guys never talked about things that she          ·9·
                                                                      ·know?··He's not a DNA scientist or a forensic scientist.
10·
  ·was and was not comfortable with happening?                      10·
                                                                      · · · · · · ··DETECTIVE SPINKS:··I guess my --
11·
  · · ·A.· ·Right, no.                                              11·
                                                                      · · · · · · ··MR. IVES:··So that's a tough question to
12·
  · · ·Q.· ·Meaning, you know, she never told you, I was okay       12·
                                                                      ·answer, for him --
13·
  ·with the kissing, but I didn't want you to do anything --        13·
                                                                      · · · · · · ··DETECTIVE SPINKS:··I get that.
14·
  · · ·A.· ·No.··I mean, the only -- the one thing, I mean, I       14·
                                                                      · · ·Q.· ·(BY DETECTIVE SPINKS)··And maybe for more
15·
  ·thought that from my point is, she was acknowledging that,       15·
                                                                      ·clarification, you're not 100 percent sure on whether or
16·
  ·you know, in her text messages, like that was the first          16·
                                                                      ·not you have had your fingers inside of her vagina.··When
17·
  ·time -- just so you know, that was the first time.··I've         17·
                                                                      ·you were kissing her vagina, are you 100 percent sure that
18·
  ·never done something like that.                                  18·
                                                                      ·you didn't have your tongue inside the vagina as well?
19·
  · · ·Q.· ·Right.··Right.                                          19·
                                                                      · · ·A.· ·I am not 100 percent sure.
20·
  · · ·A.· ·And I was like, you know, I knew that.··I knew          20·
                                                                      · · ·Q.· ·Okay.··And that's all, I'm just --
21·
  ·that she had talked to me about that previously.                 21·
                                                                      · · ·A.· ·I don't recall all of the specifics about that
22·
  · · · · · · ··DETECTIVE SPINKS:··Okay.··Did you have              22·
                                                                      ·other than --
23·
  ·anything else?                                                   23·
                                                                      · · ·Q.· ·Okay.
24·
  · · · · · · ··DETECTIVE WILD:··No.                                24·
                                                                      · · ·A.· ·-- we made out.··What I would consider, we made
25·
  · · ·Q.· ·(BY DETECTIVE SPINKS)··Yeah.··I don't want to           25·
                                                                      ·out, we had -- and it was very brief.


                                       $OEXTXHUTXH&RXUW5HSRUWLQJ6HUYLFH//&
                                                     
                                                                                                                                     19
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                                                                                  $XGLR7UDQVFULSWLRQRI,QWHUYLHZ
                                                               73                                                                75
·1·
  · · ·Q.· ·Okay.                                                   ·1·
                                                                      · · · · · ··TAPED INTERVIEW OF MICHAEL BRIGGS
                                                                    ·2·
                                                                      ·
·2·
  · · ·A.· ·Okay.··And, you know, I did -- I went down on            ··__________________________________________________________
                                                                        ·
·3·
  ·her --                                                           ·3·
                                                                      ·
                                                                     ···· · · · · · · ··REPORTER'S CERTIFICATE
·4·
  · · ·Q.· ·Right.                                                  ·4·
                                                                      ·
                                                                     ···· · · ··I, THERESA E. DUBOIS, RPR, CSR #29, DO HEREBY
·5·
  · · ·A.· ·-- in terms -- and I kissed her down there, yes.        ·5·
                                                                      ·
·6·
  · · ·Q.· ·Okay.··Okay.··Anything else that either of you           ··CERTIFY
                                                                        ·       that on December 13, 2016, the Interview of
                                                                    ·6·
                                                                      ·
·7·
  ·want to add?                                                      ··MICHAEL
                                                                        ·       BRIGGS was tape-recorded, that I did transcribe in
                                                                    ·7·
                                                                      ·
·8·
  · · · · · · ··MR. IVES:··Not right now.                            ··stenographic
                                                                        ·             shorthand the tape-recording set forth
·9·
  · · · · · · ··DETECTIVE SPINKS:··If anything comes up.            ·8·
                                                                      ·
                                                                     ··herein,
                                                                        ·       and the foregoing pages are a true and correct
10·
  · · · · · · ··MR. BRIGGS:··Yeah.                                  ·9·
                                                                      ·
                                                                     ··transcription
                                                                        ·              to the best of my ability.··The tape was
11·
  · · · · · · ··MR. IVES:··Yeah, we know how to reach you.          10·
                                                                      ·
12·
  ·And if you have questions, I know you had a chance to look        ··good
                                                                        ·    quality.
                                                                    11·
                                                                      ·
13·
  ·at the texts, but --                                              ···· · · ··I FURTHER CERTIFY that I am neither employed by
                                                                    12·
                                                                      ·
14·
  · · · · · · ··DETECTIVE SPINKS:··Yeah.                             ··nor
                                                                        ·   related to nor contracted with (unless excepted by the
15·
  · · · · · · ··MR. IVES:··-- maybe as you go through this          13·
                                                                      ·
                                                                     ··rules)
                                                                        ·      any of the parties or attorneys in this matter, and
16·
  ·more, if you have questions trying to interpret those --         14·
                                                                      ·
                                                                     ··that
                                                                        ·    I have no interest whatsoever in the final
17·
  · · · · · · ··MR. BRIGGS:··Yeah, I mean...                        15·
                                                                      ·
18·
  · · · · · · ··MR. IVES:··-- or if you need more                    ··disposition
                                                                        ·           of this matter.

19·
  ·information, we're happy to give that.
20·
  · · · · · · ··DETECTIVE SPINKS:··Perfect.··And I need to
                                                                    16·
                                                                      ·
                                                                    17·
                                                                      ·
                                                                    18·
                                                                      ·
                                                                    19·
                                                                                             JiwA~
                                                                      · · · · · · · · · · · ·_________________________________
                                                                     ···· · · · · · · · · · ·THERESA E. DUBOIS, RPR
21·
  ·talk to Joy about the texts.··And she was concerned about
                                                                    20·
                                                                      · · · · · · · · · · · ·New Mexico CCR #29
22·
  ·it, too, because they weren't on her phone, or if she had         ···· · · · · · · · · · ·License Expires:··12/31/2019
                                                                    21·
                                                                      ·
23·
  ·deleted them, or whatever.                                       22·
                                                                      ·
24·
  · · · · · · ··MR. IVES:··Right.                                   23·
                                                                      ·
                                                                    24·
                                                                      ·
25·
  · · · · · · ··DETECTIVE SPINKS:··So I do want to go over          25·
                                                                      ·

                                                               74
·1·
  ·them with her, too, and that might lead to more questions.
·2·
  · · · · · · ··MR. IVES:··Sure.
·3·
  · · · · · · ··DETECTIVE SPINKS:··You know, maybe next time
·4·
  ·we can just do a conference call, if there's further
·5·
  ·questions, or we could just do something a little less
·6·
  ·formal.
·7·
  · · · · · · ··MR. BRIGGS:··Yeah.··And, you know, the
·8·
  ·important -- I felt horrible that I had dropped her off
·9·
  ·with wet hair and, you know, in front of her husband.
10·
  ·That's, you know, really, in terms of my responses to
11·
  ·that, was in regard to that, so this was -- it was a
12·
  ·horrible experience.
13·
  · · · · · · ··DETECTIVE SPINKS:··Right.··And I -- you know,
14·
  ·I can -- I can't relate, I haven't been in your shoes, but
15·
  ·I can sense the uncomfortableness that has been going on.
16·
  · · · · · · ··MR. BRIGGS:··Right, okay.
17·
  · · · · · · ··DETECTIVE SPINKS:··I don't have anything
18·
  ·further.
19·
  · · · · · · ··DETECTIVE WILD:··No, I don't either.
20·
  · · · · · · ··MR. IVES:··Thank you guys for being mindful
21·
  ·of the time.
22·
  · · · · · · ··DETECTIVE SPINKS:··Sure.
23·
  · · · · · · · · · ··(Interview concluded.)
24·
  ·
25·
  ·


                                     $OEXTXHUTXH&RXUW5HSRUWLQJ6HUYLFH//&
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  · · · · · · · · · ··IN THE UNITED STATES DISTRICT COURT   PLAINTIFF'S
  · · · · · · · · · · ··FOR THE DISTRICT OF NEW MEXICO        EXHIBIT


                                                                                  19
  ··
  ··MICHAEL BRIGGS,
  ··
  · · · · · ··Plaintiff,
  ··
  ··vs.· · · · · · · · · · · · · · ·Case No. 1:20-cv-00651 MLG-JMR
  ··
  ··
  ··THE UNIVERSITY OF NEW MEXICO, a
  ··public university, THE BOARD OF
  ··REGENTS OF THE UNIVERSITY OF NEW
  ··MEXICO, GARNETT STOKES, individually
  ··and in her official capacity, PAUL B. ROTH,
  ··individually and in his official capacity,
  ··DOROTHY ANDERSON, individually and
  ··in her official capacity, LAURA VELE
  ··BUCHS, individually and in her official
  ··capacity, and KEVIN GLICK, individually and
  ··in his official capacity,
  ··
  · · · · · ··Defendants.
  ··
  ··
  ··
  · · · ··
         ·ORAL AND VIDEOTAPED DEPOSITION OF MICHAEL S. BRIGGS
  ··
  · · · · · · · · · · ··
                       ·Thursday, July 6, 2023
  · · · · · · · · · · · · · · ·9:04 a.m.
  · · · · · · · · ·STIFF, GARCIA AND ASSOCIATES, LLC
  · · · · · ··500 Marquette Avenue, Northwest, Suite 1400
  · · · · · · · · · ·Albuquerque, New Mexico 87102
  ··
  ··
  · · · ·PURSUANT TO THE FEDERAL RULES OF CIVIL PROCEDURE
  ··this deposition was:
  ··
  ··TAKEN BY:· · ··KATHY L. BLACK, ESQ.
  · · · · · · · · ·ATTORNEY FOR DEFENDANTS
  ··
  ··REPORTED BY:· ·CHRISTOPHER R. SANCHEZ, CCR, CSR
  · · · · · · · · ·New Mexico CCR No. 217
  · · · · · · · · ·California CSR No. 12448
  · · · · · · · · ·WILLIAMS & ASSOCIATES, LLC
  · · · · · · · · ·317 Commercial St., NE, Suite G-101
  · · · · · · · · ·Albuquerque, New Mexico 87102
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·1· ·lawsuit and this lawsuit, I understand that there was -- the

·2· ·Department of Justice had serious concerns about how the

·3· ·University of New Mexico handled allegations of sexual assault.

·4· · · · · ··Q.· ·Do you have knowledge that they specifically had

·5· ·concerns about male students and sexual misconduct against

·6· ·female students?

·7· · · · · ··A.· ·That's my understanding.

·8· · · · · ··Q.· ·Have you read the -- there's two documents that

·9· ·were related to the DOJ investigation.··One was a findings

10· ·document issued by the DOJ.··I think it was in -- I don't

11· ·exactly remember the date, but I think it was in early 2016.

12· ·Have you read that document?

13· · · · · ··A.· ·I read that document shortly after the OEO

14· ·investigation against me started, but I have not read it since.

15· · · · · ··Q.· ·Okay.··So there was the findings document and

16· ·then there was an agreement, I understand it, between the

17· ·university and the Department of Justice.··Have you read

18· ·that?

19· · · · · ··A.· ·I have not.

20· · · · · ··Q.· ·Did you meet Joy VanMeter at any time prior to

21· ·the Executive MBA program?

22· · · · · ··A.· ·Not to my knowledge.··Or I should say, not to my

23· ·recollection.

24· · · · · ··Q.· ·Okay.··And
                          And when did the Executive MBA program


    -
25· ·begin?
     begin?


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·1· · · · · ··A.· ·I believe it was the summer of 2014.

·2· · · · · ··Q.· ·What
                   What did that program entail?··I'm looking for,

·3· ·like,
     like, how often did you meet?

·4· · · · · ··A.· ·We
                   We met every Friday and Saturday for two years.

·5· · · · · ··Q.· ·And
                   And the program, as I understand it, ended in the

·6· ·summer
     summer of 2016.

·7· · · · · ··A.· ·Yes.··Our
                   Yes.··Our last day was July 30th, 2016.

·8· · · · · ··Q.· ·How were you selected for the EMBA program?

·9· · · · · ··A.· ·I applied for it.

10· · · · · ··Q.· ·Was that something that was open to all employees

11· ·at UNM?

12· · · · · ··A.· ·It was open to anyone inside and out of the

13· ·university.

14· · · · · ··Q.· ·I see.··And UNM paid for it?

15· · · · · ··A.· ·I applied for a scholarship.

16· · · · · ··Q.· ·And that scholarship -- you got a scholarship?

17· · · · · ··A.· ·I did receive a scholarship.

18· · · · · ··Q.· ·From the university?

19· · · · · ··A.· ·From the university, yes.

20· · · · · ··Q.· ·Do you know if Joy VanMeter was on a

21· ·scholarship?

22· · · · · ··A.· ·I do not.

23· · · · · ··Q.· ·Do you know what job Joy VanMeter had with the

24· ·Department of Orthopedics?

25· · · · · ··A.· ·To the best of my recollection, she was a program


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·1· ·forth, but never really got to know the other team members that

·2· ·well because we were always focused either on class or working

·3· ·with our teams.··So there really wasn't an opportunity to

·4· ·really get to know and hang out with others within the program

·5· ·since we were kind of busy with our work lives, our lives and

·6· ·our schooling.

·7· · · · · · · · ·But in July, at the end of the program -- and

·8· ·when I specifically say July 30th when we went out, Joy and I

·9· ·sat next to each other at the bar and we got to talking and

10· ·just got to know each other a lot more and didn't realize that

11· ·we seemed to have some things in common.··You know, I think

12· ·that it was nice to get to know her better.··She
                                                  She sat across

13· ·from me for two years
                     years, but it was interesting that, you know,

14· ·during that afternoon I felt like I got to know her a lot more.

15· · · · · · · · ·And then we just stayed in touch over a few

16· ·months and started communicating, started meeting routinely for

17· ·beers, and, you know, I felt that we started to develop a very

18· ·close relationship, friendship.

19· · · · · ··Q.· ·Were you interested in a romantic relationship

20· ·with her?

21· · · · · ··A.· ·At first I did not think that that was a

22· ·possibility, but as we continued to meet, I certainly felt that

23· ·there was a possibility for a romantic involvement.

24· · · · · ··Q.· ·And you knew she was married.

25· · · · · ··A.· ·She indicated that she was married.


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·1· ·moved to California?

·2· · · · · ··A.· ·I did.

·3· · · · · ··Q.· ·And it was rented out?

·4· · · · · ··A.· ·No.

·5· · · · · ··Q.· ·No?··You just kept it?

·6· · · · · ··A.· ·I kept it.

·7· · · · · ··Q.· ·And you said that you rented the home in

·8· ·California.··It was owned by Chapman?

·9· · · · · ··A.· ·Correct.

10· · · · · ··Q.· ·Good.··I just want to make sure I understand.

11· ·Well, like I said, I pulled them off of Zillow, so I thought it

12· ·might help us talk about it.··So let's kind of focus on things

13· ·that happened before you and Ms. VanMeter went to the home,

14· ·okay?

15· · · · · ··A.· ·Okay.

16· · · · · ··Q.· ·There
                   There are a lot of documents in this case and

17· ·they
     they all seem to say that you met at Matanza that afternoon
                                                       afternoon.

18· ·Is
     Is that correct?

19· · · · · ··A.· ·That's correct.

20· · · · · ··Q.· ·And that's October 14th of 2016.··You met at

21· ·around
     around 2:00?

22· · · · · ··A.· ·Around 2:00, yes.

23· · · · · ··Q.· ·And whose idea was it to have a drink that day?

24· · · · · ··A.· ·I believe we talked about it mutually previously
                                                         previously.

25· ·I
     I don't recall the specifics of who initiated the actual


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·1· ·meeting
     meeting that day.··I don't recall.

·2· · · · · ··Q.· ·But as you said earlier, it wasn't uncommon to go

·3· ·to
     to Matanza?

·4· · · · · ··A.· ·No.··It was a routine thing.··I know that it was

·5· ·routine.

·6· · · · · ··Q.· ·Do you recall how many beers you drank that day

·7· ·at Matanza?

·8· · · · · ··A.· ·It was approximately one-and-a-half.

·9· · · · · ··Q.· ·And Ms. VanMeter how many did she have?

10· · · · · ··A.· ·Approximately one-and-a-half.

11· · · · · ··Q.· ·So you left with beer in the glass?

12· · · · · ··A.· ·We did.

13· · · · · ··Q.· ·All right.··What was Joy VanMeter wearing that

14· ·day, do you recall?

15· · · · · ··A.· ·All I recall is that she was wearing a dress.

16· · · · · ··Q.· ·What type of dress?··Can you describe it a little

17· ·more?

18· · · · · ··A.· ·Probably three-quarter-length with a wrap-around.

19· · · · · ··Q.· ·So it literally was a wrap-around dress.··It

20· ·wraps around and ties.

21· · · · · ··A.· ·Well, I think it was a dress that had a tie to

22· ·it, but I don't recall the specifics of it.

23· · · · · ··Q.· ·Did it have a zipper in the back?

24· · · · · ··A.· ·I do not recall.

25· · · · · ··Q.· ·Do you recall the color?


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·1· · · · · ··A.· ·I believe it was blue.

·2· · · · · ··Q.· ·Do you recall her wearing any jewelry?

·3· · · · · ··A.· ·I don't recall.

·4· · · · · ··Q.· ·Would you say that she was dressed in a sexually

·5· ·suggestive manner that day?

·6· · · · · ··A.· ·I would not know how to characterize that.··She

·7· ·looked like she normally would look.

·8· · · · · ··Q.· ·Had she come from the office?

·9· · · · · ··A.· ·She had.··Well, I don't know.··I don't know where

10· ·she came from.

11· · · · · ··Q.· ·Did you see any bruises on her legs?

12· · · · · ··A.· ·I did not.··I was not looking for bruises on her

13· ·legs.

14· · · · · ··Q.· ·What were you wearing that day?

15· · · · · ··A.· ·I don't recall.··I believe it would have been

16· ·slacks and a dress shirt.

17· · · · · ··Q.· ·Is that what you typically wore to the office?

18· · · · · ··A.· ·Yes.

19· · · · · ··Q.· ·Even on a Friday?

20· · · · · ··A.· ·On Friday I generally wore jeans.··So if it was a

21· ·Friday, there was a chance that I was wearing jeans.

22· · · · · ··Q.· ·Understood.··Okay.··So
                                       So my understanding of what

23· ·occurred
     occurred that day is that there was a discussion at Matanza

24· ·about
     about the fact that you had just purchased a new home.··Is that


    -
25· ·right?
     right?


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·1· · · · · ··A.· ·That's correct.

·2· · · · · ··Q.· ·Whose idea was it to go visit the home?

·3· · · · · ··A.
              A.·· ·It was Joy's
                           Joy's.

·4· · · · · ··Q.· ·And my understanding is then you left -- as you

·5· ·say you had a drink-and-a-half, you left some beer in the

·6· ·glass, and then you each drove in your own personal cars to

·7· ·your home.··Is that correct?

·8· · · · · ··A.· ·Correct.

·9· · · · · ··Q.· ·I live in High Desert, so I know it takes a

10· ·little while to get up there from down near UNM.

11· · · · · ··A.· ·Correct.

12· · · · · ··Q.· ·Okay.··Do you remember what kind of car she

13· ·drove?

14· · · · · ··A.· ·It was a red sedan, older model.

15· · · · · ··Q.· ·And what kind of car did you have at that time?

16· · · · · ··A.· ·A Ford Fusion.

17· · · · · ··Q.· ·Were the cars parked at UNM or were they parked

18· ·at the bar or --

19· · · · · ··A.· ·They were both parked at the bar.

20· · · · · ··Q.· ·Okay.··Did she follow you or did she find your

21· ·house some other way?

22· · · · · ··A.· ·I gave her my address and we both went our own

23· ·routes, I believe.··She did not follow me.

24· · · · · ··Q.· ·All right.··Let's turn to Exhibit Number 1, which

25· ·is the Albuquerque Police Department report on the events of


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                                                                                                       PLAINTIFF'S
                                                                                                         EXHIBIT

                                                                                             1
                                                                                                         20
 1

 2

 3

 4
 5

 6

 7
 8
                          TRANSCRIPTION OF AUDIO-RECORDED
 9                     TELEPHONIC INTERVIEW OF MICHAEL ELLIS

10
11

12
13

14
        REPORTED BY:
15
                              ANNE DEHON, CCR #263
16                            Bean & Associates, Inc.
                              201 Third Street NW, Suite 1610
17                            Albuquerque, New Mexico 87102
                              (505) 843-9494
18

19
20      JOB NO:             621N

21

22
23
   O                               
24           
25

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    1                     MR. ELLIS:     Hello.

    2                     DETECTIVE SPINKS:        Hey, is this Michael?

    3                     MR. ELLIS:     This is.

    4                     DETECTIVE SPINKS:        Hey, this is Detective
    5     Spinks.           How are you?

    6                     MR. ELLIS:     Good.     How are you doing?

    7                     DETECTIVE SPINKS:        Hey, I'm good.               Sorry,
    8     I'm running a little late.                My last interview went

    9     a little long today.

   10                     MR. ELLIS:     No worries.
   11                     DETECTIVE SPINKS:        Is now a good time?

   12                     MR. ELLIS:     Yeah, perfect.
   13                     DETECTIVE SPINKS:        Cool.            And like I said, I

   14     don't think this is going to take very long.                             I
   15     just had a couple of questions for you.
   16                     MR. ELLIS:     Okay.

   17                     DETECTIVE SPINKS:        So, as part of my
   18     investigation, I'll be looking to add to the report
   19     anybody who has knowledge of, you know, what

   20     happened to Joy.             And as her husband, I'm sure that

   21     she talked to you about what happened that

   22     afternoon --
   23                     MR. ELLIS:     Uh-huh.

   24 O       DETECTIVE
                        SPINKS:
                                 -- early evening,
           
   25  whatever it was. So can you just kind of recap
      
      
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     1      what she told you happened?

     2                      MR. ELLIS:    Yeah.   So -- and do you want

     3      like -- when do you want the timeline to start,

     4      from the time that she got home?
     5                      DETECTIVE SPINKS:     Like, well --

     6                      MR. ELLIS:    That morning?

     7                      DETECTIVE SPINKS:     Well, did anything --
     8      normally what I would say is just whatever it seems

     9      like was significant.             Like if you had knowledge of

   10       something before she got home or if something
   11       significant happened before she left the house,

   12       just whatever seemed significant to you.

   13
   ■
   14
                            MR. ELLIS:
                                          -
                                          Okay.   You know, so, you know,

            she and I had had fight a that day, starting about


  ·-
   15
   16

   17
            midday.
                            DETECTIVE SPINKS:

                            MR. ELLIS:
                                                  Uh-huh.

                                          And I think she probably told


   ••
   18

   19
            you what that was about.
                            DETECTIVE SPINKS:     She didn't go into a lot


    ••
   20

   21
            of detail about it.            Could you just maybe fill in

            the blanks about what you guys were arguing about?

   22                       MR. ELLIS:    Yeah.   So, you know, I had been

   23
     ••     in a play, and in the play I had to kiss a girl and

   24 O it irritated
                    her.
                           It bothered her. And so -- and,


      •
            
   25 you know, I had been doing this play for a little


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 1     while, you know, so this argument was not a new


••
 2
 3
       argument.             But that morning she had seen -- there

       was a promotional picture of the play in one of the


 ••
 4
 5
       free newspapers out there, and it was a picture of
       this girl kissing me on the cheek and it pissed her


·-
 6
 7
 8
       off.

                       DETECTIVE SPINKS:
                       MR. ELLIS:
                                             Okay.
                                      And so she was upset about that.


••
 9
10
       And then, you know, kind of throughout the day

       she -- she and I didn't have much contact, but she


••
11

12
       told me -- she texted me like, I don't know, around

       midafternoon or so saying that she was going to go


 •
13
14
       out to drinks with this guy Michael.

                       DETECTIVE SPINKS:     Uh-huh.
15                     MR. ELLIS:     And that's not atypical.                     She
16     goes out and grabs a beer or two or something after

17     work sometimes with friends, and this guy was one
18     of them.            So I said, fine, whatever.                   And then I
19     said, you know, just, please, be home by 6:00

20     because I have to be at the theater at 6:30.

21                     And then I didn't hear from her, didn't hear

22     from her, didn't hear from her, and then finally at
23     6:10 I texted her and I said, you know, it's 6:10

24 O and you aren't
                    home.
                           You know, I'm going to be --
         
25 I'm taking our daughter Chloe with me to the


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                                                                                          5


 1     theater.            You know, I'm going to have my dad come

 2     pick her up and I'm going to be staying at my mom's


••
 3

 4
       house tonight because I was pissed that she was

       late, you know, and we had been arguing and stuff


·-
 5
 6

 7
       all day and I figured it was better just to go stay

       at my mom's house.

                       DETECTIVE SPINKS:     Sure.
 8                     MR. ELLIS:     And so, within like a minute or

 9     two of me actually sending that text, the dog

10     starts barking, which is what he does when somebody
11     is in the front yard.             And I see Joy's car parked

12     not in our parking lot but just kind of adjacent to
13     our parking lot, and Joy is staggering up the

14     driveway.             And then this guy Michael is behind her,
15     kind of by the car.             And he had -- you know, it
16     looked as though he had driven her home.

17                     And I thought she was just shit-faced drunk.
18     Her hair was wet.             Her clothes -- you know, she had
19     the dress on that she left, you know, in that

20     morning, and she could barely -- she could barely

21     walk up the driveway.             Michael said to me, hey,

22     she's not doing very good, and I said, thank you,
23     and then -- because I had planned to go stay at my

24 O mom's
           house,
                  I went in and grabbed my bags and came
         
25 back out.


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                                                                                         6


  1                     You know, and they were all in the front

  2     room.         I went in to grab my bags, and by the time I

  3     kind of got there she was sort of by the door.                              She


  ••
  4
  5
        had made it all the way up to the door.
        grabbed her keys, actually, out of her hand.
                                                                       And I
                                                                               I

  6
  7
   •    grabbed the car keys out of her hand, and she

        started trying to tell me to leave Chloe there, and
  8     she wasn't making a lot of sense.                        She was like --

  9     her speech was kind of slurry.                   She was like, I'm

 10     fine to watch her.
 11                     She couldn't really stand on her own.                      She

 12     was propped up -- she was propping herself up on
 13     one of our chairs that she had there leaning

 14     against, and her legs looked like they were just
 15     kind of dangling behind her.               And by the time I had
 16     kind of -- by the time she had walked through the

 17     door and I had taken her keys from her, because I
 18     didn't want her driving --
 19                     DETECTIVE SPINKS:    Uh-huh.

 20                     MR. ELLIS:    -- and all that, I came out and

 21     Michael was gone.            He was nowhere to be seen.

 22     Chloe was crying.            You know, I had picked her up
 23     and I didn't really say -- I didn't say much to Joy

 24 O because
              I was  upset,
                              and I just kind of had, you
          
 25 know, the baby and all of our bags in the car. I


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 1      came out, looked for the car.                    Michael was nowhere

 2      to be seen.               Put the kid in the car, slammed the

 3      door, and then I left.               And as I was pulling out, I

 4      saw him walking up the block on another -- on
 5      Claremont, which is the street directly north of

 6      us, you know, talking on his cell phone.                                That's

 7      the last I saw of him.
 8                      And like I said, I just figured -- I figured

 9      Joy was really drunk because I've seen her -- you

10      know, I've seen her really, really drunk before,
11      and this was a little bit different.                               And, you

12      know, she didn't -- I had never seen her quite like
13      this.

14                      DETECTIVE SPINKS:       Uh-huh.
15                      MR. ELLIS:       So -- so then we did not really
16      talk.         I spent the night with the baby at my mom's


--
17


•
18
        house.          You know, we didn't really talk until
        midday, and she was texting things and she was


••
19

20
        like -- she texted me and said, I think I was

        drugged last night.               She said, you know, I'm glad


 •
21
22
        you took Chloe.               I think I was drugged last night.

                        And I was like, sorry, like I didn't know,
23      you know, what to say.               And I was still kind of mad


 ••
24 O and I couldn't
         
                    tell if she was kind of being -- if
25 she was just like, you know, using hyperbole or


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                                                                                         8


 1     something.

 2                     And so finally she started texting me, like

 3     I can't remember this, I can't remember that.                               I'm

 4     like, wait, wait, hold on.              So I actually called
 5     her, and what she told me -- she started kind of

 6     running through the timeline of events.                           And what

 7     she told me on the phone was basically that they


 ••
 8

 9
       had gone to this restaurant in Nob Hill, Matanza.

       She had two beers over the course of a few hours,


•
10

11
       and then they both drove to his house in separate
       cars.         And he had beaten her there, and he kind of


••
12

13
       met her at the door with -- or he met her with a
       beer in his hand in a glass that had orange juice


·-
.
14

15
16
       in it.

                      ~
                       And -- you know, beer and orange juice.
                      And she's like, wow, that was fast.
       said that he was like giving her a tour, and they
                                                                              And she



17     were drinking a beer as he was giving her a tour of
18     their house.              And then what she told me was that
19     they were just chatting on the couch and just about

20     home buying stuff, you know, and then -- and

21     whatever else, just kind of chitchat.                          And then all

22     of a sudden she got to go to the bathroom and
23     puked.          Well, she was peeing, actually, and then

24 O she turned
                 around
                        and
                            threw up.                     And then she's
         
25 like, okay, that was weird.


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 1                     She came back out and they started

 2      chitchatting again, and then -- as she described

 3      it, you know, things kind of got confusing to her

 4      and the room started spinning and she kept getting
 5      up and having to go to the bathroom to throw up.

 6                     And this had happened a couple of times, and

 7      then finally she said that he walked into the
 8      bathroom while she was throwing up and she said,

 9      you know, you need to go -- you need to go find

10      somebody to hang out with that can -- that can
11      handle their liquor better.             She said, I've never

12      gotten this sick off of three beers before.
13                     DETECTIVE SPINKS:     Uh-huh.

14                     MR. ELLIS:     And she doesn't quite remember
15      what he said.            He kind of laughed it off like, ha,
16      ha, no big deal, I understand.                  And then she said

17      that things got very confusing.                   And she had thrown
18      up on her dress, and he said, here, let me help
19      you -- let me help you with this.

20                     And then he turned on the shower and took

21      her dress off.            And she never told me at what point

22      he took his clothes off, but at one point he was
23      fully naked according to her.

24 O                 DETECTIVE
                               SPINKS:
                                            Uh-huh.
             
25                     MR. ELLIS:     She said that he forced her up


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                                                                                            10


 1      against like the counter where the sink is and


 •-
 2
 3
        started kissing her and putting his fingers inside

        her.

 4                      DETECTIVE SPINKS:     Okay.
 5                      MR. ELLIS:     And what she described to me is

 6      she was trying to swipe his hand away and she

 7      couldn't.             She was trying to tell him to stop, but
 8      she wasn't sure if it was just thoughts coming out

 9      or if it was words.             And she remembers thinking

10      that this was all very strange.
11


••
12
                        He got her in the shower at some point.

        at some point in there said, you know what will
                                                                                         •He



13      make you feel better is if you brush your teeth,


 ••
14

15
        and gave her a toothbrush and then somehow she said
        that, you know, she told him, I have to get home to

16
17
  •     my daughter, I have to get home.

                        And so he kind of -- she said that, while
18      she was in the shower, he was looking at her like
19      he was very pleased with himself.                        Once she

20      finally got -- well, once she got out of the shower

21      she said that he dried off her hair in a very --

22      the only way I can describe it is sort of a
23      fetishistic, possessive way, like it wasn't how you

24 O would
           dry somebody's
                          hair, but there was something
         
25 kind of -- I don't know about a ritual about it,


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                                                                                         13


    1     the driveway.

    2                     DETECTIVE SPINKS:    Okay.

    3                     MR. ELLIS:    He kept his distance.                He did

    4     not -- he didn't -- he made it -- he never even
    5     made it halfway up the driveway to the house when I

    6     was outside, and then he just like snuck out of

    7     there.
    8                     So that's pretty much -- so this is what she

    9     told me on the phone, this business of the red

   10     thing that she remembered this morning, him pushing
   11     her up -- up to the porch.             She also remembered

   12     that later and told me later.
   13                     But, anyway, when we had had -- on Saturday

   14     when she kind of described events to me on the
   15
   16

   17
         -phone, you know, that's basically what she said.
          And I started to freak out and I got mad, and I was

          like, you know, this happened because you were                          -
   18     pissed at me and you did, you know, whatever.                          I
   19     kind of was a dick and lost my cool a little bit.

   20     And then -- and I said, you know, whatever, like we

   21     need a break or something like that.

   22                     And I hung up and I texted her a little bit
   23     later and I started to -- I forget if I texted her

   24 O or called
                  her  or something
                                      later in the afternoon
            
   25 because I was just planning on keeping Chloe with


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 1     me again at mom's house for the night on Saturday.

 2     And I started to talk to her and she was like

 3     really agitated and I started to fear for her life.

 4     I was afraid that she was going to hurt herself,
 5     and I was afraid that she was going to get, you

 6     know, the spare set of car keys and drive somewhere

 7     and I didn't know where it was going to go.
 8                     So, when I got home -- you know, I panicked

 9     and I drove home from my mom's house and I found

10     her in the house.           I convinced her to stay.                   Found
11     her in the house.           She was a wreck.                 And that's

12     when I took her to the MHC.            And that was maybe
13     5:00 or so on Saturday afternoon.

14                     And then I had to go again to this play at
15     6:00, and I didn't see her again until Saturday
16     night, I guess.           And in the meantime the doctor had

17     called me and kind of gave me a rundown of what all
18     was going on with her.           So that's kind of -- that's
19     kind of the events as I remember them over the

20     weekend.

21                     DETECTIVE SPINKS:   Okay.           So -- and just --

22     I mean, pretty much what you're telling me is
23     matching up with everything that Joy and I talked

24 O about
           in our interview.
                             Just for some
         
25 clarification, when you initially -- when you first


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  1                     MR. ELLIS:     Gotcha.      All right.

  2                     DETECTIVE SPINKS:        While I got you on the

  3      phone here, let me ask you one more thing.

  4                     MR. ELLIS:     Yeah.
  5                     DETECTIVE SPINKS:        And, again, this is me

  6      playing devil's advocate because, if this were to

  7      go to trial, this would definitely come up.                             So,
  8      with regard to you and your wife's argument and she

  9      was upset with you about kissing this other girl in

 10      the play -- and that's not something she mentioned
 11      to me in the interview.               I knew you guys had an

 12      argument.            I don't know what it's about.                But I
 13      could easily see that the defense argument is going

 14      to be that she was just trying to, you know, get
 15
 16

 17
         -
         even --
                        MR. ELLIS:
                                      -Right.

                        DETECTIVE SPINKS:        -- and maybe things went
 18      further than she wanted but that she put herself in
 19      that situation.            Is there anything in your wife's

 20      past or anything that your wife has -- during your

 21      argument, would you have any reason to believe that

 22      she purposefully put herself in that position even
 23      if it did go further than she wanted?

 24 O                 MR.
                           ELLIS:
                                   Absolutely not.
              
 25                     DETECTIVE SPINKS:        Okay.


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 1     going on between us at all.               You know, since --




      -
 2     again, and I'll just go ahead and come out and say

 3     it.       One of the things that -- because you're going

 4     to end up reading all of her text messages anyway,
 5     and this was kind of our concern.                        And I do

 6     understand that this is something that the defense

 7     could discover and so just to kind of preempt any
 8     of that, one of the things that bothered her -- two

 9     things were going on and this will be corroborated

10     by the MHC medical report.              One, she was having a
11     major depressive episode, which I don't know if she

12     disclosed that to you or not.
13                     DETECTIVE SPINKS:      Something like that,

14     so --
15                     MR. ELLIS:     Yeah.   And what the psychiatrist
16     at the MHC told me was that it was -- you know, it

17     was something inside her head that she was not --
18     you know, she was not -- she's not in control over
19

20

21
      -it.       It's brain chemicals making her -- making her

       pissed off or whatever and making her unable to

       deal with stress.

22                     And then my kissing this girl was a
23     stressor.             Immediately prior to my doing this play,

24 O there
           was a big
                     kind
                          of tumultuous event with her
         
25 own mother. She was supposed to move in here with


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 1     us and she didn't, so she was all screwed up.                                 Then

 2     I take this play on.            I'm kissing this girl and her

 3     brain chemicals are off so she gets really upset

 4     and kind of fixates on me kind of kissing this
 5

 6

 7
      -girl.

                       And she asked me in some text messages to

       me, you know, like how would you feel -- things
 8     like how would you feel if I went and kissed some

 9     guy from work?            And she even said, how would you

10     feel if I went and kissed Michael?                           You know, I'm
11     going and having a beer with him.                      How would you

12     feel if I did that?
13                     DETECTIVE SPINKS:    Sure.

14                     MR. ELLIS:    And I said, don't do this,
15     you're being -- basically, you're being a shithead.
16     And she's like, no, there's no feelings there, but

17     it would be the equivalent.             You would feel the
18     same as me --
19                     DETECTIVE SPINKS:    Sure.

20                     MR. ELLIS:    -- if that's how -- if that's

21     what happened.            And to read those text messages you

22     might think, oh, well, here she's implicating
23     herself that she's going to go like anger fuck this

24 O guy, you know, just to get back at her husband for
         
25 kissing this girl and all this.


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   1     Friday he said, you look really nice today, is what

   2     he told her, and she said that was the first time

   3     he had ever complimented her appearance or anything

   4     like that.
   5                     DETECTIVE SPINKS:     Uh-huh.                 So, I mean, your

   6     original concern was about those text messages.                             I

   7     mean, I will explain to both of you, and while I
   8     have you on the phone I'll explain it to you now,

   9     Joy has to sign a permission to search form before

  10     I can take it.            Those -- I mean, those messages
  11     that you were describing could be considered

  12     exculpatory, so I would be obligated to provide
  13     those to -- as part of my report.

  14                     So, in other words, the DA would know they
  15     exist while they're trying to make the decision
  16     whether or not to file charges against him.

  17                     MR. ELLIS:    Okay.
  18                     DETECTIVE SPINKS:     I say that only because I
  19     don't want that to come out later and, you know,

  20     you be under the impression that I'm just getting

  21     rid of anything that doesn't directly link, you

  22     know, Joy and Mr. Briggs.
  23                     MR. ELLIS:    Okay.

  24 O                 DETECTIVE
                                 SPINKS:
                                              I would have to include
        
  25 those.              But I say that with, you know, the


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 1     disclaimer that our case certainly wouldn't be

 2     resting on that.             I feel like, even if Joy admitted

 3     that she went to his house because she was mad with

 4     you and, you know, had every intention of kissing
 5     him just to get back at you, that things

 6     obviously -- you know, and we can prove through a

 7     lot of the behavior that day that things went
 8     further than what she wanted it to and there was

 9     obviously no consent for how far it went.

10                     MR. ELLIS:     Okay.
11                     DETECTIVE SPINKS:      So I wouldn't -- as far

12     as, you know, the case goes, I would not spend too
13     much time worrying about things that were texted

14     back and forth between you guys, but I would be
15     obligated at the very least to provide them to the
16     DA so that they can consider that when they're

17     trying to decide if they're going to file a charge
18     against him.
19                     MR. ELLIS:     Okay.

20                     DETECTIVE SPINKS:      And just knowing that,

21     you guys certainly don't have to give me permission

22     to go through the phone.               I do think that the text
23     messages that I'd be most interested in are things

24 O like she told  me that
                               she tried to text you and
         
25 sent like a garbled mess of a message to somebody


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                                                                                                                          PLAINTIFF'S
                                                                                                                            EXHIBIT


                                                                                                                             21
               O ffi ce of Equal Opportunity




          January 5, 2017

          Michael Briggs

          Sent via email to: abqbriggs@gmail.com

          Re: Investigative Issues (OEO# 1-2016-11-66)

          Dear Mr. Briggs:

          On December 14, 2016, you were notified a complaint had been filed against you and the Office of Equal
          Opportunity (herein OEO) had accepted jurisdiction of the concerns raised. This correspondence is to
          provide notice of the allegation raised against you.

          DISCRIMINATION BASED ON: Sex/Gender

          ALLEGATION:
             1) On or about October 14, 2016, you subjected Joy Van Meter, UNM Staff, to unwanted sexual
                contact.

          APPLICABLE UNIVERSITY POLICY:
             • University Policy #2740 Sexual Violence and Sexual Misconduct

          This policy can be found on the UNM Policy Office website at http://policy.unm.edu/university-
          policies/index.html.

          We welcome the opportunity to speak with you in person, and as a reminder, you are welcome to bring any
          support person you would like with you. Please let us know if you have any questions, additional
          information, or if you want to discuss any of this. You can reach me at 505-277-5251 or
          laurabuchs@unm.edu.




         (~~
          Laura Vele Buchs
          EEO Compliance Specialist

          cc: file




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                                                                                                                               PLAINTIFF'S
                                                                                                                                 EXHIBIT


                                                                                                                                  22
    OFFICE <?/' EQUAL OPPORfUNITY


February 17, 2017 (Edited February 24, 2017)

Michael Briggs

Sent via email to: MBriggs@salud.unm.edu

Re: Investigative Issues (OEO# I-2016-11-66)

Dear Mr. Briggs:

This correspondence is to confom and ensure we understand your verbal responses to the allegations of
sexual assault.

When you spoke with Laura Vele Buchs (Vele Buchs), EEO Compliance Specialist, Office of Equal
Opportunity (OEO), on January 26, 2017, she reviewed this Office's investigative procedure, your rights
and responsibilities, confidentiality, and the University's anti-retaliation policy. You brought your legal
counsel with you and chose not to respond to the allegations at that time. You, and your attorney, met
again with Vele Buchs, on February 3, 2017, at which time you made a verbal statement in response to
the allegations.

This Office will record your version of the events regarding the allegations raised as outlined below. If
we have missed something, or incorrectly recorded any aspect of your report, please let us know
immediately.
Please return this letter confirming you agree the OEO has recorded your version of the events regarding
the allegations raised against you as outlined below. Please return this letter with your signature no
later than five (5) working days of the date of this letter. This office will move forward with an
investigation of the allegations without your signed response should you not respond. If you need an
extension for good cause, please let me know.

Please let us know if you have any questions, additional information, or if you want to discuss any of this.
You can reach me at 505-277-5251 or laurabuchs@unm.edu.



~;(&~-
t'~Buchs
EEO Compliance Specialist

cc:file




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OEOff I-2016-11-66
February 17, 2017

Michael Briggs (herein Respondent), Executive Research Operations Officer, Office of Research, Health
Science Center (HSC), described events regarding the allegations of subjecting Joy Van Meter
(Complainant), Program Specialist, Department of Orthopedics, to unwanted conduct of a sexual nature
as outlined below.

    •  Respondent and Complainant have known each other for a little over two years. They met as
       students in the UNM Executive MBA Program from which they graduated in July 2016.
    • Respondent does not oversee any work Complainant does and has no direct involvement in
       Complainant's work or role on campus. Anything related to research that would affect
       Complainant goes through a committee with whom Respondent has no influence.
    • Near the end of July 2016, before they graduated, Respondent and Complainant met on HSC
       Plaza and stopped to talk. Complainant mentioned she was doing a construction project for her
       department and Respondent said he could put her in touch with people who could be helpful
       because he has worked with them in the past. Respondent has no authority over Complainant's
       construction project and his assistance was not part of his official job responsibilities.
    • Respondent reported he and Complainant were "just general classmates." The last day of class,
       July 30, 2016, everyone from the program went out together. As they were leaving Complainant
       and her husband gave Respondent a ride to his car.
    • Respondent and Complainant fonned a "closer friendship" with time. They met in early August
       on a Friday afternoon for beers and then continued to meet another 4-5 times on Frida~
       afternoons at Matanza New Mexico Local Craft Beer Kitchen for beers. Most of the time
       Complainant initiated the contact that led to them meeting. They spent 2-3 hours together each
       time they met at Matanza and both consumed the Marble Red. Most of the time they only had
       two beers each; on one occasion they stayed longer and had three beers each.
    • During these social meetings at Matanza, Respondent and Complainant started confiding in each
       other and shared intimate details of their lives. ResP.ondent had gotten divorced during the
       program and ComP.lainant shared she and her husband almost got divorced several times while
       they were in the MBA rogram .
    • On October 14, 2016, Complainant and Respondent met at Matanza at 2:00 pm. Complainant
       talked more about her marital troubles. She was struggling with jealousy because her husband
       was an actor and see would continually see him kissing actresses in plays. Complainant asked
       when she got to see Respondent's new house, and Respondent said, "Anytime," and reported he
       was "surprised by the request." At this point in their conversation, their second beers had
       arrived, they each consumed "about half the second beers within 3-5 minutes ofreceiving them,"
       and Complainant said, "Let's go now.'' They lefl Matanza at 2:50 pm without finishing their
       second beers.
     • Respondent reported it was about a 20 minute drive to his house from Matanza and he arrived
       first, at approximately 3: 15 pm. Upon arrival, Respondent "cleaned up a little bit.'' When
       Complainant arrived, 2-3 minutes later, he gave her a tour of the house and then asked if
       Complainant wanted a beer, to which Complainant replied, "Yes." Respondent poured two Blue
        Moon beers and added orange juice. At approximately 3:30pm, Respondent and Complainant

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      took their beers and went to sit on the couch in the living room, where they remained for
      approximately one hour, talking and finishing their beers.
   • Respondent asked if Complainant wanted another beer, to which she replied, "Yes," and then
      asked Respondent where the bathroom was located. Respondent pointed Complainant toward
      the bathroom and then went into the kitchen and poured two more beers. Complainant was in the
      bathroom for "a while, about 2-4 minutes," during which time Respondent checked his phone
      messages. Complainant came into the kitchen and told Respondent she had vomited in the
      bathroom. Respondent gave Complainant water and drank one of the beers he had poured.
      Respondent reported Complainant did not want any food.
   • Respondent and Complainant went back to sit on the couch and were talking. Complainant
      complained about the "taste of vomit in her mouth" and Respondent offered for her to brush her
      teeth. Respondent went to the master bedroom to get a toothbrush and brought it out to
      Complainant. Complainant went into the guest bathroom, located right next to the living room
      and kitchen area, to brush her teeth while Respondent waited on the couch.
   • Complainant came out and talked with Respondent again. Complainant appeared self-conscious
      about having vomited at Respondent's house. Respondent reassured her that it "wasn't a big
      deal." Com laint and Respondent continued to talk for close to another hour while he finished
      his beer; from apP,roximately 4:45 m - 5:45 pm. Complainant was drinking water.
      Complainant remained "uncomfortable," and complained about the "smell." She had gotten
      some vomit on herself. Res2ondent offered to Complainant that she could take a shower, which
      she acce ted.
   • Respondent took Com lainant into the master bedroom because the guest bathroom she had used
      to brush her teeth did not have a shower. As they walked into the bathroom, Complainant started
      to untie her dress. At that oint, Respondent asked, "Can I join you?" Com lainant got a "wry
       smile" on her face and said "Yes." Respondent went to turn on the shower because it takes a
       couple minutes to get hot. ComRlainant had undressed herself and stepped into the shower.
       Res ondent went to his closet next to the shower and took off his shoes and clothes. When he
       returned, Complainant was washing her hair and he steQped into the shower.
   • Respondent kissed Complainant and she "responded"; they "made out." Respondent kissed
       Complainant "all over" her body - ''lips, neck, breasts, belly and her vagina". Respondent
       "touched [Complainant's] body in tenns of affectionately hugging her, moving [his] hands up
       and down her thigh and breasts." After Respondent had been in the shower with Complainant
       for a "few minutes," she said, "I gotta go." Respondent was surprised and said, "What?"
       ComQlainant told him, "I gotta go. I have to be home by 6:00 pm." ResQondent rep_Qrted this
       was the "first he knew Complainant had to be home." Res2ondent said, "Okay," and turned off
       the water.
    • Respondent and Complainant got dressed in the bathroom; it was close to 6:00 pm. Respondent
       asked Complainant if she wanted to blow dry her hair, which she declined because of the time.
       Complainant told Respondent it was important for her to get home by 6:00 pm because her



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           husband had to leave for his play at 6:00 pm. Respondent "assumed [Complainant] needed to
           get home to take care of her daughter when her husband left."
      •    Respondent went into the kitchen after getting dressed. Com lainant came into the kitchen and
           asked Respondent to drive her home. Com lainant indicated they (Complainant and her
           husband) only had one car and her husband needed it to get to work. Respondent knew
           Complainant's husband was not staying at home that night because Com lainant had told him
           they had a fight and her husband was going to stay at his mother's house. Respondent offered to
           drive Complainant's car and take an Uber home. Respondent "assumed" Complainant wanted a
           ride home because she had been drinking and was feeling rushed to get the car home by 6:00 pm.
      •    Complainant "navigated" Respondent to her house. When they got close to Complainant's
           house, Respondent asked if she wanted him to "park here and disappear." Complainant said,
           "No, it doesn't matter," and told him to drive to her house.
      •    When they arrived at her house, around 6: 15 pm, Complainant told Respondent to park on the
           street and then she "bee-lined to the house"; Complainant immediately got out of the car, headed
           across the yard towards the front door of the house with her head down, and did not acknowledge
           her husband or Respondent. Respondent walked up the sidewalk and gave Complainant's
           husband her keys. Complainant's husband was holding his daughter. Respondent told
           Complainant's husband, "She's not feeling well and I wanted to make sure she got home okay."
           Respondent immediately left, walked a couple blocks, and then logged in to get an Uber at 6:20
           pm.
      •    Respondent reported Complainant had wet hair and was holding her panty hose and shoes in her
           hand. Respondent felt terrible about the situation because there was no way to not see it "for
           what it was 1." Respondent stated, "It was awful for her and him and everyone."
      •     Later that night (October l 4, 2016) Respondent sent Complainant a text. He thought "everything
           was fine." He also sent her a text in the moming the day following (October 15, 2016).
           Complainant asked about how her husband was when Respondent dropped her off at home.
           Respondent said, "It wasn't good." Respondent told Complainant to explain to her husband she
            was not feeling well and she cleaned up before coming home (to explain the wet hair, pantyhose
            and shoes).
      •     Respondent had "no idea what was going on, but thought [Complainant] and her husband were
            working it out." A week later, Respondent heard from Albuquerque Police Department (APD) a
            police report of criminal allegations had been filed. Respondent was "shocked."
       •    Respondent hired an attorney, who negotiated with Complainant's attorney a restraining order
            with no findings or admittance of wrong doing. No hearing was held.
       •    Respondent denies drugging Complainant.
       •    Respondent has been cooperative with law enforcement. Respondent believes Complainant
            reported to law enforcement Respondent had to carry her into the house, but Complainant's



1
    Respondent described "for what it was" as having engaged in sexual activity.

                                                                                                      Page 4 of 5
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February 17, 2017

       husband reported to law enforcement Complainant walked into the house on her own and
       Respondent gave him her keys. 2
   •   Respondent provided screenshots of text communications between him and Complainant from
       July 30, 2017 to October 19, 2017.


I, Michael Briggs (Respondent), hereby certify I have read the above information and confirm I
agree my responses to the allegations the Office of Equal Opportunity is investigating are as
specified above.




                                                            Date
                                                                     cziz7h    /




2 Respondent did not have a copy of Complainant's and/or her husband's statement to APD.   Respondent's attorney indicated
Respondent learned this information through her law partner, who was told of the "discrepancy between the statements" by
an APD detective.

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                                                                                              PLAINTIFF'S
                                                                                                EXHIBIT
                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO
                                                                                               23
JOY VAN METER (aka VANMETER)

       Plaintiff/Counter-Defendant


V.                                                           No. 1:-CV-00970



MICHAEL BRIGGS,

       Defendant/Counter-Plaintiff



             PRELIMINARY REPORT OF EXPERT WITNESS DAMON FAY

I am a retired Sergeant of the Albuquerque Police Department. My final tour of duty was as a
Sergeant of Advanced Training at the APD Academy. To that, I was responsible for the
advanced training staff that oversaw, monitored and conducted In-Service and specialized
training for police personnel. The Albuquerque Police Department Police Academy is one of
seven academies throughout the state that provides training for other agencies and regional
departments. Additionally, I reviewed and constructed training course curriculum and career
development programs.

My staff and I were charged with the police department's commitment to a continuous process of
training for APD and New Mexico State Law Enforcement Standards. While at the Academy, I
was a citywide supervisor (one of three) for Police Officer Involved Shooting and In-Custody
Death Investigation teams. Prior to that, I was a Field Sergeant with a field force that took calls
for service and responded to emergencies. I was the Area Command back-up Violent Crimes
supervisor. I was Crisis Intervention trained and "I was the Area Command Crisis Intervention
Training Coordinator. I have conducted administrative/personnel investigations in the police
arena.

Prior to this I was a Homicide/Violent Crimes Detective for 14 years. It was in the Homicide
Unit that I investigated the homicides of adults and children, deaths of a suspicious nature, un-
reconciled deaths, civilian use of self-defense and deadly force and police officer use of lethal
and less-lethal force as well as in-custody death and injury. I have testified in Metropolitan, State
and Federal courts as an expert in areas of homicide investigations, pattern injury identification,
Officer-Involved Shooting investigations, In-Custody deaths and police Use-of-Force.
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I am a professional law enforcement instructor and consultant, specializing in basic and
advanced knowledge, skills and abilities of the law enforcement officer. I have instructed
throughout New Mexico and nationwide for more than 20 years. I am a staff instructor for Police
Training Services, Inc. This company delivers high quality training for the law enforcement
officer and their agencies. My curriculum vitae is enclosed with this report.

I am familiar with aspects of police work. I have successfully worked for, and retired honorably
from, the Albuquerque Police Department after more than 24 years of service. I've spent an
additional 13 years as an APD Reserve Officer. I keep current in national trends, standards and
issues relevant to the law enforcement arena. As an active Reserve Officer with the Albuquerque
Police Department, I am current in all areas of qualification and certifications necessary to
maintain the Certification and Commission with the New Mexico Law Enforcement Academy
and the Albuquerque Police Department. I am a currently licensed NM State Firearms Instructor
qualified to teach civilians courses for their state Concealed Carry License. I have taught more
than 525 civilians and honorably separated law enforcement officers to this end. I have co-
authored a book titled, Contact Weapons: Lethality and Defense (2004) that explores injury that
causes death and self-defense counter-measures to avoid fatal injury. I am a law enforcement
qualified instructor for Ground Control and Intermediate Use of Force. I teach civilians self-
defense skills as well.

Most recently, in 2019, I conducted an evaluation and training block to the Albuquerque Police
Department Violent Crimes section, all investigative teams and their related supervisors and
commanders at the contract request of the Mayor of Albuquerque and the Chief of Police. The
evaluation and training were toward the investigations, analysis and conclusions of violent crime
cases and their necessarily related quality in presentation for prosecution.

My opinions are based upon my knowledge, training, research and experience with the standards
of training and skills from nationally accredited procedures and policies.



I have been requested to review certain materials and express opinions concerning the
investigation of an encounter that had both disputed and undisputed facts and circumstances. The
culmination was of certain findings in the administrative venue of the University of New
Mexico. The primary actors were employees; Joy Vanmeter and Michael Briggs.
I reviewed numerous materials that included:
Complaint and Answer and Counterclaim submitted in both New Mexico State Court and United
States District Court
Interviews of Vanmeter, Briggs, Ellis et al
APD Police Report of October 18, 2016 and subsequent supplements
Audio recordings of primary witnesses
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SANE Report
Depositions of Vanmeter, Ellis, Gonzales, Dillenback

USDOJ Letter to President Robert G. Frank-April 22, 2016 Re: Title IX and Title IV
Investigation of University of New Mexico
Field Notes of OEO Investigator Vele Buchs

Preliminary Letter of Determination (hereafter PLOD) from Vele Buchs and Cowan
Letter of Garnett S.Stokes in the Reversal of Conclusion (OEO)
Necessarily related letters from Healthcare Providers



                              ANALYSIS OF EXPERT WITNESS


From the events focused upon, stemming from the afternoon and into the evening of October 14,
2016, Joy Vanmeter presented to SANE nursc(s), Rape Crisis Center and the Albuquerque Police
Department to report a sexual assault. The named suspect was Michael Briggs. The necessary
medical examination in these matters took place and related samples were taken. Injury or areas
unremarkable were noted and all of the cogent information was noted in the medical report.
Similarly, the on-call detective for Sex Crimes, Daniel Spinks was dispatched and began a
preliminary investigation of Criminal Sexual Penetration, NMSA 30-9-11.

Joy Vanmeter was at the APD and Community Family Advocacy Center on October 18, 2016.
She had already been examined via SANE. She was interviewed by Detective Spinks that day.
She would later file a complaint by way of the UNM Office of Equal Opportunity (OEO) and be
interviewed by Investigator Laura Vele Buchs on October 27, 2016. Vele Buchs notified Michael
Briggs on December 14, 2016 of the complaint. He would present for interview, accompanied by
legal counsel on January 26, 2017. Investigations from the criminal aspect and the UNM
administrative action would he taking place variously throughout the time. However, the
criminal suspect interview of Briggs took place on November 17, 2016, about 30 days after the
initial report.

After the SANE nurse report, relevant toxicology and DNA swabbing review, along with
multiple interviews and digital cellphone text examination, Detective Spinks would submit his
report, with no arrest made, to the Office of the District Attorney, 2 nd Judicial District for review
and screening. He would later be supplied a letter of declination from ADA David Waymire. The
DA's Office declined prosecution due to insufficient evidence.
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By the termination of the OEO investigation, the same amount of evidence would have been
available. That is, multiple witness interviews recorded, toxicology results, DNA forensic
evidence determination, records from medical and health providers and most impo1tantly, both
inculpatory and exculpatory evidence.

There were no barriers to collect evidence with a compliant witness(es) and suspect.

However, at the OEO level, their power is inadequate with the inability to compel testimony,
seize records or compel them being brought forth. This case did not employ UNM Police
Department in a parallel investigation.

Police are taught that there are three types of evidence; Physical, Circumstantial and Testimonial.
The inclusion of all three provides the best opportunity for the triers of fact, a judge and jury or
administrators, to reach intelligent conclusions as to guilt or innocence. The same evidence is
sought in administrative investigations. There is no constructive difference. Direct,
Circumstantial and Statistical evidence is sought by the EEOC investigator. In both venues,
circumstantial evidence can arrive at different conclusions by different viewpoints.

Police are taught that the underpinning of all encounters leading to a criminal case is the ethic:
First make the case, then make the arrest-In that order. Always.

 In all matters of administrative actions this applies. The te1m arrest is used euphemistically.
Arrest signifies a type of enforcement action that presents the 'suspect' to a final determination.
There are administrative 'arrests' that take the form of relief from duty or leaves of absence,
leave with or without pay or outright termination, etc. Be it criminal or administrative, the stakes
of a significant change in someone's life are viewed as high.

The investigation of this case by way of the OEO was largely one of character. And history.
There was a lack of DNA or its attendant Touch-Transfer DNA that would have provided
physical evidence of contact. The additional investigation absolutely required in the DNA match
event was how the DNA got there. In this case, the allegation was one of consensual or non-
consensual.

There was the revelation by way of test result that there were drugs found from the urine sample
at the time of the SANE examination. They were prescription drugs all indicated that Joy
Vanmeter takes. They were Diazapem, Nitrazapem, Temazapem, Oxazapem, Sertraline (Zoloft)
and Noradrenaline. Strangely, this issue, along with the consumption of about four beers was not
part of any case analysis.

Determined as well was PTSD-Post-Traumatic Stress Disorder. This issue, important and life-
threatening in possibility, was never incorporated in the OEO investigation. It is never drawn out
as to whether this event was the causation or there could have been the emergence of PTSD from
several traumatic events that Vanmeter would later reveal; domestic violence in her home as a
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young girl, the sexual assault of her mother or her own previous case of sexual battery. There
were no interviews of the health care providers.

Police are taught to think defense when conducting investigations. What might be revealed as a
defense for the accused? If police can isolate one causation from another and assess true
culpability, the complaining witness/survivor/victim would have additional evidence that would
bolster their testimony. This is training for investigators that they must always seek and conduct
an evidence driven investigation. The strength of a police case, any case, will always be revealed
in the cross-examination.

The UNM OEO investigation lacked the necessary and vital recording of interviews. Without
recording, there lacks the framing of the question and its intonation and the response with its
intonation, nouns and verbs used. Its not always what someone says but how they say it. Without
the questions recorded and delivered as a trained technique, there can be the emergence of the
confabulation. This is a memory error whereby gaps and loss of memory are filled in and not
always with the bad intent of the interviewee. It is the solidifying of the story where it may not
exist prior. Vela Buchs provided only notes as answers and nothing more than paraphrasing. This
is catastrophic to a case. Once the witnesses discern what that should be saying or the account
they should be sticking to, the case is forever contaminated.

In the matter of a character witness named Catherine Pennick, there arose a grievous concern that
she was told by Vela Buchs that Briggs 'admitted to wrong-doing.' Pennick says yes and Vela
Buchs spoke of it as a technique to unbalance the witness that comes forward with a preformed
story. It would be contamination nonetheless. Recording would have removed confusion.

Contamination of the primary witness with her husband present was a huge error. Vela Buchs
had both present for the account of one. This contours testimony. And that is contamination for
both. With Michael Ellis, Vanmeter' s husband, present for the interview, his matching of cogent
facts was inevitable. And it need not be dark hearted. A witness with the best of intentions
doesn't have an answer for everything. If blanks are filled in, a memory error takes place and the
confabulation is born. It is however, a blockade to the truth.

Police are taught that there are separate levels of proof as the facts and information of a case
evolve. There is in ascending order: Suspicion, Reasonable belief, Probable Cause,
Preponderance of Evidence and beyond a Reasonable Doubt

If a witness is told that they are already believed and that the investigators have enough, there is
a reliance to stick with the story and everything will be alright. This is witness contamination as
well. This establishes that the proof problem that investigators seek is already formed . It rarely
lS.

With two people, outside of a public eye, no uninvolved third party or surveillance cameras,
there are limited means of gathering the unbiased account. Simply put, these cases are fraught
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with vagueness. Evidence ferrets that out. If it's gathered correctly and without contamination it
bears the truth. One never fits their 'truth' to the evidence, the evidence fits the truth.

What follows are examples of flawed OEO analyses. They are only in part. Due to the
preliminariness of this report, it is not a line-by-line treatise.

Re: OEO Report Analysis VI

Page 17 of28 Paragraph 1: This outlays methodology assessing totality of the record. The record
is not Vela Buchs recording at all. We are left with her notes as to response from the interviewee
and not the question as posed. Her record is her paraphrasing. She cites the audio recording of
police-conducted interviews of Vanmeter, her husband Ellis and Briggs. Her writing reflects the
use of her notes.

Vela Buchs notes preponderance of evidence as the standard in her investigation. Preponderance
is generally used as a civil standard as police have been taught. Police use probable cause to
make an arrest since they are taught that is the criminal standard. Beyond a reasonable doubt is
the standard for conviction. The problem of proof for Vela Buchs lies in the preponderance of
evidence where circumstantial evidence is predominant. Circumstantial allows different
conclusions to be drawn.

According to Dictionary.Law.com: The greater weight of the evidence required in a civil (non-
criminal) lawsuit for the trier of fact Gury or judge without a jury) to decide in favor of one side
or the other. This preponderance is based on the more convincing evidence and its probable
truth or accuracy, and not on the amount of evidence.

Paragraph 3, Page 18: Vela Buchs weighing ofVanmeter's history of conversations with men
regarding sex and juxtaposing it with flirtation possibility with Briggs. There is no known
standard to weigh past imprecise situational talk and define it as un-flirtatious with a present-day
flirt accusation and compare the episodes.

We are left with Vela Buchs trying to get into the subject's heads. She seems to weigh what she
has concluded as the best evidence to confirm or deny belief

Page 19, Paragraph 1: Vela Buchs weighs conversation between Vanmeter and the police in one
case and her husband in another with what Vela Buchs finds as unreasonable belief by Briggs in
yet another. She couches all of this into the sub-text of whether Vanmeter conveyed wanting sex.
Strikingly, she had footnoted that Vanmeter, if she wanted to, had ample time prior to October
14, 2016 to do so. This analysis does not exemplify preponderance of evidence

Page 20, Paragraph continued from Page 19: "Complainant does not remember responding and
believes she was unable to speak when Respondent asked her a question." Vela Buchs, for
instance in this case, is completely inattentive to the effects of alcohol combined with Zoloft that
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may have been in her system. To this, the police did not effectively probe out the effects of
alcohol, Zoloft alone, and alcohol and Zoloft together in normal or excessive dosing. No baseline
was established. We are left with Vela Buchs believing Vanmeter since she can't remember
responding and disbelieving Briggs who gave his memory along with her facial expression. One
may not weigh any more than the other in reality but Vela Buchs makes the determination that
without affirmative question and answers to each and every movement, Briggs is not credible.

By way of evidence in its physical aspects, nothing of substance was dealt with in the OEO
report. Supporting physical evidence tells the story where a human may falter. The issue of
behaviors is so heavily delved into by Vela Buchs as to reasonable, believable, not credible, etc.,
yet nothing about underlying drugs and alcohol which have direct application to the functioning
of the brain.

Regarding Zoloft (Sertraline) alone with alcohol, and not factoring in the Valium family, there
are known and recognized effects.



One such citation is listed.

       Medical News Today, Zara Risoldi Cochrane, PharmD, MS, FASCP, July 2, 2019
       excerpted:

       Zoloft and alcohol both affect the way the brain functions.

       Alcohol is a depressant, meaning it reduces the activity of certain chemical messengers in
       the brain, known as neurotransmitters. Zoloft is a selective serotonin reuptake inhibitor
       (SSRI), meaning that it works by changing the brain's levels of a neurotransmitter called
       serotonin.

       Alcohol reduces neurotransmitter activity and lowers the amount of mental and physical
       arousal or stimulation. This can lead to the following effects:

            •   a lack of muscle coordination, known as ataxia
            •   decreased anxiety
            •   lowered inhibitions
            •   sleepiness or increased drowsiness
            •   impaired memory
            •   trouble thinking clearly
            •   lowered perception of pain
            •   euphoria
            •   low blood pressure
            •   reduced heart rate
            •   death in cases of drinking too much alcohol
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       Zoloft also affects brain chemicals. While alcohol has effects on many neurotransmitters,
       Zoloft specifically affects the balance of serotonin in the brain. Serotonin is involved in
       regulating mood, behavior, and motivation.

Vela Buchs noted a number of these physical and cognitive effects self-ascribed by Vanmeter.
Yet none of it is dealt with in the analysis. To the contrary, Vela Buchs gives credibility where
none can be proven but only relied upon because it seems unreasonable to her.

Page 21 of 28, Paragraph I" Vela Buchs draws attention to the evidence shows "no verbal or
non-verbal cues... " She looks for this yet discounts Briggs description ofVanmeter's non-verbal
cues as having any type of sufficiency. Vela Buchs relies upon "the absence of indicators."

In Paragraph 2: Comparison's from Vanmeter' s history is constant!y drawn upon by Vele Buchs
as evidence of truth. She has compared past sex talk, feelings of attraction, alcohol consumption
(only, not prescription drug use) and responsibility as a mother is brought up as parameters for
the future truth in a matter such as this. When presented with the character referencing by co-
workers, an ex-wife, etc., of Briggs, Vela Buchs brings none of that to bear in her analysis and
conclusions as to his behaviors in this instance. If they are true viewpoints from the witnesses
interviewed, then this situation is never dealt with in the analysis of Vela Buchs as being
anomalous or statistically an outlier.

US-EEOC Investigator Policy, inspiring UNM-OEO investigators, look for direct, circumstantial
and statistical evidence. The latter is probative toward pattern and practice. Vanmeter's pattern
and practice are constantly weighed but not so with Briggs.

In the Credibility section (beginning Page 23 of28) Vela Buchs cites differences in the number
of times one would initiate contact over the other. She cites texts that she viewed all the while
knowing Vanmeter had deleted entire bodies of texts from her phone. Vela Buchs was provided
only what would later deal with those just before the incident. There is not enough sample to
draw the conclusion that she did; that Briggs is not credible.

Upon the revelation that there was a witness availab-le that could provide direct information as to
Vanmeter's behavior, Zach Dillenback, there was no attendant interview conducted by Vela
Buchs. It would be exculpatory.

Detective Daniel Spinks, alone or perhaps along with his Sergeant, made the decision to not
arrest in this matter. That was a trained response where there is enough concern about what
'really' happened. Police make decisions about arrest based upon probable cause which is a 51 %
to 49% proposition. Simply put police are taught that PC is based upon this is probably a crime
and this guy probably did it. Prosecutors have an added canon of not indicting or trying someone
that they feel they do not have a belief in finding guilty beyond a reasonable doubt." This was a
trained response to this case.
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  Laura Vela Buchs, investigating toward preponderance of evidence uses a civil standard that is
  similar to police's use of probable cause. Her investigation does not support it. This investigation
. has so many departures from the techniques that are trained to criminal and civil investigators it
  does not show the revelation of a standard that could be used to effectively change a person's
  life. Something happened that night. After Vela Buchs' and the police investigation, we don't
  know that it rises to the level of an actionable crime.

 The investigation amounts to confirmation bias. Investigators, if they have received competent
 training, are instructed against this and taught measures to avoid and eliminate confirmation bias.

 Confirmation Bias is a mindset: Confirmation Bias is the tendency to perceive and accept
 information that seems to confirm our existing beliefs, while ignoring, forgetting, or explaining
 away information that contradicts our existing beliefs. It is a systematic bias that works
 relentlessly and often subtly to push us in the direction of a desired or preexisting conclusion or
 bias. Worse-it gives us a false sense of confidence in that conclusion. We think we are following
 the evidence, when in fact we are leading the evidence. (Steven Novella, MD. Academic Clinical
 Neurologist)

 The Office of Equal Opportunity at the University of New Mexico, in the matter of Vanmeter
 and Briggs does not employ sound techniques as I have learned them, employed them and taught
 them throughout the United States to criminal, private and administrative investigators. The
 techniques have the capability of doing more harm than good in that they confuse, contaminate
 and confound the search for the tmth. There are not enough indicators of reliability in the
 information gathered and produced into a Preliminary Letter of Determination and its subsequent
 Final Letter of Determination. The investigation was substandard. The lack of training, or more
 to the point, the lack of the application of training in the investigative arena contributed to the
 insufficiency of the investigative truth-seeking. The methods used were unsatisfactory.

 I reserve the right to change or modify my opinions withthe advent of new or previously unseen
 information or evidence.                        _ //
                                                        /
                                                    /




 Damon Fa                                                                       01 October 2019
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                                                                                            PLAINTIFF'S
                                                                                              EXHIBIT
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                                                                                              24
                                       2501 Rio Grande Blvd NW Suite A

Law Office of Ryan J Villa             Albuquerque, NM 87104




   January 2, 2018
   Via U.S. Mail and Email (unmpres@unm.edu)
   Chaouki T. Abdallah
   MSC05 3300, Scholes Hall Suite 144
   1 University of New Mexico
   Albuquerque, NM 87131

          Re: In the Matter of Joy VanMeter, OEO# 1-2016-11-66-Appeal of final
             determination

   Dear Mr. Abdallah:

           I have been retained by the Complainant in this matter, Ms. VanMeter. I am submitting
   this appeal on her behalf pursuant to Section IX of UNM' s Office of Equal Opportunity
   Discrimination Claims Procedure. On December 12, 2017, OEO issued its Final Letter of
   Determination (FLOD) concluding as it did in its December 4, 2017 Preliminary Letter of
   Determination (PLOD) that although Respondent's conduct in subjecting Ms. VanMeter to
   unwanted and unwelcome sexual conduct constitutes sexual harassment as defined by UNM
   policy, the evidence did not demonstrate that Respondent objectively created a hostile work
   environment for Ms. VanMeter, and therefore there was no violation of policy.

          On behalf of Ms. VanMeter, I submit that you should overturn this decision because this
   determination is not supported by the evidence. To the contrary, the evidence shows Respondent's
   conduct did objectively create a hostile work environment.

          Ms. Vele Buchs, the OEO investigator who prepared the FLOD and PLOD, addresses 5
   key points in the PLOD (pg. 17) that are required to find the respondent violated policy.

          1) The conduct was reasonably perceived to be sexual in nature (confirmed pg 18);
          2) The conduct was subjectively and objectively unwelcome (confirmed pg 20);
          3) The conduct was known by a reasonable person to be unwelcome (confirmed pg 21 );
          4) The conduct was severe and/or pervasive (confirmed pg 27); and
          5) The conduct has the purpose or effect of unreasonably interfering with an individual's
             work performance or creating an intimidating, hostile, or offensive work environment.

            Ms. Vele Buchs states in the conclusion of the PLOD (pg 27) that the first 4 of the 5 above
   criteria are met. However, the PLOD concluded the offensive work place was subjective, not
   objective. This conclusion is belied by the facts found and identified by OEO and therefore not
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 supported by the evidence. Pursuant to the appeal procedure, you can overturn a finding of the
 OEO if it is not supported by the evidence.

         First, as acknowledged in the PLOD, a single incident of sexual assault can sufficiently
 alter the conditions of an individual's employment when the sexual conduct is such that it creates
 a hostile environment. PLOD at pg. 26. Here the Respondent holds a high-level position in the
 Office of Research within HSC and has worked at UNM for over a decade. PLOD at pg. 26. The
 OEO found that even though Respondent had no direct authority at the department level, his
 position at UNM affords him the opportunity to be influential at that level should he so choose.
 PLOD at 26. Here, Ms. VanMeter reported to the OEO that she was concerned about the influence
 Respondent had over others she worked with and the way in which she might be treated if the
 allegations came to light, given their relationships with Respondent and others. PLOD at pg. 26.
 The OEO found this concern reasonable and determined that someone similarly situated would
 feel the same. PLOD at 26. The OEO also found a similarly situated person to Ms. VanMeter
 would fear retaliation from employees who admired Respondent, particularly given his longevity
 and level of authority at UNM. PLOD at 26.

         OEO also determined that Ms. VanMeter' s mental health records demonstrate that after the
 incident she experienced "persistent anxiety, fear, anger, rage, and despair," and "her
 hypervigilance and hyperarousal, particularly at work, disrupt her feelings of safety and her ability
 to meet fundamental tasks." PLOD at 26. Ms. VanMeter's husband also reported having to drive
 her to work on most days, and reported that on occasions she experienced panic attacks in the car
 as they get closer to campus rendering her unable to work. PLOD at 26. Ms. VanMeter had an M
 lot parking permit which meant if she parked in the closest lot to her work place, she would have
 to walk by his office building at least twice a day.

         The evidence found by OEO demonstrated that Ms. VanMeter missed a significant amount
 of work due to the incident, including to attend counseling. PLOD at 26. Ultimately, Ms.
 V anMeter applied for and was granted catastrophic leave, which was necessary as her counseling
 records demonstrate her symptoms were exacerbated while at work. PLOD at 26. Ms. VanMeter
 ultimately resigned. PLOD at 26. Thus, it is clear, contrary to the OEO's determination that the
 sexual assault altered the conditions of Ms. V anMeter' s work environment such that it created a
 hostile work environment.

         Although not included in the PLOD or FLOD, in a face-to face meeting between Ms.
 VanMeter and Ms. Vele Buchs, Ms. V anMeter shared that her decision to leave UNM on April 12
 was due to the fact Dr. Deana Mercer, faculty head of research in the Orthopaedic department,
 brought up performance concerns since the October incident. Those concerns included but are not
 limited to: not monitoring the renovation project in person (lab is located in Fitz hall), maintaining
 detailed budget records, processing of necessary paperwork through SPO and HRRC, and arrival
 and departure times at work.

           Ms. VanMeter explained the difficulty of working in the HSC area knowing she could run
 into Mr. Briggs at any time. Ms. V anMeter explained a number of specific issues stated in the
 PLOD (outlined on pg 26). At this time,. Ms. V anMeter also asked for an accommodation to work
 off site to help with concentration and lower anxiety levels. It was requested by Dr. Mercer that if


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 Ms. VanMeter felt she could not complete her duties at the office, she should take leave time to
 handle any issues.

         Accordingly, there were objective performance issues in the work place as a result of the
 October 14 incident. Clearly, Briggs' conduct of drugging and raping Ms. VanMeter was
 sufficiently physically threatening and traumatizing to create a hostile work environment.
 Moreover, Respondent's role at UNM clearly shows that Ms. VanMeter had a reasonable fear of
 his influence and of retaliation in the work place.

         Sahar Freeman, a coworker of Ms. V anMeter' s, who still works in a research position in
 the department of Orthopaedics, has since taken on many of Ms. VanMeter' s previous duties
 including completing SPO and IRB/ HRRC work for the Orthopaedic department. When trying to
 resolve a research related question, she was old she would need to speak with Michael Briggs. Ms.
 Freeman was timely identified by Ms. VanMeter after the PLOD was issued as a person to be
 interviewed by OEO. She never was. She can speak to the fact that research personnel are referred
 to Michael Briggs even if he is not their direct supervisor.

         Additionally, Ms. VanMeter felt physically threatened enough by Respondent to have a
 restraining order placed against him. He agreed to the restraining order as long as a clause was
 inserted that if he crossed paths with her at work, he would not be in violation because crossing
 paths is inevitable considering they work in close proximity. PLOD at 8, 9. This is objective
 evidence demonstrating a hostile work environment.

         As discussed, "[a] single incident of sexual assault can sufficiently alter the conditions of
 an individual's employment when conduct is sufficiently physically threatening, humiliating, or
 offensive to create a hostile work environment." (PLOD pg. 26). Looking again at the facts, Ms.
 VanMeter had job performance issues brought to her attention by Dr. Deana Mercer. There was
 proximity in work environment where Ms. VanMeter' s and Briggs' paths can cross causing Ms.
 VanMeter to change her walking route to her office and ultimately not leaving the office if possible
 (PLOD pg. I), Ms. VanMeter may have had to be in contact Briggs for a number of reasons as
 recommended by any of the research organizations (SPO, IRB/HRRC) as pointed out by Ms.
 Freeman's experience. After a severe sexual assault by a person of power and influence working
 in the same Health Sciences Center as Ms. VanMeter, to cross paths, correspond, or have to reach
 out to them is humiliating, offensive, and creates a hostile work environment.

         For all of these reasons, I request you overturn the decision of the OEO as not supported
 by the evidence. The evidence clearly demonstrates an objectively hostile work environment was
 created for Ms. VanMeter because of Respondent's conduct. Thank you for your time and
 attention to this matter. Please send any correspondence regarding this matter to my attention.




 Cc: Joy VanMeter


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                                       JOY VAN METER VOL. I         6/19/2019
                                                                      PLAINTIFF'S
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                                                                        EXHIBIT
  · · · · · · · ·· IN THE UNITED STATES DISTRICT COURT
  · · · · · · · · ·· FOR THE DISTRICT OF NEW MEXICO
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  · · · · JOY VAN METER
  · · · ·
  · · · · · · · · · Plaintiff/Counter-Defendant,
  · · · ·
  · · · · ·-vs-· · · · · · · · · ··NO:··1:18-cv-00970 RB/JHR
  · · · ·
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  · · · · MICHAEL BRIGGS,
  · · · ·
  · · · · · · · · · Defendant/Counterclaimant.
  · · · ·
  · · · ·
  · · · · · · · · · · · · · · VOLUME 1
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  · · · · · · · · · ·· DEPOSITION OF JOY VAN METER
  · · · ·
  · · · · · · · · · · · · · June 19, 2019
  · · · · · · · · · · · · · 9:09
  · · · · · · · · · · · · · Suite 1500
  · · · · · · · · · · · · · 201··Third Street, Northwest
  · · · · · · · · · · · · · Albuquerque, New Mexico
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  · · · · · ·· PURSUANT TO THE FEDERAL RULES OF CIVIL
  · · · · PROCEDURE, this deposition was:
  · · · ·
  · · · ·
  · · · · TAKEN BY:··TRAVIS JACKSON, ESQ.
  · · · · · · · · · ·ATTORNEY FOR DEFENDANT/COUNTERCLAIMANT
  · · · ·
  · · · · REPORTED BY:··KENDRA D. TELLEZ
  · · · · · · · · · · · CCR #205
  · · · · · · · · · · · Kendra Tellez Court Reporting, Inc.
  · · · · · · · · · · · 302 Silver, Southeast
  · · · · · · · · · · · Albuquerque, New Mexico··87102
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                                        JOY VAN METER VOL. I         6/19/2019

                                                                                44
·1··have no -- I clean out my -- I clean out all of my

·2··text messages and try to transfer all of my photos

·3··as soon as possible.

·4·· · ·Q.· ··So
              So are you saying you deleted the text

·5··messages
    messages between you and Zach Dillenback relating to

·6··the
    the problems you and your husband were having?

·7·· · ·A.· ··I
              I don't recall exactly what I texted him

·8··and
    and when, but, yes, I don't have them.··I did not

·9··have
    have them.

10·· · ·Q.· ··I'm
              I'm asking whether you deleted them.


              -
11·· · ·A.· ··Yes.
             ·Yes.

12·· · ·Q.· ··And I'm asking whether you deleted the

13··text messages between you and Casey Leonard related

14··to the problems that you and your husband were

15··having?

16·· · ·A.· ··And I don't recall if I actually sent to

17··them.··Most of the time I talk to Casey, it's via

18··phone if it's anything emotionally charged.

19··Generally, text messages with her are reserved for,

20··"Look what my neighbor planted in her yard.··It's

21··hideous."··So there is a chance that I texted her,

22··but I would have deleted them.

23·· · ·Q.· ··Okay.··And you're not able to produce the

24··communications you had with Nathan Horn because you

25··used Snapchat; is that correct?
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                                        JOY VAN METER VOL. I         6/19/2019

                                                                                48
·1·· · ·A.· ··I don't think it was the Alibi, but it was

·2··something like that, yes.

·3·· · ·Q.· ··Okay.··And how did you come to see the

·4··picture?

·5·· · ·A.· ··There was a thing on the front of the

·6··cover that said the Día de los Muertos, look up what

·7··all the stuff you can do for the Día de los Muertos,

·8··like the parade and everything.··It's just -- like

·9··the Muertos Marigold stuff.

10·· · · · · ·And so that's something my husband and I

11··had talked about going to several years in a row,

12··and I thought, "Well, that will be nice."··So I

13··opened it up to see what that information was, and

14··there was the picture.

15·· · ·Q.· ··And
             ·And you opened that up on the morning of

16··October
    October 14, 2016?

17·· · ·A.· ··Yes.

18·· · ·Q.· ··And
              And did you have that publication at your


    -
19··home?
    home?

20·· · ·A.· ··No.··It
             ·No.··It was at a work meeting.

21·· · ·Q.· ··Okay.··Did
              Okay.··Did you and your husband have an

22··argument
    argument about the picture that day?


               -
23·· · ·A.· ··Yes.
              Yes.

24·· · ·Q.· ··Did

25··text?··Or
             ·Did you have that argument by phone or by

    text?··Or both?
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                                        JOY VAN METER VOL. I         6/19/2019

                                                                                49
·1·· · ·A.· ··There
              There was definitely text message.· II
                                        message.··I

·2··can't
    can't recall if we had a phone conversation.

·3·· · ·Q.· ··Do you and your husband primarily talk

·4··about -- communicate by text?

·5·· · ·A.· ··Yeah, primarily.

·6·· · ·Q.· ··So can you please describe the text

·7··argument that you had with your husband over the

·8··picture?

·9·· · ·A.· ··I think I sent him the photo and said,

10··"Look what I just came across."

11·· · · · · ·And he said, "Oh, that's so awesome."

12·· · · · · ·And then I got upset about how everywhere

13··I
    I turned, there's pictures of him and her, and I

14··can't seem to get away from them.··And he got

15··defensive,
    defensive, and it escalated quickly.

16·· · · · · ·And then -- and then we took -- we took

17··periodic breaks in the argument, but it went on.

18··And I can't -- I mean, I don't think there was

19··really much solid content other than the same things

20··that were given to you before.

21·· · ·Q.· ··Okay.··And I just want to make sure, so I

22··want to break it down a little bit, if that's okay.

23·· · ·A.· ··Okay.

24·· · ·Q.· ··When you say he got defensive, what kinds

25··of things did he say?
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                                        JOY VAN METER VOL. I         6/19/2019

                                                                                53
·1·· · ·Q.· ··Did you specifically refer to Mr. Briggs

·2··in terms of saying something like, "How would you

·3··feel if I kissed Michael Briggs?"

·4·· · ·A.· ··No.

·5·· · ·Q.· ··You never said -- you never asked him how

·6··he would feel if you -- if you kissed Michael

·7··Briggs?

·8·· · ·A.· ··No.··I do know he took it that way,

·9··though.

10·· · ·Q.· ··And
              And do you have any of these text messages

11··between
    between you and your husband?




14··between
              -
12·· · ·A.· ··No.

13·· · ·Q.· ··Did
             ·Did you delete all of these text messages

    between you and your husband?


              -
15·· · ·A.· ··Yes.

16·· · ·Q.· ··When did you delete them?

17·· · ·A.· ··I think it was in November.··It was after

18··Detective Spinks had my phone.

19·· · ·Q.· ··How did you delete the text messages

20··between you and your husband arguing -- let me

21··retrack that.

22·· · · · · ·So all of the text messages between you

23··and your husband on October 14, 2016, were deleted;

24··is that correct?

25·· · ·A.· ··Um-hmm.
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                                        JOY VAN METER VOL. I         6/19/2019

                                                                                57
·1·· · ·Q.· ··We'll go through that later.··I'm just

·2··trying to figure out -- so you had a group of texts

·3··between you and your husband on October 14, 2016?

·4·· · ·A.· ··Right.

·5·· · ·Q.· ··You and he were arguing about the picture

·6··that had come out showing him kissing this woman in

·7··the play?

·8·· · ·A.· ··Right.

·9·· · ·Q.· ··October
              October 14, 2016, is an important day in

10··your
    your life, correct?

11·· · ·A.· ··It
              It is now.

12·· · ·Q.· ··And
              And you deleted all of the text messages

13··between
    between you and your husband from that day; is that


    - -
14··correct?
    correct?

15·· · ·A.· ··Yeah.
             ·Yeah.

16·· · ·Q.· ··My question is:··Did you make any attempt

17··to preserve those?··To print out?··Did you make

18··screenshots?··Did you save them on some other

19··device?··Did you do anything to save those in case

20··you needed them in the future?

21·· · ·A.· ··I didn't think I would.··I know that --

22··the screenshot that you're talking about.

23·· · ·Q.· ··So put aside the screenshot I'm talking

24··about.

25·· · ·A.· ··Okay.
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                                        JOY VAN METER VOL. I         6/19/2019

                                                                                58
·1·· · ·Q.· ··I'm simply asking whether you took the

·2··steps that I just mentioned to save any of those

·3··texts between you and your husband on October 14,

·4··2016?

·5·· · ·A.· ··No.

·6·· · ·Q.· ··Why did you turn your phone over to

·7··Detective Spinks?

·8·· · ·A.· ··He wanted the conversations between Briggs

·9··and myself, and I had already deleted them.··So as

10··an attempt to get them back, I handed it over to

11··him.

12·· · ·Q.· ··And
              And when did you delete the texts between

13··you
    you and Briggs?

14·· · ·A.· ··Sometime    Saturday.
              Sometime on Saturday

15·· · ·Q.· ··Do
              Do you mean Saturday, October 15, 2016?


               -
16·· · ·A.· ··Yes.
              Yes.

17·· · ·Q.· ··Do you recall approximately what time that

18··day?

19·· · ·A.· ··Late morning.

20·· · ·Q.· ··Did you discuss deleting Mr. Briggs text

21··messages with anybody else?

22·· · ·A.· ··No.

23·· · ·Q.· ··Why did you delete your text messages with

24··Mr. Briggs on October 16, 2016 -- October 15, 2016?

25··I'm sorry.
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                                        JOY VAN METER VOL. I         6/19/2019

                                                                                96
·1·· · ·Q.· ··And are you able to produce any of those

·2··text messages?

·3·· · ·A.· ··No.

·4·· · ·Q.· ··And I think we covered this already, but I

·5··just want to make sure we have a clean record.··You

·6··deleted
    deleted all of the text messages between you and

·7··your
    your husband on October 15th -- that you were
                                                    You
                                                              -
·8··sending
    sending between you and your husband on October 15,

·9··2016;
    2016; is that correct?

10·· · ·A.· ··I
             ·I deleted all of the text messages that

11··were
    were sent in that timeframe, yes.

12·· · ·Q.· ··And how many text messages, roughly, did

13··you and your husband exchange on October 15, 2016?

14·· · ·A.· ··I think only like four or five.

15·· · ·Q.· ··And what was the content of your text

16··messages?

17·· · ·A.· ··I texted him to ask if I could talk to

18··him, and he said, "Now is not a good time."··And

19··that -- I think that happened a couple of times.

20··And then there was a phone call.

21·· · ·Q.· ··Okay.··And so describe to me what is

22··happening with you and your husband on October 15,

23··2016.

24·· · ·A.· ··He was at his mother's house with our

25··daughter.··And at this point in time, I am -- I have
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                                        JOY VAN METER VOL. I         6/19/2019

                                                                           127
·1··your Yahoo mail, for e-mails from Mr. Horn?

·2·· · ·A.· ··Yes, I did.··And Yahoo, yes.

·3·· · ·Q.· ··So just to conclude the books on that

·4··topic, have you ever deleted any text messages to or

·5··from
    from Nathan Horn that relate in any way to your

·6··allegations
    allegations of sexual assault?

·7·· · ·A.· ··Just
              Just this one.

·8·· · ·Q.· ··And why did you delete that one?

·9·· · ·A.· ··I cleaned out my phone, and I knew they

10··already had the picture that they needed, so I

11··didn't think it was important to keep it.

12·· · ·Q.· ··When you say clean out your phone, why do

13··you clean out your phone?

14·· · ·A.· ··Because I have limited storage, and the

15··phone stops working if I fill it up.

16·· · ·Q.· ··And you believe that deleting your text

17··messages opens up more storage?

18·· · ·A.· ··It does, especially if there's photos in

19··them, the thread.

20·· · ·Q.· ··Now, please turn to page 29 of Request for

21··Production Number -- look at Request for Production

22··Number 17.··Do you see it?

23·· · ·A.· ··Not yet.

24·· · · · · · · ··MR. VILLA:··Page 17?

25·· · ·Q.· ··I'm sorry, top of page 30.··My fault.
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                                        JOY VAN METER VOL. I         6/19/2019

                                                                           176
·1·· · ·Q.· ··And so the only thing he said during the

·2··phone call is that he received a call from Briggs

·3··and was calling to see if you were okay?

·4·· · ·A.· ··Yeah.··Basically filled him in on what had

·5··happened and that was -- he said sorry.··And then

·6··like most people when they find out something like

·7··this and they don't know how to act, "Well, we

·8··should definitely get together sometime," and they

·9··never call you back or talk to you again.

10·· · ·Q.· ··Have
             ·Have you ever been romantic with Mr.

11··Dillenback
    Dillenback in any way?

12·· · ·A.· ··Like
              Like other than him grabbing my butt,

13··which
    which I don't know that I would consider that

14··romantic?
    romantic?

15·· · ·Q.· ··I
             ·I mean holding hands?··Hugging?··Kissing?


                -
16·· · ·A.· ··No.
              No.

17·· · ·Q.· ··Have

18··with
              Have you ever engaged in sexual activity

    with Mr. Dillenback?


                -
19·· · ·A.· ··No.
              No.

20·· · ·Q.· ··All right.··Can you please turn to page 19

21··of the PLOD.··In the second paragraph, it looks to

22··me to be about seven or eight lines down, it

23··indicates that the, "Complainant reported to the

24··police that she and Witness 8 had a text

25··conversation during class where they rated their
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                                        JOY VAN METER VOL. I         6/19/2019

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·1··try to come back to this exhibit.

·2·· · · · · · · ··THE WITNESS:··Okay.

·3·· · · · · · · ··MR. JACKSON:··I want do a 15-minute

·4··break just to give everybody a chance to stretch.

·5·· ·(Recess was taken from 4:12 p.m. until 4:32 p.m.)

·6·· · ·Q.· ··We are back on the record after taking a

·7··break.··You understand -- Ms. Van Meter, is there

·8··anything in your prior testimony that you want to

·9··change?

10·· · ·A.· ··No, I don't think so.

11·· · ·Q.· ··Okay.··I want you to walk me step by step

12··kind of through the events of October 14, 2016.··And

13··so let's start on the morning of October 14, 2016,

14··at your home.

15·· · ·A.· ··Okay.

16·· · ·Q.· ··Are you and your husband arguing about him

17··kissing the woman at the play at this point?

18·· · ·A.· ··No.

19·· · ·Q.· ··When does that argument begin

20··approximately?

21·· · ·A.· ··Probably
              Probably around 11:30 or 12:00 that day.

22·· · ·Q.· ··Okay.··And
              Okay.··And how long does that argument

23··continue
    continue for?

24·· · ·A.· ··We
              We argue probably up -- to the best of my

25··recollection,
    recollection, probably like off and on for four
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                                        JOY VAN METER VOL. I         6/19/2019

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·1··hours,
    hours, three, four hours.

·2·· · ·Q.· ··Okay.··And it's a Friday, correct?

·3·· · ·A.· ··Yes.

·4·· · ·Q.· ··And did you and Mr. Briggs have plans to

·5··meet for drinks before Friday?

·6·· · ·A.· ··Yes.

·7·· · ·Q.· ··And how far in advance had you made those

·8··plans?

·9·· · ·A.· ··I don't recall.··I knew it was before

10··Wednesday or right -- like by Wednesday that week.

11·· · ·Q.· ··And how did the two of you make plans to

12··go drink?

13·· · ·A.· ··We would either text or if we had seen

14··each other, like if we -- "Okay, how about next time

15··this place or this time," but mostly it was via

16··text.

17·· · ·Q.· ··And how long had you scheduled that

18··particular day's meeting?

19·· · ·A.· ··I don't know.

20·· · ·Q.· ··Okay.··And then you and Mr. Briggs

21··exchanged some text messages before you went for

22··drinks; is that correct?

23·· · ·A.· ··Yes.

24·· · ·Q.· ··Did you send him the picture of your

25··husband kissing that woman in the play?
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                                                MICHAEL ELLIS       7/16/2019

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  · · · · · · ·· IN THE UNITED STATES DISTRICT COURT
  ··                                                       PLAINTIFF'S
  · · · · · · · · ··FOR THE DISTRICT OF NEW MEXICO           EXHIBIT


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  ·· JOY VAN METER,
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  · · · · · ·· Plaintiff/Counter-Defendant,
  ··
  · ··-vs-· · · · · · · · · · · · · · ··NO:··1-18-cv-00970 RB/JHR
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  ·· MICHAEL BRIGGS,
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  · · · · · ·· Defendant/Counterclaimant.
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  · · · · · · · · ·· DEPOSITION OF MICHAEL ELLIS
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  · · · · · · · · · ·· JULY 16, 2019
  · · · · · · · · · ·· 9:05 a.m.
  · · · · · · · · · ·· 201 Third Street, Northwest, Suite 1500
  · · · · · · · · · · ·Albuquerque, New Mexico 87102
  ··
  · · · · PURSUANT TO THE FEDERAL RULES OF CIVIL
  ·· PROCEDURE, this deposition was:
  ··
  ·· TAKEN BY:··TRAVIS G. JACKSON
  · · · · · · ··ATTORNEY FOR DEFENDANT/COUNTERCLAIMANT
  ··
  ·· REPORTED BY:··Julianne L. Beatty, CCR-RPR-CRR
  · · · · · · · ·· Kendra Tellez Court Reporting, Inc.
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                                                 MICHAEL ELLIS       7/16/2019

                                                                                46
·1··the argument had something to do with curtains and -- and

·2··that's about all I recall.

·3·· · ··Q.· ·And
              And were there times when you would take a


    - -
·4··timeout?
    timeout?

·5·· · ··A.· ·Uh-huh.

·6·· · ··Q.· ·And
              And where would you go when you took a timeout?

·7·· · ··A.· ·Same
              Same thing; either to another room, maybe take a

·8··drive,
    drive, go to a coffee shop.··And, once or twice, go spend

·9··the night at my mother's house.

10·· · ··Q.· ·And
              And when you -- which times did you go spend the

11··night
    night at your mother's house as part of a timeout?

12·· · ··A.· ·The
              The only time that I recall was on the Friday that

13··she
    she was assaulted.

14·· · ··Q.· ·And
              And so you took a timeout on that Friday to go

15··spend
    spend the night at your --

16·· · ··A.· ·Correct.
              Correct.

17·· · ··Q.· ·--
              -- at your mother's house?

18·· · ··A.· ·Correct.
              Correct.

19·· · ··Q.· ·And tell me about the events that led up to the

20··time that you took a timeout to spend the night at your

21··mother's house.

22·· · ··A.· ·She and I had been arguing consistently about the

23··play that I was in at the NHCC; wherein, I had to kiss a

24··woman onstage.··We had had the argument -- sort of the same

25··argument that it made her uncomfortable, and I didn't, at
                   KENDRA TELLEZ COURT REPORTING, INC.
                               505-243-5691
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                                                 MICHAEL ELLIS       7/16/2019

                                                                                47
·1··the time, understand why that made her uncomfortable.··So we

·2··had had that argument several times.··And on that Friday

·3··afternoon, I decided to take a timeout.··I didn't want to

·4··have
    have that argument again.··So I decided to go stay the night

·5··at
    at my mom's.

·6·· · ··Q.· ·And were you going to take your daughter Chloe

·7··with you to your mom's that evening?

·8·· · ··A.· ·No.

·9·· · ··Q.· ·So you said you had been consistently fighting

10··about
    about you kissing this woman in the play.··When did you

11··first
    first start arguing about you kissing this woman in the


    -
12··play?
    play?

13·· · ··A.· ·I believe it was in September during -- when we

14··were
    were still rehearsing.

15·· · ··Q.· ·Do you know the name of the woman that you kissed

16··during the play?

17·· · ··A.· ·Uh-huh.··Her name was Megan Gomez.

18·· · ··Q.· ·Did you know Ms. Gomez before this play?

19·· · ··A.· ·No.

20·· · ··Q.· ·So between September and that Friday,

21··October 14th, 2016, how many times, approximately, did you

22··and your wife fight about you kissing this woman in the

23··play?

24·· · ··A.· ·I don't remember the amount of times.

25·· · ··Q.· ·Was it more than three times?
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                                                 MICHAEL ELLIS       7/16/2019

                                                                                48
·1·· · ··A.· ·Yes.

·2·· · ··Q.· ·Was this the biggest fight that you were having at

·3··this time period?

·4·· · ··A.· ·Yes.

·5·· · ··Q.· ·Was it the biggest fight you'd ever had during

·6··your
    your marriage?

·7·· · ··A.· ·I
              I would say so.

·8·· · ··Q.· ·So can you walk me through it a little bit?··And

·9··so tell me, how does the fight start.··How does she become

10··aware that you're kissing this woman in the play?

11·· · ··A.· ·Well, initially, because she read the script when

12··I got the script.··So she knew about it from the beginning.

13··And then as rehearsals proceeded, you know, and we started

14··to block the kissing and block the scenes where that

15··happened, she was aware of it too.

16·· · ··Q.· ·Would she go to the rehearsals?

17·· · ··A.· ·No.

18·· · ··Q.· ·And how did she bring up the fact that it bothered

19··her that you were kissing this woman in the play?

20·· · ··A.· ·Fairly straightforward, actually.··Kind of just

21··like that, This bothers me.··And sometimes she would be,

22··like I say, straightforward about it.··Other times she might

23··be a little bit more elliptical, just in terms of, you know,

24··referencing instead of the kiss directly like, a scene where

25··that kiss might happen in a conversation.
                    KENDRA TELLEZ COURT REPORTING, INC.
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                                                 MICHAEL ELLIS       7/16/2019

                                                                                49
·1·· · ··Q.· ·Do you know why your wife was so bothered by you

·2··kissing this woman in the play?

·3·· · ··A.· ·At the time I did not.··Which was why we were

·4··having an argument.

·5·· · ··Q.· ·Do you know why now?

·6·· · ··A.· ·I do.

·7·· · ··Q.· ·And why was she upset about you kissing this woman

·8··in the play?

·9·· · ··A.· ·Because I wasn't listening to her feelings about

10··it.··I was very much involved in how much fun I was having

11··doing theater.··Because as I had said, I'd taken a long

12··break from theater, and I'd come back to it.··And it was

13··even more exciting because I was getting paid.

14·· · ··Q.· ·And you were a lead, right?

15·· · ··A.· ·I was a lead.··I was at the NHCC; it was exciting.

16··So I was caught up in the fun that I was having doing

17··theater again, and I was not really listening to her or her

18··feelings and reservations about -- about the kissing scenes.

19··And that upset her.

20·· · ··Q.· ·Did you guys communicate about this argument by


    -
21··text?
    text?

22·· · ··A.· ·I
              I believe so.

23·· · ··Q.· ·And how many times did you and your wife exchange

24··texts about you kissing a woman in the play?

25·· · ··A.· ·I can't recall.
                   KENDRA TELLEZ COURT REPORTING, INC.
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                                                 MICHAEL ELLIS       7/16/2019

                                                                                80
·1·· · ··A.· ·So it was over the course of that text

·2··conversation.··I was driving our daughter to the zoo.··And

·3··so it was somewhere in, like, late midday, early afternoon

·4··that I began getting these texts from her.··And I just --

·5··you know, in there I just said, You know what?··I'm going to

·6··my mom's house tonight.

·7·· · · ·I had my play that night, so I said, you know, I need

·8··to leave by such and such a time, you know.··And please be

·9··home to watch Chloe, and that's that.··So it was -- it

10··was -- I decided to take the timeout en route to the zoo.

11·· · ··Q.· ·And you told her you were going to take the

12··timeout?

13·· · ··A.· ·Yeah.

14·· · ··Q.· ·At any point during your text message did she tell

15··you, How would you like -- How would you feel if I did

16··something like this to you, or something to that effect?

17·· · ··A.· ·She did, yeah.

18·· · ··Q.· ·What
              What did she say?

19·· · ··A.· ·Something
              Something like, How would you -- how would you

20··like
    like it if I kissed Mr. Briggs.

21·· · ··Q.· ·And
              And she told you that she was going to have drinks

22··with
    with him that afternoon?

23·· · ··A.· ·Yes,
              Yes, which was not uncommon.

24·· · ··Q.· ·And so she was -- how did you respond when she

25··asked, How would you like it if I did this with Mr. Briggs?
                   KENDRA TELLEZ COURT REPORTING, INC.
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                                                                                                                    PLAINTIFF'S
                                                                                                                      EXHIBIT


                                                                                                                      27
                                            OFFICE OF THE DISTRICT ATTORNEY
                                                    SECOND JUDICIAL DISTRICT
                                                      STATE OF NEW MEXICO

                                                        KARIE.BRANDENBURG
                                                            DISTRICT ATTORNEY

                                                                                                      April 14, 2017
          Joy Vanmeter
          2713 Bel Air Dr. N.E.
          Albuquerque, NM 87110

          RE: State v. Michael Briggs, DA# 2017-01992-1

          Dear Ms. Vanmeter:

          I am writing to notify you that the District Attorney's Office has received and conducted a
          thorough review of the facts, interviews, statements and evidence as to the reported sexual
          assault reported October 18, 2016, with the listed suspect of Michael Briggs. Thank you
          for reporting this matter to law enforcement. Unfortunately, the District Attorney's Office
          is declining to pursue criminal prosecution of this matter. There is insufficient evidence to
          meet the very high burden required in a criminal case to prove the allegations beyond a
          reasonable doubt.

          I realize that receiving this news can be very difficult and distressing. I would like to offer
          you my contact information so that if you would like, you can contact me to better
          understand how your case was handled, why the decision to not pursue criminal charges
          was made, and what options and resources are available moving forward in the future. I
          am enclosing some materials which may be of assistance to you which are provided to us
          by the New Mexico Coalition of Sexual Assault Programs.

          If you have any questions, please feel free to contact me.

                                                                              Sincerely,



                                                                              ~Ai!fMIRE
                                                                              Deputy District Attorney
                                                                              Violent Crimes Division
                                                                              520 Lomas Blvd. N.W.
                                                                              Albuquerque, NM 87102
                                                                              505-222-1255
                                                                              dwaymire@da2nd.state.nm.us



Juvenile Division   5100 Second St. NW        Main Office           520 Lomas Blvd. NW       Metro Division      520 Lomas Blvd. NW
(505) 222-1160      Albuquerque, NM 87107     (505) 222-1099        AIQuquerque, NM 87102    (505) 222-1079      4th Floor
FAX: (505) 241-1160                           FAX: (505)241-1100    1st Floor                FAX: (505) 241-1000 Albuquerque, NM 87102
                                              FAX: (505) 241-1200   2nd Floor
                                              FAX: (505) 241-1299   3rd Floor
      Case 1:20-cv-00651-KWR-JMR              Document 149           Filed 02/21/25       Page 239PLAINTIFF'S
                                                                                                   ofEXHIBIT
                                                                                                       298
                                                                                                Exhibit 102
                                                                                                       28
                                                        Sorenson Case#: SF064234

Sorens offl.ore nsics·                                     Client Case #:     XX-XXXXXXX _ G2

Date: February 08, 2018


Report#: R154586                         Forensic Case Report



TO:    Albuquerqu e PD Metro Forensic Science Center            Offense: Criminal Sexual Penetration
       Attn: Ms. Jennifer Elwell
       5350 2ND Street, NW                                      Case Names:
       Albuquerque , NM 87107-4011
                                                                Joy Vanmeter - [Victim]


Evidence Received:
Sorenson Item #         Agency Item #         Description
                        78                    Cervical Swabs

2                         78                  Vaginal Swabs

3                         78                  Mons Pubis and Labia Majera Swabs

4                         78                  Oral Swabs

5                         78                  Thong

6                         78                  Reference - Joy Vanmeter


Results Conclusions and Opinions:

Item 1.0 (Cervical Swabs)
Screening for the presence of male DNA was negative.


Item 2.0 (Vaginal Swabs)
Screening for the presence of male DNA was negative.


Item 3.0 (Mons Pubis and Outer Labia Majora Swabs)
Screening for the presence of male DNA was negative.


Item 4.0 (Oral SwabsJ
Screening for the presence of male DNA was negative.


Item 5.0 (Thong)


Item 5.1 (Inside Front Crotch Area)
Screening for the presence of male ONA was negative.


Item 6.0 (Reference - Joy Vanmeter)
This item was not analyzed .
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                                                             Sorenson Case#: SF064234
Sorenso~orensics·                                            Client Case #:       XX-XXXXXXX _ G2
Date: February 08, 2018

Notes:
All submitted items, slides and DNA extracts generated during the course of examination will be returned to the
submitting agency.




Respectfully submitted,




Kristine Carmen
Forensic DNA Analyst I
 . . Case 1:20-cv-00651-KWR-JMR                    Document 149         Filed 02/21/25       Page 241 of 298
                                                                                                        PLAINTIFF'S
                                           PATIENT HISTORY FORMS                                          EXHIBIT



Tobacco:
                                                                                                          29
                                  None (never smoked), Ready to change: No. (Last Updated:
                                  05/24/2017 09:03:55 MDT by Martinez, Latricia)


Document Type
Date of Service:       5/24/2017 09.02 MDT
Document Status:       Auth (Verified)

                               Family History Form Entered On : 05/2412017 09:02 MDT
                              Performed On : 05/24/2017 09:02 MDT by Martinez, Latricia




Family History
Family History
Birth Defects : Brother
ETOH/Drug Abuse : Father
Mental Illness : Mother
Breast Cancer : Maternal Grandmother, Paternal Grandmother
                                                                                Martinez, Latricia - 05/24/2017 09:02 MDT


                                      POl T OF CARE TESTl G FORMS
Document Type
Date of Service.        10/15/201619 01 MDT
Document Status         Auth (Verified)

                             Point of Care Testing Form UH Entered On : 10/15/2016 19:01
                               Performed On : 10/15/201619:01 by Crozier, Michael W




POC Urine Drug Test
Internal Quality Control POC COC : Yes
POC COG Urine Drug Test : Negative (medical screening use only)
Internal Quality Control POC OP/ : Yes
POC OP/ Urine Drug Test . Negative (medical screening use only)
Internal Quality Control POC MET : Yes
POC MET Urine Drug Test . Negative (medical screening use only)
Internal Quality Control POC THC : Yes
POC THC Urine Drug Test • Negative (medical screening use only)
Internal Quality Control POC AMP : Yes
POC AMP Urine Drug Test • Negative (medical screening use only)
Internal Quality Control POC BZO : Yes
POC BZO Un ine Drug Test : Negat ive (medical screening use only)
Internal Quality Control POC BAR : Yes
POC BAR Urine Drug Test : Negative (medical screening use only)
Internal Quality Control POC TD : Yes




Report ID:
Print DVTm: 3/25/2019 10 20 MDT
                                                        Page 24 of 28
                                                                              Patient'
                                                                              DOB:
                                                                              MRN:                  -·
                                                                                             Briggs_Dr. Romo000001
              Case 1:20-cv-00651-KWR-JMR                               Document 149             Filed 02/21/25      Page 242 of 298
 .__
-I
       _______________________________________________
                                                 POINT OF CARE TESTING FORMS                                                                  __.

 POC MTD Unne Drug Test : Negative (medical screening use only)
 Internal Quality Control POC OXY : Yes
 POC OXY Unne Drug Test : Negative (medica l screening use only)
                                                                                                            Crozier, Michael W- 10/15/2016 19:01


                                                                     MEASUREMENTS
 Measuremenrs

     Collected Date    5/24/2017
     Collected nme    08:49 MOT
         Charted By Martinez.Latricia
     Procedure                        Units
 Height                   175         cm
 Welghl                   65.0        kg
 Body Mass Index         21 .22        g/m2



                                                                         VITAL SIGNS
     VilBI Signs

              Collected Date    5/24/2017                 10/15/2016
              Collecled nme    08:49 MDT                  17:30 MDT
                  Charted By Martinez.Latricia       LeCl air,Jennifer An n
          Procedure                                                            Units
 Temperature                       36.9                      37.0              DegC
 Temp Site                      Temporal
 Respiratory Rate                                             18               br/min
 Respiration                        14                                         /MIN
 Pulse Sitting                      74                        65               bpm
 Systolic Sitting                  102                       151 M             mmHg
 Olastollc Sitting                  64                        97 H             mmHg
 BP Site                       Right Arm
 Cuff Size                    Regular Cuff
 Pain Reported by Patient           No                        Yes



                                                                                      PAIN
     Pain Assessment

           Collected Dale    5/24/2017
           Collected Tlme   08:49 MDT
               Charted By Martinez .Latricia
         Procedure                           Units
     Numeric Pain Scale     O = o pain



                                                                        RESPIRATORY
     01<ygen Therapy & Oxygenation Informati on

          Collec1ed Dale   5124/2017                 10/15/2016
         Collected Tlme   08:49 MDT                  17·30 MOT
             Charted By Martinez ,Latricla       LeCla1r,Jennlfer Ann
       Procedure                                                              Units
 Oxygen Saturation             98                                             %




     ReportlD: 94238125
     Print DI/Tm 3/25/2019 10:20 MDT
                                                                                Page 25 of 28
                                                                                                     Pa ·ent·
                                                                                                     DOB.
                                                                                                     MR ·
                                                                                                                -

                                                                                                                            -·
                                                                                                                    Bnggs_ Dr. RomoOOOOO:r
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                                                                      30
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7-1 LIM S {Rcv. 5- 16-16)
                                                            UNCLASSIF I ED                      #160098541

                                                                                              2501 Investigation Parkway
                               FBI Laboratory                                                    Quantico, Virginia 22135

                                                                                                    4940 Fowler Road
                                                                                      Redstone Arsenal , Alabama -35898
                                                       LABO RA TORY REPORT
                                                                                                                     PLAINTIFF'S




                                                                                                          ______
                                                                                                                       EXHIBIT


                                                                                                             31 _,
              To:     Dan Spinks                                    Date: March 8 20 I 7
                      Detective
                      Albuquerque Police Department                 Case ID No.: 95A-HQ-2 l l 7151   -3
                      625 Silver Ave SW Suite 200
                      Albuquerque, NM 87 102                        Lab No.: 20 16-039 87-2

              Communi cation(s):      December 28, 20 16
              Agency Reference(s) : 16-009854 1

              Subject(s):

              Victim(s):

              Discipline(s):          Chemistry - Toxicology
              FBI Laboratory Evidence Designator(s):

              Item 1                Liquid uri ne sample from Joy Vanmeter

              This report contains the results of the toxicology examinations.

              Results of Examinations:

              The Item 1 urine from Joy Vanmeter was tested with the fo llowing results:
                    Analvte                        Result                                                      Note(s)

                    Benzodiazeoines                Item 1 = Diazeyam, nordiaze am, temaze am, and              1, 4
                                                   oxazeoam were qualitatively Identi fi ed.
                                                                                                                   , ....,
                   Antihistamines                  Item I =    oi ·detected                                    I   =.
                                                                                                                   c.~



                    Cannabinoids (marij uana;      Item 1 =    ot detected                                     2~
                    6 9-THC metabolite)                                                                         w

                    Opio.@§                        Item 1 :i !:-Jot detected                                   1 ?!
                   Cocaine and metabolites         Item l = Not detected
                                                                                                                 -
                                                                                                               l -::
                                                                                                                       ~




                                                                                                                   -
                   Over-the-counte
                                                                                                                   . '"'
                                                   Item 1 = Sertraline and norsertraline were                  3,"5
                    rescrip_tion and illicit         ualitatively iaentified.
                   drugs



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                                                          UNCLASSIFIED

                                                                                                         Briggs_APD000022
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                                          UNCLASSIFIED
                                                                                #160098541

 Notes:

     1    Analysis was performed using supported liquid extraction (SLE) followed by ultra
          performance liquid chromatography/high resolution mass spectrometry (UPLC/HRMS).

    2     Analysis was performed using immunoassay.

    3     This analysis consisted of two drug screens. The first screen targeted alkaline drugs such
          as antihistamines, antidepressants, opioid analgesics, methamphetamine and other
          stimulants. Analysis was performed using solid phase extraction (SPE) followed by gas
          chromatography/mass spectrometry (GC/MS) and liquid chromatography/tandem mass
          spectrometry (LC/MS/MS). The second screen targeted acidic and neutral drugs such as
          barbiturates, seizure medications, and some non-steroidal anti-inflammatory drugs.
          Analysis was performed using liquid/liquid extraction (LLE) followed by GC/MS.

    4     Benzodiazepine confirmation was performed using enzymatic digestion and SPE
          followed by LC/MS/MS.

    5     Alkaline drugs were confirmed using SPE followed by LC/MS/MS.


 Limitations:

         The FBI Laboratory has performed screening in this case for numerous drugs, some of
 which are only indicated by a general drug class above. Drug dosages, drug metabolism rates,
 and laboratory detection limits for drugs and metabolites vary. For questions about whether or
 not a specific drug or drug metabolite would have been detected in this analysis, please contact
 the examiner issuing this report.

         The Item 1 urine specimen was not tested for GHB (gamma hydroxybutyrate) or etlfiool,
 two drugs commonly associated with drug-facilitated sexual assaults due to time that elapsfcr
 between the alleged event and the collection of the item 1 urine sample. These drugs are rap~ly
 metabolized and excreted from the body and are typically not detected beyond eight to twelw~
 hours post-ingestion.                                                                      -
                                                                                              :;r-.
                                                                                              :Jt
       The FBI Laboratory does not routinely quantitate drugs in urine except for ethanol a!1.o
 gamma hydroxybutyrate (GHB).                                                              ..:- ,
                                                                                               C'




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                                                                                     Briggs_APD000023
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                                          UNCLASSIFIED
                                                                                #160098541

  Remarks:

       • Pursuant to a tel~ hone conversation between Detective Dan Spinks and Forensic
  Examiner Cynthia L. Morris-Kukoski, on February 23, 2017, oy Vanmeter's SANE report listea
  the ollowing medicati ons: sertraline, mvi (_mvi=multivitamin u and diaze_P-am pm (pm = as
   eeded).

          Diazepam is a schedule IV controlled benzodiazepine marketed under the brand name
 Valium®or as a generic equivalent. Diazepam is a central nervous system depressant used to
 treat seizures, relax muscles, and is used as a sedative. Nordiazepam, temazepam, and oxazepam
 are active metabolites of diazepam. However, temazepam is also a schedule IV controlled
 substance marketed under the brand name Restoril® or as a generic equivalent. Oxazepam is also
 a schedule IV controlled substance marketed under the brand name Serax® or as a generic
 equivalent.

          Sertraline is a prescription medication marketed under the brand name Zoloft®. It is
 used in the treatment of depression. Norsertraline is an active metabolite of sertraline.

         For questions about the content of this report, or the status of your submission, please
 contact Forensic Examiner Cynthia L. Morris-Kukoski at (703)632-7838.

         The evidence will be returned under separate cover.

        This report contains the opinions and interpretations of the issuing examiner(s) and is
 supported by records retained in the FBI files .

         The work described in this report was conducted at the Quantico Laboratory.


                                           ~ ~ u_c_; /0-
                                       Cynthia L. Morris-Kukoski, PharmD, DABAT, FAACT
                                       Chemistry Unit


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                                                                                     Briggs_APD000024
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Laura Vele Buchs

From:
Sent:
                                   Francie Cordova
                                   Wednesday, December 14, 2016 12:46 PM
                                                                                         PLAINTIFF'S
                                                                                           EXHIBIT


                                                                                          32
                                                                                                       -
To:                                Laura Vele Buchs
Subject:                           FW: Michael Briggs




From: Kevin McCabe
Sent: Wednesday, December 14, 2016 10:34 AM
To: Francie Cordova
Subject: RE: Michael Briggs

Francie we did not find anything on Michael Briggs


From: Francie Cordova
Sent: Wednesday, December 14, 2016 8:53 AM
To: Kevin McCabe
Subject: RE: Michael Briggs

Hi Chief McCabe :

The DOB is 3/17 /79 . Please let me know if you find anything .




                                                              1
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Laura Vele Buchs

From:                            Laura Vele Buchs
Sent:                            Wednesday, December 14, 2016 8:50 AM
To:                              Francie Cordova
Cc:                              Laura Vele Buchs
Subject:                         UNMPD Case Search on MB



I found Michael Brigg's date of birth on the restraining order: 3-17-79. Please ask McCabe for UNMPD case
search . Thanks.

L eu,u,-a, Vw   13~
EEO Compliance Specialist
Office of Equal Opportunity
University of New Mexico
oeo.unm.edu
Phone: (505) 277-5251
Fax: (505) 277-1356
@oeounm

11- S




                                                           1
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                                                                                                                           PLAINTIFF'S
                                                                                                                             EXHIBIT




               Office of Equal Opportunity
                                                                                                                              33

         December 12, 2017

         Michael Briggs

         Sent via e-mail to: Molly Schmidt Nowara, Attorney, molly@ginlawfirm.com

           inal Letter of Determination (OEO# 1-2016-11-66)

         Dear Mr. Briggs:

         Please be advised this correspondence provides the final determination by this office in the above-
         referenced claim.

         The record shows on December 4, 2017, Complaint, via her attorney, provided a response to the
         Preliminary Letter of Determination (PLOD). Complainant submitted in response to OEO's PLOD
         the following:

              •    Complainant requested, via her attorney, the OEO interview Complainant's former
                   supervisor and two colleagues regarding "their observations concerning [Complainant's]
                   behavior or work performance as a result of (or post) this incident." 1 Complainant's
                   supervisor corroborated the subjective impact the reported incident had on Complainant's
                   work performance and her "fear of running into [Respondent]" on campus. Complainant's
                   supervisor, however, did not provide any objective evidence of Respondent interfering in
                   Complainant's work environment/perfonnance.          Complainant's supervisor had no
                   knowledge of Respondent influencing the differing proposed costs for the lab project, of
                   Complainant "running into" Respondent at any time on campus after the reported incident,
                   and of Complainant needing to meet directly with Respondent in order to complete the
                   responsibilities of her position. Complainant's supervisor reported Complainant had to
                   meet with a variety of people who worked within the Office of Research, but she did not
                   know that Complainant ever had to meet directly with Respondent.
              •    Complainant asserts, via her attorney, Respondent being carbon copied on "emails, letters,
                   and memos" she received "made [her] work life very difficult after the incident and she
                   found it harder to perform her job."2


         1
           Email sent from Ryan Villa (Villa), Complainant's attorney, dated December 4, 2017 . The OEO interviewed
         Complainant's former supervisor on December 7, 2017 . Complainant had previously provided the information
         regarding the two incidents for which she wanted the OEO to interview her colleagues. These incidents were
         considered and noted in the PLOD.
         2 Email sent from Villa to the OEO, dated December 4, 2017 .




MSC05 3150 • 1 Universiry of New Mexico • Albuquerque, NM 87131-0001 • Phone 505.277.525 1 • Fax 505 .277.1356 • TDD 505.277. 1745 • http://oeo.unm.edu
                                                 609 Buena Vista Dr. NE • Albuquerque, NM 87131-0001
                                                           Equal Access and Treatment for All
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Final Letter of Determination (OEO# I-2016-11-66)
December 12, 2017

    •   Complainant, via her attorney, asserts, "The order of protection has an exception for
        incidents that occur at work such as if [Respondent] ran into [Complainant] on site.
        Because [Respondent] knew this was a possibility and had occurred, they asked for this
        exception. In addition, due to the order, [Respondent] had to be removed from several
        email threads in which he was cc'd or a recipient."3

Respondent did not submit any new information in response to the PLOD. Respondent asserts the
OEO is biased in its analysis, does not have jurisdiction of the matter, and OEO's determination
should not be referred to Human Resources.

The supplemental information Complainant submitted in response to the PLOD, summarized
above, is not sufficient to overcome OEO's finding that there is no objective evidence to show
Respondent unreasonably interfered in Complainant's work environment. As such, the
supplemental infonnation Complainant submitted is insufficient to overcome OEO's
detennination that the preponderance of the evidence does not demonstrate Respondent subjected
Complainant to sexual harassment in violation of University policy.

Therefore, the determination in the Preliminary Letter of Determination is unchanged.

FINDINGS:

NO POLICY VIOLATION with regard to the claim Res ondent subjected Com lainant to
sexual harassment that unreasonable interfered with her work environment.

CONCLUSION:

ifhe facts revealed in the course of the investigation do not substantiate, more likely than not,
Res ondent subjected Com lainant to sexual harassment in violation of University Policy #2740
  exual Violence and Sexual Misconduct and University Policy #2720 E ual O ortunity Non-
Discrimination, and Affinnative Action.

RECOMMENDATIONS:

The investigative file should be closed.

RIGHT TO APPEAL:

The finding in this matter is subject to review by the President and Board of Regents. Notice of
an appeal must reach the President's office within five (5) business days of the receipt of this letter
of determination.

NOTICE

Please be advised that it is contrary to University of New Mexico policy and federal and state civil
rights law to retaliate against any person and/or employee for having filed or participated in a

3 Email sent from Villa to the OEO, dated December 6, 2017.


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Final Letter of Determination (OEO# 1-2016-1 1-66)
December 12, 2017

discrimination investigation. This provision includes any witnesses who provided information
during the investigation.



                                                        ,5-ua~ Ju Jo,.
                                                      Heather Cowan
                                                                                tt_c_

EEO Compliance Manager                                Title IX Coordinator




                                                                                        3 of 3
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                                                                                                       PLAINTIFF'S
                                                                                                         EXHIBIT


                                                                                                        34
          GARCIA IVES NOWARA                                          Molly Schmidt-Nowara
                                                                       924 Second Street NW, Suite A
                                                                          Albuquerque, NM 87102
                                                                               505.899.1030




                          •                                               molly@ginlawfirm.com
                                                                            www.ginlawfirm.com




                                     VIA ELECTRONIC MAIL

                                           December 6, 2017

Laura Vele Buchs
EEO Compliance Manager
laurabuchs@unm.edu

Dear Ms. Vele Buchs:

I write in response
               p      to yyour Preliminaryy Letter of Determination in OEO#I-2016-11-66. We agree      g
with yyour conclusion there was no ppolicy   y violation connected to the allegations
                                                                                  g        in this matter.
However,, we strongly  g y disagree
                                g     with yyour conclusion that a preponderance
                                                                       p p               of the evidence
suggested
  gg        that the Complainant’s
                           p         version of events is true. Given that there is a finding
                                                                                            g of no ppolicy
violation, we believe the appropriate steps in this matter would be dismissal of the Complaint and
that it not be forwarded to any other parties.

Mr. Briggs,
        gg , as he has consistentlyy and crediblyy done throughout
                                                              g     this investigation,
                                                                                g      , categorically
                                                                                             g       y
denies that the sexual contact he had with the Complainant was improper. The sexual activity was
consensual. Moreover, we again reiterate our concern that the OEO has extended its jjurisdiction
in this matter beyond
                   y    its natural conclusion. This was not a work-related incident,, Mr. Briggs
                                                                                               gg did
not work with the Complainant,
                          p        , and the Complainant
                                                 p       does not work at UNM anymore.
                                                                                     y       Contraryy
to your
   y     findings,
                g , Mr. Briggs
                            gg had verbal consent to join
                                                      j    the Complainant
                                                                   p        in the shower,, and non-
verbal cues suggesting
                gg      g consent when the two began
                                                   g to kiss. As soon as the Complainant
                                                                                   p         indicated
she needed to ggo home,, the two immediatelyy stopped pp with the consensual sexual contact and
preceded
p          to gget dressed. Thus, your analysis that Mr. Briggs should have inferred there was not
consent is without merit.

We also believe it is important for your report to include specific reference to the Complainant’s
inconsistencies regarding her drinking on the day in question. It is my understanding that the
Complainant told the detective she had four beers, but she also stated she had three. Moreover,
Mr. Briggs never saw her physically vomit and he did not understand her to have vomited multiple
times—just one time. The two continued to have another hour-long conversation after she had


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initially vomited and brushed her teeth. She never appeared impaired to the point of slurred
speech. She drank water, while Mr. Briggs had another beer. It is also our understanding, based on
witness testimony, that the Complainant sent a text message to a friend that she would not be able
to go out later that night. That text message was sent after 5:00 PM, according to the witness. This
was also the time that the complainant testified she was not coherent and did not remember activity
leading up to getting into the shower. But the objective evidence shows she was aware of the time
and her schedule. This is not consistent with a person who was profoundly impaired.

Mr. Briggs
         gg submits that the Complainant
                                    p       did indeed undress herself,, and she also took off her own
ppantyhose.
      y      She was able to stand on her own and get g into the shower on her own initiative. She
 was also able to dress herself after the shower. At no time did Mr. Briggs find her impaired to the
 point of staggering or with the inability to speak. Also, according to text message - while
 inadvertently sent to her friend, and not her husband, she was able to text "I'm on my way!". This
 action further demonstrates she was coherent and aware of the situation and time.


The parties’ text messages the following day also suggest that the Complainant understood that
the two parties had engaged in consensual contact and was worried about what her husband would
say. "I hope I don't have to explain anything", and "Just so you know, that was a first - never done
that before" suggest that she was aware of what transpired. The two kept up a normal exchange of
texts with each other the next day, and there was not any suggestion that Mr. Briggs had done
anything inappropriate. It was not until she had to confront her husband that her recollection of
events changed. The Complainant’s regret for what transpired does not mean that Mr. Briggs
engaged in misconduct.

      y, we must raise what we believe is evidence of bias in the investigation.
Finally,                                                                             g      It is myy
understandingg that yyou told Mr. Brigg’s
                                      gg former supervisor
                                                     p          (
                                                                (Catherine  Penick)) that "Mr. Briggs
                                                                                                  gg
admitted to wrong-doing".
                 g      g This statement is categorically
                                                  g       y false ((Mr. Briggs
                                                                           gg has alwaysy maintained
his innocence in these matters),
                               ), violated the confidentiality
                                                             y ppromised to the parties, and suggests
that the review of the evidence in the case was not impartial. On this basis alone, we ask the
Complaint be dismissed and your report not further disseminated in any manner.

Thank you for your attention to these matters.

                                                              Very truly yours,

                                                              Molly Schmidt-Nowara

Copies to:

Michael Briggs
Francie Cordova
Heather Cowan




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 NW TH E UNIVERS ITY OF                                                                          PLAINTIFF'S
                                                                                                   EXHIBIT
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                                             DISCIPLINARY ACTION FO
                                                                                                   35
  Employee Name:         Michael S. Briggs          UNM ID:               100631705
  Department:            HSC VP for Research        Position Title:       Executive Research Ops Officer/Div
                                                    Method of Delivery:   Hand-Delivered
  Date:                  6/6/2018
                                                    Reason for
                                                                          D Attendance
                                                                          cg:] Behavior
                                                    Discipline:
  Level of Discipline:   NCA for Discharge                                D Performance

 You are being given this Notice of Contemplated Action (NCA) for Discharge for unprofessional and
 unacceptable behavior; specifically, creation of a hostile work environment in violation of UNM Policy.

 The Office of Equal Opportunity (OEO) conducted an investigation into complaints that on October 14, 2016,
 you subjected a female UNM employee to non-consensual sexual conduct in violation of University
 Administrative Policies 27 40 (Sexual Violence and Sexual Misconduct) and 27 40 (Equal Opportunity, Non-
 Discrimination and Affirmative Action) (OEO#l-2016-11-66). OEO issued its Preliminary Letter of
 Determination (PLOD) on December 4, 2017 (Attachment A), and its Final Letter of Determination (FLOD)
 on December 12, 2017 (Attachment B) which determined no policy violation. On complainant's appeal of
 OEO's determination, UNM President Garnett Stokes found your actions resulted in a hostile work
 environment for the complainant and reversed OE O's determination (Attachment C). OEO, thereafter,
 issued a Memo (Attachment D) informing you of the president's decision and, on April 13, 2018, OEO issued
 an Amended FLOD (Attachment E). Based on the investigation and the outcome of the appeal to the
 President, OEO's FLOD has been updated and the OEO findings; therefore, stand.

 The OEO investigation (PLOD and FLOD) and subsequent appeal decision determined that:

     1. The preponderance of evidence showed that the October 14, 2016 conduct complained of was
        reasonably perceived to be sexual in nature.
     2. The evidence showed more likely than not the October 14, 2016 sexual activity was subjectively
        unwelcome and would be objectively unwelcome to a person in the same or similar situation as
        complainant.
     3. The evidence showed more likely than not a reasonable person in the same or similar situation would
        have known the October 14, 2016 sexual activity was unwelcome, and therefore, you should have
        known the sexual conduct was unwelcome.
     4. The evidence showed more likely than not the unwelcome sexual activity in question was severe in
        nature.
     5. The preponderance of evidence showed the reported events on or about October 14, 2016,
        subjectively created a hostile work environment for the complainant.
     6. The evidence showed that although you had no direct authority over complainant at the department
        level, your position at UNM afforded you the opportunity to be influential at the department level if you
        had so chosen.
     7. It is reasonable that someone in the same or similar situation as complainant would be concerned
        about your potential negative influence on her work environment and with those with whom she
        worked.
     8. It is reasonable that a person in the same or similar situation as complainant would fear retaliation
        from employees who "love" you, particularity considering your longevity and level of authority.


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    9. The evidence and findings by OEO regarding your potential influence over complainant in the
        workplace, demonstrated a reasonable person could find you and complainant worked in close
        proximity to one another after the occurrence of the unwelcome sexual conduct on October 14, 2016.
    10. A reasonable person could find the close proximity between you and complainant in the workplace
        after the occurrence of the unwelcome sexual conduct on October 14, 2016, created an objectively
        hostile work environment for complainant.
    11. Your actions on October 14, 2016, ultimately resulted in a hostile work environment for complainant
        in violation of University policy.

You knew or should have known that your behavior was unacceptable and violated University policy. Most
recently, over the last five (5) years, you completed:

   2017 Intersections Training on November 9, 2017
   2016 Intersections Training on October 31, 2016
   2015 Preventing Sexual Harassment on October 2, 2015
   2014 Preventing Sexual Harassment on January 7, 2015
   2013 Preventing Sexual Harassment on January 8, 2014

Your actions constitute proper cause for Discharge in accordance with University Administrative Policy (UAP)
3215, Performance Management (Attachment F).

Your actions as determined by the OEO are a violation of the following (Attachment G):

    •   UAP 2720, Prohibited Discrimination and Equal Opportunity
    •   UAP 2730, Sexual Harassment (This policy was in effect between August 9, 1988 and February 26,
        2018. On or about February 26, 2018, it was rescinded and incorporated into UAP 2740)
    •   UAP 2740, Sexual Violence and Sexual Misconduct

Per University policy, some violations, even if they only occur once, are of such a serious nature that they
justify discharge. It is my belief that the violations described herein and the impact on the complainant are of
such a serious and egregious nature that an accelerated disciplinary process is warranted. Therefore, your
discharge is being considered. Until a decision has been made, you will be ineligible to be considered for
future employment opportunities at the University. If you are ultimately discharged, you will be ineligible for
rehire at the University of New Mexico.

You have the right to respond to these charges before I make a final determination. This response is an
opportunity for you to tell me your position, defenses, and any information you feel I should know before I
make a final decision. You may respond in writing and/or you may meet with me to provide your response
orally. If you choose to respond in person, you may have a representative of your choosing attend the
meeting and/or respond on your behalf. In order to respond in person, you will need to request this meeting in
writing within five (5) working days of receipt of the notice. You will have ten (10) calendar days from receipt
of this notice to respond in writing or in person to the contemplated action. Following receipt of your
response, if any, I will consider all information available to me and issue a final decision to you in writing.

Sincerely,


~
Paul B. Roth, MD, MS
EVP and Chancellor for Health Sciences
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..      ~          NEW MEXICO.



     I accept delivery of this notice. My signature does not indicate acceptance or concurrence with any action
     taken against me.



     Michael~                                                           Oat


     Attachments:
         • Attachment A - OEO Preliminary Letter of Determination dated December 4, 2017
         • Attachment B - OEO Final Letter of Determination dated December 12, 2017
         • Attachment C - President's response to Appeal of OEO Case No. 1-2016-11-66 dated March 29,
            2018
         • Attachment D - OEO memo dated April 3, 2018, notifying Respondent of President's decision
            overturning OEO's determination
         • Attachment E - OEO Amended Final Letter of Determination dated April 13, 2018
         • Attachment F - UAP 3215, Performance Management
         • Attachment G - UAP 2720, Prohibited Discrimination and Equal Opportunity and UAP 2740, Sexual
            Violence and Sexual Misconduct


     Cc:     Department file
             Personnel file




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            nm  ~
                             PO ICY
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                                                                                                                                                  NCA: Attachment G




           Administrative Policies and Procedures Manual - Policy 2720: Prohibited Discrimination
           and Equal OpP-ortunity
           Date Originally Issued: 09-27-1991
           Revised: 12-13-1991, 01-16-2007, 06-21-2014, 02-26-2018

           Authorized by RPM 2.3 ("Equal Opportunity and Affirmative Action for Employees and Students")
           Process Owner: Director, Office of Equal Opportunity

           Note: This policy was formerly numbered UAP 3100.

           1. General
           The University of New Mexico is committed to providing a safe and Inclusive environment that draws on the diversity of Its members. The University prohibits
           discrimination, harassment, or related retaliation based on protected class (as defined in Section 2) In any educational and work environment. It is critical lo this
           commitment that anyone who experiences, witnesses, or is aware of such discrimination , harassment. or retaliation report the behavior pursuant to Section 9
           below.

           The University Is committed to providing equal opportunities and accessibility to Individuals with disabilities. Consistent with federal and state law, Individuals with
           disabilities are entitled to access, support, reasonable accommodation, and academic adjustments.

           The University Is committed to protecting rights during pregnancy and provides necessary accommodations to students and employees (faculty, staff, and student
           employees) affected by pregnancy or childbirth in the same manner as other individuals unable to work or participate In their work or education because of their
           physical condition.

           The University Is committed to providing reasonable accommodation for the religious beliefs and practices of its students and employees.

           The University Is committed to fostering an environment of Inclusiveness that respects an Individual's preferred form of self-identification, Including a name other
           than a legal first name and preferred pronoun. This policy prohibits gender-based discrimination, Including discrimination based on gender-Identity or expression
           and affirms the right of Individuals to use the gender-specific facilities consistent with their gender identity.

           The University is committed to inclusive excellence and diversity and seeks to take advantage of the rich backgrounds and abilities of everyone. The University, as
           an equal opportunity/affirmative action employer, complies with all applicable federal and state laws regarding nondiscrimination and affirmative action. It makes
           good faith efforts to recruit, hire, and promote qualified women, minorities, Individuals with disabilities, and veterans.

           The Office of Equal Opportunity (OEO) is the independent, Impartial, and neutral campus entity designated to ensure compliance with this policy and other polices
           that apply to civil rights. The OEO reports directly to the University President to maintain optimal independence and Impartiality. The OEO Investigative process
           can be accessed here .

           2. Definitions
              1. ' Protected class' means those personal traits or characteristics, statuses, and/or beliefs that are defined by applicable law and policy as protected from
              discrimination or harassment including age, ancestry, color, ethnicity, gender, gender Identity (Including gender expression), genetic Information, national
              origin, physical or mental disability, pregnancy, race, religion, serious medical condition, sex, sexual orientation, spousal affiliation, and veteran status.

              2. ' Discrimination" prohibited by this policy means conduct based on a protected class that excludes an individual from participation In, denies the individual
              the benefits of, treats the Individual differently than similarly-situated Individuals who are not in the protected class or otherwise adversely affects a tenm or
              condition of an Individual's employment, education, living environment, or participation In a University program or activity. Differential treatment and
              harassment that creates a hostile environment based on an Individual's membership In a protected class are types of discrimination prohibited by this policy.

              3, ' Differential treatment' occurs when people, whether an Individual or a group, are treated differently than similarly-situated Individuals who are not in their
              protected class because of their membership in the protected class.

              4. ' Harassment" prohibited by this policy is unwelcome conduct based on a protected class and can include, but Is not limited to, slurs or epithets, graphic or
              written statements, or other behavior that may be physically threatening, harmful, or humiliating. Harassment violates this policy when It creates a hostile
              environment, as defined below.

              5. ·sexual harassment" or ·sexual misconduct" - See UAP 2740 (' Sexual Misconduct") for definitions.

              6. "Hostile environment' exists when harassment is sufficiently serious (i.e., severe, pervasive, or persistent) and objectively offensive so as to deny or limit a
              person's ablllty to participate in or benefit from the University's programs, services, opportunities, or activities; or when such conduct has the purpose or effect
              of unreasonably Interfering with an Individual's employment. Mere offensiveness is not enough to create a hostile environment. In determining whether
              harassment has created a hostile environment, consideration will be made not only as to whether the conduct was unwelcome to the person who feels
              harassed, but also whether a reasonable person In a similar situation would have perceived the conduct as objectively offensive. Harassment that creates a




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                                                                                                                      NCA: Attachment G continued
                               POLICY
                               OFFICE


           Administrative Policies and Procedures Manual - Policy 2740: Sexual Misconduct
           Date Originally Issued: 05-15-2015
           Revised: 02-26-2018

           General                                                                                                  Table of Contents
           The University of New Mexico prohibits discrimination on the basis of sex {including gender, sex           1. Definitions of Sexual Misconduct
           stereotyping, gender expression, and gender identity). Sexual harassment, which includes acts
           of sexual violence, is a form of sex discrimination. Sex discrimination is a violation of Tille VII of     2. Reporting Sexual Misconduct
           the Civil Rights Act of 1964; Tille IX of the Educational Amendments of 1972; and the New                  3. Consent
           Mexico Human Rights Act, NMSA 1978, Sections 28-1-1 to 28-1-7, 28-1-7.2, 28-1-9 to 28-1-14.
           Intimate partner violence includes physical, sexual, or psychological harm.                                4. Amnesty from Disciplinary Action for Students

           For the purposes of this policy, sexual harassment, sexual violence, and intimate partner                  5. Off-Campus Conduct
           violence are collectively referred to as ·sexual misconduct.• Sexual misconduct subverts the
           mission of the University and threatens the careers of students and employees.                             6. Retaliation

           As more fully described in Section 5, this policy applies to allegations of sexual misconduct              7. Disclosure of Information
           made by or against a student, staff, or faculty member that occur within the course of a UNM
                                                                                                                      8. Rights of the Parties
           program or activity or have continuing adverse effects on campus, regardless of where the
           alleged activity occurred. If the circumstances giving rise to the allegations are related to UNM's        9. Resources Following an Act of Sexual Misconduct
           programs or activities, this policy may apply regardless of the affiliation of the parties. The
           University is committed to responding promptly and fairly to every allegation of sexual                    10. Interim Measures
           misconduct.
                                                                                                                      11. Procedures to Follow if you Experience Sexual Violence
           Sexual misconduct may be committed by anyone, including a stranger, an acquaintance, a
                                                                                                                   12. Educational Programs
           friend, or someone with whom the victim is involved in an intimate or sexual relationship.
            Individuals who have experienced sexual misconduct are encouraged to report what happened              13. Investigation and Disciplinary Procedures
           to law enforcement and to seek assistance from any of the campus resource offices or
           community resources listed in Section 9 of this policy. A report of sexual misconduct will be           14. UNM Branch Campus Information
           taken seriously and addressed in accordance with UNM policies and procedures. The
           University's Title IX Coordinator , who oversees institutional compliance with UNM policy related
           to sex discrimination {Including sexual misconduct), is localed in the Office of Egual Opportunity /OEO). See Section 9 for contact information. For more
           Information on discrimination related to sex and other protected categories, see UAP 2720 (' Prohibited Discrimination and Egual Opportunity') .

           This policy Includes information for students, staff, and faculty on resources available following an act of sexual misconduct, UNM responses, education and
           prevention programs, and possible disciplinary sanctions.

           1. Definitions of Sexual Misconduct
           The components of sexual misconduct-sexual harassment, sexual violence, and intimate partner violence-are defined below.

           Sexual Harassment

           Sexual harassment is unwelcome conduct of a sexual nature. Sexual harassment covered by this policy generally falls into one of two categories: quid pro quo
           and hostile environment. Conduct of a sexual nature becomes a violation of this policy when:

            • submission to such conduct is made either explicitly or implicitly a term or condition of an individual's employment or academic advancement (quid pro quo);

            • submission to or rejection of such conduct by an individual is used as the basis for employment decisions or academic decisions affecting such individual
              (quid pro quo); or

            • unwanted conduct of a sexual nature is sufficiently serious (i.e., severe, pervasive, or persistent) and objectively offensive as to deny or limit a person's ability
              to participate in or benefit from the University's programs, services, opportunities, or activities; or when such conduct has the purpose or effect of unreasonably
              Interfering with an individual's employment (hostile environment).

           Mere offensiveness is not enough to create a hostile environment. Although repeated incidents increase the likelihood that harassment has created a hostile
           environment, a serious incident such as a sexual assault, even if Isolated, can be sufficient.

           In determining whether harassment has created a hostile environment, consideration will be made not only as to whether the conduct was unwelcome to the
           person who feels harassed, but also whether a reasonable person in a similar situation would have perceived the conduct as objectively offensive. Also, the
           following factors will be considered:




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                                                                                   ZACHARY DILLENBACK      8/23/2019
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                                                                                                                      PLAINTIFF'S
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                        1 09 p.m.                                      ·8·· · · · · · ·Deposition
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   ··· · · · · · · · · ·201 Third Street, Northwest                    ·9·· ·
12·· · · · · · · · · ·Albuquerque, New Mexico                         10·· ·
   ···
13·· · ··PURSUANT TO THE FEDERAL RULES OF CIVIL                       11·· ·
   ··PROCEDURE,
     ·           this deposition was:
14··                                                                  12·· ·
   ···                                                                13·· ·
15··TAKEN BY:··TRAVIS JACKSON, ESQ.
   ··· · · · · ··ATTORNEY FOR COUNTERCLAIMANT BRIGGS                  14·· ·
16··
   ··REPORTED
     ·         BY:··KENDRA D. TELLEZ                                  15·· ·
17·· · · · · · · ·CCR #205                                            16·· ·
   ··· · · · · · · ·Kendra Tellez Court Reporting, Inc.
18·· · · · · · · ·302 Silver, Southeast                               17·· ·
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 ·1·· · · · · · · · · · · ··APPEARANCES                                ·1·· · · · · · · · · ··ZACHARY DILLENBACK
 ·2·· ·For the Plaintiff:
 ·3·· · · ··LAW OFFICE OF RYAN J. VILLA                                ·2·· ·having been first duly sworn, testified as follows:
   ···· · ··2501 Rio Grande Boulevard, Northwest                       ·3·· · · · · · · · · · · ··EXAMINATION
 ·4·· · · ··Suite A
   ···· · ··Albuquerque, New Mexico 87104                              ·4·· ·BY MR. JACKSON:
 ·5·· · · ··richelle@rjlawfirm.com                                     ·5·· · · ·Q.· ··Good morning, Mr. Dillenback.··As I
   ···· · ··BY:··RICHELLE ANDERSON, ESQ.                               ·6·· ·explained, my name is Travis Jackson.··I represent
 ·6·· ·
 ·7·· ·For the Counterclaimant Briggs:                                 ·7·· ·Michael Briggs in a lawsuit filed by Joy Van Meter.
 ·8·· · · ··JACKSON LOMAN STANFORD & DOWNEY, P.C.                      ·8·· ·Her counsel is here as well.
   ···· · ··Suite 1500
 ·9·· · · ··201 Third Street, Northwest                                ·9·· · · · · · ·Can you please state your name for the
   ···· · ··Albuquerque, New Mexico 87102                             10·· ·record.
10·· · · ··travis@jacksonlomanlaw.com                                 11·· · · ·A.· ··Zachary Dillenback.
   ···· · ··meghan@jacksonlomanlaw.com
11·· · · ··BY:··TRAVIS JACKSON, ESQ.                                  12·· · · ·Q.· ··Have you ever been deposed before?
12·· ·For the Defendant Briggs:                                       13·· · · ·A.· ··No.
13·· · · ··DEGRAAUW LAW FIRM, P.C.
   ···· · ··Suite 302                                                 14·· · · ·Q.· ··Do you understand the testimony you
14·· · · ··316 Osuna Road, Northeast                                  15·· ·provide today is subject to the penalty of perjury?
   ···· · ··Albuquerque, New Mexico 87107                             16·· · · ·A.· ··Yes.
15·· · · ··Drew@dglawfirmpc.com
   ···· · ··BY:··J. ANDREW DeGRAAUW, ESQ.                             17·· · · ·Q.· ··Okay.··Just to be clear, the testimony you
16·· ·                                                                18·· ·give during this deposition is subject to the same
17·· · · · · · · · · · · · ·INDEX· · · · · · · · · ··PAGE             19·· ·rules that would apply in a courtroom, and any
18·· ·ZACHARY DILLENBACK
19·· ·Examination By Mr. Jackson· · · · · · · · · · · ··4             20·· ·failure to tell the truth may have consequences.··Do
   ····Examination By Ms. Anderson· · · · · · · · · · ··62            21·· ·you understand that?
20·· ·Examination By Mr. Jackson· · · · · · · · · · · ·72
21·· ·Certificate of Completion of Deposition· · · · ··76             22·· · · ·A.· ··Yes.
22·· ·Witness Signature/Correction Page· · · · · · · ··78             23·· · · ·Q.· ··In order to make sure we have a clear
23·· ·                                                                24·· ·record, please let me know if you don't understand
24·· ·
25·· ·                                                                25·· ·the questions that I ask.··Sometimes I can be a fast

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 ·1·· ·Meter met at the bar after school for drinks, what           ·1·· ·the concept of being in an open marriage.··What I'm
 ·2·· ·topics did you discuss?                                      ·2·· ·trying to understand is, did she tell you that she
 ·3·· · · ·A.· ··Just life, work, what we wanted to do with         ·3·· ·would like to be in an open marriage, or did she
 ·4·· ·our -- I guess with our lives and careers and that           ·4·· ·tell you she didn't want to be in an open marriage?
 ·5·· ·sort of thing.                                               ·5·· · · · · · · · ··MS. ANDERSON:··Objection, form.
 ·6·· · · ·Q.· ··Sure.··Did she ever discuss her marriage           ·6·· · · ·A.· ··I'm not sure she said either way, that she
 ·7·· ·with you?                                                    ·7·· ·wanted to or didn't want to.
 ·8·· · · ·A.· ··Not particularly.··On occasion we'd talk           ·8·· · · ·Q.· ··Did she ever tell you that her and her
 ·9·· ·about just raising kids, and I know she -- her               ·9·· ·husband had agreed to be in an open marriage?
10·· ·husband had kids from a previous relationship, so            10·· · · ·A.· ··I don't recall that.
11·· ·sometimes we'd discuss that.                                 11·· · · ·Q.· ··Did she ever talk to you about whether her
12·· · · ·Q.· ··Okay.··Did she ever talk about any                 12·· ·and her husband had engaged in relationships outside
13·· ·problems she was having in her marriage with you?            13·· ·of their marriage?
14·· · · ·A.· ··No, not that I recall.                             14·· · · ·A.· ··I can't recall that she did.
15·· · · ·Q.· ··Did she ever talk to you about potentially         15·· · · ·Q.· ··Did Ms. Van Meter ever indicate to you
16·· ·getting divorced from her husband?                           16·· ·that she might be interested in having a romantic
17·· · · ·A.· ··No.                                                17·· ·relationship with you?
18·· · · ·Q.· ··Did she ever talk to you about sex?                18·· · · ·A.· ··I don't think she did.
19·· · · ·A.· ··I don't believe so, no.                            19·· · · ·Q.· ··Did she ever indicate to you that she
20·· · · ·Q.· ··Did she ever talk to you about her and her         20·· ·might be interested in having a sexual relationship
21·· ·husband having an open marriage?                             21·· ·with you?
22·· · · ·A.· ··I think she talked about the concept.··I           22·· · · ·A.· ··No, she did not.
23·· ·don't know that she -- that she ever engaged.                23·· · · ·Q.· ··Did your relationship with Ms. Van Meter
24·· · · ·Q.· ··What did she tell you?                             24·· ·ever develop into anything more than friendship?
25·· · · ·A.· ··Just that they considered the concept of           25·· · · ·A.· ··No.

                                                              22                                                                      24

 ·1·· ·an open marriage.                                            ·1·· · · ·Q.· ··You understand that your testimony today
 ·2·· · · · · · ·And I guess on the previous question               ·2·· ·is under oath, don't you?
 ·3·· ·for -- the question about sex, I mean, so on                 ·3·· · · · · · · · ··MS. ANDERSON:··Objection, form.
 ·4·· ·occasion she'd ask, I guess, my, I guess, intimate           ·4·· · · ·A.· ··Yes, I do.
 ·5·· ·life.                                                        ·5·· · · ·Q.· ··Did
                                                                                      Did you ever kiss Ms. Van Meter?
 ·6·· · · ·Q.· ··What do you mean?··Tell me about that.             ·6·· · · ·A.· ··WeWe kissed one time.
 ·7·· · · ·A.· ··I mean, if we talked about sex, I would --         ·7·· · · ·Q.·   ··When
                                                                                      When I asked whether your relationship
 ·8·· ·she would sometimes ask who I was dating.                    ·8·· ·with
                                                                          with Ms. Van Meter ever developed into anything more
 ·9·· · · ·Q.· ··Okay.                                              ·9·· ·than
                                                                          than friendship, that wasn't true, was it?
10·· · · ·A.· ··That's all.··But, no, I can't recall if            10·· · · · · · · · ··MS. ANDERSON:··Objection, form.
11·· ·we've ever talked about her sex life.
12·· · · ·Q.· ··When she talked to you about the concept
13·· ·of having an open marriage, what did she tell you?
14·· · · ·A.· ··I think, more or less -- I think sometimes
15·· ·how -- I think that they may have been talking about
16·· ·the concept of it and whether it could be done.··But
                                                                   14·
                                                                       -
                                                                   11·· · · ·A.· ··Well,
                                                                   12·· ·time.
                                                                   13·· · · ·Q.· ··All
                                                                       · ·the   one
                                                                   15·· · · ·A.· ··It
                                                                                      Well, there is that one kiss, that one

                                                                                      All right.··Tell me about the one kiss,
                                                                                      time.
                                                                                      It was one of the times we had met.··We'd
                                                                   16·· ·had a couple of drinks, and when we were walking to
17·· ·I don't know if they really were behind it or                17·· ·the car, we kissed.··It was very short.··And I don't
18·· ·engaged in it or tried it or anything like that.             18·· ·think we meant for it to happen, and we stopped it,
19·· · · ·Q.· ··Did she tell you that she was interested           19·· ·and we went our own ways.··It never happened again.  again
20·· ·in having an open marriage?                                  20·· · · ·Q.· ··AndAnd who initiated the kiss?
21·· · · · · · · · ··MS. ANDERSON:··Objection, form.               21·· · · ·A.· ··II don't recall.··I think we -- I think we
22·· · · · · · ·Go ahead.                                          22·· ·both just kind of did it.
23·· · · ·A.· ··I don't recall if she said -- I think it           23·· · · ·Q.· ··And you indicated that you were in the
24·· ·was more conceptual.                                         24·· ·parking lot of the bar where you had met for drinks;
25·· · · ·Q.· ··No, I understand that she was discussing           25·· ·is that correct?

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 ·1·· ·Salzburg was really just a day trip.                         ·1·· ·others.··I don't know the exact pairings of the
 ·2·· · · ·Q.· ··Okay.··So did you stay overnight in just           ·2·· ·other people that ended up going.
 ·3·· ·Munich and Prague, is that what you're saying?               ·3·· · · ·Q.· ··Can you identify any other pairings that
 ·4·· · · ·A.· ··That's correct.                                    ·4·· ·involved a female and a male student?
 ·5·· · · ·Q.· ··Okay.··It was about a two-week trip?               ·5·· · · ·A.· ··No.
 ·6·· · · ·A.· ··Yeah.                                              ·6·· · · ·Q.· ··Were there any?
 ·7·· · · ·Q.· ··My understanding is that on this trip, you         ·7·· · · ·A.· ··No, not that I recall.
 ·8·· ·and Ms. Van Meter shared a room; is that correct?            ·8·· · · ·Q.· ··And
                                                                                    And did you and Ms. Van Meter decide to
 ·9·· · · ·A.· ··That's correct.                                    ·9·· ·share
                                                                          share a room before or after the kiss at Twin Peaks?
10·· · · ·Q.· ··And did you share a room on both legs of           10·· · · ·A.· ··I
                                                                                   ·I believe it was after.
11·· ·the trip, both the Munich and the Prague --                  11·· · · ·Q.· ··Who
                                                                                    Who suggested that you and Ms. Van Meter
12·· · · ·A.· ··Yes.                                               12·· ·share
                                                                          share a room in Europe?
13·· · · ·Q.· ··-- portions of that trip?··How did that            13·· · · ·A.· ··II think I did.
14·· ·come about?                                                  14·· · · ·Q.· ··And
                                                                                    And you indicated that there were two
15·· · · ·A.· ··The decision to share a room?                      15·· ·different
                                                                          different legs to the trip.··What hotel did you stay
16·· · · ·Q.· ··Yes.                                               16·· ·at
                                                                          at in Munich?
17·· · · ·A.· ··I think it was really two factors, by that         17·· · · ·A.· ··I don't remember the name of it.··Or the
18·· ·far -- well, not everyone goes on the trip.··So              18·· ·one in Prague
                                                                                   Prague.
19·· ·maybe like a third of the -- if it's a 30-student            19·· · · ·Q.· ··Okay.··And
                                                                                    Okay.··And how were the -- how were the
20·· ·cohort, only about a third end up going, roughly, if         20·· ·rooms
                                                                          rooms laid out?
21·· ·I recall.                                                    21·· · · ·A.· ··I
                                                                                   ·I believe the one in Munich had a king
22·· · · ·Q.· ··Okay.                                              22·· ·bed, and I think we had -- I think there were
23·· · · ·A.· ··She and I were comfortable with one                23·· ·doubles in Prague, if I recall correctly.
24·· ·another, having worked so much together and just             24·· · · ·Q.· ··Sometimes
                                                                                    Sometimes in European hotels, the
25·· ·being friends, and just by default, I think, we were         25·· ·bathrooms
                                                                          bathrooms aren't in the actual room.··You have to
                                                              34                                                                 36

 ·1·· ·less comfortable with the other people who weren't           ·1·· ·share
                                                                          share the bathroom down the hall with the rest of
 ·2·· ·already paired up who were going on the trip.··So it         ·2·· ·the
                                                                          the -- with another group.··Did you have bathrooms
 ·3·· ·was either we could room together, or room with              ·3·· ·in
                                                                          in your hotel rooms?
 ·4·· ·someone both of us I don't think ever cared to stay          ·4·· · · ·A.· ··Yes,
                                                                                    Yes, we had our own.
 ·5·· ·with, or shell out a lot more money for a single             ·5·· · · ·Q.· ··Some
                                                                                    Some people call that an en suite.··But
 ·6·· ·room.                                                        ·6·· ·you
                                                                          you did have bathrooms in your hotel rooms?
 ·7·· · · ·Q.· ··Did any of the other participants in the           ·7·· · · ·A.· ··Yes.
                                                                                   ·Yes.
 ·8·· ·international residency program share a room?                ·8·· · · ·Q.· ··And
                                                                                    And you said that the hotel room in Munich
 ·9·· · · ·A.· ··Yeah.                                              ·9·· ·only had a king bed.··Did you and Ms. Van Meter
10·· · · ·Q.· ··Who shared rooms, that you recall?                 10·· ·share
                                                                          share that bed?
11·· · · ·A.· ··A couple of them brought their significant         11·· · · ·A.· ··Yes.
12·· ·others.                                                      12·· · · ·Q.·
                                                                   12         Q.· ··Did Ms
                                                                                        Ms. Van Meter ever get dressed or
13·· · · ·Q.· ··Okay.                                              13·· ·undressed in front of you when you shared a room in
14·· · · ·A.· ··And there were a couple -- there's at              14·· ·Europe?
15·· ·least one who actually did just pay for a single             15·· · · ·A.· ··No.
16·· ·room, then a couple just buddied up.                         16·· · · ·Q.· ··How would that happen?
17·· · · ·Q.· ··That's what I'm trying to figure out, who          17·· · · ·A.· ··She would use the bathroom, or we weren't
18·· ·are these students who decided to buddy up?                  18·· ·in the same room when -- or in the room together
19·· · · ·A.· ··I'm trying to think.··You want names?              19·· ·when that was happening.
20·· · · ·Q.· ··Yes, please.                                       20·· · · ·Q.· ··And you said that the other room had two
21·· · · ·A.· ··I think Brandon and Silas, although I              21·· ·doubles that were separated in the room; is that
22·· ·think that did not -- I think that didn't go well            22·· ·correct?
23·· ·halfway through, and then Brandon and James ended up         23·· · · ·A.· ··If I recall correctly.
24·· ·in a room.··A lot of people had their -- I mean,             24·· · · ·Q.· ··Okay.··Did you ever push those beds
25·· ·going to Europe, they brought their significant              25·· ·together, or did they stay separate?

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 ·1·· · · ·Q.· ··So you never really discussed --                   ·1·· ·investigation?
 ·2·· · · ·A.· ··No.                                                ·2·· · · ·A.· ··No.
 ·3·· · · ·Q.· ··-- either the complaint to the police or           ·3·· · · ·Q.· ··At
                                                                                     At UNM, they have a department called the
 ·4·· ·the complaint to UNM?··You don't have any                    ·4·· ·Office
                                                                          Office of Equal Opportunity; OEO, we sometimes call
 ·5·· ·information about that at all?                               ·5·· ·it.··And I'll represent to you that OEO investigates
 ·6·· · · ·A.· ··No, I -- I haven't been contacted, other           ·6·· ·claims
                                                                          claims of sexual harassment and other types of
 ·7·· ·than the subpoenas I got.                                    ·7·· ·employment
                                                                          employment issues, primarily.··Did anyone from UNM's
 ·8·· · · ·Q.· ··Okay.··Did Michael Briggs try to influence         ·8·· ·OEO ever contact you about providing information for
 ·9·· ·how you might testify at all?                                ·9·· ·UNM's
                                                                          UNM's investigation?
10·· · · ·A.· ··No.··It was just that one call for two             10·· · · ·A.· ··No.
                                                                                     No.
11·· ·minutes.··I don't think he even knew what was going          11·· · · ·Q.· ··Did
                                                                                     Did you ever talk to a woman named Laura
12·· ·on at that point.                                            12·· ·Vele
                                                                          Vele Buchs about providing information regarding
13·· · · ·Q.· ··Had you ever discussed with Ms. Van Meter          13·· ·Ms.
                                                                          Ms. Van Meter's claims against Michael Briggs?
14·· ·that she might be a witness in the UNM                       14·· · · ·A.· ··No.
                                                                                     No
15·· ·investigation?                                               15·· · · ·Q.· ··SoSo just to be clear, no one from UNM ever
16·· · · ·A.· ··I'm sorry?··That who might be a witness?           16·· ·contacted
                                                                          contacted you about their investigation?
17·· · · ·Q.· ··Sorry, let me back out, because you're             17·· · · ·A.· ··No.
                                                                                     No.
18·· ·operating from less than complete information.               18·· · · ·Q.· ··Did
                                                                                     Did you ever decline to participate in
19·· · · · · · ·So I'll represent to you that there was an         19·· ·UNM's
                                                                          UNM's investigation of Ms. Van Meter's claims
20·· ·investigation by the Albuquerque Police Department           20·· ·against
                                                                          against Michael Briggs?
21·· ·into Ms. Van Meter's claims, and she also initiated          21·· · · ·A.· ··No.
22·· ·an investigation at the University of New Mexico.            22·· · · · · · · · ··MR. JACKSON:··How about we take a
23·· ·So sometimes I may talk about the APD investigation;         23·· ·quick break, and I think I'm going to try to speed
24·· ·sometimes I may talk about the UNM investigation.··I         24·· ·things up and get you out of here, if we can.
25·· ·realize that you may not have information about              25·· ··(Recess was taken from 2:25 p.m. until 2:33 p.m..)

                                                              58                                                                 60

 ·1·· ·those, but I want to find out what information, if           ·1·· · · · · · · · ··MR. JACKSON:··We're back on the
 ·2·· ·any, you have.··Okay?                                        ·2·· ·record after taking a brief break.
 ·3·· · · ·A.· ··Okay.                                              ·3·· · · ·Q.· ··Mr. Dillenback, we've taken a brief break.
 ·4·· · · ·Q.· ··Were you ever contacted by the Albuquerque         ·4·· ·Is there anything about your testimony earlier today
 ·5·· ·Police Department to provide any information                 ·5·· ·that you want to change or correct?
 ·6·· ·relating to the APD investigation?                           ·6·· · · ·A.· ··No.
 ·7·· · · ·A.· ··No.                                                ·7·· · · ·Q.· ··Okay.··I just have a few more questions,
 ·8·· · · ·Q.· ··Are you aware that Mr. Briggs was never            ·8·· ·and then I'll pass you to Ms. Van Meter's lawyer,
 ·9·· ·charged with any crime, and that the District                ·9·· ·since she can ask you any questions that she may
10·· ·Attorney's Office declined to prosecute him?                 10·· ·have.
11·· · · ·A.· ··In -- the only thing -- I think Natasha,           11·· · · · · · ·So during the course of the day, we've
12·· ·is it?··When I talked to her about scheduling this,          12·· ·gone through a number of excerpts from depositions
13·· ·all I knew is that this was civil, and the criminal          13·· ·that talk about you aggressively and drunkenly
14·· ·had -- I didn't know the results of it, but it was           14·· ·attempting to have sex with Ms. Van Meter in Europe
15·· ·done.                                                        15·· ·and you engaging in unwanted touching of her.··Do
16·· · · ·Q.· ··Sure, okay.··And so you weren't involved           16·· ·you understand what I'm talking about?
17·· ·at all in the criminal investigation?                        17·· · · ·A.· ··Yes.
18·· · · ·A.· ··No.                                                18·· · · ·Q.· ··Do you take sexual assault seriously?
19·· · · ·Q.· ··Okay.··So as I represented to you, there's         19·· · · ·A.· ··Yes.
20·· ·also a separate UNM investigation, and there's also          20·· · · ·Q.· ··How does it feel to be accused of
21·· ·this lawsuit, and they're all connected in some              21·· ·improperly touching a woman?
22·· ·ways.··I apologize, because I know it's confusing,           22·· · · · · · · · ··MS. ANDERSON:··Objection, form and
23·· ·so I'll try to be as clear as I can.                         23·· ·foundation.
24·· · · · · · ·Did anyone ever contact you about                  24·· · · ·A.· ··It feels terrible.··And, you know, I guess
25·· ·providing information as part of the UNM                     25·· ·I don't know what else to say about it.··In Europe,

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                                                                                               PLAINTIFF'S
Travis G. Jackson                                                                                EXHIBIT


From:
Sent:
                                  Ryan Villa <ryan@rjvlawfirm.com>
                                  Thursday, June 20, 2019 3:37 PM
                                                                                                 39
To:                               Travis G. Jackson; Meghan Stanford; Natasha Wesenberg
Cc:                               Richelle Anderson
Subject:                          VanMeter- potential corrections to testimony



Travis,

I wanted to alert you to three corrections Ms. VanMeter intends to make to her deposition testimony when it
resumes:

1. Duringg the time in which Ms. VanMeter and her husband had an open relationship, she kissed Mr.
Dillenback.

2. Ms. VanMeter made a video for her husband in which she was engaged in masterbation.

3. Ms. VanMeter and her husbad asked Mr. Horn whether he wanted to engage in a threesome with them, and
he declined.

Thank you.


Ryan J. Villa

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Fax: 505-433-5812
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     1                              DEPONENT SIGNATURE/CORRECTION PAGE

 2                   If there are any typographical errors to
           your deposition, indica t e them below:
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 9                  Any other changes to your deposition are
          to be listed below with a statement as to the reason
10        for such change.

11        PAGE           LINE         CORRECTION                                                 REASON FOR CHANGE

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          rea~ the foregoing transcript of my testimony on
18           ~,~~ft~        and it is a true and correct record
          of my testimony given at that time, except as to any
19        corrections submitted.

20

21

22                                                                     O=:::::=:::-"_;;: :;:,

23       DATE SIGNED                                       JOY VAN METER

24

25
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 1                           DEPONENT SIGNATURE/CORRECTION PAGE

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     y our deposition, indicate them below:
 3

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 9             Any other changes to your deposition are
     to be listed below with a statement as to the reason
10   for such change.

11   PAGE       LINE           CORRECTION                                    REASON FOR CHANGE

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17           I, JOY VAN METER, do hereby certify that                                      I have
     read the foregoing transcript of my testimony                                         on
18    '8ll-'5 / tS       and it i s a true and correct                                     record
     of my testimony given at that time, except as                                         to any
19   corrections submitted.

20

21

22

23   DATE SIGNED

24

25
                                   KENDRA TELLEZ COURT REPORT I NG, INC.
                                               505-243-5691
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                                                                                                           298
                                                                                                             EXHIBIT




                    UNM                                                                                      41
                  Compliance OfficeͲMain Campus


May 16, 2019

Travis G. Jackson
Jackson Loman Stanford & Downey
Via Email: travis@jacksonlomanlaw.com

Quentin Smith
Sheehan & Sheehan, P.A.
Via Email: qs@sheehansheehan.com

Re: UNM Peer Hearing re: Michael Briggs; statement of issues to be heard by the Peer Hearing Panel;
objections by the Parties

Counsel,

On February 6, 2019, the Compliance Office – the University department tasked with administering its
peer hearing process for staff under University Administrative Policy (“UAP”) 3215: Performance
Improvement – solicited statements of the issues from the Parties to help frame the issues for the Peer
Hearing Panel (“the Panel”) to consider1. The Parties submitted their proposed statements of the issues
via email on February 21, 2019 (Complainant) and February 22, 2019 (Respondent). The Parties
thereafter submitted written objections and positions regarding those statements of the issues on
March 26, 2019 (both Parties), April 8, 2019 (Complainant), April 18, 2019 (Respondent), and May 6,
2019 (Complainant)2. On May 7, 2019, the Panel met to discuss the Parties’ positions on the statements
of issues and their respective objections. This letter constitutes the Panel’s identification of the
statement of the issues it will consider at the June 4 and 6, 2019 hearing and its decisions regarding the
objections the Parties raised.

Statement of the Issues

Complainant identified five issues in his February 21, 2019 email for the Panel to consider:

       1. Whether Complainant’s conduct violated UAP 2720: Prohibited Discrimination and Equal
          Opportunity;
       2. Whether Complainant’s conduct violated UAP 2730: Sexual Harassment;
       3. Whether Complainant’s conduct violated UAP 2740: Sexual Violence and Sexual Misconduct;
       4. Whether Complainant’s conduct constitutes proper cause for discharge pursuant to UAP 3215;
          and
       5. Whether Respondent violated Complainant’s Constitutional due process rights.

Respondent’s February 22, 2019 email identified two issues for consideration:


1
 Bienstock, Robert E., “How to Run a UNM Hearing” at 20.
2
 Respondent submitted further objections on May 9, 2019; however, because the Panel met to discuss the
positions of the Parties on May 7, 2019, objections submitted thereafter were not considered.
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       1. Did Complainant subject Ms. Van Meter to unwelcome conduct of a sexual nature in violation of
          UAP 2720, 2730, and/or 2740? and
       2. If so, does said conduct qualify as proper cause for discharge pursuant to UAP 3215?

As an initial matter, it must be emphasized that the Panel is not a judicial body endowed with the
authority to determine whether or not the United States Constitution, New Mexico Constitution, or any
federal or state statute has been violated. Rather, its sole charge is to weigh the evidence to determine
whether it is more likely than not that the conduct in question occurred, and if so, whether such conduct
provides just and proper cause for the discipline issued. With this in mind, because it is not endowed
with the authority to determine whether an individual’s Constitutional due process rights have been
violated, the Panel will not consider Complainant’s fifth identified issue.

As to the remaining four issues, the Parties do not significantly differ3. The Parties identify the same four
University policies as governing the Panel’s consideration. The Parties similarly frame the issues in terms
of whether Complainant engaged in conduct in violation of three of those policies, and whether such
violations (if true) provided just and proper cause for Complainant’s discharge from employment.
Where the Parties differ is in the descriptive specificity of Complainant’s alleged conduct.

For simplicity’s sake, and in consideration of the Parties’ respective positions, the Panel identifies the
following as the statement of the issues it will consider at the June 4 and 6, 2019 hearing:
                                                                                     hearing

       1. Whether Complainant engaged in conduct that violated UAP 2720, 2730, and/or 2740; and
                                                                                                and
       2. If so, whether such conduct constitutes just and proper cause for discharge from employment as
          required by UAP 3215
                           3215.

Objections of the Parties

The Parties’ respective objections submitted on March 26, 2019 primarily take issue with whether the
Panel is empowered to consider whether Complainant’s Constitutional rights were violated. As this issue
has already been addressed, this section will focus on addressing the Parties’ remaining objections
and/or procedural requests as identified in the correspondence dated April 8, April 18, and May 6, 2019.

       1. Appointment of an independent hearing officer

There are no policy or procedural provisions that support the appointment of an independent hearing
officer to hear and determine nonͲunion staff disciplinary matters. The Panel therefore denies this
request.

       2. Objection to time restriction

The Panel has allotted two days for the hearing. The Panel commits to make every effort to ensure that
both Parties have an equal amount of time within that twoͲday time frame to present their respective
cases.
cases.

       3. Attorney representation



3
  In its March 26, 2019 letter, Respondent states that it does not object to Complainant’s recitation of the first four
issues to be considered.
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Exhibit A to UAP 3215 (Peer Hearing Procedure) clearly provides that, while the Parties may bring an
advisor with whom they may freely consult throughout the hearing, the advisor may not speak for a
Party unless the panel decides that said Party needs such assistance. The Panel has received insufficient
justification to make an exception to this prohibition and allow either Party’s attorney to speak for
them. The request by both Parties to have their attorneys advocate on their behalves during the hearing
is therefore denied.
              denied.

    4. Order of presentation

Complainant will present his case first, and Respondent will present his case thereafter. The Parties will
each be allowed a tenͲminute opening statement at either the beginning of the hearing or, upon their
election, at the beginning of their presentment. At the close of the hearing, the Parties may present
postͲhearing briefs summing up the evidence submitted and their respective arguments regarding the
significance thereof. If the Parties submit postͲhearing briefs, such briefs must be submitted to the Panel
via email to the Compliance Office no later than close of business on the tenth working day after the
Panel makes the transcription of the hearing available to the Parties, with submissions to each other the
following day. A Party not submitting a brief will not be penalized for electing not to do so; however, the
Panel’s consideration will be limited to the information presented in the opposing Party’s brief and that
submitted at the hearing.

    5. Scope of review/limitation on evidence

There are no limitations in University policy or procedure regarding the type and scope of evidence that
the Parties may submit for consideration. Rather, University procedure only provides that both Parties
must provide a copy of the evidence they wish to rely on to the Compliance Office ten working days
before the hearing. This includes a list of witnesses the Parties wish to present as well as copies of the
documents they intend to rely on. The procedure provides, “The Panel may exclude evidence only in
special situations, such as evidence that is very personal and not very relevant, or when there are many
witnesses testifying to the same thing.” The Parties may not present documentary or testimonial
evidence that they do not disclose prior to the hearing as provided in that procedure, with limited
exception.

    6. Standard and burden of proof

Complainant bears the burden of proof by a preponderance of the evidence.
                                                                evidence.

    7. Time distribution

The Parties will be allotted an equal amount of time to present their respective cases. The Compliance
Office will track the Parties’ use of their allotted time within reason.

    8. Opening and closing statements

As provided above, the Parties will each be allotted a tenͲminute opening statement at either the
opening of the hearing or at the beginning of their presentment. Also as provided above, the Parties
may elect to present a postͲhearing brief. The Parties will not be allowed to object during testimony, but
may argue the weight and relevance of the evidence in postͲhearing briefing should they elect to so
submit.
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Regarding cross examination: the Parties may cross examine each other’s’ witnesses; however, the
Panel reserves its right to dictate the method, means, and content of cross examination to ensure that it
is not used as a tool to intimidate, harass, or traumatize a witness. If a Party believes that any particular
witness may be especially susceptible to intimidation, harassment, or traumatization through crossͲ
examination, that Party should notify the Panel of the same in its witness list presented ten days prior to
the hearing. That Party should also briefly describe the reason for the concern to ensure that the Panel
has sufficient time and information to consider whether and to what extent to limit or modify the
method, means, or content of cross examination in advance of the hearing.

    9. Availability of and crossͲexamination of witnesses

While the Panel has the authority of the Board of Regents with regard to compelling cooperation from
current University employees and students, it does not have subpoena or other power over individuals
who are no longer employed or enrolled at the University. With that in mind, the Panel will make
reasonable efforts to assist the Parties in locating witnesses. To assist it in making these efforts, the
Panel requests that the Parties provide a general statement of the nature of the testimony the proposed
witness will provide at the hearing to ensure that the Panel’s efforts are not futile. Such statement
should be included in the Parties’ witness lists to be presented ten working days prior to the hearing.

    10. Electronic presentation of evidence

All documentary evidence the Parties wish to rely on should be presented in hard copy form.

    11. Transcription/video recording of hearing

The Panel will arrange for a transcriptionist to record the hearing and will make copies of the
transcription available to the Parties. No other recording method will be accommodated.
                                                                           accommodated

    12. Rule of exclusion

The Panel will exclude all witnesses from the hearing who are not currently testifying. Party
representatives may remain throughout the hearing.

    13. Form of decision

As provided in University procedure, the Panel will issue its decision in writing. Such decision will include
findings of fact, conclusions, and recommendations, if any. The Panel’s decision will be made by a simple
majority.

    14. Administrative appeal

Regents Policy 1.5 provides, “Faculty, staff, or students affected by a decision of the administration,
faculty, student government, or hearing board may appeal the decision to the Board of Regents.”
Whether a Party has a different or further avenue to appeal a Panel decision would require the Panel to
make conclusions beyond the limits of University policy.
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Sincerely,

MarkEmmons
MarkEmmons,AssociateDean,CULLS,PanelChair

BobbiJJaramillo
BobbiJJaramillo,DepartmentAdministrator,Pediatrics,PanelMember

MalisaKasparian
MalisaKasparian,StrategicProjectDirector,ContinuingEducation,PanelMember


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From:            Rob Burford
To:
Cc:
                 Quentin Smith; Travis G. Jackson
                 Gianna M Mendoza; Kevin G Gick; Elizabeth Albright; Meghan Stanford
                                                                                                      42
Subject:         RE: Peer Panel Friday Meeting Outcome
Date:            Friday, September 13, 2019 9:32:05 AM


Good Morning,

I am writing in follow-up to your question below about Michael Ellis and the request for a
modified cross-examination of him. After a conference call yesterday afternoon with the
Panel Members, they have decided to allow a modified cross-examination for Mr. Ellis in the
same manner as that which will be provided to Joy Van Meter. Due to space constraints, this
will be done via skype, where both Mr. Ellis and Ms. Van Meter will testify from a remote
location that Respondent should arrange. Respondent should also ensure that Mr. Ellis and Ms.
Van Meter are not in the same room while they are testifying and do not discuss their
testimony with each other. During testimony, both will be visible to all parties; however, they
will not be able to see Complainant or his advisor. In order to facilitate this, I will need to
know both individuals’ skype contact information for when the time comes for these two
individuals to be interviewed during the Peer Hearing.

Additionally, it would be helpful to know when Ms. Van Meter and Mr. Ellis will be called as
witnesses, so we can make sure we have the technology on our side set.

Sincerely,

Rob Burford


From: Quentin Smith <qs@sheehansheehan.com>
Sent: Tuesday, September 10, 2019 4:35 PM
To: Rob Burford <rburford@unm.edu>; Travis G. Jackson <travis@jacksonlomanlaw.com>
Cc: Gianna M Mendoza <giamendoza@salud.unm.edu>; Kevin G Gick <KGick@salud.unm.edu>;
Elizabeth Albright <ealbright@unm.edu>; Meghan Stanford <meghan@jacksonlomanlaw.com>
Subject: RE: Peer Panel Friday Meeting Outcome

Mr. Burford,

Thank you for your email. The Panel did not specifically address UNM’s request for modified cross-
examination of Michael Ellis, who Joy Van Meter’s husband. Is the Panel’s silence on the matter
intended to communicate that the Panel has decided not to permit modified cross-examination of
Mr. Ellis and that Mr. Briggs himself will be permitted to cross-examine Mr. Ellis and while in the
same room? Or, can we expect the Panel to issue a separate decision on the issue?

Sincerely,

Quentin

From: Rob Burford [mailto:rburford@unm.edu]
Case 1:20-cv-00651-KWR-JMR                Document 149           Filed 02/21/25         Page 275 of 298


Sent: Tuesday, September 10, 2019 10:45 AM
To: Quentin Smith; Travis G. Jackson
Cc: Gianna M Mendoza; Kevin G Gick; Elizabeth Albright; Meghan Stanford
Subject: Peer Panel Friday Meeting Outcome

Good Morning All,

I wanted to write to inform the parties of the decisions that the Peer Panel has made regarding the
Peer Hearing coming up next week. As a reminder, this hearing is scheduled from 9 a.m. until 4
p.m. September 16th, 18th and 20th in the President’s Conference Room, which is Room 141 Scholes
Hall. There will be an appropriate lunch break during each of these days we have the hearing.

On Friday afternoon two of the three panel members met to discuss a number of questions that have
been brought forward by the parties. The third panel member was able to review and acknowledge
what was discussed on Friday and is in agreement with what the other panel members had decided,
which is the following:

   1.       The Panel recommends that each party may only bring one advisor to the peer hearing.
   2.       The Panel recommends that cross examination of the individual identified as Complainant in
           the OEO investigation (Joy Van Meter) be allowed but modified as follows:
               a.       Ms. Van Meter is a fact witness and not a party; therefore, she is not allowed to
                       monitor testimony or be present in the hearing unless she is testifying.
               b.       Ms. Van Meter will testify from a remote location and will provide testimony via
                       either Skype (or similar remote video viewing program) or telephonically; if via
                       remote video, only the Panel and Ms. Van Meter will interact – Ms. Van Meter will
                       not see or interact with Mr. Briggs.
               c.       Cross-examination questions by Mr. Briggs will be submitted in writing to the
                       Panel, and the Panel will decide whether to ask the question posed; if the question is
                       to be asked, the Panel will ask it.
   3.       The Panel recommends the following with regard to documentary evidence submitted before
           the hearing and testimonial evidence submitted at the hearing:
               a.       The documentary evidence submitted by the parties will be provisionally admitted
                       as facially authentic, but the Panel will hear testimony regarding its relevance and
                       weight.
               b.       The Panel will decide whether documentary and testimonial evidence are
                       cumulative and will decide whether and to what extent to accept such cumulative
                       evidence.
               c.       Testimony submitted by either party regarding either Mr. Briggs’ or Ms. Van
                       Meter’s past sexual history will not be allowed or considered.
               d.       Character evidence will not be considered.
   4.      The Panel recommends that all witnesses identified by both parties in the witness lists
           submitted on or before August 30, 2019 be allowed to testify, but cautions the parties to
           manage witness testimony so that they do not supercede the time allotted to each party to
           present their respective cases.
   5.      The Panel recommends that the total time for the hearing be split equally, allotting for brief
           breaks and lunch breaks each day of the hearing. The Compliance Office will arrange to
           keep time to ensure that no party’s allotted time is unduly prejudiced by the other party’s
           presentment, such as during cross-examination.
   6.       The Panel recommends that each party present a brief opening statement at either the
           beginning of the hearing or prior to their presentation of their cases.
   7.       The Panel recommends that the hearing room be set up such that the Panel is seated on one
           end of the conference table, that they are flanked on either side by the Compliance Office
           and Office of University Counsel, that the parties sit facing each other on the long sides of
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       the table, and that the court reporter, witness, and Office of Equal Opportunity observer sit
       on the opposite end of the table from the Panel.

The Panel Members have been provided the information from the exhibits presented and will
additionally have hard copies of these exhibits for the Peer Hearing. Please let me know if you have
any questions about the upcoming Peer Hearing or what the Peer Panel has decided above.

Sincerely,


Rob Burford
Director of Compliance
141 Scholes Hall
(505)277-3979
rburford@unm.edu
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                                                                                                                   298
                                                                                                                             EXHIBIT


                                               Dan E. Gershon          Of Counsel
                                                                       Briggs F. Cheney
                                                                                                       6001
                                                                                                       Suite
                                                                                                                             43
                                               Carli M . Marshall                                      Albuc,w~
                                                                       Ann Mal o ney Conway
                                               Jeremiah L. Ritchie     Lawrence J. Horan               PO Box 271
                                                                       Wendy E. York                   Albuquerque, NM 87103
                                               Quentin Smith
                                                                       Founders                       Tel 505.247 .0411
                                               Barbara G. Stephenson                                  Fax 505.842.8890
SHEEHAN & SHEEHAN, P.A.                                                Pat Sheehan (1918 - 2010)
A tt o rn e y s at Law   I    Est . 1954       Eleanor C. Werenko      Timothy M. Sheehan (Retired)   SheehanSheehan.co m




                                                 December 5, 2019

       VIA EMAIL

       Travis Jackson
       travis@j acksonlomanlaw .com

       Meghan Stanford
       meghan@jacksonlomanlaw.com

       Natasha Wesenberg
       natasha@dglawfirmpc.com

                 Re:         Van Meter v. Briggs, D.N.M. No. 1:18-CV-00970-RB-JHR
                             Pending Discovery Matters

       Dear Counsel:

              This letter is being sent on behalf of the Board of Regents of the University of New
       Mexico ("UNM"). Please consider it to be a good-faith attempt to address and/or resolve several
       outstanding discovery matters in the above-referenced case.

      Motion to Compel UNM Records

              While my client and I disagree with much of the characterization of events set forth in the
      Motion to Compel UNM Records [Doc. 97), I will only address the history of communications
      between the parties as necessary to try to resolve the outstanding issues. As I understand the
      Motion to Compel UNM Records, there are three categories of documents your client is seeking
      to have compelled:

              Emails Between UNM Officials - The suggestion in the Motion to Compel UNM
      Records that UNM has been uncooperative in producing emails between its employees relating
      to Ms. Van Meter's report of sexual assault by your client is simply not true. UNM has been and
      remains willing to produce emails requested once the parties reach agreement on acceptable
      search parameters, but the parameters provided by Mr. Briggs (25 email accounts with 18 search
      terms) came back with nearly 40,000 emails. Many of those emails are likely to be attorney-
      client privileged and/or contain work product, and the vast majority of those emails are likely to
      be nonresponsive to the subpoenas that were served. Over two months before the filing of the
      Motion to Compel UNM Records, on September 13, 2019, Associate University Counsel,
      Gianna Mendoza, sent a letter to Meghan Stanford informing her that the search parameters

                                                                                                                       EXHIBIT



                                                                                                              KENDRA TEU.EZ couITT REPORftlG, INC,
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Letter to Counsel for Michael Briggs
December 5, 2019
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          2) Narrow the date range for each of those email accounts to the period of time in which
             the individuals had any actual involvement or role in the OEO investigation, the
             appeal of the OEO investigation, and/or the sanctioning decision. Here are the time
             parameters that UNM proposes along with the reason for the proposal:

    Email Account           Date Range                 Reason
    Dorothy Anderson        4/3/18 - 8/27/18           Ms. Anderson was only involved in the
                                                       sanctioning process, which was undertaken from
                                                      the date of the OEO referral for sanctioning on
                                                      April 3, 2018, until the date the NFA for
                                                      Discharge was issued on August 27, 2018.
    Francie Cordova         10/26/16 - 8/27118        Ms. Cordova •was involved m the OEO
                                                      investigation, which commenced on October 26,
                                                      2016, and had some participation in the
                                                      sanctioning process that culminated in the NFA
                                                      for Discharge issued on August 27, 2018.
    Heather Cowan           10/26/16 - 8/27118        Same reason as the proposed timeframe for Ms.
                                                      Cordova.
    Richard Larson          4/3/18 -4/19/18           Dr. Larson was only involved in the sanctioning
                                                      process from the date of the OEO referral for
                                                      sanctioning on April 3, 2018, until he recused
                                                      himself from the sanctioning process on April 19,
                                                      2018.
    Paul Roth               4/3/18 - 8/27/18          Same reason as the proposed timeframe for Ms.
                                                      Anderson.
    Garnett Stokes          3/1/18 - 3/29/18          President Stokes was only involved in the appeal
                                                      from the OEO decision, which had been filed prior
                                                      to her start date at UNM on March 1, 2018, until
                                                      she issued her decision on the appeal on March 29,
                                                      2018.
    Joy Van Meter           10/26/16 - 9/7/17         Ms. Van Meter made her complaint to the OEO on
                                                      October 26, 2016, and she resigned from her
                                                      posmon at UNM enecnve ;::;epLemoer , , ..lU 11.
    Laura Vele Buchs2       10/26/16 -4/3/18          Ms. Vele Buchs was involved m the OEO
                                                      investigation, which commenced on October 26,
                                                      2016, until the date of the OEO referral for
                                                      sanctioning on April 3, 2018.

2
  Ms. Vele Buchs left her employment at UNM effective July 2, 2018. Unfortunately, her email account was deleted
pursuant to UNM' s regular record retention policy. For purposes of this proposal, the UNM IT Department will run
tl1e search, but I am alerting you ahead of time that there will not be any emails that can be produced from Ms. Vele
Buchs ' email account other than those that were in the OEO Investigation File already produced. UNM believes that
most, if not all, emails from Ms. Vele Buchs ' email account that would be responsive to the subpoenas were
included in the OEO Investigation File.
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Letter to Counsel for Michael Briggs
December 5, 2019
Page 6


We are still waiting to receive the dates of availability for President Stokes and Dr. Larson, and
we will follow up with their dates of availability as soon as we can. Please coordinate with
counsel for Ms. Van Meter to let me know which depositions you would like to set and for which
dates. Given the dynamic nature of their respective schedules, though, I can only ask them to
keep a hold on those dates through the close of business on December 9, 2019, so please get back
to me before then with your preferences. I will also accept the deposition subpoenas on behalf of
each of these officials.

Subpoena Received from Ms. Van Meter

        Finally, on December 3, 2019, I received the attached subpoena from Ryan Villa
requesting the production of "the written decision of the Peer Review panel concerning the
termination of Michael Briggs, and any post-hearing briefing submitted to the panel prior to the
decision." Given the positions in court filings that your client has taken regarding the relevancy
of the process that resulted in his termination from UNM, I would presume your client would not
oppose the production of the documents being requested by this subpoena. Please confirm as
such, and UNM will expeditiously produce the documents requested.

       Thank you in advance for your attention to this letter, and please get back to me as soon
as you can.

                                             Sincerely,

                                             SHEEHAN & SHEEHAN, P.A.




QS/19026/dmr

Enclosure

Copy: Ryan Villa (via email)
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                                             FRANCIE CORDOVA        1/14/2020

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  · · · · · · · ·· IN THE UNITED STATES DISTRICT COURT
  · · · · · · · · ·· FOR THE DISTRICT OF NEW MEXICO

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  · · · · JOY VAN METER
  · · · ·
  · · · · · · · · · Plaintiff/Counter-Defendant,
  · · · ·
  · · · · ·-vs-· · · · · · · · · ··NO:··1:18-cv-00970 RB/JHR
  · · · ·
  · · · ·
  · · · · MICHAEL BRIGGS,
  · · · ·
  · · · · · · · · · · ·· Defendant/Counterclaimant.
  · · · ·
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  · · · · · · · · VIDEO DEPOSITION OF FRANCIE CORDOVA
  · · · ·
  · · · · · · · · · · · · · January 14, 2020
  · · · · · · · · · · · · · 9:03 a.m.
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  · · · · · · · · · · · · ··201 Third Street, Northwest
  · · · · · · · · · · · · · Albuquerque, New Mexico
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  · · · · · ·· PURSUANT TO THE FEDERAL RULES OF CIVIL
  · · · · PROCEDURE, this deposition was:
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  · · · · TAKEN BY:··TRAVIS JACKSON, ESQ.
  · · · · · · · · · ·ATTORNEY FOR DEFENDANT/COUNTERCLAIMANT
  · · · ·
  · · · · REPORTED BY:··KENDRA D. TELLEZ
  · · · · · · · · · · · CCR #205
  · · · · · · · · · · · Kendra Tellez Court Reporting, Inc.
  · · · · · · · · · · · 302 Silver, Southeast
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                                              FRANCIE CORDOVA        1/14/2020

                                                                                44
·1··I will do that occasionally with some of these

·2··cases.··And then for supervisory purposes, to sort

·3··of observe the Title IX coordinator in these

·4··interactions.

·5·· · ·Q.· ··Did you express an opinion on what you

·6··believed the appropriate discipline was during this

·7··meeting with Dr. Larson?

·8·· · ·A.· ··No.··We never weigh in on the sanction.

·9·· · ·Q.· ··What was discussed during this meeting

10··with Dr. Larson?

11·· · ·A.· ··My recollection is that that was not a

12··meeting to discuss the actual sanction.··It was a

13··meeting to discuss the Title IX requirements, which

14··I just described as what -- the sanction must be

15··appropriate and consistent and the sanction must

16··stop the behavior, remedy its effect, and prevent

17··its recurrence and what that meant.··And there were

18··some procedural issues discussed as well.··I don't

19··remember discussing a specific sanction.

20·· · ·Q.· ··What were the procedural issues that were

21··discussed during your meeting with Dr. Larson?

22·· · ·A.· ··How an investigation is conducted, what it

23··meant, that the President had overturned our

24··decision.··That's what I recall it . . .

25·· · ·Q.· ··Did
              Did Dr. Larson express during this meeting
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·1··that
    that he felt he did not have enough information to

·2··make a decision?

·3·· · ·A.· ··I
              I think he expressed that he was confused

                                       decision.··I
·4··by the President's flipping of our decision.·

·5··think Laura issued two subsequent documents:··One

·6··had indicated that the President had overturned

·7··OEO's decision and what that meant and one that

·8··indicated that the behavior had occurred outside the

·9··work context, which he wanted some clarification of

10··what those two documents meant, is my recollection.

11·· · ·Q.· ··Did
              Did Dr. Larson ask OEO to provide any

12··evidence in support of its determinations?

13·· · ·A.· ··I
              I don't know.··Typically that you -- OEO

14··does provide the sanctioner with the information.

15··So if he didn't -- hadn't gotten it at that point,

16··then he might have, but that's typical.

        Q.·
17·· · ·Q. · ··It's typical that OEO will provide the

18··evidence that supports its determination to the

19··individual that's deciding discipline?

20·· · ·A.
        A.·· ··Yes.

21·· · · · · · · ··MR. SMITH:··Object to the form.

22·· · ·Q.· ··Did you understand my question?

23·· · ·A.· ··I do.··Yes, it is typical that we will

24··provide the PLOD, the FLOD, the draft report, and

25··any attachments that were used in making the
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·1··determination.
    determination.

        Q.·
·2·· · ·Q. · ··Okay.··And do you recall whether

·3··Dr. Larson asked for the attachments to the PLOD?

        A.·
·4·· · ·A. · ··I don't recall.

        Q.·
·5·· · ·Q. · ··And if he had requested the attachments to

·6··the PLOD, what would you have recommended?

        A.·
·7·· · ·A. · ··That he get them.

·8·· · ·Q.· ··Do you recall -- during this -- withdraw

·9··that.··Ask a better question.

10·· · · · · ·During this meeting with Dr. Larson that

11··occurred after the President overruled OEO's initial

12··determination, did Dorothy Anderson express an

13··opinion on what the appropriate discipline would be?

14·· · ·A.· ··I don't recall that occurring.··I believe

15··there was some discussion about range of sanctions.

16·· · ·Q.· ··During this meeting with Dr. Larson, did

17··anyone provide him with any documents to review

18··relating to the investigation or discipline of

19··Michael Briggs?

20·· · ·A.· ··I don't remember if anybody gave him a

21··document at the meeting.··I -- I want to say no, but

22··I can't be a hundred percent sure about that.

23·· · ·Q.· ··Okay.··Did you take notes during that

24··meeting?

25·· · ·A.· ··I don't think so.
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 ·1·· · · ·Q.· ··So 1990 to 2007, 17 years?                            ·1·· · · ·Q.· ··So does OFAS handle all HR issues that
 ·2·· · · ·A.· ··Okay.                                                 ·2·· ·relate to faculty?
 ·3·· · · ·Q.· ··That goes sufficiently back in time to                ·3·· · · ·A.· ··I don't know exactly.··They hire --
 ·4·· ·cover the field.··How would you describe your -- the            ·4·· ·they -- they manage primarily the -- the hiring
 ·5·· ·functions of your job as the VP for HR UNM?                     ·5·· ·transactions.··Much of the faculty function is
 ·6·· · · ·A.· ··I manage all of the HR functions for the              ·6·· ·governed by the faculty handbook, and so there's a
 ·7·· ·University.··It's primarily related to -- to staff              ·7·· ·Senior Vice Provost that's actively involved in that
 ·8·· ·employees, but it does cross over a little bit to               ·8·· ·also.··There's the director of HR within OFAS that
 ·9·· ·faculty and also to students.··So when I talk about             ·9·· ·handles the hiring of individuals and processing
10·· ·the HR functions, it's benefits and wellness and                 10·· ·their requests, but it's kind of a split
11·· ·retirement.··And in that role, we support faculty                11·· ·responsibility.
12·· ·and some students and also staff.··Then we also have             12·· · · ·Q.· ··Okay.··So the director of HR for OFAS
13·· ·an employee organizational development team that's               13·· ·doesn't report to you, correct?
14·· ·responsible for training.··That group also supports              14·· · · ·A.· ··Correct.
15·· ·faculty and staff.                                               15·· · · ·Q.· ··It's just an independent division at UNM;
16·· · · · · · ·I have an HR IT Department that provides               16·· ·is that --
17·· ·technical support, and primarily focused on staff.               17·· · · ·A.· ··Correct.
18·· ·And we also have an HR business function that's                  18·· · · ·Q.· ··And it reports directly to the Provost,
19·· ·responsible for the finances associated -- we have a             19·· ·not to you?
20·· ·self-funded health insurance plan and pretty complex             20·· · · ·A.· ··Excuse me, let me clarify that.··It
21·· ·funding, so they support that.··Also have a                      21·· ·reports to the Senior Vice Provost who reports to
22·· ·Compensation and Classification Department function              22·· ·the Provost.
23·· ·that's solely responsible for staff positions.··And              23·· · · ·Q.· ··I may be confused with all of these
24·· ·then I have an Employee and Labor Relations Unit                 24·· ·titles.··You have to bear with me.··And, really, all
25·· ·that supports employee and labor relations for                   25·· ·I'm trying to -- to establish is that faculty HR

                                                                  22                                                                24

 ·1·· ·staff.··Also
                Also have a Client Services Unit that helps            ·1·· ·function is mostly separate from you?
 ·2·· ·with
      ·       the progressive discipline and with hiring and           ·2·· · · ·A.· ··Correct.··The one area that would be
 ·3·· ·termination of employees
                          employees.··They -- they support that        ·3·· ·included under my umbrella is the benefits.
 ·4·· ·role.··And then I have a couple of Transactional                ·4·· · · ·Q.· ··Okay.··And that seems to be a significant
 ·5·· ·Units that help with the processing of actions and              ·5·· ·portion of what your department does, is the
 ·6·· ·also a service center that help with walk-in and                ·6·· ·benefits; is that correct?
 ·7·· ·assisting employees.                                            ·7·· · · ·A.· ··Definitely significant portion, but much
 ·8·· · · ·Q.· ··Okay.··I have a bunch of follow-up                    ·8·· ·of what we do is a significant portion of it.
 ·9·· ·questions.                                                      ·9·· · · ·Q.· ··Okay.··So do you handle all the benefits
10·· · · ·A.· ··Okay.                                                  10·· ·for all of staff, students, and faculty?
11·· · · ·Q.· ··That was a lot of information all at one               11·· · · ·A.· ··Yes.
12·· ·time.··So let me break that down a little bit, if                12·· · · ·Q.· ··So in terms of health insurance, are you
13·· ·that's okay?                                                     13·· ·the agency that provides health insurance for staff,
14·· · · ·A.· ··Um-hmm.                                                14·· ·students, and faculty?
15·· · · ·Q.· ··So it sounds like you are fully                        15·· · · ·A.· ··Yes.
16·· ·responsible for the HR function overseeing staff; is             16·· · · ·Q.· ··And except for managing the benefits, do
17·· ·that correct?                                                    17·· ·you have any other involvement in employment issues
18·· · · ·A.· ··Yes.                                                   18·· ·that may come up with faculty?
19·· · · ·Q.· ··You said that there -- that you                        19·· · · ·A.· ··Nothing related to employment issues.··We
20·· ·sometimes -- certain HR functions for faculty but                20·· ·handle some of the training for faculty.··The EOD,
21·· ·not always.··Who is the primary -- who serve as the              21·· ·it's Employee Organizational Development, we can
22·· ·primary HR officer for faculty?                                  22·· ·offer support with that unit also, but that's
23·· · · ·A.· ··It's a department called OFAS.··It's the               23·· ·primarily training.
24·· ·Office of Faculty and Academic Services, and that                24·· · · ·Q.· ··What about discipline?··Are you involved
25·· ·reports directly to the Provost.                                 25·· ·in the discipline of faculty?


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 ·1·· · · ·A.· ··I would have to go back and look.··I don't        ·1·· · · ·A.· ··Yes.
 ·2·· ·recall what other policies I've commented on.               ·2·· · · ·Q.· ··Who is that?
 ·3·· · · ·Q.· ··Okay.··And where would you look?                  ·3·· · · ·A.· ··Kevin Stevenson.
 ·4·· · · ·A.· ··My e-mail.                                        ·4·· · · ·Q.· ··Other than e-mails and maybe comments
 ·5·· · · ·Q.· ··And would you have the same -- so I'll            ·5·· ·within a Word document, is there anywhere else where
 ·6·· ·just ask the question and we'll see where it goes.          ·6·· ·we might look to see what your division's position
 ·7·· ·Between -- I think it was October 14, 2016, I'm             ·7·· ·is on proposed policy changes?
 ·8·· ·sorry, have you ever communicated about any proposed        ·8·· · · ·A.· ··No.
 ·9·· ·change to UNM policy related to sexual assault?             ·9·· · · ·Q.· ··As the VP of HR, are your job
10·· · · ·A.· ··Same response, I'd have to go back and             10·· ·responsibilities limited to UNM's main campus?
11·· ·check.                                                       11·· · · ·A.· ··No.
12·· · · ·Q.· ··And we would look at your e-mail; is that          12·· · · ·Q.· ··And are you responsible for the HR
13·· ·correct?                                                     13·· ·function at all of the branches and satellites for
14·· · · ·A.· ··Yes.                                               14·· ·the University of New Mexico?
15·· · · ·Q.· ··Does your office ever issue memos                  15·· · · ·A.· ··For staff, yes.
16·· ·explaining why it's doing something relating to              16·· · · ·Q.· ··Okay.··And does that include the Health
17·· ·policies?                                                    17·· ·Sciences Center?
18·· · · ·A.· ··Not typically.                                     18·· · · ·A.· ··Yes.
19·· · · ·Q.· ··Okay.··And will your office sometimes put          19·· · · ·Q.· ··So just to be clear, you're the top HR
20·· ·their comments in line in the Word document itself           20·· ·official to staff at both UNM's main campus and UNM
21·· ·and send the Word document and say, "Our proposed            21·· ·Health Sciences Center, correct?
22·· ·comments and changes" in the document?                       22·· · · ·A.· ··Yes.
23·· · · ·A.· ··So just to clarify, the -- your -- your            23·· · · ·Q.· ··So my understanding is that the Board of
24·· ·question is:··If I have a Word document that's a             24·· ·Regents have recently removed some of the
25·· ·policy change and I have a strike-through or an              25·· ·organizational separations between the Health

                                                              50                                                                52

 ·1·· ·addition, do I comment within the Word document why         ·1·· ·Sciences Center and main campus.··I don't need you
 ·2·· ·I'm making the changes?                                     ·2·· ·to comment on that.··All I want you to -- to ask is,
 ·3·· · · ·Q.· ··Yes.                                              ·3·· ·as the VP for HR, have you always been responsible
 ·4·· · · ·A.· ··I -- periodically, yes, I would do that.          ·4·· ·for oversight of employment matters on both UNM's
 ·5·· · · ·Q.· ··Okay.··And where are the drafts of                ·5·· ·main campus and UNM Health Sciences Center?
 ·6·· ·those -- where are the versions for a document with         ·6·· · · ·A.· ··Yes.
 ·7·· ·your comments saved?··Where would those be?                 ·7·· · · ·Q.· ··Okay.··So from 2014 until now, that was
 ·8·· · · ·A.· ··It would be, one, my e-mail or the                ·8·· ·always your function?
 ·9·· ·recipient of the individual I was sending it to.            ·9·· · · ·A.· ··Yes.
10·· · · ·Q.· ··And are those documents stored on UNM's            10·· · · ·Q.· ··Does the UNM Health Sciences Center employ
11·· ·servers also?                                                11·· ·its own HR staff?
12·· · · ·A.· ··I would expect that they would be.                 12·· · · ·A.· ··Yes, they have employees that assist with
13·· · · ·Q.· ··Okay.··And how -- how does -- how's that           13·· ·HR functions within their departments, but
14·· ·work?··I don't know how UNM's secure system works.           14·· ·ultimately, those responsibilities and the final
15·· ·Do you have a server that is specific to HR                  15·· ·decision roll up to HR, central HR.
16·· ·Division?                                                    16·· · · ·Q.· ··Okay.··So if I say "central HR," you will
17·· · · ·A.· ··No.··I think it's specific to the                  17·· ·know what I'm talking about?
18·· ·University, so it's managed by our central IT.               18·· · · ·A.· ··Yes.
19·· · · ·Q.· ··Okay.··And do you have a -- a directory            19·· · · ·Q.· ··And you're in charge of central HR,
20·· ·that's specific to HR?                                       20·· ·correct?
21·· · · ·A.· ··I wouldn't know.                                   21·· · · ·A.· ··Yes.
22·· · · ·Q.· ··Who would know?                                    22·· · · ·Q.· ··And so UNM Health Sciences Center might
23·· · · ·A.· ··CIO, our chief information officer.                23·· ·employ different people within departments who
24·· · · ·Q.· ··Is there anybody within your division who          24·· ·handle HR functions, but they ultimately report to
25·· ·handles technology?                                          25·· ·you; is that correct?

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 ·1·· · · ·A.
           A.·· ··No.··They typically report to the                      ·1·· ·and
                                                                               and you decided to work directly with the
 ·2·· ·department, but prior to taking any action, then                  ·2·· ·department?
 ·3·· ·they would route it through Client Services or the                ·3·· · · ·A.·
                                                                                   A.· ··Yes.
                                                                                         ··Yes
 ·4·· ·consultant.                                                       ·4·· · · · · · · · ··MR. SMITH:··Object to the form.
 ·5·· · · ·Q.· ··Okay.                                                   ·5·· · · ·Q.· ··And which case was that?
 ·6·· · · ·A.· ··So they facilitate responses, but they                  ·6·· · · ·A.· ··There
                                                                                           There was a case involving a former
 ·7·· ·don't approve them.                                               ·7·· ·President, Frank, that I was directly involved in.
 ·8·· · · ·Q.· ··Okay.··I
                        ·I think you said earlier that your              ·8·· ·There was a case involving a head football coach,
 ·9·· ·Client    Service Division handles discipline,                    ·9·· ·Bob Davie, that I was involved in.··There was a case
10·· ·termination, those types of things, right?                         10·· ·involving the head soccer coach that I was involved
11·· · · ·A.
           A.·· ··Correct.                                               11·· ·in.
12·· · · ·Q.
           Q.·· ··And when you -- when you say they handle               12·· · · ·Q.· ··What was the name of that soccer coach?
13·· ·that, what do you mean?··Do they investigate those?                13·· · · ·A.· ··Pardon?
14·· ·Do they weigh in on decision making?··What is their                14·· · · ·Q.· ··What was the name of that soccer coach?
15·· ·role?                                                              15·· · · ·A.· ··Jeremy Fishbein.
16·· · · ·A.
           A.·· ··They work with the supervisor.··So once a              16·· · · ·Q.· ··Are there any other cases in which you
17·· ·department or a supervisor thinks there's been an                  17·· ·became directly involved?
18·· ·infraction, all of the departments have an HR                      18·· · · ·A.· ··Those are the only ones that come to mind,
19·· ·consultant assigned to them.··So they would reach                  19·· ·but there could be others.
20·· ·out to their HR consultant, talk about the issue,                  20·· · · ·Q.· ··And those cases, no one from your Client
21·· ·their concern.
               concern.··The
                           The HR consultant would give them             21·· ·Services team was assigned to work with those
22·· ·guidance regarding policy that possibly was                        22·· ·departments; you decided to work directly with those
23·· ·violated, due process that an employee might be                    23·· ·departments?
24·· ·entitled to.··They may help them revise or review                  24·· · · ·A.·
                                                                                   A.· ··An individual may have been assigned to
25·· ·drafts for letters of improvement or written                       25·· ·that department, but in this instance, I chose to

                                                                    54                                                                56

 ·1·· ·warnings.··And
      ·
      ·warnings.       ··And they assist them with those types of        ·1·· ·work
                                                                              ·          directly with the department.
 ·2·· ·decisions.                                                        ·2·· · · ·Q.·
                                                                                   Q.· ··And how do you decide when you're going to
 ·3·· · · ·Q.· ··Were any of the staff within the Client                 ·3·· ·work directly with a department?
 ·4·· ·Services Division who handle discipline and                       ·4·· · · ·A.·
                                                                                   A.· ··Typically, it's a high level position.
 ·5·· ·termination assigned to Mr. Briggs' claim?                        ·5·· ·It's also a -- something that may be of public
 ·6·· · · · · · · · ··MR. SMITH:··Object to the form.                    ·6·· ·interest, sensitive nature.
 ·7·· · · ·A.·
           A.· ··So was an HR consultant assigned to the                 ·7·· · · ·Q.· ··And do you have discretion to decide when
 ·8·· ·Michael Briggs complaint?                                         ·8·· ·you're going to become directly involved in employee
 ·9·· · · ·Q.·
           Q.· ··Yes.                                                    ·9·· ·complaints?
10·· · · ·A.·
           A.· ··No.                                                     10·· · · ·A.·
                                                                                   A.· ··Yes.
11·· · · ·Q.·
           Q.· ··Why not?                                                11·· · · ·Q.· ··All right.··I'm going to mark as Exhibit
12·· · · ·A.·
           A.· ··Because of the -- the level of the                      12·· ·Deposition Exhibit 172 something I printed off the
13·· ·employees involved, OEO brought the complaint                      13·· ·internet.
14·· ·directly to me.··It was a high level employee                      14·· · · · ·(Exhibit 172 Marked for Identification.)
15·· ·reporting up to Dr. Larson, and it was also very                   15·· · · ·Q.· ··Have you seen this document before?
16·· ·sensitive, the nature of the complaint.··The issue                 16·· · · · · · · · ··MR. JACKSON:··Gionna, I'm going to
17·· ·was
      ·       -- also included Dr. Roth.··So
                                     Roth.··So based on that             17·· ·apologize.··I did not make enough copies.
18·· ·high level and the sensitivity, I chose to work                    18·· · · · · · · · ··MS. MENDOZA:··No problem.
19·· ·directly with the department.                                      19·· · · ·Q.· ··Have you seen this document before?
20·· · · ·Q.· ··When you say "the department," what do you               20·· · · ·A.· ··Yes.
21·· ·mean?··OEO?                                                        21·· · · ·Q.· ··What is this document?
22·· · · ·A.· ··No.··With OEO and also with the -- the                   22·· · · ·A.· ··Organizational chart for my division.
23·· ·Chancellor's office.                                               23·· · · ·Q.· ··Okay.··Do you review these before they go
24·· · · ·Q.· ··Has there ever been a complaint at UNM                   24·· ·out?
25·· ·before where it bypassed the Client Services team                  25·· · · ·A.· ··No.

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 ·1·· ·policies that have been violated, you review the         ·1·· · · ·A.· ··He stepped down to a lower position.
 ·2·· ·policies.··Is that fair?                                 ·2·· · · ·Q.· ··Voluntarily?
 ·3·· · · ·A.· ··Yes.                                           ·3·· · · ·A.· ··Yes.
 ·4·· · · ·Q.· ··Okay.··So you were reviewing this policy       ·4·· · · ·Q.· ··What was the reason for that?
 ·5·· ·for that purpose?                                        ·5·· · · ·A.· ··A decision he made.
 ·6·· · · ·A.· ··Correct.                                       ·6·· · · ·Q.· ··Okay.··He wasn't disciplined?
 ·7·· · · ·Q.· ··I don't want you to disclose                   ·7·· · · ·A.· ··No.
 ·8·· ·attorney/client communications, but I do want to         ·8·· · · ·Q.· ··Okay.··And it wasn't a job performance
 ·9·· ·know who participates in a preparation of the Notice     ·9·· ·issue?
10·· ·of Contemplated Action.··Because I assume Dr. Roth        10·· · · ·A.· ··A little bit of a job performance issue.
11·· ·didn't write that himself.··Is that true?                 11·· · · ·Q.· ··Was it your decision to demote him, or did
12·· · · ·A.· ··Correct.                                        12·· ·he make that all by himself?
13·· · · ·Q.· ··Do you write that?                              13·· · · ·A.· ··He made that decision.
14·· · · ·A.· ··In this specific instance?                      14·· · · ·Q.· ··Did his job performance evaluation have
15·· · · ·Q.· ··Um-hmm.                                         15·· ·anything related to do with the investigation or
16·· · · ·A.· ··Actually, in this instance, I reached out       16·· ·discipline of Michael Briggs?
17·· ·to Mike Brown.                                            17·· · · ·A.· ··No.
18·· · · ·Q.· ··Okay.                                           18·· · · ·Q.· ··Okay.··So you are -- I just want to bring
19·· · · ·A.· ··He's the -- at that point in time, he was       19·· ·us up to speed on where we are --
20·· ·the director over Client Services.··So since I don't      20·· · · ·A.· ··Sure.
21·· ·typically write Notice of Contemplated Actions --         21·· · · ·Q.· ··-- in the chronology of things.··So as
22·· ·they typically come to me for approval -- I asked         22·· ·best you can recall, you receive a notice from OEO
23·· ·him to assist in that first draft.··And then after        23·· ·in the spring of 2018 . . .
24·· ·we had a first draft, then I would take an                24·· · · ·A.· ··Yes.
25·· ·opportunity to review it.··Since the sanction was         25·· · · ·Q.· ··-- that a decision has been reached in the

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 ·1·· ·termination, we also asked the legal counsel to          ·1·· ·Michael Briggs investigation, correct?
 ·2·· ·review.··And then I shared a copy with Dr. Roth so       ·2·· · · ·A.· ··Correct.
 ·3·· ·that he could review and ensure that he agreed.          ·3·· · · ·Q.· ··And then you decide that you're going to
 ·4·· · · · · · ·Our initial involvement is to ensure that      ·4·· ·become involved because it's potentially a high
 ·5·· ·it's complying with policy, that we have notice          ·5·· ·profile termination, correct?
 ·6·· ·periods in there, due process, some of the standard      ·6·· · · ·A.· ··Correct.
 ·7·· ·language.                                                ·7·· · · ·Q.· ··So then you consult with Dr. Roth,
 ·8·· · · ·Q.· ··Did Dr. Roth make any revisions to the         ·8·· ·Dr. Larson about potential discipline, correct
                                                                                                               correct?
 ·9·· ·letter?                                                  ·9·· · · ·A.· ··Yes.··And I believe legal counsel was also
10·· · · ·A.· ··I can't recall.··There was one that he          10·· ·involved in that meeting.
11·· ·made revisions on, and it was either the                  11·· · · ·Q.· ··And at the time, who was the legal counsel
12·· ·Contemplated Action or the Final Action, but I don't      12·· ·who participated in the meeting on discipline?
13·· ·recall which one.                                         13·· · · ·A.· ··Gionna Mendoza.
14·· · · ·Q.· ··How would I determine what changes he made      14·· · · ·Q.· ··Was there only one meeting or were there
15·· ·to the letter?                                            15·· ·multiple meetings?
16·· · · ·A.· ··E-mail.                                         16·· · · ·A.· ··There were multiple meetings regarding
17·· · · ·Q.· ··Okay.··And so you called on Mike Brown          17·· ·this case with various individuals.
18·· ·because he probably had experience writing those          18·· · · ·Q.· ··Okay.··There's a lot there.··How many
19·· ·types of notices before; is that right?                   19·· ·meetings?
20·· · · ·A.· ··Correct.                                        20·· · · ·A.· ··I couldn't tell you exactly.
21·· · · ·Q.· ··Okay.··You said at the time, he was the         21·· · · ·Q.· ··Okay.··And if I wanted to figure out how
22·· ·director of Client Services, but now he's not,            22·· ·many meetings there were, would I need to look at
23·· ·right?                                                    23·· ·your calendar?
24·· · · ·A.· ··Correct.                                        24·· · · ·A.· ··I think we would find the bulk of the
25·· · · ·Q.· ··Was he demoted?                                 25·· ·meetings on my calendar.··Again, based on the


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 ·1·· ·confidential nature of the situation, some of my            ·1·· ·anybody else attend this first meeting?
 ·2·· ·meetings maybe didn't indicate exactly the reason.          ·2·· · · ·A.· ··Not that I recall.
 ·3·· ·Again, I just -- my calendar is shared with various         ·3·· · · ·Q.· ··And do you recall when that first meeting
 ·4·· ·individuals in my office.                                   ·4·· ·occurred?
 ·5·· · · ·Q.· ··Okay.                                             ·5·· · · ·A.· ··Shortly after receiving the notice from
 ·6·· · · ·A.· ··So even though they may be aware of the           ·6·· ·OEO.··I would guess early April.
 ·7·· ·meetings, I don't know if it would tell you exactly         ·7·· · · ·Q.· ··And did you have a second meeting
 ·8·· ·all of the dates, the attendees, any of that type of        ·8·· ·regarding OEO's determination as to Michael Briggs?
 ·9·· ·information.                                                ·9·· · · ·A.· ··The
                                                                                   The next meeting that I can recall is --
10·· · · ·Q.· ··Would your e-mail help confirm when the            10·· ·included myself and Richard Larson; representatives
                                                                   10
11·· ·meetings were?                                               11·· ·from OEO; Title IX officer, Heather Cowan, I
                                                                   11
12·· · · ·A.· ··I don't know if it would be any better.            12·· ·believe; and then Francie Cordova, OEO director.
                                                                   12
13·· ·It may have been phone calls.··E-mail and calendar           13·· · · ·Q.·
                                                                   13        Q.· ··At that meeting, did any Office of
14·· ·would be the best.                                           14·· ·University Counsel attend?
                                                                   14
15·· · · ·Q.· ··Okay.··Two meetings?··Were there at least          15·· · · ·A.·
                                                                   15        A.· ··Not that I recall, no.
16·· ·two meetings?                                                16·· · · ·Q.· ··And no Dr. Roth at the second meeting?
17·· · · ·A.· ··Does this include meetings with Michael            17·· · · ·A.· ··No, not that I recall.
18·· ·Briggs or preparation or --                                  18·· · · ·Q.· ··Anybody else attend that second meeting?
19·· · · ·Q.· ··Oh, boy.··Good question.··So after you             19·· · · ·A.· ··Not that I recall.
20·· ·receive -- let's just go through it step by step,            20·· · · ·Q.· ··And when-abouts did you have that second
21·· ·can we?··So after you receive the notice from OEO            21·· ·meeting?
22·· ·that there is -- they closed their file and they're          22·· · · ·A.· ··Shortly after the subsequent -- the
23·· ·going to discipline -- this is the finding on                23·· ·previous meeting.
24·· ·Michael Briggs, I assume you have a first meeting?           24·· · · ·Q.· ··And I'm not sure I -- do you mean within
25·· · · ·A.· ··Yes.                                               25·· ·days or weeks or . . .

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 ·1·· · · ·Q.· ··Who is at that first meeting?                     ·1·· · · ·A.· ··Within days.
 ·2·· · · ·A.·
           A.· ··The best of my recollection would be              ·2·· · · ·Q.· ··And what -- what was the purpose of the
 ·3·· ·myself, Gionna, Richard Larson, Dr. Roth, and               ·3·· ·second meeting?
 ·4·· ·Chamiza.                                                    ·4·· · · ·A.·
                                                                             A.· ··To discuss sanctioning based on the
 ·5·· · · ·Q.·
           Q.· ··And what is Chamiza's full name, I forget?        ·5·· ·findings of the OEO report, to discuss our -- our
 ·6·· · · ·A.·
           A.· ··Alas . . .                                        ·6·· ·role, that of myself and Dr. Larson.
 ·7·· · · ·Q.·
           Q.· ··There's a lot to it, I know there is.             ·7·· · · ·Q.·
                                                                             Q.· ··What did you tell Dr. Larson during that
 ·8·· · · ·A.·
           A.· ··Yes.                                              ·8·· ·second meeting?
 ·9·· · · ·Q.·
           Q.· ··And she's essentially the . . .                   ·9·· · · ·A.·
                                                                             A.· ··That our role was to sanction, that we had
10·· · · ·A.·
           A.· ··Alas de Pacheco, perhaps.··Alas Pacheco?          10·· ·received findings from OEO and we'd received an
11·· · · · · · · · ··MR. SMITH:··II think that's Pacheco de        11·· ·appeal, the results of an appeal from the President,
12·· ·Alas.                                                        12·· ·Stokes, and based on their findings, that our role
13·· · · · · · · · ··THE WITNESS:··Oh,
                          WITNESS:··Oh, that may be.               13·· ·was
                                                                        ·      to determine the appropriate discipline or
14· · · · · · · · · ··MR. JACKSON:··I'm
                          JACKSON:     ··I'm not going to hold     14·· ·sanction based on what was identified.
15·· ·anybody to it.                                               15·· · · ·Q.·
                                                                             Q.· ··And how did Dr. Larson respond to that?
16·· · · ·A.·
           A.· ··Pacheco de Alas, yes.                             16·· · · ·A.·
                                                                             A.· ··He had lots of questions.··He had
17·· · · ·Q.· ··And she's -- I don't want to call her the          17·· ·questions about the investigation and how it had
18·· ·assistant to Chancellor, but something like that?            18·· ·transpired, had questions on whether or not it was
19·· · · ·A.· ··Similar to a chief of staff --                     19·· ·accurate and thorough.··And at that point in time, I
20·· · · ·Q.· ··Okay.                                              20·· ·reminded him that it wasn't our role to determine
21·· · · ·A.· ··-- is her current title.                           21·· ·the investigation or to revisit; that our role
22·· · · ·Q.· ··So there's you, Ms. Mendoza, Dr. Larson,           22·· ·simply was to sanction, that the findings had been
23·· ·Dr. Roth, and I'm going to call her Chamiza because          23·· ·presented to us, and that our role was to determine
24·· ·otherwise, I'll murder her last name, not                    24·· ·what
                                                                        ·        the appropriate sanction was based on the
25·· ·intentionally.··Other than those five people, did            25·· ·offense.

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 ·1·· · · ·Q.· ··So your understanding of the sanction is       ·1·· ·that.··What I do remember is that Dr. Larson had had
 ·2·· ·that you don't revisit the facts, you just apply         ·2·· ·a prior communication with Michael Briggs, and in
 ·3·· ·those facts and discipline the employee?                 ·3·· ·that communication, Michael Briggs raised questions
                                                                ·3
 ·4·· · · ·A.· ··Yes.                                           ·4·· ·regarding the investigation.··And I thought it was
                                                                ·4
 ·5·· · · ·Q.· ··And so -- what if the University               ·5·· ·inappropriate for those to be considered at that
                                                                ·5
 ·6·· ·subsequently receives information that is different      ·6·· ·point in time.
                                                                ·6
 ·7·· ·from the facts that they developed during the            ·7·· · · ·Q.·
                                                                          Q.· ··Inappropriate for what to be considered at
 ·8·· ·investigation?··Do you just ignore that?                 ·8·· ·that time?
                                                                ·8
 ·9·· · · · · · · · ··MR. SMITH:··Object to the form.           ·9·· · · ·A.·
                                                                ·9        A.· ··The items that Michael Briggs raised in --
10·· · · ·A.· ··There's an appeal process that individuals      10·· ·in his e-mail to Dr. Roth and Dr. Larson.
                                                                10
11·· ·can utilize.                                              11·· · · ·Q.· ··I think you testified earlier that
12·· · · ·Q.· ··And my question isn't with whether or not       12·· ·Dr. Larson raised issues that he had about the
13·· ·somebody can file an appeal.··I'm aware of that.··I       13·· ·accuracy of the investigation.··That is what you
14·· ·think the Department of Justice's letter talks about      14·· ·testified to, correct?
15·· ·how typically the UNM process can be.                     15·· · · · · · · · ··MR. SMITH:··Object to the form.
16·· · · · · · ·My question to you really is:··During the       16·· · · ·A.· ··But his concerns --
17·· ·sanctioning part of your process, what if you're          17·· · · ·Q.· ··Um-hmm.
18·· ·presented with facts that were different from or not      18·· · · ·A.· ··-- were raised -- my understanding were
19·· ·known during the investigation, what do you do about      19·· ·that his concerns were based on the e-mail that
20·· ·that?                                                     20·· ·Michael Briggs had sent him.
21·· · · · · · · · ··MR. VILLA:··Form and foundation.           21·· · · ·Q.· ··Okay.··My question to you is simply:··Did
22·· ·Sorry, Travis.··Form and foundation.                      22·· ·he raise those concerns with you?
23·· · · · · · · · ··MR. SMITH:··Object to the form.            23·· · · ·A.·
                                                                          A.· ··He raised concerns on the investigation,
24·· · · ·A.· ··I'm not considering other facts.··I'm not       24·· ·yes.
                                                                24   ·
25·· ·looking for those.··They're not presented to me, so       25·· · · ·Q.· ··And what did -- what concerns did he

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 ·1·· ·that isn't even something that I contemplate.            ·1· ·raise?
                                                                ·1·
 ·2·· ·That's not brought to my attention.··My sole role is     ·2·· · · ·A.·
                                                                ·2        A.· ··That the investigation was flawed, that
 ·3·· ·to look at those findings.                               ·3·· ·there was a bias, that not all of the evidence was
                                                                ·3
 ·4·· · · ·Q.· ··And so if a person who's subject to            ·4·· ·considered.
                                                                ·4
 ·5·· ·discipline presents new evidence at that stage, do       ·5·· · · ·Q.· ··Did he raise any other complaints with you
 ·6·· ·you disregard that evidence?                             ·6·· ·during your second meeting?
 ·7·· · · ·A.· ··I knew that there would be a subsequent        ·7·· · · ·A.· ··Not that I remember.
 ·8·· ·opportunity for the individual to bring forward          ·8·· · · ·Q.· ··And when he raised concerns with you that
 ·9·· ·those -- that new evidence, if you will, that there      ·9·· ·the investigation was flawed, what did you tell him?
10·· ·would be a peer hearing, if he elected to go that         10·· · · ·A.· ··I reminded him that it wasn't our job to
11·· ·route, where additional facts could be brought            11·· ·reconsider the investigation, that the investigation
12·· ·forward.                                                  12·· ·had been completed, that the appeal process had gone
13·· · · ·Q.· ··And that's not my question.··My question        13·· ·through, and that our job was to sanction.··That if
14·· ·to you was:··Iff that evidence is presented to you        14·· ·there were concerns, they could go to an additional
15·· ·during the sanctioning process, do you disregard it?      15·· ·level, a peer hearing, and those could be brought
16·· · · ·A.
           A.·· ··I wouldn't have considered it.                16·· ·forward.
17·· · · ·Q.· ··Did you advise Dr. Larson that he could         17·· · · ·Q.· ··So you raised the possibility of a peer
18·· ·not consider any new evidence?                            18·· ·hearing with Dr. Larson?
19·· · · ·A.· ··I don't remember advising Dr. Larson.··I        19·· · · ·A.· ··I don't know if I specifically said peer
20·· ·remember advising Dr. Larson that our role was to         20·· ·hearing.··I believe I said appeal process.
21·· ·sanction based on our findings.                           21·· · · ·Q.· ··And when Dr. Larson raised concerns with
22·· · · ·Q.· ··Did Dr. Larson express to you concerns          22·· ·you that the OEO process was biased, what did you
23·· ·that he thought OEO's investigation was unfair?           23·· ·say?
24·· · · · · · · · ··MR. SMITH:··Object to the form.            24·· · · ·A.· ··OEO representatives were present, so I
25·· · · ·A.· ··I don't remember Dr. Larson indicating          25·· ·don't remember exactly how I responded.··We had

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 ·1·· ·Heather Cowan and also Francie Cordova, so I don't       ·1·· ·with
                                                                     ·       the OEO office, and in -- in that
 ·2·· ·remember exactly the response to -- again, my            ·2·· ·communication, he had concerns and requests around
                                                                ·2
 ·3·· ·general position was that our role was to sanction,      ·3·· ·information that he wanted and -- he wanted to look
                                                                ·3
 ·4·· ·not to reweigh the evidence or the information that      ·4·· ·at and consider.··And the OEO office, Heather Cowan,
                                                                ·4
 ·5·· ·was provided to us.                                      ·5·· ·I believe, responded that she had concerns based on
                                                                ·5
 ·6·· · · ·Q.· ··This wasn't a concern about the evidence;      ·6·· ·his reaction and his questions about his ability to
                                                                ·6
 ·7·· ·this was a concern about bias, right?                    ·7·· ·be unbiased in his issuing of the sanction.
                                                                ·7
 ·8·· · · ·A.· ··There were a significant -- there were --      ·8·· · · ·Q.· ··And were you copied on the e-mails back
 ·9·· ·different concerns that we had.                          ·9·· ·and forth between Richard Larson and OEO?
10·· · · ·Q.· ··Well, the ones you identified were that         10·· · · ·A.· ··I received a copy at some point.··I don't
11·· ·the investigation was flawed, the investigation was       11·· ·remember exactly when.··I received -- I was copied,
12·· ·biased, and that evidence was not considered.··Those      12·· ·I was added to the cc at some point.··I believe it
13·· ·are the three things you identified.··Were there any      13·· ·was initially from Dr. Larson, but I don't know for
14·· ·other concerns that Dr. Larson raised with you            14·· ·sure.
15·· ·during your second meeting?                               15·· · · ·Q.· ··Okay.··And is that e-mail exchange one of
16·· · · ·A.· ··Not that I recall.                              16·· ·the e-mails that you provided to Ms. Mendoza back in
17·· · · ·Q.· ··Okay.··So I'm just trying to go through         17·· ·October/November?
18·· ·those one by one to see what your reaction or             18·· · · ·A.· ··Yes.
19·· ·response to his concerns were.··And so when he told       19·· · · ·Q.· ··What information did Dr. Larson ask for in
20·· ·you that he thought that the OEO process had been         20·· ·that e-mail?
21·· ·biased, how did you respond?                              21·· · · ·A.· ··I don't remember exactly what he
22·· · · ·A.· ··Again, not my position to respond to.··I        22·· ·requested.
23·· ·have OEO representatives.··If he's questioning their      23·· · · ·Q.· ··Did he ask for evidence?
24·· ·investigation, then it would be their place to            24·· · · ·A.· ··I don't remember.
25·· ·respond.                                                  25·· · · ·Q.· ··I have to look at the e-mail to know what

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 ·1·· · · ·Q.· ··Okay.··So you didn't respond to that           ·1·· ·he said?
 ·2·· ·concern?                                                 ·2·· · · ·A.· ··Yes.
 ·3·· · · ·A.· ··Not that I recall.                             ·3·· · · ·Q.· ··Did OEO produce any of the information
 ·4·· · · ·Q.· ··Okay.··And when he said that evidence          ·4·· ·that Dr. Larson requested?
 ·5·· ·hadn't been considered, did he identify any evidence     ·5·· · · ·A.· ··I think we'd have to look at the e-mail
 ·6·· ·for you?                                                 ·6·· ·and -- and make that determination.
 ·7·· · · ·A.· ··No.                                            ·7·· · · ·Q.· ··Do you know whether they produced any
 ·8·· · · ·Q.· ··Okay.··And how did you respond to his          ·8·· ·evidence?
 ·9·· ·concern that evidence hadn't been considered?            ·9·· · · ·A.· ··I don't.
10·· · · ·A.· ··I didn't.                                       10·· · · ·Q.· ··Okay.··But the e-mails back and forth
11·· · · ·Q.· ··Did OEO respond to that?                        11·· ·between Dr. Larson and OEO that you were copied on
12·· · · ·A.· ··I don't recall.                                 12·· ·would show us what he was requesting, whether they
13·· · · ·Q.· ··Okay.··Did you take notes during this           13·· ·agreed to provide it?
14·· ·meeting?                                                  14·· · · ·A.· ··It would definitely show us what he was
15·· · · ·A.· ··No.                                             15·· ·requesting via e-mail, yes.
16·· · · ·Q.· ··And what was -- at the end of this              16·· · · ·Q.· ··Okay.··When you went back and searched
17·· ·meeting, how did it come out that Dr. Larson was          17·· ·through your e-mails or e-mails that might be
18·· ·recusing himself from the disciplinary process?           18·· ·responsive to the subpoenas that my office issued,
19·· · · ·A.· ··No, not at that point, he didn't.               19·· ·you identified that as one of the e-mails that was
20·· · · ·Q.· ··Did Dr. Larson recuse himself at some           20·· ·relevant?
21·· ·future point?                                             21·· · · · · · · · ··MR. SMITH:··Object to the form.
22·· · · ·A.· ··Yes.                                            22·· · · ·A.· ··I assume I would have provided it.··I
23·· · · ·Q.· ··And did he communicate to you that he was       23·· ·provided all the documents that I could find in
24·· ·recusing himself?                                         24·· ·response to your request.
25·· · · ·A.· ··He had a -- he had an e-mail communication      25·· · · ·Q.· ··And I don't have that e-mail.··That hasn't

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 ·1·· ·been produced to me.                                     ·1·· · · ·Q.· ··-- system to identify all of the e-mails
 ·2·· · · ·A.· ··Oh.                                            ·2·· ·that related to the Michael Briggs complaint; is
 ·3·· · · ·Q.· ··So that's why I'm asking where it's at.        ·3·· ·that right?
 ·4·· · · ·A.· ··Hmm.                                           ·4·· · · ·A.· ··Yes.
 ·5·· · · ·Q.· ··All right.··Before I get off this topic --     ·5·· · · ·Q.· ··And when did you conduct that search?
 ·6·· · · · · · · · ··MR. SMITH:··And it's noon and you're      ·6·· · · ·A.· ··I don't remember exactly when I did that.
 ·7·· ·changing topics.··Do you want to break for lunch?        ·7·· ·I know there was a litigation hold early on, and I
 ·8·· · · · · · · · ··MR. JACKSON:··I think I have just         ·8·· ·may have started compiling them at that point in
 ·9·· ·about ten more minutes.··Is that all right?              ·9·· ·time.··I also had a couple of staff members that
10·· · · · · · · · ··MR. SMITH:··Yeah, that's fine with         10·· ·were involved, so I also requested that they compile
11·· ·me.                                                       11·· ·any documents they had.
12·· · · · · · ·What do you want to do?··Do you want to         12·· · · ·Q.· ··And who -- which staff members did you
13·· ·continue or do you want to go break for lunch?            13·· ·request compiling documents they had?
14·· · · · · · · · ··THE WITNESS:··My preference would to       14·· · · ·A.· ··Michael Briggs' case was also -- Mike
15·· ·break for lunch, if that's okay with you.                 15·· ·Brown provided documents that he had, as I recall.
16·· · · · · · · · ··MR. JACKSON:··That's fine.··We'll          16·· ·And then I have a strategic support manager in my
17·· ·break for lunch.                                          17·· ·office, and I may have asked her to preview the
18·· · · · · · · · ··VIDEOGRAPHER:··The time is 11:58 a.m.      18·· ·Notice of Contemplated Action.··She's amazing with
19·· ·We are off the record.                                    19·· ·grammar and all of that, so she doesn't check
20·· ··(Recess was taken from 11:58 a.m. until 12:52 p.m.)      20·· ·content, she checks format.
21·· · · · · · · · ··VIDEOGRAPHER:··The time is 12:52 p.m.      21·· · · ·Q.· ··Sure.··And what's her name?
22·· ·We are back on the record.                                22·· · · ·A.· ··Amber Bailey.
23·· · · · · · · · ··MR. JACKSON:··Okay.··We are back on        23·· · · ·Q.· ··I'm sorry, I missed the last name.
24·· ·the record during the deposition of Dorothy Anderson      24·· · · ·A.· ··Bailey, B-A-I-L-E-Y.
25·· ·after taking a brief lunch break.                         25·· · · ·Q.· ··And did you request anybody else -- that

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 ·1·· · · ·Q.· ··Ms. Anderson, during the break, did you        ·1·· ·anybody else within the UNM Division of Human
 ·2·· ·have the opportunity to talk to your lawyers?            ·2·· ·Resources search their e-mails for e-mails that
 ·3·· · · ·A.· ··I did.                                         ·3·· ·might relate to Michael Briggs?
 ·4·· · · ·Q.· ··Is there anything about your testimony         ·4·· · · ·A.· ··No.··Those were the only individuals that
 ·5·· ·earlier today that you'd like to change?                 ·5·· ·I involved.
 ·6·· · · ·A.· ··Yes.··Earlier I testified that I had           ·6·· · · ·Q.· ··Okay.··And you said that you conducted
 ·7·· ·produced documents in response to a subpoena.··I'd       ·7·· ·your own search; is that correct?
 ·8·· ·like to clarify that I did produce documents to OUC.     ·8·· · · ·A.· ··Yes.
 ·9·· ·It wasn't specifically to Gionna Mendoza.··It was to     ·9·· · · ·Q.· ··And you collected a group of e-mails that
10·· ·her office, and I don't know if it was in response        10·· ·related to Michael Briggs?
11·· ·to a litigation hold or to a subpoena.··I just            11·· · · ·A.· ··Yes.
12·· ·remember producing those documents.··So the exact         12·· · · ·Q.· ··And you provided those e-mails to the
13·· ·timeframe would need to be clarified.                     13·· ·Office of University Counsel?
14·· · · ·Q.· ··And how would we clarify when you produced      14·· · · ·A.· ··Yes.
15·· ·these documents to the Office of University Counsel?      15·· · · ·Q.· ··How did you provide those?
16·· · · ·A.· ··E-mails should have that record, and my         16·· · · ·A.· ··As I recall, on a flash drive.
17·· ·assistant may also have a record of that.                 17·· · · ·Q.· ··Okay.··Now, did you walk the flash drive
18·· · · ·Q.· ··My assistant is walking behind the screen       18·· ·over there or did somebody do that for you?
19·· ·about to bring me some documents.··And what               19·· · · ·A.· ··My admin assistant would have.
20·· ·documents did you provide to University counsel?          20·· · · ·Q.· ··Okay.··So you don't know who at the Office
21·· · · ·A.· ··As I recall, it was all of my e-mail            21·· ·of University Counsel received your flash drive of
22·· ·related to the Michael Briggs case.                       22·· ·e-mails?
23·· · · ·Q.· ··So you conducted a search of your inbox --      23·· · · ·A.· ··Not right offhand, I don't.
24·· ·or e-mail --                                              24·· · · ·Q.· ··Did you ever talk to anybody at the Office
25·· · · ·A.· ··Yes.                                            25·· ·of University Counsel about the flash drive of


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 ·1·· ·offhand?
 ·2·· · · ·A.· ··3215.
                                                                   I
                                                                   ·1·· · · ·A.·
                                                                   ·2·· · · ·
                                                                             A.· ··Yes.
                                                                             Q.·
                                                                                        I
                                                                                 ··Okay.··And I think when you were -- you
 ·3·· · · ·Q.
           Q.·· ··Dr. Roth expressed to you that he didn't         ·3·· ·said a lot there, so I'm going to try to go back and
 ·4·· ·want to fire Mr. Briggs, he wanted to do something          ·4·· ·touch on parts of it.··Okay?··So you said that you
 ·5·· ·less than that, correct?                                    ·5·· ·reached out to OEO to ask them if they could approve
 ·6·· · · ·A.
           A.·· ··He had concerns with that level of               ·6·· ·some sort of intermediate discipline, correct?
 ·7·· ·discipline, yes.                                            ·7·· · · ·A.· ··Correct.
 ·8·· · · ·Q.
           Q.·· ··Okay.··And I understand that he had              ·8·· · · ·Q.· ··And did you talk to Heather Cowan or did
 ·9·· ·concerns.··What I'm specifically asking is:··He             ·9·· ·you e-mail with Heather Cowan?
10·· ·wanted to reduce the discipline, correct?                    10·· · · ·A.· ··I don't remember.
11·· · · ·A.
           A.·· ··Yes.                                             11·· · · ·Q.· ··We need to check the e-mails to find out
12· · · · ·Q.· ··And you didn't agree with that, correct?          12·· ·how that communication was made?
13·· · · ·A.· ··I told him I could consider it.··So when           13·· · · ·A.· ··Correct.
14·· ·we -- when we reached an agreement, if you will,             14·· · · ·Q.· ··And the Title IX coordinator for UNM told
15·· ·with the 90-day suspension, yes, I could approve             15·· ·you that she could accept the discipline that was
16·· ·that, so I could support that.                               16·· ·less than termination, correct?
17·· · · ·Q.· ··Okay.··So the 90-day agreement was a               17·· · · ·A.· ··She could accept the discipline that we
18·· ·compromise between you and Dr. Roth --                       18·· ·were proposing.
19·· · · ·A.· ··Correct.                                           19·· · · ·Q.· ··And what was the discipline that you were
20·· · · ·Q.
           Q.·· ··-- correct?··You wanted Mr. Briggs fired,        20·· ·proposing?
21·· ·right?                                                       21·· · · ·A.· ··The 90-day suspension, a 15 percent
22·· · · ·A.
           A.·· ··I felt that that was the appropriate             22·· ·reduction in pay, and a removal of any supervisory
23·· ·sanction.                                                    23·· ·authority.
24·· · · ·Q.
           Q.·· ··And Dr. Roth did not want him fired,             24·· · · ·Q.· ··And so based on your communication with
25·· ·correct?                                                     25·· ·Dr. Roth and Heather Cowan, you determined that was

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 ·1·· · · · · · · · ··MR. VILLA:··Form.                            ·1·· ·an appropriate discipline?
 ·2·· · · · · · · · ··MR. SMITH:··Object to the form.              ·2·· · · ·A.· ··We felt that it made -- met our
 ·3·· · · ·Q.· ··Well, did Dr. Roth tell you that he didn't        ·3·· ·responsibility of ensuring that it didn't occur
 ·4·· ·want him fired?                                             ·4·· ·again, having a remedy.··So, yeah, we felt like it
 ·5·· · · ·A.· ··I don't -- I don't think he did.··I don't         ·5·· ·was appropriate.
 ·6·· ·think he ever said, "I don't want him fired."··II           ·6·· · · ·Q.· ··Okay.··And so I understand that you wanted
 ·7·· ·think he was torn.··I think this was a long-term            ·7·· ·termination and others didn't.··And so -- is that
 ·8·· ·employee.··I think he wanted to contemplate                 ·8·· ·correct?
 ·9·· ·something less.                                             ·9·· · · · · · · · ··MR. SMITH:··Object to the form.
10·· · · ·Q.· ··Sure.··And I'll ask him what he wanted.            10·· · · ·Q.· ··Well, you wanted to terminate Mr. Briggs,
11·· ·What
       What I'm trying to understand is what he told you.          11·· ·correct?
12·· ·Because he's telling you that he wants some                  12·· · · ·A.· ··I felt that termination was the
13·· ·discipline less than termination, correct?                   13·· ·appropriate discipline.
14·· · · ·A.
           A.·· ··Yes.                                             14·· · · ·Q.· ··Dr. Roth didn't want to terminate him,
15·· · · ·Q.
           Q.·· ··And you're telling him you want                  15·· ·correct?
16·· ·termination, correct?                                        16·· · · ·A.· ··He was looking for a lesser than
17·· · · ·A.
           A.·· ··Yes.                                             17·· ·termination, yes.
18· · · · ·Q.· ··And so you two tried to work out some             18·· · · ·Q.· ··And you came up with this compromise where
19·· ·compromise that was less than termination, correct?          19·· ·there was a 90-day suspension, 15 percent reduction
20·· · · ·A.· ··Correct.                                           20·· ·in pay, and a demotion, correct?
21·· · · ·Q.· ··Okay.··And my question is:··If  If he wants to     21·· · · ·A.· ··Yes.
22· · ·reduce     the  termination to something  less than         22·· · · ·Q.· ··And collectively, you-all decided that
23·· ·termination -- if he wants to reduce the discipline          23·· ·that would be an appropriate discipline, correct?
24·· ·to something less than termination, does he need             24·· · · ·A.· ··In exchange for a settlement agreement,
25·· ·your approval to do that?                                    25·· ·yes.


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 ·1·· ·"What would that settlement look like?··What would       ·1·· · · ·Q.· ··April of 2018, I'm sorry.··So So when you
 ·2·· ·it" --                                                   ·2·· ·talked to Dr. Roth in April of 2018, you talked
 ·3·· · · · · · ·So we said, "Some of the things that we        ·3·· ·about the escalating and mitigating factors,
 ·4·· ·would anticipate would be the 90-day, the demotion,      ·4·· ·correct?
 ·5·· ·and the removal of the -- reduction in pay."··And I      ·5·· · · ·A.· ··Yes.
 ·6·· ·said, "But it would be something that would be           ·6·· · · ·Q.· ··Okay.··And so then you testified during
 ·7·· ·happen -- have to happen between our legal counsel."     ·7·· ·the peer review hearing this past November 2019,
 ·8·· · · ·Q.· ··And I think I understand that process that     ·8·· ·correct?
 ·9·· ·you're going to let the lawyers handle trying to         ·9·· · · · · · · · ··MR. SMITH:··It was September.
10·· ·resolve --                                                10·· · · ·Q.· ··September.··Take a drink of water real
11·· · · ·A.· ··Sure.                                           11·· ·quick.··Let me just push the reset button here.
12·· · · ·Q.· ··-- a potential legal dispute, right?            12·· · · · · · ·You testified during the peer review
13·· · · ·A.· ··Correct.                                        13·· ·hearing, correct?
14·· · · ·Q.· ··And so I guess what I'm trying to               14·· · · ·A.· ··Yes.
15·· ·understand is, you had already agreed with Dr. Roth       15·· · · ·Q.· ··And as part of your testimony, you had
16·· ·and Dr. -- and Heather Cowan that you would -- you        16·· ·prepared in advance this poster, I don't know what
17·· ·could live with this sort of discipline, correct?         17·· ·to call it, but this paper on an easel for
18·· · · ·A.· ··Yes.                                            18·· ·presentation during the peer review hearing,
19·· · · ·Q.· ··So why not just impose it instead of            19·· ·correct?
20·· ·firing him?                                               20·· · · ·A.· ··Correct.
21·· · · ·A.· ··Because terminating him was the right           21·· · · ·Q.· ··And it's hard to read, so I'm going to go
22·· ·thing to do.··Terminating him based on what he did        22·· ·through it just to make sure --
23·· ·to our employee was the right thing to do.··And the       23·· · · ·A.· ··Sure.
24·· ·findings, for me, it was a compromise.··It wasn't         24·· · · ·Q.· ··-- that I read it correctly.··And so does
25·· ·something I wanted to do.··We had an employee that        25·· ·this chart list all of the escalating and mitigating

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 ·1·· ·left the University.                                     ·1·· ·factors that you considered when analyzing
 ·2·· · · ·Q.· ··What did you want to do?                       ·2·· ·appropriate discipline for Michael Briggs?
 ·3·· · · ·A.· ··I wanted to terminate him.                     ·3·· · · ·A.· ··Yes.
 ·4·· · · ·Q.· ··And you did, right?                            ·4·· · · ·Q.· ··Okay.··And how do you know that these are
 ·5·· · · ·A.· ··Ultimately, he was terminated, yes.            ·5·· ·the factors that you considered when analyzing the
 ·6·· · · ·Q.· ··All right.··You can set this aside for a       ·6·· ·appropriate discipline for Mr. Briggs?
 ·7·· ·moment.                                                  ·7·· · · ·A.· ··How do I know?
 ·8·· · · · · · ·I'll mark as Deposition Exhibit 192, a bad     ·8·· · · ·Q.· ··Uh-huh.
 ·9·· ·picture of --                                            ·9·· · · ·A.· ··Because it was what I considered when I
10·· · · ·A.· ··Oh.                                             10·· ·was thinking about the discipline.··They were the
11·· · · ·Q.· ··-- of a chart that I think you used for         11·· ·ones that were relevant to what occurred.
12·· ·the peer review hearing.                                  12·· · · ·Q.· ··Okay.··And I think you testified earlier
13·· · · · ·(Exhibit 192 Marked for Identification.)            13·· ·that you prepared some sort of document that listed
14·· · · ·A.· ··Peer hearing.                                   14·· ·those --
15·· · · ·Q.· ··Have you seen this before?                      15·· · · ·A.· ··Um-hmm.
16·· · · ·A.· ··I have.                                         16·· · · ·Q.· ··-- and applied them to Mr. Briggs.··I'm
17·· · · ·Q.· ··Can you tell me what this is?                   17·· ·just wondering if this comes from that document?
18·· · · ·A.
           A.·· ··It was the mitigating and escalating          18·· · · ·A.· ··I think so.
19·· ·factors that we used when we were contemplating           19·· · · ·Q.· ··Okay.··Because I don't -- I don't have the
20·· ·sanctions for Michael Briggs.                             20·· ·document where you internally analyzed that.
21·· · · ·Q.· ··Okay.··And we talked about that earlier,        21·· · · ·A.· ··Okay.
22·· ·how, at the time, you met with Dr. Roth in April of       22·· · · ·Q.· ··All I have is this poster board.
23·· ·2013, you talked to him about escalating -- or            23·· · · ·A.· ··Sure.
24·· ·somewhere around there.                                   24·· · · ·Q.· ··And so I'd like to get a copy of whatever
25·· · · ·A.· ··Not '13.                                        25·· ·document you prepared that analyzed these factors


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 ·1·· ·and applied them to Mr. Briggs.                          ·1·· ·of curiosity?
 ·2·· · · ·A.· ··Okay.                                          ·2·· · · ·A.· ··I don't know.··Just a -- a chart that
 ·3·· · · ·Q.· ··And so the first one, number 1, is -- does     ·3·· ·we've used in the past versus a group.··I think
 ·4·· ·that say, "Prior discipline"?                            ·4·· ·that's considered more severe if it's towards an
 ·5·· · · ·A.· ··Yes.                                           ·5·· ·individual.
 ·6·· · · ·Q.· ··Okay.··And that's "X" as a mitigating          ·6·· · · ·Q.· ··Okay.··8, "Grossly negligent," and that
 ·7·· ·factor, correct?                                         ·7·· ·has an escalating check next to it, correct?
 ·8·· · · ·A.· ··Correct.                                       ·8·· · · ·A.· ··Yes.
 ·9·· · · ·Q.· ··The second one says?                           ·9·· · · ·Q.· ··Number 9, "Impact campus society," and
10·· · · ·A.· ··"Employment longevity."                         10·· ·that has a --
11·· · · ·Q.· ··Okay.··And you can't really see it, but it      11·· · · · · · · · ··MR. SMITH:··That's safety.
12·· ·looks like there's an "X" under mitigating for that       12·· · · ·Q.· ··Oh, "Impact campus safety"; is that
13·· ·as well, correct?                                         13·· ·correct?
14·· · · ·A.· ··Yes.                                            14·· · · ·A.· ··Yes.
15·· · · ·Q.· ··And the next one, what would be number 3,       15·· · · ·Q.· ··And how did it impact campus safety, in
16·· ·is?                                                       16·· ·your mind?
17·· · · ·A.· ··"Pattern of similar offense."                   17·· · · ·A.·
                                                                          A.· ··Well, sexual misconduct that occurred off
18·· · · ·Q.· ··Okay.··And it looks to me there is a check      18·· ·campus and that it bled over to the workplace.
19·· ·under mitigating factors for that, too, right?            19·· · · ·Q.· ··How did it bleed over into the workplace?
20·· · · ·A.· ··Yes.                                            20·· · · ·A.·
                                                                          A.· ··Because of the -- their working
21·· · · ·Q.· ··So when analyzing how these factors might       21·· ·relationship, the fact that they were both working
22·· ·apply to Michael Briggs, it looks like you                22·· ·at the Health Sciences Center, both involved in
23·· ·determined that there was no prior discipline, that       23·· ·research.
24·· ·he'd had a longstanding job at UNM, and that there        24·· · · ·Q.· ··And, oh, I understand why you might think
25·· ·hadn't been a prior pattern of similar offenses, and      25·· ·that impacted her, but this is impact campus safety.

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 ·1·· ·those were all mitigating factors in his favor; is       ·1·· ·So how -- how -- how did this alleged contact affect
 ·2·· ·that correct?                                            ·2·· ·campus safety?
 ·3·· · · ·A.
           A.·· ··Yes.                                          ·3·· · · ·A.· ··His predatory behavior.··He took advantage
 ·4·· · · ·Q.· ··Okay.··And then the next seven factors         ·4·· ·of nonconsensual sex after somebody had alcohol.
 ·5·· ·appear to go against him, and those are escalating       ·5·· ·For me, that was a campus safety concern.
 ·6·· ·factors; is that correct?                                ·6·· · · ·Q.· ··And had you ever received any complaints
 ·7·· · · ·A.· ··Yes.                                           ·7·· ·that he had engaged any kind of predatory conduct
 ·8·· · · ·Q.· ··So the first one says, "Severity"?             ·8·· ·towards any other UNM employee during his
 ·9·· · · ·A.· ··Correct.                                       ·9·· ·longstanding career?
10·· · · ·Q.· ··Does -- number 5 says, "Use of"?                10·· · · ·A.
                                                                          A.·· ··No.
11·· · · ·A.· ··Alcohol.                                        11·· · · ·Q.
                                                                          Q.·· ··So based on this one off -- off-campus
12·· · · ·Q.· ··"Alcohol/drugs"?                                12·· ·event, you decided that his conduct would impact
13·· · · ·A.· ··Um-hmm.                                         13·· ·campus safety?
14·· · · ·Q.· ··And there's -- that's an escalating factor      14·· · · ·A.
                                                                          A.·· ··Yes.
15·· ·for you, right?                                           15·· · · ·Q.
                                                                          Q.·· ··And then number 10, "Creates a liability."
16·· · · ·A.· ··Correct.                                        16·· ·Do you see that?
17·· · · ·Q.· ··There's "Power differential," number 6.         17·· · · ·A.· ··Um-hmm.
18·· ·That's an escalating factor for you, correct?             18·· · · ·Q.
                                                                          Q.·· ··Who did -- who are you concerned with that
19·· · · ·A.· ··Yes.                                            19·· ·his conduct would create a liability for?
20·· · · ·Q.· ··There's -- number 7 is, "Directed at a          20·· · · ·A.· ··I think it could be either party, quite
21·· ·single individual"?                                       21·· ·honestly.··I think he ended up in a place that he
22·· · · ·A.· ··Um-hmm.                                         22·· ·could sue the University, which is why we're here.
23·· · · ·Q.· ··And that's an escalating factor, correct?       23·· ·And then also -- actually, that's not why we're
24·· · · ·A.· ··Yes.                                            24·· ·here, but -- and then also I think there was a
25·· · · ·Q.· ··Why is that an escalating factor, just out      25·· ·concern that Ms. Van Meter could also sue the

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 ·1·· ·University.··So I think his presence just creates a     ·1·· ·can only -- I think I only have about 20, 25 minutes
 ·2·· ·liability for the University.                           ·2·· ·left.
 ·3·· · · ·Q.· ··Okay.··And did you ever discuss any           ·3·· · · · · · · · ··MR. VILLA:··Okay.
 ·4·· ·concern that Ms. Van Meter might sue the University     ·4·· · · · · · · · ··MR. JACKSON:··We're off the record.
 ·5·· ·with any other official with UNM?                       ·5·· · · · · · · · ··VIDEOGRAPHER:··The time is 2:50 p.m.
 ·6·· · · ·A.· ··No.                                           ·6·· ·We're off the record.
 ·7·· · · ·Q.· ··Is that, "Effect on individual's              ·7·· · ·(Recess was taken from 2:50 p.m. until 2:59 p.m.)
 ·8·· ·employment"?··Is that how I read that?                  ·8·· · · · · · · · ··VIDEOGRAPHER:··The time is 2:59 p.m.
 ·9·· · · ·A.· ··Yes.                                          ·9·· ·We are back on the record.
10·· · · ·Q.· ··That's an escalating factor.··So those are     10·· · · ·Q.· ··All right.··We're coming back from a quick
11·· ·all the factors that you considered when applying        11·· ·break.··During the break, Ms. Anderson, did you have
12·· ·discipline to Mr. Briggs, correct?                       12·· ·the opportunity to talk to UNM's lawyers?
13·· · · ·A.· ··Yes.                                           13·· · · ·A.· ··Yes.
14·· · · ·Q.· ··Are there any other factors that you           14·· · · ·Q.· ··Is there anything about any of the
15·· ·considered in terms of these escalating factors?         15·· ·testimony you've given today that you'd like to
16·· · · ·A.· ··No.                                            16·· ·change?
17·· · · ·Q.· ··And so I know that you say that you            17·· · · ·A.· ··No.
18·· ·considered these at the time, and we've talked about     18·· · · ·Q.· ··When we last left off, we were going
19·· ·there being -- exists this documents where you           19·· ·through the poster, that I call it, from the peer
20·· ·applied those to Mr. Briggs kind of internally?          20·· ·review hearing.··Do you know what I'm referring to?
21·· · · ·A.· ··Um-hmm.                                        21·· · · ·A.· ··Yes.
22·· · · ·Q.· ··That you handed that to Dr. Roth, correct?     22·· · · ·Q.· ··And you talked about mitigating and
23·· · · ·A.· ··Discussed it with Dr. Roth.··I believe I       23·· ·escalating factors.··I'm going to mark as Deposition
24·· ·handed it to him.                                        24·· ·Exhibit 193 this document.
25·· · · ·Q.· ··Okay.··I guess I'm just wondering how we       25·· · · · ·(Exhibit 193 Marked for Identification.)

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 ·1·· ·confirm -- so this is testimony you gave in 2019,       ·1·· · · ·A.· ··Okay.
 ·2·· ·correct?                                                ·2·· · · ·Q.· ··Have you seen this document before?
 ·3·· · · ·A.· ··Um-hmm.                                       ·3·· · · ·A.· ··It's from our website.
 ·4·· · · ·Q.· ··Almost a year-and-a-half after you sat        ·4·· · · ·Q.· ··Again.··Okay.··And did you participate in
 ·5·· ·down with Dr. Roth to discuss these factors,            ·5·· ·the creation of this document?
 ·6·· ·correct?                                                ·6·· · · ·A.· ··My office created this, yes.
 ·7·· · · ·A.· ··Right.                                        ·7·· · · ·Q.· ··Okay.··Do you know who in your office
 ·8·· · · ·Q.· ··I'm just wondering how I can confirm that     ·8·· ·created this document?
 ·9·· ·these were the factors that you actually discussed      ·9·· · · ·A.· ··Magdalena.
10·· ·at the time that you made the decision?                  10·· · · ·Q.· ··Okay.··And do you know when this document
11·· · · ·A.· ··I don't know.                                  11·· ·was prepared?
12·· · · ·Q.· ··Okay.··Would I need to see that -- I don't     12·· · · ·A.· ··No, not exactly.
13·· ·want to call it a memo, because it's not necessarily     13·· · · ·Q.· ··And look at the second page of the
14·· ·a memo --                                                14·· ·document that contains a number of escalating and
15·· · · ·A.· ··Correct.                                       15·· ·mitigating factors.
16·· · · ·Q.· ··-- but I don't know what else to call it.      16·· · · ·A.· ··Yes.
17·· ·The document where you analyzed how to apply this to     17·· · · ·Q.· ··Did this document exist at the time that
18·· ·Michael Briggs.                                          18·· ·you talked to Dr. Roth about escalating and
19·· · · ·A.· ··Okay.                                          19·· ·mitigating factors?
20·· · · ·Q.· ··Would that maybe help me confirm that you      20·· · · ·A.· ··Yes.
21·· ·applied these factors in 2018?                           21·· · · · · · · · ··MR. SMITH:··Is this a two-page
22·· · · ·A.· ··Yes.                                           22·· ·document?
23·· · · ·Q.· ··Okay.··You can set that aside.                 23·· · · · · · · · ··MR. JACKSON:··I think so.··Looks like
24·· · · · · · · · ··MR. JACKSON:··We're getting close to      24·· ·somebody --
25·· ·the end.··How about we take a five-minute break.··We     25·· · · · · · · · ··MR. SMITH:··Because I've got about

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Administrative Policies and Procedures Manual - Policy 3225:
Separation of Employment
Date Originally Issued: 07-01-1994
Revised: 05-08-1998, 09-25-2002, 03-01-2006, 08-01-2006, 01-01-2008, 05-15-2015, 05-02-2016, 12-12-2016

Authorized by RPM 6.1 "Performance Management"

Process Owner: Vice President for Human Resources

1. General
There are four (4) categories of separation of employment from the University: voluntary, death, involuntary for cause, and
layoﬀ. Outlined herein are the policies and procedures for recognizing and processing each type of separation of employment.
This policy also describes the reemployment and benefit rights of employees being laid oﬀ.

2. Voluntary Separation
Voluntary separations include resignation, initiated by the employee or by mutual agreement between the employee and the
University; retirement; and completion of the period of a contract or term appointment.

2.1. Resignation

An employee may elect to resign or leave the University voluntarily through mutual agreement with the University. The
employee should submit a written resignation giving, except as noted in Section 2.4, two (2) weeks notice to his or her
supervisor. For resignations by mutual agreement, the supervisor should obtain appropriate releases of any further obligation
of the University as part of the written resignation. Resignations also occur when:

   An employee walks oﬀ the job.

   An employee is absent for three (3) consecutive work days without the supervisor's permission, except when an emergency
   precludes giving notice. Work days are considered consecutive even when broken by normal non-working days such as
   holidays or weekends.

   An employee fails to return to work, within the prescribed time limits, following an authorized leave of absence.

2.2. Retirement

Employees may elect to retire after meeting the eligibility requirements; see UAP 3625 ("Retirement") . Employees should give,
at minimum, four (4) weeks notice. The University Division of Human Resources will notify retiring employees of their options
with respect to health insurance and other benefits.

2.3. Completion of Term Appointment

Certain employees are employed at the University under a term appointment agreement; see UAP 3200 ("Employee
Classification") , Section 4. Employees hired for a term appointment will be separated from the University as of the specified
date unless the supervisor notifies the employee that the appointment will be extended.
2.4. Expiration of Contract
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Certain administrators, designated by the President, are hired on periodic employment contracts. The two (2) week notice
provision in Section 2.1 does not apply to contract employees. Terms, conditions, and notification requirements for employees
hired under contract are described in UAP 3240 ("Contract Employees") .

3. Death
Upon the death of an employee, the department shall immediately notify the respective employment area and the Human
Resources Service Center. The Human Resources Service Center will assist the next of kin in completing benefit forms,
insurance claims, and other paperwork as appropriate, and provide a checklist to ensure that all necessary steps are taken.
The department will work with the employment area to formally separate the employee.

4. Involuntary Separation
4.1. Separation During Probation

Any full-time or part-time employee may be separated from employment during the six (6) month probationary period (twelve
[12] month probationary period for police command staﬀ) with or without cause.

4.2. Discharge For Cause

An employee may be discharged for unsatisfactory performance, misconduct, or for other reasons deemed to constitute
proper cause by the University. Under these circumstances, the employee must be given notice of the grounds constituting
proper cause and an opportunity to respond verbally and/or in writing before the employee is separated for cause. Refer to
UAP 3215 ("Performance Management") for additional information regarding separation for cause.

Employees discharged for cause are noted as ineligible for rehire and are advised in writing at the time of discharge.

4.3. Consultation with Division of Human Resources

A supervisor must consult with the Labor Relations staﬀ
                                                      ﬀ at the Division of Human Resources before an employee is
involuntarily separated from the University.

4.4. Notice of Separation

Supervisors must give employees two (2) weeks notice of the separation, except in exceptional cases where immediate
separation is required for reasons of health and safety or the overriding interest of the University. Pay in lieu of notice may be
given at the employee's straight-time pay rate when giving notice is not practical. Pay in lieu of notice is not appropriate in
cases of discharge for serious infractions or discharge following suspension for serious infractions.

4.5. Appeal of Ineligible for Rehiring Designation

When an employee is designated as ineligible for rehire, the employee may submit a request to have the designation
reconsidered. Within 30 days of the employee receiving notice of the designation, the employee should send a detailed letter
to the Vice President for Human Resources that sets forth the reasons for the reconsideration. The Vice President for Human
Resources will decide whether the employee should:

   retain the ineligible for rehire designation, or

   be restricted from obtaining certain positions, or

   be eligible for rehire.

5. Layoﬀ
